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                                                             EXHIBIT 3 -
                                    AMENDED COMPLAINT        DOCKET 11-0

                                    ISSUE SUMMONS
                 IN THE CIRCUIT COURT FOR BALTIMORE CITY, MARYLAND


DR. KEENAN COFIELD,JD/Ph.D/Psy.D/DD
and The Supreme GRAND Bishop-Cofield
4109 CUTTY SARK RD.
MIDDLE RIVER, MD 21220
EMAIL:psychdotor101@gmail.com
and Superemegrandbishop@gmail.com

MAILING ADDRESS:
DR. KEENAN COFIELD
1236 KENDRICK RD.
ROSEDALE, MARYLAND 21237
443-554-3715
                                       CASE N UM BER:24-C-22-002016
LAVERNE THOMPSON-(84 year old Mother Victim)
1236 KENDRICK RD.
ROSEDALE, MD 21237

KAYLA NEDD
1236 KENDRICK RD.
ROSEDALE, MD 21237

LULUK NOVI FATWAMATI
3622 GREENMOUNT AVE.
BALTIMORE, MD 21218

U.S. BANKRUPTCY TRUSTEE
HON.PATRICIA B. JEFFERSON, ESQ.
CHAPTER 7-Miles & Stockbridge, PC
100 LIGHT STREET-10" FLOOR
BALTIMORE, MD 21202

KEVIN L. COFIELD,SR.
1236 KENDRICK RD.
ROSEDALE, MD 21237
        Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 2 of 259

  ORIAN D. COFIELD
  1236 KENDRICK RD.
  ROSE DALE, MD 21237

  ARVIETTE L. COFIELD
  1236 KENDRICK RD.
  ROSEDALE, MD 21237

              PLAINTIFF(S)/CLAIMANTS


 Vs                                    CASE AND CLAIM NUMBER:24-C-22-002016



' RESIDENT AGENT:
  THE CORPORATION TRUST, INC.
  PASSPORT MOTORS HOLDINGS,INC.
  2405 YORK RD.
  SUITE 201
  LUTHERVILLE, MD 21093-2264

 PASSPORT MOTORS HOLDINGS,INC.
 5000 AUTH WAY
 MARLOW HEIGHTS, MD 20746

 PASSPORT NISSAN OF MARLOW HEIGHTS
 5000 AUTH WAY
 MARLOW HEIGHTS, MD 20746

 PASSPORT MOTORCARS,INC.
 5000 AUTH WAY
 MARLOW HEIGHTS, MD 20746,

 KOMI E. DOGBATSE,SALEPERSON
 PASSPORT NISSAN OF MARLOW HEIGHTS
 5000 AUTH WAY
 MARLOW HEIGHTS, MD 20746

 MR. CHESTER, GENERAL MANAGER
 PASSPORT MOTORS HOLDINGS, INC.
 5000 AUTH WAY
 MARLOW HEIGHTS, MD 20746
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JOHN & JANE DOE,STATE VEHICLE INSPECTIONS EMPLOYEES
PASSPORT MOTORS HOLDINGS, INC. & PASSPORT NISSAN OF MARLOW HEIGHTS
5000 AUTH WAY
MARLOW HEIGHTS, MD 20746

ATHENS PROGRAM INSURANCE SERVICES
C/O SHANNON REGISTER, CLAIMS SPECIALIST
PO BOX 4111
CONCORD,CA 94524

ATHENS PROGRAM INSURANCE SERVICES
C/O ATHENS ADMINISTRATORS
PO BOX 4111
CONCORD, CA 94524

ALLIED WORLD SPECIALTY INSURANCE COMPANY
ATHENS ADMINISTRATORS
9 FARM SPRING ROAD
FARMINGTON, CONNECTICUT 06032-2576

TEXAS ROADHOUSE,INC.
8207 TOWN CENTER DR.
NOTTINGHAM, MD 21236

TEXAS ROADHOUSE OF BALTIMORE COUNTY, MC LLC
7 ST. PAUL STREET
SUITE 820
BALTIMORE, MD 21202

TEXAS ROADHOUSE MANAGEMENT CORP.
7 ST. PAUL STREET
SUITE 820
BALTIMORE, MD 21202

CSC-LAWYERS INCORPORATING SERVICE
C/O TEXAS ROADHOUSE OF BALTIMORE COUNTY, MC LLC
7 ST. PAUL STREET
SUITE 820
BALTIMORE, MD 21202
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CSC-LAWYERS INCORPORATING SERVICE
C/O TEXAS ROADHOUSE
7 ST. PAUL STREET
SUITE 820
BALTIMORE, MD 21202

CSC-LAWYERS INCORPORATING SERVICE
C/O TEXAS ROADHOUSE
6040 DUTCHMANS LANE
LOUISVILLE, KY 40205

CSC-LAWYERS INCORPORATING SERVICE
C/O TEXAS ROADHOUSE MANAGEMENT CORP.
7 ST. PAUL STREET
SUITE 820
BALTIMORE, MD 21202

CSC-LAWYERS INCORPORATING SERVICE
C/O TEXAS ROADHOUSE HOLDINGS, LLC.
751. PAUL STREET
SUITE 820
BALTIMORE, MD 21202

CSC-LAWYERS INCORPORATING SERVICE
C/O TEXAS ROADHOUSE,INC.
8207 TOWN CENTER DR.
NOTTINGHAM, MD 21236

USPS
900 E. FAYE1TE STREET, RM 118
ATTN:CLAIMS & LEGAL DEPARTMENT
BALTIMORE, MD 21233

USPS-H EADQUARTERS
470 L'ENFANT PLAZA SW SUITE 604
WASHINGTON, DC 20024

UNITED STATES POSTAL SERVICE
DOMESTIC CLAIMS
PO BOX 80143
ST. LOUIS, MO 63180-0143
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USPS
5600 SPALDING DR.
PEACHTREE CORNERS,GA 30092
SERVE ON: ALL USPS DEFENDANTS
UNITED STATES ATTORNEYS OFFICE
U.S. ATTORNEY GENERAL
36 S. CHARLES STREET
BALTIMORE, MD 21201
ADDED DEFENDANTS:

1). RESIDENT AGENT:
THE CORPORATION TRUST, INC.
C/O ALLY FINANCIAL,INC.
2405 YORK RD.
SUITE 201
LUTHERVILLE TIMONIUM MD 21093-2264
2). RESIDENT AGENT:
THE CORPORATION TRUST, INC.
C/0 ALLY FINANCIAL, LLC
2405 YORK RD.
SUITE 201
LUTHERVILLE TIMONIUM MD 21093-2264
3). RESIDENT AGENT:
THE CORPORATION TRUST,INC.
C/O ALLY FINANCIAL,INC.& PASSPORT MOTORS HOLDINGS,INC.
2405 YORK RD.
SUITE 201
LUTHERVILLE TIMONIUM MD 21093-2264
4). RESIDENT AGENT:
THE CORPORATION TRUST,INC.
C/O ALLY FINANCIAL, LLC & PASSPORT MOTORCARS,INC.
2405 YORK RD.
SUITE 201
LUTHERVILLE TIMONIUM MD 21093-2264
5). ALLY FINANCIAL,INC.& ALLY FINANCIAL, LLC
500 WOODWARD AVENUE
DETROIT, MI 48226
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6). ALLY FINANCIAL, LLC
2405 YORK RD.
SUITE 201
LUTHERVILLE TIMONIUM MD 21093-2264

NEWLY ADDED ADDITIONAL DEFENDANTS:

1). SERVE ON: ALL LISTED U.S. GOVERNMENT AGENCIES
UNITED STATES ATTORNEYS OFFICE
U.S. ATTORNEY GENERAL
36 S. CHARLES STREET
BALTIMORE, MD 21201

2). SOCIAL SECURTY ADMINISTRATION-SSA
0 0 US ATTORNEYS OFFICE
36 S. CHARLES ST.
BALTIMORE, MD 21201

3). INTERNAL REVENUE SERVICE (IRS)
C/O US ATTORNEYS OFFICE
36 S. CHARLES ST.
BALTIMORE, MD 21201

4). SOCIAL SECURTY ADMINISTRATION-SSA
C/O US ATTORNEYS OFFICE-SSA GENERAL COUNSEL
1100 WEST HIGH RISE
6401 SECURITY BLVD.

5). INTERNAL REVENUE SERVICE (IRS)
C/O US ATTORNEYS OFFICE
1111 CONSTITUTION AVE. NW
WASHINGTON, DC 20224

6). CONSUMER FINANCIAL PROTECTION BUREAU
US ATTORNEYS OFFICE
36 S. CHARLES STREET
BALTIMORE,MD 21201
and


FEDERAL TRADE COMMISSION
C/O US ATTORNEYS OFFICE
36 S. CHARLES STREET
BALTIMORE,MD 21201
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THE PRENTICE-HALL CORPORATION SYSTEM, MARYLAND
THE UNITED STATES CORPORATION COMPANY-RESIDENT AGENT
7 ST. PAUL STREET
BALTIMORE, MD 21202

EQUIFAX INFORMATION SERVICES, LLC
1550 PEACHTREE ST, NW
ATLANTA,GA 21202

RESIDENT AGENT
CSC-LAWYERS INCORPORATING SERVICE COMPANY
C/O EQUIFAX INFORMATION SERVICES, LLC
7 ST. PAUL STREET
SUITE 820
BALTIMORE, MD 21202

RESIDENT AGENT
THE PRENTICE-HALL CORPORATION SYSTEM, MARYLAND
C/O EQUIFAX INC.
7 ST. PAUL STREET
SUITE 820
BALTIMORE, MD 21202

EQUIFAX INC.
32 SOUTH STREET
BALTIMORE, MD 21202

EQUIFAX CONSUMER SERVICES, LLC
7 ST. PAUL STREET
SUITE 820
BALTIMORE, MD 21202

EQUIFAX CONSUMER SERVICES, LLC
1550 PEACHTREE ST, NW
ATLANTA, GA 21202

U.S. BANKRUPTCY TRUSTEE
HON. PATRICIA B. JEFFERSON, ESQ.
CHAPTER 7-Miles & Stockbridge, PC
100 LIGHT STREET-10TH FLOOR
BALTIMORE, MD 21202
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 TWITTER,INC.
 1355 MARKET STREET
 SUITE 900
 SAN FRANCISCO, CA 94103

 TWITTER RESIDENT AGENT
 THE CORPORATION TRUST INCORPORATED
 2405 YORK RD.
 SUITE 201
 LUTHERVILLE TIMONIUM, MD 21093-2264

CONSUMER FINANCIAL PROTECTION BUREAU
1625 Eye Street, N.W.
Washington, DC 20006
and

FEDERAL TRADE COMMISSION
600 Pennsylvania Ave. NW
Washington, DC 20580


ALL DEFENDANTS OR RESPONDENTS ARE BEING SUED AND/OR CLAIMS FILED
IN THEIR INDIVIDUAL AND OFFICIAL CAPACITY-KNOWN AND UNKNOWN/NAMED
OR UNNAMED

                              PRELIMINARY STATEMENT

1). The Plaintiffs assert that this Honorable Court has subject matter jurisdiction over the

persons, and parties included in this petition. This Complaint is to bring an action to

redress acts, conduct and/or practices of various forms of gross negligence, fraud

against the Defendants and others. This Court has jurisdiction over this case and

parties as to the acts and conduct described herein, set forth herein.


2).                      PROCEDURAL AND FACTUAL BACKGROUND

      On or about the 3e day of March, 2021 thru 14th day of May,2021 to date,the Claimant

purchased a 2011 Mercedes Benz USED R-Class vehicle with VIN#4.IGCB5HEXCA146274.
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 3). The Plaintiff Cofield used the product or vehicle described above in a reasonably foreseeable

 manner; and the brakes totally failed as a result of the vehicle having replaced with the WRONG

 rotors on the rear of the Claimants vehicle,that carried a failed or faulty inspection.

4). The Plaintiff/Claimant Dr. Cofield suffered serious to permanent injuries as described below

and his Mother LaVerne Thompson suffered minor pain and suffering, injuries or harm as a

 result of the defect or failure to inspect the vehicle and all inspection items as required by law

before the vehicle was sold. The Plaintiff Cofield used the product or vehicle described above in

a reasonably foreseeable manner; and the brakes totally failed as a result of the vehicle having

replaced with the WRONG rotors on the rear of the Claimants vehicle, that carried a failed or

faulty inspection. The Plaintiff(s) do hereby adopt and incorporate COUNTS 1 thru 6, in further

support of COUNT 12 and says:

The Plaintiff/Claimant Dr. Cofield suffered serious to permanent injuries as described below and

his Mother LaVerne Thompson suffered minor pain and suffering, injuries or harm as a result of

the defect or failure to inspect the vehicle and all inspection items as required by law before

the vehicle was sold. The Amended and/or ADDED Defendants Ally Financial, knew and/or

should have known that the vehicle before financing the same was fit to be operated in good to

fair condition. These Defendants financed a vehicle that almost killed the Plaintiff(s) Cofield and

Thompson that caused permanent injury to Dr. Cofield, but caused a hardship as defined and

described in the ORIGINAL/VERIFIED complaint as to the personal expenses paid to repair the

vehicle several times and the permanent injuries in financing a vehicle that had a fraudulent

state vehicle inspection, which would have discovered that the vehicle had the rotors changed,

and someone placed by FORCE,the wrong rotors, which caused the brakes to totally fail
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 causing serious bodily injuries for life. The Plaintiff Dr. Keenan Cofield for the past 11 to 15

 years off and on has been the victim of massive Identity Fraud and Theft, when many

 unknown and unnamed individuals has gained access and used in an illegal and unauthorized

 manner the Name, DOB,Social Security Number,addresses, and MD Drivers License of

 Plaintiff Dr. Keenan Kester Cofield to file for SSA and IRS tax benefits, numerous tax refunds

 request have been made in recent years, to include, individuals filing for State

 Unemployment benefits from Maryland to Oregon.The IRS and Social Security has failed and

neglected to protect my information, even with a fraud alert, individuals are able to make IRS

tax refunds requests successfully, causing a hardship upon the Plaintiff Cofield who is unable

to make any personal tax claims or anyone else I authorize to make a yearly tax claim,

because the scammers and fraudsters have already made a claim and received money or

benefits in my name under may Social Security Number,and DOB,etc.,any times over the

years. The Plaintiff Cofield has filed Complaints several times with Baltimore County, MD

Police, MD State Police, IRS and SSA to NO avail. The Plaintiff Dr. Keenan Cofield, Name but

more specifically my social security number, and drivers license have all been compromised

to further obtain and change credit cards, bank accounts, all and more the fraudsters have

been and continue to be able to use my name,identity, social security and drivers license

number like it's FREE. This Plaintiff has suffered economic hardship MENTAL pain and

suffering as an end result of no action by these Government agencies to change the Social

Security Number and drivers license and other online data in the Plaintiff(s) name.The SSA

Defendants have received multiple ALERTS that they believe the Plaintiff Cofield was filing

and that someone else has and continues to file fraudulent unemployment claims,to tax
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 refunds, open bank accounts and the list goes on and on. They ONLY way to make any

 adjustment is to CHANGE the Social Security Number of Plaintiff Cofield and his MD Drivers

 License, and his current social security number be shut down and purged from the system.

 Exhibit A page two is a letter from SSA,this is the second such letter or notice I have received

from this agency that my name and information has ALERTED SSA that I allegedly filed for

 UNEMPLOYMENT. Never have I ever filed for any unemployment benefits. Exhibit B, is a

2021, letter from the IRS about an alleged but fraudulent tax refund, which again, I never

made NO such claim. Someone fraudulently filed taxes under my Social Security Number this

year causing me unable to be claimed myself. Exhibit-C, is an IRS Identity Theft Affidavit

faxed (2)times to the IRS with attachments. As of this date, never received a call and/or

letter. Exhibit D is a letter and/or documentation from the IRS, whereas someone filed taxes

back 2013 in my name. Exhibit E, is copies of various letters from the State of Oregon about

unemployment. Plaintiff Cofield has never travelled to or worked in that state. The Plaintiff

now finds it necessary as his credit has been affected as well as other issues from the

fraudsters using my identity, name, DOB,address,social security name and MD license all

have been completely compromised beyond repair.

                        STATEMENT OF THE CASE, FACTS AND CLAIMS
                            COMPLAINT AND COUNT ONE-NEGLIGENCE

5).    COME NOW the Plaintiff(s) Dr. Keenan Cofield, the Supreme GRAND Bishop,

and his mother (LaVerne Thompson)and for the cause of action state as follows:

                                     CAUSES OF ACTION

6). Beginning on or about the 24th day of September, 2021, the Defendants,

Respondents, and/or employees, managers, staff, workers, and other officials of
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 Passport Nissan, Passport MotorCars, Inc. and others thereof, individually, separately

 and/or jointly, did knowingly, willingly, purposely, negligently, commit some acts or

 conduct with negligence, malice, deliberate indifference, did commit and/or caused or

 allowed thereto, to sell a vehicle described above with faulty and/or defective rotors and

 brakes that failed causing permanent injuries and bodily damages to Claimant Dr.

Cofield for life, and did so without any or proper inspection of the brakes, rotors on the

rear of the vehicle as required by State law, selling a motor vehicle falsifying and/or

forging with the intent to deceive the vehicle owner injured the MD Vehicle Inspection

Forms committing a fraud that the rotors, brakes and other mechanical products were in

excellent condition and the vehicle had passed inspection, knowing that not to be or

should have known it to be false.

9). At all times herein mentioned Plaintiff(s) and/or Claimant Dr. Keenan Cofield vehicle

was operated in a reasonable and prudent manner, with due caution and regard for the

motor vehicle laws of the State of Maryland. Defendants/Respondents Passport

Nissan had a duty to Plaintiffs/Claimant Cofield and Thompson to act reasonably.

Respondents Passport Nissan breached that duty.

10). Plaintiff(s) suffered injuries because of the WRONG rear rotors of vehicle.

11). At all relevant times, Plaintiff(s) exercised due care for Plaintiff Cofield and his

mother (LaVerne Thompson)safety.

12). As a direct and proximate cause of the negligence of Defendants/Respondents

Passport Nissan and its agents, employees action, Plaintiffs suffers from permanent

physical injuries, conscious mental anguish, pain and suffering in the past and in the

future, past medical expenses and future medical expenses.
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 and
 12a). All of the above damages were directly and proximately caused by the

 aforementioned negligence of Defendants/Respondents Passport Nissan, and were

 incurred without contributory negligence, or assumption of the risk on the part of

 Plaintiff/Claimant Cofield, or an opportunity for Plaintiff/Claimant Cofield to avoid the

 accident.


 13). On September 24, 2021 @ 3:00 on Pulaski Hwy.

(SECOND MVA)-Vehicle history-The Injured party Dr. Keenan Cofield,
purchased a 2012 Mercedes-Benz/R-Class. The vehicle was allegedly State
inspected. The vehicle was purchased from PASSPORT NISSAN, Suitland, MD.301-
423-8400. For several weeks after purchase of the vehicle, there was rear noises
with the brakes. After many weeks and phone calls to the dealership, I was able to
get the vehicle inspected and determined the rear brakes needed Both rear brake
rattle clips. The repairs occurred on 05/28/21. Not known at the time,the rear
brake rattle clips needed to be changed because of the wrong rotors on the rear
of the alleged inspected and faulty sold vehicle.

14). The noise returned, but not as bad on both sides. On September 24, 2021, at
around 3:00 pm on Pulaski Hwy. My 82 year old mother (La Verne Thompson) was
in the vehicle. The brakes failed totally, so immediately as a trained first
responder, I located a soft landing spot to stop and slow down the vehicle. I took
the vehicle to a high curb causing the greater impact to be on the left or driver
side, used my forearm to brace myself against the steering wheel and hit the curb
causing my head, neck and other body parts to make a whip lash or neck popping
movement, rocking or snapping back and forth quickly. There was NO immediate
discomfort until hours later when I could not move. I applied various medications
to the affected areas and took pain and other meds until I could be seen. My
FIRST medical exam for the second MVA was 09/27/2021.

                             TOTAL BRAKE FAILURE-WITH INJURIES
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15). On 09/29/2021,the vehicle was taken to MONRO BRAKE CENTER on 7870
Eastern Ave. Baltimore. Before any repair work was done pictures were taken at
various angles while the brakes what was left were still intact. MONRO
determined and placed in their Invoice and notes that the vehicle brakes failed on
both sides and the rear right caliper piston failed and the right side rear brake pad
was totally missing which can be seen in photos taken. I was in possession of
those original brakes as evidence. The total costs for those total REAR brakes, new
rotors repair was $1,068.70, and $799.94 for the FRONT brakes and new rotors.

16). Because of wear and tear on front brakes and rotors due to rear problems
the front brakes and rotors had to be fully replaced.

17). On 11/06/2021, Mr. Chester General Manager of Passport Nissan denied my
claim just relating to the reimbursement of my expenses.

18). The MVA caused me to miss two Federal bankruptcies and civil case
deadlines because I was not able to prepare responses as Ordered by those
Judges,to date. Millions of dollars were at stake. Additionally, I have lost tens of
thousands to several hundred thousand in contracts dollars and various works
directly from the September 24, 2021 MVA accident. Some of my injuries are
permanent with the pains and I may never be the same. Including not being able
to drive or the fear of driving haunts me, always wondering of the brakes will fall
again. Often my daughter and/or brother drive me to most places.

19). As indicated previously I am totally unable to work or function at all at any
level. Preparing this took me almost a week or more finding the strength was not
easy, and the assistance of my Clerk. A Claim and accident report was made to
GEICO my insurance carrier.

 CURRENT AND ON-GOING LISTINGS OF PRIMARY,TREATING,
  EXAMINING AND MEDICAL SPECIALISTS WITH NUMBER OF
  VISITS OF PATIENT DR. KEENAN COFIELD ASSOCIATED WITH
    OR SUSTAINED FROM MVA PERMANENT INJURIES AND
                                IMPAIRMENTS
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 20). Dr. Cofield has(22)-visits to Physical Therapy- Cofield is being treated for
 injuries to his Neck, back,lower back,TMJ, both right and left Shoulders and
 both hands.

NOTE: All treating and examining physicians recommended and have expanded
PT six (6)times for various other parts of the body due to pain and need for
further PT treatments.

Dr. Cohen terminated and/or temporarily discontinued (PT) due to pain and
further injury to Dr. Cofield until surgery is performed on both right and left
rotator cuffs.

21).(25)--Psych and Pain Management visits—Dr.Cofield has been diagnosed
with PTSD,depression,anxiety, adjustment disorder, pain, Insomnia. Dr. Cofield
was prescribed Escitalopram 10MG Tablets for anxiety, depression, on or about
11/10/2021, by Dr. C. Nwachukwu,at Aspire. Medstar Family Health Center
upgraded patient Dr. Cofield psych referral is now being seen by Velma Viloria-
Gragoa, MD (Psychiatrist) at MedStar Behavioral Health Center beginning
01/14/2022.(1)-Visit... Dr. Viloria-Grageda, concurred with the diagnoses
of Aspire psych officials. Dr. Viloria prescribed Trazodone 50mg every
night for depression and sleep for Dr. Cofield.

22). Neurology(8)-visits—Dr. Deidre J. Ammah, MedStar Neurologist ruled and
diagnosed Dr. Cofield with radiculopathy/cervical region, neuropathy, abnormal
NCS & EMG, Cofield has severe to permanent damage to tendons, nerves and
muscles upper body, herniated and bulging discs. In ability to HOLD items in
either hand can be difficult at any time, caused from MVA. Numbness,tingling
and swelling of both hands occurred after the accident and no previous issues
prior thereto. Surgery is required for the C-3, C-4, C-S, C-6, and C-7 discs.

Dr. Ammah,MD referred Dr. Cofield to Dr. Zeena Dorai,a neck and spine
specialist for further evaluation, on 12/13/2021,for 01/27/2021 exam.

23). • PATIENT SLEEPS IN CHAIR BECAUSE OF VARIOUS PAINS &
INJURIES
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 Patient Dr. Cofield is unable to sleep in his bed any longer due to his injuries from
 MVA pains suffered and sustained.

24). Orthopedic(8)-visits--Dr. Alaee, MD,a MedStar orthopedic specialist,
diagnosed Dr. Cofield with Complete rotator cuff tear of left shoulder. Dr. Alaee,
injected Dr. Cofield with a corticosteroid injection in left shoulder. Since this
report, Dr. Cofield was ordered a MRI in the Right shoulder due to severe pain
recently and it appears there is tendon tear and damage to the right side.

Dr. Alaee, determined that the first MVA on or about 07/20/2021 caused damage
to the Left rotator cuff. It is possible the first MVA accident caused rotator cuff
damage and injuries to Cofield on both Right and Left sides of shoulders and arms.
A MRI determined the Right shoulder findings indicated rotator cuff injury, right
shoulder.

25). Orthopedic Surgeon-(4)visit-Dr. Cohen
Was examined by Dr. Cohen Orthopedic Surgeon on 12/22/21, who confirmed the
rotor cuff tear on the Right side Shoulder, as well as the left. Dr. Cohen
administered a cortisone shot or injection into my right shoulder for pain.

26). ENT/TMJ injury-(4) visit—On 11/30/21, Dr. Alan H. Shikani, ENT specialist
examined Dr. Cofield due to swelling and often lockjaw on left side. Dr. Shikani,
fully examined Cofield and immediately determined Dr. Cofield had a
permanent TMJ injury stemming from the Second MVA on September 24,2021.
The Family Health Center referred Dr. Cofield to the ENT Center for further
evaluation for TMJ. Follow-up on 12/30/21.

NOTE: It was highly recommended that Dr. Cofield injuries are very serious and
is a life changer as to his diet and many foods he can NO longer consume or eat.
Dr. Cofield can NO longer eat apples and many meats to foods which require
chewing, is prohibited and will cause further permanent damage to the jaw.

27). FAMILY HEALTH CENTER-AFTER HOURS REPORTS-(13) calls or visits

28). FRANKLIN SQUARE HOSPITAL(ER)(4) visits
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29). Family Health Center—visits--(19)-Received shot in Right arm due to
severe pains, and unable to move arm, etc. on 12/08/2021. On 12/29/21, Dr.
Pristell issued a indefinite NO work letter,for Dr. Cofield.

SPECIAL DISABILITY OUT OF WORK REPORT--However on 12/22/2021, Dr. Kelsey
Chmielewski, DO because of the MVA injuries and permanent damage to
impairments,"the patient has limited use of upper extremities which interferes
with functionality at work and he unable to return."

30). MedStar URGENT Care—(8)visits

31). Family Health Center-OMT Clinic/Specialty Treatment-(5) visits---Dr. David
Pierre, and Stephen C. Kane, diagnosed Dr. Cofield with the following:

Spasm of thoracic back muscle
Cervical somatic dysfunction
Somatic dysfunction of thoracic region
Somatic dysfunction of upper extremity region
Somatic dysfunction of lumbar region-All associated with MVA accident.

32). Choice Pain & Rehab Center-(1) visit-Dr. Cofield was seen and examined at
Choice Pain & Rehab Center for a Second Opinion and further specialized
treatment on 12/28/21. Because of back, neck and bulging & herniated discs Dr.
Cofield will be seen for a epidural injection on 1/26/22. It has been recommended
Dr. Cofield will require multiple surgeries to his discs beginning this year.


33). MEDICAL DEVICE LISTINGS DUE TO MVA INJURIES AND
PERMANENT DAMAGE


PLAINTIFF DR. COFIELD HAS MORE THEN 50 TO 100 MORE
VARIOUS ON-GOING AND CONTINIOUS MEDICAL
TREATMENTS,CARE FOR PAINS, PERMANENT DAMAGES AS A
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 RESULT OF THIS ACCIDENT INCLUDING THE DISCOVERY OF
 POST CONCUSSION SYNDROME DIAGNOSES AND MILD
STROKE ASSOCIATED WITH THIS MVA

NOTE: Dr. Cofield has been prescribed the following medical devices for support
due to his many injuries, impairments,and damages sustained as a result of a
MVA, by Defendant/Respondents:

1). Cervical Collar/Neck Brace-Wear at night
2). Back Brace
3). Both Hand Braces
4). Mouth Guard-at night-NEW-ENT Dr.
5). Left Arm Sling
                               DAMAGES

LISTINGS OF MEDICAL DIAGNOSES DUE TO MVA BODILY
INJURIES AND PERMANENT DAMAGE TO IMPAIRMENTS
RELATING TO MVA ON SEPTEMBER 24, 2021-BRAKE FAILURE-
VEHICLE SOLD AND OPERATED WITH WRONG ROTORS ON
REAR

34). Adjustment disorder with mixed anxiety and depressed mood-MVA
Adjustment disorder with disturbance of emotion-MVA
Anxiety disorder-MVA
Back spasm-MVA
Bulging & Herniated disc, cervical region, C-3-C-4, C-4-C-5, C-5-c-6, C-6-C-7-MVA
Carpal tunnel syndrome
Cervical disc disease-MVA
Cervical radiculopathy-MVA
Cervical stenosis of spine-MVA
Cervical somatic dysfunction-MVA
Complete rotator cuff tear of left shoulder
Depression-MVA
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 Epidural Injection for pain back/spine
 Impingement syndrome,shoulder, Right-MVA
 Impingement syndrome,shoulder, Left-MVA
 Insomnia-MVA
 Lumbar herniated disc
 Lumbar radiculopathy
 Motor Vehicle accident
 Neck pain
 Numbness and tingling of both right and left hands-MVA
Parenthesis of hands, bilateral
Permanent injury, damage or impairments to nerves, tendons, and muscles-MVA
PTSD-MVA
Rotator cuff tear of right shoulder-MVA
Shoulder pain, Right-MVA
Shoulder pain, Left-MVA
Sensorimotor neuropathy-MVA
Somatic dysfunction of thoracic region-MVA
Somatic dysfunction of upper extremity region-MVA
Somatic dysfunction of lumbar region-MVA
Shoulder pain, left-MVA
Spondylosis of cervical spine-MVA
Temporomandibular joint(TMJ) pain
Upper back pain-MVA

35). The Defendants or Respondents at Passport Nissan owed a duty of care to the

claimant/vehicle owner, to be able to operate a used vehicle that is safe to operate in a

reasonable and prudent manner.

36). The Crash and brake failures was directly and proximately caused by the

negligence of Passport Nissan, their employees, staff, and others who's failure to

inspect the vehicle the wrong rotors which caused the brakes to fail before selling of the

vehicle the subject of this Claim.

37). Plaintiff(s) personal injuries were directly and proximately caused by Passport

Nissan agents and employees negligence. Plaintiffs/Claimant suffered serious, painful
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 and permanent bodily injuries, great physical pain and mental anguish, serve emotional

 distress, as Plaintiff or Claimant Dr. Keenan Cofield is not able to go back to work and is

 precluded from engaging in normal activities and pursuits, including a loss of ability to

 earn any and actual earnings from his brand NEW non-profit organization, to other

 business interests, etc..

38). Defendants and/or Respondents of Passport Nissan is liable for Plaintiff(s) injuries

and damages sustained, pain and suffering, and all other elements of damages allowed

under the laws of the State of Maryland.

39). Defendants or Respondents of Passport Nissan and their agents thereof, conduct

and actions evidence of bad faith, and negligence were and are stubbornly litigious, and

have caused Plaintiff(s) undue expense.

                                           COUNT 2

        COMPLAINT FOR FAILURE TO PROPERLY TRAIN AND SUPERVISOR

40). The Plaintiff(s) do hereby adopt, reassert and incorporate paragraphs 1-39, in

further support of COUNT 2, and says the following:

41). The Plaintiffs state that the Defendants each failed to train and/or properly train and

Supervisor Defendants Respondents of Passport agents, employees of their policy and

State laws which states and/or mandates that every time any vehicle before it is sold

and released, must be inspected, according to state law. If the Respondents of

Passport had conducted a legally proper and accurate inspection of the rotors and

brakes that would have discovered the vehicle was sold with the wrong rotors that

caused total brake failure with serious and permanent injuries to Claimant Cofield for

life.                                      COUNT 3
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                      COMPLAINT FOR NEGLIGENT ENTRUSTMENT

42). The Plaintiff(s) do hereby adopt, reassert and incorporate paragraphs 1-41, in

further support of COUNT 3, and says the following:

43). The injuries, harm, and damages were incurred by the Plaintiffs/Claimants as a

result of the sale of a vehicle that had not been properly or legally inspected that had

the wrong rear rotors on it which caused the rear brakes to totally fail and fronts brakes

and rotors had to be replaced because of wear and tear from the back brakes.

44). The Defendants/Respondents knew, or should have known that Plaintiff/Claimant

Dr. Cofield would likely to operate a motor vehicle they sold to Claimant that would or

could operate in a faulty, negligent and reckless manner causing possibly serious or

permanent injuries which is the case at bar.

45). As a direct result of Defendants/Respondents negligently entrusting the un or

improperly inspected vehicle selling the defective vehicle to Plaintiff/Claimant Cofield,

based upon falsified and/or false MD Motor Vehicle Inspection records such negligence

caused serious and permanent bodily injuries to Claimant Dr. Cofield, who did suffer the

injuries, damages, and harm as previously described in paragraphs 1-44 of this Claim.

                                    COUNT 4,5 AND 6

              COMPLAINT FOR STRICT PRODUCT LIABILITY
COMPLAINT FOR DEFECTIVE AUTO, BREACH OF WARRANTY, MOTOR VEHICLE
                 WARRANTY, BREACH OF CONTRACT

46). The Plaintiff(s) do hereby adopt, reassert and incorporate paragraphs 1-45, in

further support of COUNT 4, and says the following:
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 47). At all ties mentioned in this Claim or Complaint, the motor vehicle described herein

 and later sold to Plaintiffs/Claimant with defective rear rotors and brakes as to the wrong

 rotors were placed on the vehicle when the last owner and/or Respondents needed to

 repair the vehicle, causing the vehicle, rear brakes and rotors to be in a dangerous and

defective condition that made the vehicle unsafe for their intended use and sale.

48). As a direct and proximate result of the wrong rotors on the rear of the above

described vehicle with defective rotors causing a total break failure, Plaintiff/Claimant

suffered serious injuries, damages, as outlined above herein which caused or resulted

in loss of wages, pain and suffering, permanent disability, medical expenses and

mountains of losses in the millions of dollars. Plaintiff/Claimants was damaged by said

defects. Plaintiff/Claimant was damaged by said breach of the implied warranties and is

entitled to recover therefor. The Respondents of Passport Nissan failed to repair the

defects and/or properly inspect the vehicle before it was sold as is as the express

warranties and contracts were breached causing the defects to cause serious to

permanent injuries to Plaintiff/Claimant, therefor causing the warranties to fail to perform

and protect the Claimant Cofield, or fulfill the intended purpose, and the

Plaintiff/Claimant Dr. Cofield has consequently been damaged, and Plaintiff pr Claimant

is entitled to recover.

49). The Defendants/Respondents failed to and had several opportunities to cure or fix

the defects. The Defendants/Respondents of Passport Nissan failed to make the vehicle

for the purpose for which it was sold and intended, was sold as is with the wrong rear

rotors that caused serious and permanent injuries to Dr. Cofield for life.
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 Claimant has the original photos of the vehicle before, during and after the brakes

 were removed in a safe secured location. Claimant also has photographs of the

 entire location of the brake failure and mountains of medical reports, MRI's and

 other reports are continuing in nature. Plaintiff/Claimant also has photographs

that show when the brake likes came on and brake fluid levels at time of brake

failure and accident


50).                                 COUNT 7,8,9, and 10
                     JOINT STATEMENT OF THE CASE AND FACTS
            COMPLAINT FOR STRICT PRODUCT LIABILITY/COMPLAINT FOR
             NEGLIGENCE/BREACH OF WARRANTY/BEACH OF CONTRACT &
                              NEGLIGENCE PER SE

51). The Plaintiff(s) do hereby adopt, reassert and incorporated paragraphs 1-56, in further

support of COUNTS 7,8,9, AND 10.

The Salmonella Bacteria/Food Poisoning

52). Salmonella and/or Food Poisoning is the second most common intestinal infection in the

U nited States. More than 7,000 cases ofSalmonella were confirmed in 2009; however, most

cases go unreported. The Centers for Disease Control and Prevention estimates that over 1

million people in the U.S. contract Salmonella each year, and that an average of 20,000

hospitalizations and almost 400 deaths occur from Salmonella poisoning, according to a 2011

report.

53). Salmonella infection usually occurs when a person eats food contaminated with feces of

animals or humans carrying the bacteria. Salmonella or food poisoning outbreaks are

commonly associated with eggs, meat, and poultry, but these bacteria can also contaminate
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 7other foods such as fruits and vegetables. In this case, it was fairly uncooked contaminated

 beef that had been exposed,for many days or hours before it was cooked or prepared.

54). Symptoms of Salmonella infection, Salmonellosis, or food poisoning, range widely and

sometimes absent altogether. The most common symptoms include diarrhea, abdominal

cramps, and fever. The Plaintiff Nedd had all those including back pains, nausea, vomiting,

headaches, body aches, which began around 2 to 4 hours after attempting to each the

contaminated foods or steak, on the evening on or about the 2nd day of April, 2022. Typical

Symptoms offood poisoning or Salmonella appear 6 to 72 hours after eating contaminated

food and last for 3to 7 days.

55). Plaintiff Kayla Nedd,contacted me Dr. Keenan Cofield about what she had ate, the pain

and discomfort,the headache and other symptoms intensified and increased. Kayla was first

taken to Franklin Square Hospital in (Baltimore) on April 3, 2022,for treatment for

complications from Salmonella, gastroenteritis. Various tests were conducted,Zofran 4mg oral

tablet was ordered. I took Kayla to the ER.

56). The Plaintiff missed 4 plus day worth or work at over $100 a day.

57). Plaintiff Nedd continued to have complications and sickness, which now required a

SECOND visit to URGENT care on April 5, 2022,for further evaluations as all noted pains,

suffering was persistent and Kaylas pain was unbearable. The doctors at URGENT CARE

concluded Kayla suffered and had contracted food poisoning. Plaintiff Ned stayed in my care for

almost a week because she was unable to care for herself.

                                     STRICT LIABILITY
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 58). The food product at issue in this suit was designed, manufactured, constructed, marketed,

 prepared and cooked and/or distributed by and through the Texas Roadhouse Defendants and

 other agents on their behalf.

59). The food product in question remained unchanged from the time it was originally

 manufactured, distributed, and sold by the Defendants until it reached Kayla Nedd. The product

and conditions were defective and in an unreasonably dangerous condition when it left, but

was not properly stored, prepared and cook when it was in the hands of the Defendants named

herein Texas Roadhouse and always remained defective and further unreasonably dangerous

thereafter after the Plaintiff took photos of where this steak was exposed until it ultimately

caused the Plaintiff damages.

60). At the time the steak food product left control of the Defendants Texas Roadhouse, it was

defective and unreasonably dangerous in that it was not adequately manufactured, prepared,

cooked to minimize the risk of injury or death.

61). The above unreasonably dangerous defects, among others, in the product in question were

the proximate and producing cause of the Plaintiff Nedd damages.

                         NEGLIGENCE/NEGLIGENCE PER SE

62). Defendants owed a duty to the Plaintiff to take reasonable care to prevent the

m anufacture, distribution, and sale offood products contaminated with Salmonella, E. Coil, or

other foodborne pathogens. The Texas Roadhouse Defendants owed a duty to the Plaintiff to

maintain their premises, equipment, and facilities, and supervise their foods and employees, in

a reasonable manner to prevent the contamination ofthe food products they store, cook,

prepare for sale and distribution. Defendants owed a duty to the Plaintiff to comply with all
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 applicable laws and regulations relating to the manufacture, distribution, and sale offood,

 requiring that such food be FREE of pathogens, and unadulterated.

63). Defendants breached these duties. The breach of these duties was the proximate cause of

the Plaintiff's Nedd injuries. Plaintiff Nedd was among the class of persons, namely consumers,

intended to be protected by laws related to the manufacture, distribution, and sale offood that

was free from pathogens and unadulterated.

                                         COUNT 11
                               NEGLIGENCE AND FRAUD
                 ALL U.S.P. S. AND UNITED STATES GOVERNMENT DEFENDANTS

64). On or about the 24th day of July, 2021, I purchased a Apple !Phone from 1-Mobile,for the

total price of $1,099.99. The package was mailed by 2-Day Priority with TRACKING

NUMBER:9505511796611205751006. The package was intended for Cheneye Frank. It was

later determined the phone had been stolen by an unknown person appeared and was not

questioned, and the package was given to a thief. A local police report, and report was filed

with the USP Inspector Offices. The Plaintiff Dr. Cofield filed a timely claim. It was denied. These

Defendants were negligent in their actions in allowing some unknown person take possession

ofthe package and the intended person never received the phone. The Plaintiff replaced the

phone at his own expense, but was afraid to resend the phone a second time because offear it

would not make it again to the intended person.

WHEREFORE,the Plaintiff seeks judgment for losses, damages,theft which is a crime and for

pain and suffering and inconvenience in the amount of $12,000 dollars in Compensatory

Damages and $75,000 in Punitive Damages against the U.S. Defendants, or BEST OFFER.
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                                            COUNT 12

 65). The Plaintiff Cofield used the product or vehicle described above in a reasonably

 foreseeable manner; and the brakes totally failed as a result of the vehicle having replaced with

the WRONG rotors on the rear of the Claimants vehicle, that carried a failed or faulty

 inspection. The Plaintiff(s) do hereby adopt and incorporate COUNTS 1 thru 6, in further

support of COUNT 12 and says:

The Plaintiff/Claimant Dr. Cofield suffered serious to permanent injuries as described below and

his Mother LaVerne Thompson suffered minor pain and suffering, injuries or harm as a result of

the defect or failure to inspect the vehicle and all inspection items as required by law before

the vehicle was sold. The Amended and/or ADDED Defendants Ally Financial, knew and/or

should have known that the vehicle before financing the same was fit to be operated in good to

fair condition. These Defendants financed a vehicle that almost killed the Plaintiff(s) Cofield and

Thompson that caused permanent injury to Dr. Cofield, but caused a hardship as defined and

described in the ORIGINAL/VERIFIED complaint as to the personal expenses paid to repair the

vehicle several times and the permanent injuries in financing a vehicle that had a fraudulent

state vehicle inspection, which would have discovered that the vehicle had the rotors changed,

and someone placed by FORCE,the wrong rotors, which caused the brakes to totally fail

causing serious bodily injuries for life.


                               COUNT 13
             COMPLAINT FOR NEGLIGENCE, FRAUD,IDENTITY
             FRAUD,ID THEFT, VIOLATION OF PRIVACY ACT, ETC.
                    AGAINST SSA AND IRS, JOINTLY
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 66). The Plaintiff Dr. Keenan Cofield for the past 11 to 15 years off and on has been the victim

 of massive Identity Fraud and Theft, when many unknown and unnamed individuals has

 gained access and used in an illegal and unauthorized manner the Name, DOB,Social Security

 Number addresses, and MD Drivers License of Plaintiff Dr. Keenan Kester Cofield to file for

SSA and IRS tax benefits, numerous tax refunds request have been made in recent years,to

include, individuals filing for State Unemployment benefits from Maryland to Oregon. The IRS

and Social Security has failed and neglected to protect my information, even with a fraud

alert, individuals are able to make IRS tax refunds requests successfully, causing a hardship

upon the Plaintiff Cofield who is unable to make any personal tax claims or anyone else I

authorize to make a yearly tax claim, because the scammers and fraudsters have already

made a claim and received money or benefits in my name under may Social Security Number,

and DOB,etc.,any times over the years. The Plaintiff Cofield has filed Complaints several

times with Baltimore County, MD Police, MD State Police, IRS and SSA to NO avail. The

Plaintiff Dr. Keenan Cofield, Name but more specifically my social security number, and

drivers license have all been compromised to further obtain and change credit cards, bank

accounts, all and more the fraudsters have been and continue to be able to use my name,

identity, social security and drivers license number like it's FREE. This Plaintiff has suffered

economic hardship MENTAL pain and suffering as an end result of no action by these

Government agencies to change the Social Security Number and drivers license and other

online data in the Plaintiff(s) name.The SSA Defendants have received multiple ALERTS that

they believe the Plaintiff Cofield was filing and that someone else has and continues to file
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fraudulent unemployment claims, to tax refunds, open bank accounts and the list goes on

 and on.They ONLY way to make any adjustment is to CHANGE the Social Security Number of

 Plaintiff Cofield and his MD Drivers License, and his current social security number be shut

down and purged from the system.

67). Exhibit A page two is a letter from SSA,this is the second such letter or notice I have

received from this agency that my name and information has ALERTED SSA that I allegedly

filed for UNEMPLOYMENT. Never have I ever filed for any unemployment benefits. Exhibit B

is a 2021,letter from the IRS about an alleged but fraudulent tax refund, which again, I never

made NO such claim. Someone fraudulently filed taxes under my Social Security Number this

year causing me unable to be claimed myself. Exhibit-C, is an IRS Identity Theft Affidavit

faxed (2)times to the IRS with attachments. As of this date, never received a call and/or

letter. Exhibit D is a letter and/or documentation from the IRS, whereas someone filed taxes

back 2013 in my name. Exhibit E is copies of various letters from the State of Oregon about

unemployment. Plaintiff Cofield has never travelled to or worked in that state. The Plaintiff

now finds it necessary as his credit has been affected as well as other issues from the

fraudsters using my identity, name, DOB,address, social security name and MD license all

have been completely compromised beyond repair.

68). WHEREFORE,the Plaintiff Dr. Keenan Cofield seeks Judgment and Damages in the amount

of $5,000,000 in Compensatory Damages and $2,500,000 dollars in Punitive Damages against

each named Defendant herein, as to COUNT 13. That the Court Order IRS and SSA to delete and

purge from its records the Plaintiff Dr. Keenan Kester Cofield name associated with Social

Security Number XXX-XX-XXXX, permanently,that the Social Security is FOREVER BLOCKED from
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any further uses and is no longer recognized by SSA, IRS or any other state to federal agency, is

that social security number and other relevant information has been compromised, effective

 immediately. That the IRS and SSA shall fully RESTORE to the Plaintiff Dr. Keenan Kester Cofield,

any and all benefits lost as a result of being a victim of ID fraud and the illegal and unauthorized

use of his name, DOB, but more specifically his Social Security Number and MD drivers license.

69). That the Court shall enter an immediate TRO and/or Injunction, and/or any Declaratory

Judgment to Orders to effective ensure this relief is carried out s set forth above and the

Plaintiff Cofield is fully protected going forward. Order,that these Defendants did fail to protect

the privacy rights and government information associated with Plaintiff Dr. Keenan Cofield, and

further violated the Plaintiff Cofield rights, from due process of law to equal protection of the

law. Plaintiff Dr. Keenan Cofield is willing to discuss and settle this


matter with the United States government. Plaintiff seeks any and all

other Relief this Honorable Court deem to grant and/or award to the

Plaintiff Cofield as to Count 13 and others of the U.S. Defendants.

                                  DAMAGES
70). As a result of their injuries, the Plaintiff Nedd seek monetary

damages to compensate them for the following elements of damages:

a). The Plaintiff Nedd seeks Compensatory Damages in the amount of

$150,000 dollars against the Texas Roadhouse Defendants and

$250,000 dollars in Punitive Damages.
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 b). The Plaintiff Nedd seeks lost wages in the amount of $500.00.

c). Plaintiff Nedd seeks Pain and Suffer damages in the amount of

$1.75,000 dollars against these same Defendants.

d). Reasonable and necessary medical care and expenses in the past,

and/or that will incur in the future;

e). Physical pain and suffering in the past and/or in the future;

f). Mental anguish in the past and future in the amount of $75,000

dollars;

80). Plaintiff(s) are willing to discuss any reasonable and fair

settlements offers.

81). DEMAND TRIAL BY JURY ON THIS COUNT AS WELL INVOLVING THESE DEFENDANTS.


82).                    RELIEF REQUESTED

A). The Plaintiffs demand and seek judgment in their favor for $3,500,000 million

Dollars in Compensatory Damages against each Defendant(s) and $10,000,000

million Dollars in Punitive Damages against each Defendants named herein for

COUNTS 1-6, and 12, separately and independently. The negligence by these

Defendants caused a financial hardship upon the Plaintiff Dr. Keenan Cofield, leaving

him with permanent injuries and over $100,000 in medical bills and have not even had
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the required multiple surgeries needed, which could run into the millions of dollars.

 Request that these Defendants of Ally Financial pay the victims vehicle off in FULL and

correct any and all credit reports as PAID IN FULL in GOOD STATES, OR BEST

OFFER. This is in addition to the RELIEF requested against this Defendants. The

Plaintiff has the original brakes and rotors taken off the vehicle, as well as the original

photos at each stage of the repairs conducted.




83).                                AMENDED RELIEF

B). Plaintiff(s)/Claimant Dr. Keenan Cofield and mother LaVerne Thompson
demands against Passport Motors, and any and all other Passport Defendants to
and is entitled to recover for and/or BESTOFFER in the amounts set forth below:

LaVerne Thompson only seeks damages for pain and suffering of $25,000 dollars
for being 82 years old in the front passenger seat when the brakes failed.

Pain and Suffering-MD Maximum-$905,000 dollars
Personal injuries-$15,000,000 dollars
Past, present, and future pain and suffering-$2,500,000 dollars
Disability-$20,000,000 dollars
Emotional distress-$5,000,000 dollars
Disfigurement-$15,000,000 dollars
Mental Anguish-$2,500,000 dollars
Loss of capacity for the enjoyment of life-$15,000,000 dollars
Economic losses-$2,000,000 dollars
Incidental expenses-$350,000 dollars
Past, present, and future medical expenses-$2,500,000 dollars
Lost earnings-$10,000,000 dollars
Loss of earning capacity-$10,000,000 dollars
Permanent injuries-$15,000,000 dollars
Consequential damages-$1,000,000 dollars
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 Loss of Court Bankruptcy Orders and Court Judgments-Appeals, etc.-$5,000,000
 dollars
 Repair Bills for brakes and rotors-$1870.00.


C). AMENDED ADDITIONAL RELIEF-Plaintiffs/Claimants demand that the
Respondents of Passport Nissan fully pay off Claimants vehicle that is left on the
loan pending. Approximately $15,000 dollars.


D). Medical bills are between $75,000 and $100,000 dollars plus and continuing
for life.


E). DEMAND FOR TRIAL BY JURY ON ALL COUNTS,ALL ISSUES, ALL PARTIES
PURSUANT TO MD RULES 2-503(a), and (b).


F). The Plaintiff(s) and his mother losses were, are and will be due to the
carelessness and negligence of Defendants/Respondents Passport Nissan
employees,salespersons, and agents staff, without any negligence or want of due
care on the Plaintiff(s) part contributing to harm done. Plaintiff Dr. Cofield is now
a forced disabled psych doctor, personal injury & Domestic Urban Terrorism
expert, International News Director and MD State Lobbyist.


G). The Plaintiff(s) where applicable seek and DEMAND that this Complaint
and/or Amended Complaint be treated as a Complaint for Injunctive Relief and
Declaratory Judgment Relief,JOINTLY in invoked, under State and federal acts,
jointly.


84). CONTINUED WITH COUNT 14....
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                                         COUNT 14

84). Plaintiff(s) Dr. Keenan Cofield, ONLY,do hereby adopt each and every previous statement

 made in the Original Complaint-COURTS JURISDICTION to now further Amend and/or

Supplement this section with the following and says,from paragraphs 1-83:

85). The Plaintiff(s) action now includes violations under the Sherman Antitrust Act 15 U.S.C. 1,

and 15, 18 U.S.C. 1961, et. seq., a federal crime for relief under 15 U.S.C. 1 and 15, and FTC Act,

15 US.C. 44, 15 U.S.C. 53(b), 1607(c), 1693(c), Section 5(a) of the FTC Act,15 U.S.C. 45(a)and

the Lanham Act under section 32, 15 U.S.C. 1114, 1121, and 1125(a)(b)(c) and (d), state law

trademark dilution, and common law trademark infringement claims, 28 U.S.C. 1331, 1338,

unfair competition, MD state tradename violations and section 43(a)to obtain preliminary and

permanent injunctive relief, rescission and corrective advertising order for certain specific

Defendants TWITTER,to discontinue their unlawful acts of false advertising, willful copyright

infringement, wrong restraint oftrade, unfair competition and deceptive trade practice in

commerce, restitution, Court's Order branding Defendant's advertising as false and misleading,

damages and other equitable relief for Defendants acts, practices and conduct violate state and

federal laws. This court has jurisdiction over the various Supplemental/Pendent State Claims,

Herein Defendants Twitter has and continues to aid and abet in an unlawful monopoly, by the

use of a materially false information that violates and infringes upon the copyrights,

trademarks, and tradenames and other protections in the names and/or intellectual properties

owned by the Plaintiff Cofield, and not Twitter. Defendants Twitter know and/or knew the

claims in question were false and has the design and intent to mislead, confuse, and deceive

the public, business world and commerce actors of its site. The Plaintiff(s) have also included
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the MD Lemon Law Act, Motor Vehicle Warranty Act,and the Magnuson Moss Act in the

 Original, and Amended Complaint,though not these Counts.

 VIOLATIONS OF SECTION FIVE OF THE ACT

86). Section 5(a)of the FTC Act, 15 U.S.C. 45(a),"prohibits unfair and deceptive acts or

practices in or affecting commerce. Misrepresentations or omissions of material facts

necessary to prevent misleading consumers constitute deceptive acts or practices prohibited

by Section 5(a) of the FTC Act.

                                           COUNT 15

 Infringement of State and/or Federal Tradename,Trademark and Service Marks
              (Fraudulent Deceit, Deceptive Acts & Practices)

87). The Plaintiff(s) Dr. Keenan Cofield sets forth the following as to their Amendment and/or

Supplemental of these Defendants to the entire [Original, Amended and/or Supplemental

Complaints of Record jointly], to include but not limited to each and every allegation contained

in paragraphs 1-84, as the same force and effect as if the allegations and claims were fully set

forth incorporate these paragraphs below in further support of COUNTS 14 and Defendants as

mentioned and Amended,and says:

a). Plaintiff Dr. Keenan Cofield, Dr. Keenan Kester Cofield, also Sir. Lord Keenan Kester Cofield,

who's name or names are properly and/or legally organized and recognized as a protected

member of society, class, person and entity in the State of Maryland to federally registered in

real and common law are names and marks in commerce to registered domain names and

business names with EIN's, in connection with virtually all of its products and services, including

search engines, and connections to and with the internet and world wide web.
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 b). The Defendants Twitter, Inc. knew and/or should have known the Plaintiff described herein

 had both actual and constructive knowledge of Plaintiffs ownership and rights in its state and

federally registered names and marks prior to Defendants Twitter infringing use of and/or

allowing other parties in an illegal and unauthorized manner access and the unlawful right to

 use those names and marks in violation of Plaintiff(s) tradename,trademarks and other

copyright protections the Plaintiff enjoys in the same illegal used in a fake and illegal posting

and Twitter advertising or advertisement, without the knowledge nor consent of the

tradename,trademarks or copyright holder consent.

c). Defendants Twitter, Inc. adopted and continue to use in commence and/or allow other

parties the right and access to use and infringe upon the property rights and intellectual

property rights of the Plaintiff, even after contacting Twitter, Inc. Twitter took NO action to shut

down and STOP further infringement of my name or names in any form. Defendants continued

use with full knowledge and a complaint on file of the Plaintiffs Dr. Keenan Cofield superior

rights, and doing so with the full knowledge that their infringing use of Plaintiffs marks and

names was intended to harm,to cause confusion, mistake and/or deception.

d). Defendants Twitter, Inc. offer services as part of their search system under the infringing

names and marks to include by other parties or persons in a fraudulent scheme that is likely to

cause and did cause, confusion, mistake, deception of false or inaccurate misinformation or

beliefs having the Plaintiff and general public to believe the same all with the intent to injure

and harm the Plaintiff in connection with the scheme that violates 15 U.S.C. 1114 and other

applicable state and federal statutes.
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 e). Defendants actions constitute knowing, deliberate, and willful infringement of Plaintiffs

 state and federally protected marks and rights. The knowing and intentional nature of the acts

 set forth herein renders this an exceptional vase under 15 U.S.C. 1117(a).

 f). Defendants Twitter, Inc. have represented and/or misrepresented, directly or indirectly,

 expressly and by implication,the knowingly false statement and deceptive advertisement in the

 name and marks of the Plaintiff on their web site, through deceptive acts and practices

 infringed upon the tradenames,trademarks and/or copyright of the Plaintiff by false

advertisement and unfair competition and commerce.

g). Therefore, Defendants Twitter, Inc. representations are false and misleading and constitute

deceptive acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. Section 45(a) and

willful restraint of trade and name,Sherman Antitrust Act, 15 U.S.C. 1 and 15.

As a result of Defendants infringements, Plaintiff Dr. Keenan Cofield and/or Sir. Lord Keenan

Kester Cofield„ a name used recently in a HBO movie, has suffered substantial damages, as well

as the continuing loss of the goodwill and reputation established by Plaintiff in his common law

and/or state to federally registered marks. This continuing loss of name, marks and goodwill

cannot be properly calculated and thus constitutes irreparable harm and an injury for which

Plaintiff has NO adequate remedy at law. Plaintiff Dr. Cofield will continue to suffer irreparable

harm unless this Court enjoins Defendants conduct, and require the Defendants shut down the

infringing content.

                           STATEMENT OF THE CASE AND FACTS

88). An investigation has revealed that Defendant Twitter, Inc. is not a legally foreign and/or

domestic legal entity, organization, company or corporation licensed and incorporated with
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 various filings to legally do business and operate within the State of Maryland. The MD

 Assessment and taxation offices in Baltimore, Maryland have NO listings of Twitter, Inc. as a

foreign entity nor is there a required tradename application or permit on file and issued to

Twitter.(See Exhibit A)-As of this date,05/02/2023,TWITTER is not and has not been in

GOOD STANDING TO DO BUSINESS IN MARYLAND FOR MANY YEARS.

89). The Powers, Legal Authority,Jurisdiction to form and do any business,
operate,function and engage in business in any state is based upon State laws,
not federal,and the Articles of Incorporation,to By Laws of that entity, with
also a tradename filing in that name in MD as a foreign or domestic entity, all
filed and established with the State,completes the legal process for that entity
to do business and operate within this State of Maryland. TWITTER,INC. has NO
such filings nor rights to do any business or take any action for or against a
protected class of consumers within the State of Maryland,to date, with or
without written consent.


90). Many months back,the Plaintiff(s) Dr. Keenan Cofield sent Twitter several messages

regarding this fake postings in his protected name. To date, Twitter did not as it promised

remove the illegal and unlawful content from its web site or search system.

91). Dr. Keenan Kester Cofield, Dr. Keenan Cofield, Sir. Lord Keenan Kester Cofield, Supreme

GRAND Bishop Dr. Keenan Cofield, and other related names are all tradenames, trademarks, or

parts of copyrighted works owned by Dr. Keenan Cofield. At NO time have I allowed, gave

written consent or any form of permission for Defendant Twitter or anyone else anywhere the

right, power or authority to use my tradename,trademarks in any form, message,fake news to

unauthorized content, posted on Twitters web site, without my knowledge, information nor

written consent that has infringed upon and is a direct violation of my tradenames,trademarks

and copyrighted works property rights.
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 92). With Defendants Twitter, Inc. permission without any disclaimer, notice or other contact,

 Twitter, Inc. violated my intellectual property rights when they allowed some unknown person

 to create a FAKE Twitter account that is libelous,false advertisement, on its website with

 defamatory false content. The Plaintiff has never made any of the alleged statements craved

from this unknown source. The fake, illegal and unlawful Twitter account in and using my name

is illegal and violates and/or infringed upon my tradenames and trademarks and cannot legally

stand as valid, as the owner of the tradename, names and marks never gave Twitter or anyone

the right nor written consent to use it in this public worldwide forum.

93).

         COUNTS 16/COUNT 17/COUNT 18/COUNT 19/COUNT 20-JOINTLY

        (State & Federal Unfair Competition and False Designation of Origin)
                    State and Federal Dilution By Tarnishment
       Violation of Anti-Cybersquatting Consumer Protection Act(Cyberpiracy)
         Violation of Maryland Unfair Competition & Consumer Sales Act
                                Trademark Dilution
                      MD-Trademark & Tradename Infringement
                            Violation of The Lanham Act

94). Plaintiffs adopt each and every previous allegation and claim and reassert any and all

statements contained in paragraphs 1-54 as if fully set forth herein.

95). Defendants have deliberately, willfully and unlawfully used and/or allowed others to use

on its web site and platform his name, names and marks that violate the Plaintiff protected and

common law intellectual properties, without the written consent of the Plaintiff, with the grand

Intent to confuse consumers and the public.
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 96). Defendants Twitters, Inc. unauthorized and tortious conduct has also deprived and will

 continue to deprive the Plaintiff of the ability to control the consumer perception of its

 products, services and names, placing the valuable reputation and goodwill of the Plaintiffs

 name in the dirty unclean hands of the Defendants Twitter, Inc.

97). Defendants conduct described herein is likely to cause confusion, mistake or deception as

to the affiliation, connection or association of Defendants Twitter and their schemes and

schemes of others illegally using the Plaintiffs name in a false advertisement or posting, with

Defendant Twitter, Inc. approval, in violation of Section 43 of the Lanham Act, 15 U.S.C.

1125(a)(1).

98). Defendants had direct and full knowledge of Plaintiff Cofield's prior use of and rights in its

marks and names before the acts complained of herein. The knowing, intentional and willful

nature of the acts set forth herein renders this an exceptional case under 15 U.S.C. 1117(a).

99). The name and marks of Dr. Keenan Cofield and/or Sir. Lord Keenan Kester Cofield both in

word and other forms are famous and distinctive and are entitled to protection against dilution

by blurring or tarnishment. Defendants Twitter, Inc. have injured and will continue to injure

Plaintiff name and business reputation, have tarnished the distinctive quality of Plaintiffs

famous name, marks and brand, and have lessened the capacity of the Plaintiffs famous name

and marks use in violation of 15 U.S.C. 1125(c).

100). The Defendants have misused, infringed upon the registered domain names of the

Plaintiff as described herein with their conduct. The Defendants Twitter, Inc. have used illegally

privacy protection services that prevent the Plaintiffs from fully discovering through public

available information the real names and entities or web addresses of the suspects pirates.
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 violated the tradenames„trademarks and copyrights to intellectual property rights common or

 registered by the Defendants Twitter, Inc.

 WHEREFORE,the Plaintiffs prays for an Order and Judgment as follows:

1). Entry of an Order(on a preliminary and permanent injunction) and/or TRO, requiring the

 Defendants Twitter, Inc. and their officers, agents, servants, employees, owners, and

 representatives, and all other persons,firms or corporations in active concert or participation

with them as to the conduct described herein be enjoined and restrained from the use or

further use of any of the names, persons or entities of the Plaintiff(s), owned by the Plaintiff,

unless created and established by the Plaintiff, which Sir. Lord Keenan Kester Cofield is a fake

site, posting and false advertisement of the Plaintiffs name, brand, domain name and marks so

protected.

a). Using the name or names, domain name or names in any manner without the written

consent of the owner Dr. Keenan Cofield, in any form on Twitters web site, or business as

promotional materials in any false and/or deceptive manner, is a violation and infringement of

the Plaintiffs rights of his name and marks, is prohibited, and any such information and/or

postings displaying the use ofthe name, marks or domain names of the Plaintiffs shall be

immediately removed, without delay,from the Twitter, Inc. web site and business;

b). Ordering Defendants to retain and disclose all communications with all individuals and

e ntities with whom they engaged in any transaction to or arising from the use of Sir. Lord

Keenan Kester Cofield, or Dr. Keenan Cofield names, marks, or domain names, etc. or otherwise

in furtherance of the scheme alleged herein;
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 c). Ordering Defendants Twitter, Inc. pursuant to 15 U.S.C. 1116(a)to file with this Court and

 serve upon the Plaintiff(s) within thirty days after entry of the injunction a written report under

 oath describing in detail the manner and form in which Defendants Twitter, Inc. have complied

 with the injunction, including the ceasing of any and all postings and uses of the Plaintiffs name

or names as referenced or further described in this Complaint.

 d). The Plaintiffs seek damages and judgment be entered against Defendants Twitter, Inc. as to

COUNTS 14, 15, 16, 17, 18, 19, 20,separately in the amount of $25,500,000 in Compensatory

Damages, and $150,000,000 dollars in Punitive Damages. Plaintiff(s) Demand Trial by Jury on

these Counts jointly, but separately from all others, these named Defendants are not named or

involved in. That any settlement shall be FREE and clear. No taxes imposed upon the Plaintiffs

for any settlement.    Plaintiff Dr. Keenan Cofield is open for any settlement talks with these

or any Defendants named herein in this case.

e). Ordering the Defendants Twitter, Inc. to pay any and all attorney's fees, expenses, costs, to

include a judgment for enhanced damages under 15 U.S.C. 1117. The Plaintiffs are opened to

discuss and settle any claims involving Twitter, Inc. at anytime.

f). Granting the Plaintiff's such other and further relief as the Court deems just and proper.
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                                COUNT-21
 106). The Plaintiff(s) do hereby adopt and incorporate COUNTS 1-20, and paragraphs 1-105,

in further support ofthis AMENDED COMPLAINT,and its RELIEF and AMENDED RELIEF,

and says the following:

 107). Plaintiff(s) Kevin L. Cofield, Sr., Dr. Keenan K.Cofield, LaVerne Thompson,Orian

D.Cofield, Arviette L. Cofield,Luluk Novi Fatwamati, All ("Plaintiffs"), individually and

jointly, file this Complaint against Defendant Equifax Inc.("Equifax"), Equifax Consumer

Services, LLC,states as follows:

                            PARTIES,JURISDICTION,AND VENUE

108). Plaintiff(s) Kevin L. Cofield,Sr.,Dr. Keenan K. Cofield, LaVerne Thompson,Orian

D.Cofield, Luluk Novi Fatwamati, Arviette L. Cofield, a natural person(s) and at all relevant

times have been residing and/or doing business in Baltimore CITY,Baltimore County, and

throughout State of Maryland and the United States of America. Plaintiff(s) are, and at all times

relevant was, a "consumer" as that term is understood under 15 U.S.C. § 1681a(c) and Md. Code.

Ann., Corn. Law § 13-10I(c).

      109). Defendant Equifax Inc., Equifax Consumer Services, LLC,et. al. is a corporation

incorporated under the laws ofthe State of Georgia, with its principal place of business located at

1550 Peachtree Street NE,Atlanta, GA,and doing business in the State of Maryland.

Defendant Experian Information Solutions, Inc. is a foreign corporation authorized to do

business in Maryland. Defendant is also a foreign corporation authorized to do business in

Maryland. Equifax, Experian, and Transunion operates through various subsidiaries, and each of
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 these entities acted aS agents of Equifax, Experian, and Transunion or in the alternative, acted in

 concert with Equifax, Experian and/or Transunion as alleged in this complaint.

       1 10). Equifax, Experian, and Transunion is a"Consumer Reporting Agency"(or"CRA")

 as that term is defined by 15 U.S.C. § 1681a(f).

      1 11). Equifax,Experian, and Transunion three ofthe "Big 3" consumer reporting agencies,

All have a long history ofconsumer complaints and lawsuits alleging(and establishing) that

they unreasonably mixed the credit files and information ofone consumer with the credit reports

of another consumer. In this case, representative of numerous others, Equifax, Experian and

Transunion combined or mixed the credit files ofthe Plaintiff with a complete stranger with a

similar name, and/or Plaintiff Kevin L. Cofield, Sr. into Plaintiff Dr. Keenan K. Cofield's credit

files for many years resulting in a collection's, addresses, birthdate information among other

account appearing in Plaintiff's credit reports that belonged to each Plaintiffor someone else.

      112). Equifax,Experian and Transunion are also a "Consumer Reporting Agency that

Compiles and Maintains Files on Consumers on a Nationwide Basis" as that term is defined

under 15 U.S.C. § 1681a(p).

      113). This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as this case

alleges a violation offederal law, specifically the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

seq.("FCRA"). However,in the event of a REMOVAL,the Plaintiff(s) shall file an

objection and contests any of the other Defendants named to this action and seek a

REMAND as to ALL other Defendants and issues as described herein, which has been

noted on the record in a separate filing.

     1 14). This Court has supplementaljurisdiction to hear all state law claims pursuant to 28

U.S.C. § 1367.
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      115). Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)and (c), as Plaintiff(s)

 resides or do business within this District, a substantial portion ofthe events or omissions giving

 rise to the claim occurred in this District, and Equifax,Experian, and Transunion regularly

 conducts business in this District, and elsewhere throughout the United States.

                                        INTRODUCTION

     116). The United States Congress has found that the banking system is dependent upon fair

and accurate credit reporting. Inaccurate credit reports directly impair the efficiency ofthe

banking system, and unfair credit reporting methods undermine the public confidence, which is

essential to the continued functioning ofthe banking system. Congress enacted the Fair Credit

Reporting Act, 15 U.S.C. § 1681, et seq.("FCRA"),to ensure fair and accurate credit reporting,

promote efficiency in the banking system, and, as most relevant to this Complaint, protect

consumer privacy. The FCRA imposes duties on the CRAs to protect consumers' sensitive

personal information.

    117). FCRA protects consumers through a tightly wound set of procedural protections from

the material risk of harms that otherwise follow from the compromise of a consumer's sensitive

personal information. Thus,through FCRA,Congress struck a balance between the credit

industry's desire to base credit decisions on accurate information, and a consumer's substantive

right to protection from damage to reputation, shame, mortification, and emotional distress that

naturally follows from the compromise ofa person's identity.

     118). A central duty that FCRA imposes upon CRAs is the duty to protect the consumer's

privacy by guarding against inappropriate disclosure to third parties. 15 U.S.C. § 1681b codifies

this duty, and permits a CRA to disclose a consumer's information only for one of a handful of

exclusively defined "permissible purposes." To ensure compliance, CRAs must maintain
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 reasonable procedures to ensure that such third party disclosures are made exclusively for

 permissible purposes. 15 U.S.C. § 1681e(a).

       1 19). FCRA defines "consumer report" broadly, as "any written, oral, or other

 communication of any information by a CRA bearing on a consumer's credit worthiness, credit

 standing, credit capacity, character, general reputation, personal characteristics, or mode ofliving

 which is used or expected to be used or collected in whole or in part for the purpose of serving as

 a factor in establishing the consumer's eligibility for(A)credit or insurance to be used primarily

 for personal, family, or household purposes;(B)employment purposes; or(C)any other purpose

 authorized under section 1681b of this title." 15 U.S.C. § 1681a(d).

      120). FCRA also entitles the consumer to take an active role in the protection of his or her

 sensitive personal information, by giving the consumer a right to request"All information in the

 consumer's file at the time of the request." 15 U.S.C.§ 1681g(a)(1). Through immediate review

ofthe details of when, and for what purpose,a consumer's information has been disclosed to a

third party, a consumer may better understand whether their identity has been stolen.

     121). FCRA also entitles consumers to actively protect their privacy rights in cases of

suspected identity theft. Specifically, a consumer who believes he or she has been the victim of

identity theft can submit a fraud alert to a consumer reporting agency. 15 U.S.C. § 1681c-1. The

consumer can either request that the fraud alert be imposed for a 90-day period, or for an

extended period of seven years. 15 U.S.C. § 1681c-1(a)-(b). In the event a consumer requests

"extended" protection, a consumer reporting agency must remove the consumer from any list of

third parties to whom the agency sends the consumer's information to extend firm offers of

credit, and keep the consumer off ofany such a list for five years, unless the consumer requests

otherwise. 15 U.S.C. § 1681c-1(b)(1)(B). After being notified of a fraud alert, a CRA must send
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 notification ofthe alert to the consumer reporting agencies which report information on a

 nationwide basis. 15 U.S.C. § 1681c-1(a)(1)(B); see 15 U.S.C. 1681a(p).

       121). After fraud notification, FCRA provides the consumer additional rights to

 independently monitor their credit information to protect their privacy. Specifically, once

notified ofa consumer's fraud notification, a CRA must, within three days ofthe notification,

provide the consumer with all ofthe disclosures required under 15 U.S.C. § 1681g. 15 U.S.C. §§

 1681c- 1(a)(2), 1681c-1(b)(2). When a consumer requests that an "extended" fraud alert be

placed on their files, the consumer is entitled to request two free disclosures under 15 U.S.C. §

1681g within the 12-month period following notification of a fraud alert. 15 U.S.C. § 1681c-

1(b). Each ofthe Defendants have violated or failed to comply with the statutes or provisions of

law cited above in this paragraph,that severely harmed, damaged or injured the Plaintiff(s) in

life and while applying for credit.

      122). Thus,through immediate review ofthe details of when, and for what purpose,a

consumer's private information has been disclosed to a third party, a consumer may better

understand whether their identity has been stolen. And through semi-annual review oftheir

consumer disclosures in the case ofan "extended" alert, a consumer can periodically check to

determine whether efforts to protect their identity after potential fraud have not been successful.

Thus, FCRA presupposes that consumers subject to potential fraud should be permitted the

immediate opportunity to investigate the issues themselves and ascertain the extent ofany

suspected fraud.

       123). Plaintiff(s), individually and jointly, brings this action to challenge the actions of

Defendant(s)in the protection and safekeeping of Plaintiff's and the personal information,

reporting and refusal to correct disputed incorrect and inaccurate information, and/or update
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 credit information for months to years with combined or mixed the credit files of several

 Plaintiff(s) as described above creating denial ofcredit based upon inaccurate reporting or

 correction ofreported information from many sources.

         124). Defendants, failed to properly safeguard the information ofPlaintiff(s) as required

 under 15 U.S.C. § 1681e(a).

        125). Additionally, Defendant's failure to properly safeguard the information of

 Plaintiff(s) constitutes a violation ofthe Maryland Consumer Protection Act, Md. Code Ann.,

 Corn. Law § 13-101, et seq., i.e., an unfair or deceptive trade practice by failing to safeguard an

 on-going consumer service. Accordingly, relief under Md. Code Ann., Corn. Law § 13-303 is

 warranted to prevent Defendant's from forcing Plaintiff's to subject themselves to arbitration.

                                     GENERAL ALLEGATIONS

        126). Equifax, a global corporation,"organizes, assimilates and analyzes data on more

than 820 million consumers and more than 91 million businesses worldwide, and its database

 includes employee data contributed from more than 7,100 employers."

(http://wwvv.equifax.com/about-equifax/company-profile/(September 11, 2017)), and expanded

to include between January 23,2020 and January 22,2024, as to also include but not mited

to the EXTENDED CLAIMS PERIOD CLAIMS.. More specifically, the Plaintiff Dr. Keenan

Cofield continued to date to suffer from said original breach and supplemented uncontrolled

breach oftheir personal data and information. Plaintiff Dr. Cofield complained to the FTC,IRS

and various other federal agencies as described herein, even years AFTER the First settlement,

and an ADDITIONAL NEW Count and Issues that occurred indicating a tax fraud or tax fraud

reporting claim scheme by Equifax to double claims for settlement in excess ofthe settlement

amount is fraud,tax cheats. Here is the breakdown ofthe settlements paid by Equifax and what
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 they reported to the IRS: Kevin L. Cofield, Berri A. Wells, LaVerne Thompson-settled for

 $2000.00 Equifax claimed and filed or reported a loss of$4000.00,Dr. Keenan Cofield settled

$3500.00 and Equifax illegally claimed and reported a loss of$7000.00. The Plaintiff(s)filed in

 recent months various Complaints with the IRS,and other Federal agencies,including the

U.S. Postal Inspector Offices, and others on the subject ofID fraud,theft and use of name,

social security numbers,along with DIRECTLY filing several online and email Complaints

to Equifax and their counsel at that time regarding to the tax claim scheme by Equifax.(See

COUNT 21-EXHIBITS & ATTACHMENTS)

       127). The data Equifax stores includes Plaintiffs personal identifying information, such as

names,full Social Security numbers, birth dates, addresses, driver's license numbers, and credit

card numbers (collectively,"PII"). At all relevant times, Equifax knew or should have known

that the PII it collected and stored is valuable, highly sensitive, susceptible to attack, and could

be used for wrongful purposes by third parties.

        128). In 2011,the State of Maryland Department of Human Resources partnered with

Equifax to increase efficiencies and reduce fraud with regard to the distribution of government

entitlement benefits to Maryland recipients.(See Credit Rating Firm Helps State Validate

Welfare Recipients, Rebecca Lesner, MARYLANDREPORTER.COM,June 30, 2015, available

at: http://marylandreporter.com/2015/06/30/credit-rating-firm-helps-state-validate-

welfarerecipients/). Maryland consumers therefore have a unique relationship with Equifax.

        129). On July 29, 2017, Equifax discovered that one or more ofits servers, which

contained Plaintiff's sensitive personal information including Plaintiff's name,full Social

Security number, birth date, address, and, upon belief, his driver's license number and possibly

one or more ofhis credit cards, had been breached or "hacked" by a still unknown third party.
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         130). Upon belief, when Equifax discovered this breach, Equifax immediately began an

 internal investigation and contracted with an unidentified third-party cybersecurity firm to

 conduct a comprehensive forensic review to determine the scope ofthe hack including

 identifying the specific data impacted. As ofthe filing ofthis Complaint,that investigation

remains ongoing and has yet been completed despite over six weeks elapsing since the initial

 breach. A breach also occurred in March,2017 at Equifax,to date.

        131). On September 7,2017, major news outlets began reporting about the July 29,2017

incident.(See, e.g., Massive Equifax Data Breach Could Impact Half ofthe U.S. Population,

Alyssa Newcomb,NBCNEWS,Sept. 7,2018, available at:

https://www.nbcnews.comitech/secmity/massive-equifax-data-breach-could-impact-half-u-

spopulation-n799686).

        132). For Plaintiff(s), these news stories were the first time that they had been informed

that their information secured by Equifax had been compromised six (6)weeks earlier, and they

now live in constant fear that their information has been compromised.

       133). After Equifax discovered the breach but before notifying Plaintiff, Class Members,

and all other consumers,three(3)Equifax executives, including the Chief Financial Officer,

John Gamble,sold shares ofEquifax stock worth a combined $1,800,000.(See, e.g., Equifax

Faces Multibillion-Dollar Lawsuit over Hack,Polly Mosendz,BLOOMBERG,Sept. 8, 2017,

available at: ccccc).

      134). Equifax's decision to wait six(6)weeks after the alleged data breach before

informing all consumers ofthe same was willful, or at least negligent. Further, by depriving

Plaintiff's timely information about the breach, Equifax subjected each consumer to a concrete

informational injury, as these consumers were deprived of their opportunity to meaningfully
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 consider and address issues related to the potential fraud, as well as to avail themselves ofthe

 remedies available under FCRA to prevent further dissemination oftheir private information.

      135). Equifax has been subject to numerous allegations regarding data breaches in the past.

(See, e.g., A Brief History ofEquifax Security Fails, Thomas Fox-Brewster, FORBES,Sept. 8,

2017, available at: https://www.forbes.com/sites/thomasbrewster/2017/09/08/equifax-

databreach-history/#63dc4270677c). In light of Equifax's continual failure to ensure the integrity

of its file storage systems given known defects in those systems, Equifax recklessly, willfully, or

at the very least, negligently failed to use reasonable care or to enact reasonable procedures

and/or technological safeguards to ensure that consumer reports would only be provided for a

permissible purpose. By failing to establish reasonable procedures to safeguard individual

consumer's private information, Equifax deprived millions ofconsumers of a benefit conferred

on them by Congress, which, now lost, cannot be reclaimed.

        136). Equifax knew or should have known that failing to protect consumers' PIT from

unauthorized access would result in a massive data breach and would expose consumers to

serious harm such as identity theft.

       137). The unauthorized disclosure and dissemination ofprivate credit information causes

immediate harm. At the time that the unauthorized breaches occurred, Plaintiffs began to incur,

and continue to incur, such harm

       138). Furthermore,the PIT that unauthorized third parties took from Equifax includes

multiple types of sensitive information on a single person,the aggregate value of which is greater

than the sum ofeach individual datum. This further exacerbates the extent ofPlaintiff's injuries.

      139). Defendant's acts and omissions have diminished the value ofPlaintiff's
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         33). As a direct and proximate result of Equifax's acts and/or omissions, Plaintiffs have

 suffered imminent and impending injury arising from the subsequently increased risk offuture

 fraud, identity theft and misuse oftheir PII.

          140). On September 7,2017, Equifax began to offer consumers like Plaintiff's an allegedly

 dedicated secure website where consumers could determine if their PII was compromised

(https://www.equifaxsecurity2017.com) and offer consumers "free" credit monitoring through an

 Equifax product, TrustedID Premier (https://www.equifaxsectuity2017.com/enroll/), for one

 year.

         141). However under the guise of providing victims the opportunity to mitigate their

 damages, Equifax offered Plaintiff(s)free access to its TrustedID Premier service, the terms and

 conditions of which require that the victims, including Plaintiff's, waive their right to bring or

 participate in a class action lawsuit and require them to submit to arbitration

(http://www.equifax.com/terms/). These actions are yet another avenue by which Equifax has

 deprived Plaintiff(s)ofthe ability to avail themselves ofthe remedies available under FCRA and

 to prevent further dissemination oftheir private information. This is why this action is private.

         142). Equifax Credit Information Services, Inc. was negligent in allowing my data to be

breached under Maryland, and Alabama consumer's laws. The nature ofthe breach,including

the release and access of permanent personal data, such as Plaintiff(s) social security numbers,

etc., has resulted in significant damage. Plaintiff Kevin L. Cofield, Sr. birthdate is being reported

by Transunion on Plaintiff Dr. Keenan Cofield credit report and profile. This is not the only

discrepancy between the two Plaintiffs) credit reports and profiles. This has been going on with

other area ofthe credit report or profile being reported by both Defendants Equifax and

Experian.
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        143). Plaintiff(s) Kevin L. Cofield, Sr. and Dr. Keenan Cofield, have written, called,

 faxed, disputed incorrect to inaccurate information reported to and/or by each ofthe credit

 bureau Defendant's at least some 25 to 50 times, with information never being corrected from

 mixed file information being reported to disputed matters, like the Plaintiff Kevin L. Cofield, Sr.

 who paid off his APGFCU auto loan 6 to 8 weeks, but Equifax is still reporting the debt that

caused the Plaintiff Kevin L. Cofield, Sr. to be denied several loans or other credit because ofthe

 negative information being reported and/or not being updated or falsely being reported by

APGFCU to date. That car loan still appears on Plaintiff(s) Kevin Cofield's credit report as a

debt.

      144). The inaccurate reporting by APGFCU for years truly harmed Plaintiff Kevin L.

Cofield, Sr. This derogatory item severely reduced the Plaintiff's credit scores and caused him to

be denied loans, credit etc. Now Ally is reporting derogatory and negative information on both

Plaintiff(s) Dr. Keenan Cofield, and Kevin L. Cofield, Sr.

     145). As a result ofthis negative credit reporting, Plaintiff's Kevin L. Cofield, Sr. and Dr.

Keenan Cofield suffered actual damages.

          Equifax's/Transunion and Experian Double Standard and Willful Misconduct

        146). Equifax, Transunion, and Experian's each have had substantial notice and knowledge

ofthe "mixed file" problems and failures of its business procedures and system that led to the

Equifax data breach.

        147). While Equifax, Transunion and Experian claims that partial matches are reasonable

because of possible creditor transcription error — a theoretical typo transposing two social

security digits — Equifax, Transunion and Experian do not possess any actual research or data to

support its contrived risk of error.
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         148). In contrast, Equifax, Experian and Transunion all have substantial notice and

 knowledge ofthe "mixed file" problems and failures ofits business procedures and systems.

         149). As early as 1992,the Attorneys General ofeighteen states were forced to file a lawsuit

 against Equifax and other Defendants because of its conduct in connection with mixing

consumer credit files. The lawsuit resulted in an Agreement of Assurances between the attorneys

general relating to Equifax's responsibilities to prevent mixed files. Only three years after the

Agreement of Assurances, the Federal Trade Commission("FTC")brought another enforcement

action due to Equifax's widespread violations ofthe FCRA,including the creation of mixed files

and then furnishing them to users who did not have a permissible purpose to view the

information ofthe consumer. In the Matter of Equifax Credit Information Services, Inc., 12

F.T.C. 577(Aug. 14, 1995). This enforcement action resulted in a consent order between Equifax

and the FTC that sets forth certain procedures to prevent mixed files and to conduct

reinvestigations as required by the FCRA.

     150). Despite the 1992 Agreement of Assurances and the 1995 Consent Order, Equifax's

computer system causes these mixes because it does not require or use full identifying

information for a potential credit grantor's inquiry even when unique identifiers such as a full

social security number are present. It does this in order to sell more credit reports.

     151). Equifax, Experian and Transunion ALL know that their computer system causes one

individual's credit report to be confused with another individual's credit report causing a "mixed

file".

     152). Equifax has been sued repeatedly for failing to prevent mixed consumer files,

including the $18.6 million verdict on July 26,2013 in Miller v. Equifax Information Services,
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  LLC,3:11-cv-1231 (D. Or. 2011)(Docket No. 79). Transunion and Experian both have been

  sued multiple times for failing to prevent and correct mixed consumer files.

     153). The recent verdict from Oregon is not the only multi-million dollar verdict against

  Equifax in a mixed file case. In November 2007, ajury found in favor of another consumer with

 a mixed file and awarded her $219,000 in actual damages and $2.7 million in punitive damages.

 Williams v. Equifax Information Solutions, LLC,No.48-2003-CA-9035-0(Orange County

 2007). 1

 154). These cases are representative ofnumerous other lawsuits around the country where

 Equifax has been sued for failing to prevent mixed consumer files. See, e.g., Apodaca v.

 Discover Financial Services, 417 F. Supp. 2d 1220(D.N.M. 2006).

 155). Numerous cases alleging a mixed file and/or a failure to establish or to follow reasonable

 procedures to assure maximum possible accuracy in the preparation ofthe credit reports and

 credit files it publishes and maintains have also been brought in this Circuit. See e.g., Robinson

 v.Equifax Info. Servs., LLC,560 F.3d 235(4th Cir. 2009); Sloane v. Equifax Info Servs., 510

 F.3d 495 (4th Cir. 2007); Abraham Lopez, Jr., v. Trans Union,LLC,Civil Action No. 1:12-cv-

 902(E.D. Va. 2012); Alejandro Lopez, Sr. v. Trans Union,LLC,Civil Action No. 1:12cv1325

(ED. Va. 2012); Chaudhary v. Experian Info. Solutions, Inc., Civil No. 3:13-cv-577(E.D. Va.

 2013); Valdez-Estep v. Equifax Info. Servs., Civil No. 1:13-cv-00007(E.D. Va. 2016); Kang v.

 Equifax Info. Servs., Civil No. 1:15-cv-01406(E.D. Va. 2015); Moulvi v. Equifax Info. Servs.,

 Civil No. 1:15-cv-01073(ED. Va. 2015); Barclay v. Equifax Info. Servs., Civil No. 1:15- 1

cv-00691 (E.D. Va. 2015); Robinson-Huntley v. Equifax Info. Servs., Civil No. 1:15-cv-00626

(E.D. Va. 2015).
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          156). Equifax, Experian and Transunion knowingly chooses to ignore these notices ofits

 mixed file problems. It does so even though it already possesses a simple, easy and inexpensive

 means to correct and avoid the problem.

          157). Despite these lawsuits and multi-million dollar verdicts, Equifax,like Transunion

 and Experian have not significantly modified its procedures to assure that the credit reports that

 it prepares, publishes, and maintains are as accurate as possible, as required by the FCRA at 15

 U.S.C. § 1681e(b).

       158). Upon information and belief, Equifax, and Transunion have not, and does not intend,

to modify its procedures to comply with this section ofthe FCRA because compliance would

drastically increase its operating expenses.

       159). Accordingly, Equifax's, like Transunion violation of 15 U.S.C. § 1681e(b) was

willful and Equifax and Transunion is liable for punitive damages in an amount to be determined

by the Court pursuant to 15 U.S.C. § 1681n.

       160). Equifax's and Transunion failure to modify its procedures caused substantial harm to

the Plaintiffs.

Consumer Victory: Equifax Must Pay $ 2.9 million for Mixing Up Credit Files, The

Consumer Advocate, Vol. 14, No. 1, National Association of Consumer Advocates(Jan.-

Mar.2008), at 14; Consumer Wins Fight For Credit Report Accuracy,Privacy Times,Dec.

6,2007.

                      Experian's Double Standard and Willful Misconduct

        161). Experian has substantial notice and knowledge ofthe "mixed file" problems and

failures of its business procedures and systems.
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        162). As early as 1991, the Federal Trade Commission("FTC")brought an enforcement

 action against Experian [formerly TRW,Inc.] in the United States District Court for the Northern

 District ofTexas. FTC v. TRW,Inc., 784 F. Supp. 361 (N.D. Texas 1991). In settling the

 enforcement action brought by the AGs,Experian agreed to make the following practice

changes:1. Maintain reasonable procedures to prevent the occurrence or reoccurrence of Mixed

Files, including but not limited to:

a. Continuing its current efforts to improve its information gathering, storing, and generating

systems to reduce the occurrence of Mixed Files, through modification of its software system to

enable such system to accommodate and use,for matching and identification purposes, a

Consumer's Full Identifying Information;3 and

b. Not later than July 31, 1992,implementing and utilizing changes to its system designed to

prevent, to the extent it reasonably can, the reoccurrence of Mixed Files, once known; ...

iv. Employing reasonable procedures designed specifically to reinvestigate disputes from

Consumers that result from Mixed Files. ...

For the five(5) year period following the entry of[the Consent Order],[Experian] shall measure,

monitor, and test the extent to which changes in [Experian's] computer system, including its

algorithms, reduce the incidence of Mixed Files. FTC,784 F. Supp., 362-364(N.D. Texas 1991).

        163). Similarly, another enforcement action was brought against Experian by nineteen

state attorneys general that resulted in a similar consent order as described in the previous

paragraphs, including the procedures related to the prevention of mixed files and procedures to

reinvestigate disputes resulting from mixed files. See TRW,Inc. v. Morales, Civil Action No. 3-

91-1340-H(N.D. Tex. 1991).
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         164). Despite the consent orders with the FTC and the Attorneys General, Experian's

  computer system causes these mixes because it does not require or use full identifying

  2. Mixed File is defined in the Consent Order as a Consumer Report in which some or all of the

  information pertains to Persons other than the Person who is the subject ofthat Consumer

 Report. Id. at 362.

 3. Full Identifying Information is defined in the Consent Order as full last and first name; middle

 initial; full street address; zip code; year of birth; any generational designation; and social

 security number. Id. information for a potential credit grantor's inquiry even when unique

 identifiers such as a full social security number are present. It does this in order to sell more

 credit reports.

       165). Experian knows that their computer system causes one individual's credit report to

 be confused with another individual's credit report causing a "mixed file".

       166). Experian has been sued repeatedly for failing to prevent mixed consumer files. See,

 e.g., Calderon v. Experian Info. Solutions, Inc., 2012 U.S. Dist. LEXIS 89375, *10(D. Idaho

 2012); Howley v. Experian Information Solutions, Inc., Civil Action No. 09-241 (D.N.J. filed

 January 16,2009); Ainsworth v. Experian Info. Solutions, Inc., 2011 U.S. Dist. LEXIS 63174

(C.D. Cal. 2011); Novak v. Experian Info. Solutions, Inc., 782 F. Supp. 2d 617(N.D. Ill. 2011);

 Comeaux v. Experian Info. Solutions,2004 U.S. Dist. LEXIS 10705,*20(E.D. Tex. 2004);

 Cartwright v. Experian, et al., Case No. CV 09-427(C.D. Cal. 2009); Campbell v. Experian Info.

 Solutions, Inc., 2009 U.S. Dist. LEXIS 106045(W.D. Mo.Nov. 13,2009); Jensen v. Experian

Info. Solutions, Inc., 2001 U.S. Dist. LEXIS 15134(E.D. Tex. Mar. 30, 2001).
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        167). Experian knowingly chooses to ignore these notices ofits mixed file problems. It

 does so even though it already possesses a simple, easy and inexpensive means to correct and

 avoid the problem.

       168). Despite these lawsuits, Experian has not significantly modified its procedures to

assure that the credit reports that it prepares, publishes, and maintains are as accurate as possible,

as required by the FCRA at 15 U.S.C. § 1681e(b).

       169). Upon information and belief, Experian has not, and does not intend, to modify its

procedures to comply with this section ofthe FCRA because compliance would drastically

increase its operating expenses.

COUNT 21 15 U.S.C. 1681, et seq. FCRA Defendant's compromise ofPlaintiff's personal

information that was discovered on or before, during and/or after July 29,2017 by Defendant

violates 15 U.S.C. 1681e(a).

COUNT 22 Md. Code Ann., Corn. Law § 13-303, et seq. Defendant's compromise of Plaintiff's

personal information is an unfair or deceptive trade practice, as Defendants failed to maintain

Plaintiff's personal information.

COUNT 23 Negligence Defendant's compromise ofPlaintiff's personal information is a breach

of Defendant's duty of care to protect Plaintiff's PI1, which directly and proximately caused

Plaintiff's injuries.

COUNT 24 Gross Negligence Defendant's intentional, willful and wanton misconduct regarding

the compromise ofPlaintiff's personal information is a breach of Defendant's duty of care to

protect Plaintiff's PII, which directly and proximately caused Plaintiff's injuries.

COUNT 25 Punitive Damages Defendant's compromise ofPlaintiff's personal information

evidences conscious and deliberate wrongdoing constituting actual malice against Plaintiff
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 COUNT 26 Gross Negligence when Defendants Transunion,Equifax and Experian failed to

 establish or follow procedures to assure maximum accuracy in the preparation to release ofthe

 credit reports and credit files they published and maintained concerning the Plaintiff's, violating

 15 U.S.C. 1681e(b). The illegal to unlawful conduct described above and throughout this

Complaint is prohibited activity by a credit bureau or reporting agency.

                     COUNT 21: VIOLATION OF 15 U.S.C. 1681, et seq.
                     against Defendants Equifax


        170). Plaintiff(s) restates all allegations contained in the preceding and subsequent

paragraphs as iffully restated herein.

        171). Based upon Equifax's failure to have reasonable procedures in place, Plaintiff's

private information was compromised, and neither Plaintiff received notice ofthe data breach,

except through media, approximately six(6) weeks after the breach occurred.

       172). As a result ofeach and every willful violation ofFCRA,Plaintiffs are entitled to:

actual damages, pursuant to 15 U.S.C. § 1681n(a)(1); statutory damages, pursuant to 15 U.S.C. §

1681n(a)(1); punitive damages, as this Court may allow, pursuant to 15 U.S.C. § 1681n(a)(2);

and reasonable attorneys' fees and costs pursuant to 15 U.S.C. § 1681n(a)(3). This is a prohibited

activity by a credit bureau or reporting agency.

      173). As a result of each and every negligent non-compliance ofthe FCRA,Plaintiffs are

also entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and reasonable attorney's

fees and costs pursuant to 15 U.S.C. § 1681o(a)(2)from Defendants.

              COUNT 22: MARYLAND CONSUMER PROTECTION ACT

       174). Plaintiff(s) restate any and all allegations contained in all preceding and subsequent

paragraphs as if fully restated herein.
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        175). This Count is brought on pursuant to the Maryland Consumer Protection Act, Md.

 Code Ann., Corn. Law ("CL")§ 13-101 et seq.

       176). Plaintiffis a"consumer" within the meaning of CL § 13-101(c).

       177). Equifax is a "merchant" as that term is defined by CL § 13-101(g), as Equifax was,

at all times relevant herein, engaged in soliciting "consumer services" as that term is defined in

CL § 13-101(d) by soliciting an ongoing service, credit reporting and data aggregation of

Plaintiff's personal information, to consumers in Maryland for primarily personal use within the

meanings specified in CL § 13-101(c)and (d).

      178). Equifax is also a "person" as that term is defined by CL § 13-101(h), as Equifax was,

at all times relevant herein, a legal or commercial entity.

      179). Equifax's breach ofPlaintiff's information was deceptive and meets the requirements

ofCL § 13-303, which provides that no person shall commit an unfair or deceptive trade practice

in connection with a consumer service. Such an unfair or deceptive trade practice by a person

violates this section irrespective of whether any consumer has in fact been misled, deceived, or

damaged as a result ofthat practice. This is a prohibited activity by a credit bureau or reporting

agency.

     180). As a direct and proximate result ofthe above violation ofthe Consumer Protection

Act("CPA"),Plaintiffs each have suffered injuries including, but not limited to mental anguish,

emotional distress, fear, panic, stress, and the continued worry that their identities have been

compromised and are being used fraudulently.

     181). Equifax's actions violate the CPA,and Plaintiffs are entitled to receive actual

damages, statutory damages, and attorneys'fees, expenses and costs.
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      182). By trying to trick Maryland and other consumers by offering a "free" service of credit

 monitoring into signing a broad class action waiver and/or an arbitration agreement, which

 would benefit only Equifax, Defendant engaged in a class bait and switch which is prohibited

 under the Maryland Consumer Protection Act.

     183). Defendant was on notice of prior administrative and judicial determinations that such

 bait and switch tactics violate the Maryland Consumer Protection Act.

     184). Defendant Equifax's actions as described herein, supra, further warrant Plaintiffs

requesting that this Court also provide a declaration pursuant to CL § 13-101 et seq. that any

arbitration provision that Plaintiff(s) may be subjected to due to their use of

https://www.equifaxsecurity2017.com/ is void.

    185). Defendants Transunion,Experian and APGFCU also as detailed or described herein

their conduct too is in direct violation ofthe Maryland Consumer Protection Act.

                                 COUNT 23: NEGLIGENCE

    186). Plaintiff restates all allegations contained in the preceding and subsequent paragraphs

as if fully restated herein.

   187). Defendant or Defendants each owed Plaintiff's a duty to, inter alia, a. keep consumers'

PH confidential; b. enact appropriate measures and safeguards to adequately protect consumers'

PH from unauthorized disclosure, including via theft or data breach; and c. timely and adequately

advise consumers of any unauthorized dissemination ofthat PII.

    188). Defendant knew or should have known that failing to adequately protect Plaintiff(s)

PH would result in its unauthorized dissemination, including via theft or data breach, and would

expose consumers to serious and ongoing harm.
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     189). Defendant breached its legal duties by failing to safeguard, protect, and keep

 confidential Plaintiff's PII, and by failing to adequately and timely advise Plaintiff's that their

 data had been compromised and disclosed without authorization.

    190). As a direct and proximate cause of Defendant's negligence, Defendants individually

 and/or jointly in each applicable COUNTS ofthis Complaint, created a foreseeable risk of harm

 to its consumers, including Plaintiff(s). Plaintiff's injuries were caused solely by the Defendants,

 without any wrongdoing on the part ofPlaintiff(s)

   191). As a direct and proximate result of Defendant's negligence,Plaintiff(s) each have

suffered injury and incurred damages,including but not limited to the significantly decreased

value of their PIT and the future costs associated with protecting and reestablishing their fuaancial

identities. This Count also includes the Defendants who mixed credit profile information

reported on another Plaintiff(s) credit report or profile. This is a prohibited activity by a credit

bureau or reporting agency.

                                  COUNT 24: GROSS NEGLIGENCE

     192). Plaintiff restates all allegations contained in the preceding and subsequent paragraphs

as if fully restated herein.

    193). Defendants owed Plaintiff(s) a duty to, inter alia, a. keep consumers' PII confidential;

b. enact appropriate measures and safeguards to adequately protect consumers' PII from

unauthorized disclosure, including via theft or data breach; and c. timely and adequately advise

consumers ofany unauthorized dissemination ofthat P11.

       194). Defendants knew or should have known that failing to adequately protect Plaintiff(s)

PII would result in its unauthorized dissemination, including via theft or data breach, and would

expose consumers to serious and ongoing harm.
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        195). Defendants breached its legal duties and engaged in intentional acts of gross

 negligence and reckless, intentional, willful, and wanton misconduct, on a continuing basis by

 failing to safeguard, protect, and keep confidential Plaintiffs PlI, and by failing to adequately

 and timely advise Plaintiff(s) that their data had been compromised and disclosed without

authorization. This is a prohibited activity by a credit bureau or reporting agency.

        196). Defendants' grossly negligent conduct directly and proximately caused the injuries

sustained by Plaintiff's. Plaintiff's injuries were caused solely by grossly negligent conduct of

the Defendants without any wrongdoing on the part ofPlaintiff(s).

        197). As a result of Defendant's grossly negligent conduct, Plaintiff(s) have suffered

injury and incurred damages,including but not limited to the significantly decreased value of

their P11 and the future costs associated with protecting and reestablishing their financial

identities.

                              COUNT 25: PUNITIVE DAMAGES

       198). Plaintiff(s) restates all allegations contained in the preceding and subsequent

paragraphs as if fully restated herein.

       199). Defendant's conduct in failing to safeguard Plaintiff's valuable and highly sensitive

P11, despite its knowledge that such safeguards were required and that a massive data breach was

foreseeable, evidences evil motive, intent to injure, and ill will, and constitutes actual malice.

      200). Defendant's conduct in refusing to alert Plaintiff(s) ofthe data breach that occurred

on July 29,2017 to date until at least six(6)weeks after the breach, and only after numerous

news articles drew attention to the issue, evidences evil motive, intent to injure, and ill will, and

constitutes actual malice
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      201). Defendant's conduct in willfully, intentionally, and knowingly depriving consumers,

 including Plaintiff(s), ofthe opportunity to seek any remedies available to them under FCRA

 evidences evil motive, intent to injure, and ill will, and constitutes actual malice.

      202). That Defendants and three of its executives consciously, deliberately, and maliciously

profited, at Plaintiff's expense, by selling $1,800,000 ofshares in days following the data breach,

further evidences evil motive,intent to injure, and ill will, and constitutes actual malice. The

Plaintiffs each are entitled and seek "Punitive Damages"from each Defendant as it

relates to each and every Count 1-6.

                       COUNT 26: VIOLATION OF 15 USC 1681e(b)
                     EQUIFAX,EXPERIAN, TRANSUNION & APGFCU


     203). Plaintiff restates each ofthe allegations in the preceding paragraphs as if set forth at

length herein.

     204). The Defendants violated 15 U.S.C. § 1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in the preparation ofthe credit

reports and credit files they published and maintained concerning the Plaintiffs.

     205). As a result ofthis alleged conduct, Plaintiffs suffered actual damages,including but

not limited to damage to their credit rating, lost opportunities to enter into consumer credit

transactions, denial of credit, loans, credit cards and aggravation,inconvenience, embarrassment

and frustration.

    206). The Defendants' conduct, actions, and inaction were willful, rendering them liable for

punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In

the alternative, they were negligent, entitling the Plaintiffs to recover under 15 U.S.C. § 1681o.

This is a prohibited activity by a credit bureau or reporting agency.
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      207). The Plaintiff(s) are entitled to recover actual damages, statutory damages, costs, and

 his attorney's fees from the Defendants in an amount to be determined by the Court pursuant to

 15 U.S.C. § 1681n and/or 15 U.S.C. § 1681o.

 WHEREFORE,Plaintiff(s) each demandsjudgment for actual, statutory and punitive damages

 against Defendants,jointly and severally; for his attorneys' fees and costs; for prejudgment and

 post-judgment interest at thejudgment rate, and such other relief the Court deems proper.

 1). The Plaintiff(s) are willing to discuss and open to a reasonable settlement offer by the

Defendants, or BEST OFFER.

2). Enter an Order declaring the arbitration provisions waiver provisions obtained by

enticing consumers to sign up for free credit monitoring void pursuant to Md.Code Ann.

Corn. Law Section 13-303 as alleged in Count 22; and

3). Plaintiff(s) require, and that the Court Order the Defendants each REMOVE and delete any

and all Inquiries and correct and remove any and all disputed accounts, or other

misinformation as previously disputed.

4). Plaintiff Kevin L. Cofield, Sr. require and demand the Court to Order the Defendants to

correct his credit profile and direct that his Ally,and APGFCU car loan shows the debt paid off

back in August in FULL,immediately.

5). That the Court Order each Defendant correct its credit reports and profiles ofDr. Keenan K.

Cofield, correct DOB,and Social Security Number is reported correctly and not that of his

brother Kevin L. Cofield, Jr. or anyone else's.

6). That the Court further Order each Credit Bureau Defendant search, locate and re-report each

and every GOOD STANDING DEBT OR ACCOUNTS-PAID IN FULL that had been

reported or listed in good standing, Dr. Keenan K. Cofield had that was deleted, purged or
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 removed without any notice or other dispute by him, by each Defendant except APGFCU,from

 his credit file, withoutjust cause.

 8). Enter a Preliminary and Permanent injunction and/or declaratory judgment prohibiting the

Defendants mainly Equifax from continuing to bait and switch consumers into signing any

waiver or arbitration agreement.

9). Plaintiffs demand judgment is entered against each Defendant in the amount of$500,000

dollars in Compensatory damages each Count.

10). For any and all other relief this Court may deem just and proper.

11). The actions herein destroyed the Plaintiff Dr. Keenan K. Cofield credit score, rating and

status.

12). Award Punitive Damages against each EQUIFAX Defendant for $2,500,000 dollars.

13). Award statutory damages against Defendant for the allegations contained in Count 22 of at

least $7,500 dollars.

14). Plaintiff(s) Dr. Keenan Cofield, and Kevin L. Cofield,Sr. seek the maximum of$20,000

dollars for TIME SPENT during the EXTENDED CLAIMS PERIOD as indicated.

15). Plaintiffs Dr. Keenan Cofield, LaVerne Thompson, and Kevin L. Cofield, Sr. demand

damages against EQUIFAX in the amount of$25,000,000 dollars in Compensatory Damages

for the continued breach and losses, but for the inflated tax fraud claim scheme.

TRIAL BY JURY IS DEMANDED.


   AMENDED AND/OR SUPPLEMENTAL COMPLAINT-ADDENDUM
                                   COUNTS 21 THRU 26
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 207). Plaintiffs restates each ofthe allegations in the preceding paragraphs & Counts as if set

forth at length herein, in further support ofthis Amended and/or Supplemental Count to the

 Verified Complaint, and says:

208). Plaintiff(s) does hereby Amend and/or Supplement the Original Complaint to add the

following NEW Defendants to this cause of action:

b). CONSUMER FINANCIAL PROTECTION BUREAU
1625 Eye Street, N.W.
Washington, DC 20006
and

c). FEDERAL TRADE COMMISSION
600 Pennsylvania Ave. NW
Washington, DC 20580
 and

209). The conducts and acts described 1-103 by the Defendants violate the provisions of various

laws and statutes more specifically, Dodd-Frank Wall Street Reform and Consumer

Protection Act and The Federal Trade Commission Acts of 1914 as so Amended and/or

Codified into various other Federal Acts and Statutes to rules passed by Congress and each

agencies that such statutes or rules are applicable to.

210). Credit Reporting agencies or companies serve as a major piece of our financial

infrastructure in America, but less regulatory scrutiny and passes by the Defendants as U.S.

government regulators over them named in paragraph 102, where justice and protection seemed

blind.

211). Both the Defendants Consumer Financial Protection Bureau and Federal Trade

Commission as federal government agencies have a duty and responsibility for consumer

protection in the financial sector, as federal regulatory bodies. The NEW Defendants have a duty
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making sure the credit reporting agencies and others under their control or jurisdiction shall put

additional measures in place to protect consumer information, data, and credit profiles ofthe

Defendants and other consumers; 2). That the Consumer Financial Protection Bureau and

Federal Trade Commission shall have in place rules or apply for Congressional actions that

require, any and all credit reporting agencies or any other financial agency or company under

their jurisdiction shall immediately report to these and other federal agencies any time there is a

breach, hack, or other actions whereas the records ofthat agency or credit reporting company has

been breached or compromised; That the Court shall under a possible Consent Decree that any

violation or violations thereof as to the complaint and relief described herein, shall impose

automatic sanctions against each and any credit reporting agency that violates any Order, and all

affected shall be compensated accordingly to be determined by the parties, government and

court.
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Dated this the 13th day of April, 2023


                          VERIFICATION OF COMPLAINT


I, Dr. Keenan Cofield, Kayla Nedd, Orian D. Cofield, Arivette L. Cofield, Luluk Novi
Fatmawati, Kevin L. Cofield, Sr., LaVerne Thompson, do hereby certify that the
above and foregoing VERIFIED COMPLAINT is true and correct to the best of my
knowledge, information and belief, under the penalty of perjury and that I am
over the age of(21) years and I am competent to testify to the alleged facts
herein. THIS CLAIM IS SUBJECT TO BE AMENDED AND/OR SUPPLEMENTED AS
MEDICAL TREATMENTS,AND OTHER SERVICES CONTINUE.


The Plaintiffs/Claimants assert and feel confident that this matter can be
resolved to the satisfaction of all parties quietly without the need for any long
drawn out litigation. But if necessary the Claimant is ready to file a lawsuit and
issue Press Releases if forced to do so.


The Defendants/Respondents make a fair and reasonable offer,this matter is
over.
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Email: Supremegrandbishop@gmail.com




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         á2A4A.e,             Qms-r"----
LaVerne Thompson




Luluk N. Fatwamati




Dr. Keenan Cofield
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 411=6011
 SIOCusamitgli



 IVIedStar Health


COFIELD, KEENAN
1236 KENDRICK RD
ROSEDALE, MD 21237

May 02, 2023


To Whom It May Concern:

This patient was seen by Dr. Cohen in this office on 4/26123 and will have their next
appointment 7/26/23.


This patient is under Dr. Cohen, patient will not be able tO return to work indefinitely due
to bilateral shoulder and concussion.




Sincerely,



Elizabeth Scales




Name: COFIELD, KEENAN                  Page 1 of 1                           DOB:       /1959
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     RiledStar Orthopaedic Institute at MFSMC
       9101 Franklin Square Drive                                                                 Orthopedic Office/Clinic Note
       Suite 200                                                                                  Visit Date: 04/26/2023 10:15
       Baltimore, MD,21237                                                            Scheduled Provider: Cohen, MD, David A.
     Phone: (443)777-6788           Fax: (844)606-5109




                                                     * Final Report *

  Chief Complaint                                                                         Problem List/Past Medical History
  Return Left Shoulder Pain                                                               Ongoino
                                                                                             Adjustment disorder with mixed anxiety
   History of Present illness                                                                and depressed mood
   64-year-old male returns in follow-up for his bilateral shoulders. He has a history of    Allergic rhinitis
   some rotator cuff pathology. He had injections about 6 months ago which helped
                                                                                             Asthma
   in total recently. He also has a little bit ofsome cervical radicular type pain. He
                                                                                             Back spasm
   gets occasional spasms in his neck. He would like to consider injections again it{
                                                                                             Cardiomyopathy
   both shoulders.                                                                          Carpal tunnel syndrome
   Hand Dominance: Right
                                                                                            Cerebrovascular disease
   Occupation: Unemployed
                                                                                            Cervical radiculopathy
   Onset of Symptoms: 2 + years
                                                                                            Cervical stenosis of spine
   Orthopedic Injury: No
                                                                                            Complete rotator cuff tear of left
  Physical Exam                                                                             shoulder
                                                                                            Concussion
     Vitals & Measurements                                                                  Depression
     04/25/2023 13:18 HT: 187 cm (6 ft 2 in) WT: 113 kg (249 lbs 2                          Erectile dysfunction
     oz) BMI: 32.31 kg/m2                                                                   GAD (generalized anxiety disorder)
  Patient has no tenderness in his neck. He has good forward flexion extension bLt a        Headache
  little discomfort with side bending. He has negative Spurling sign. Bilateral             Heart failure with reduced ejection
  shoulders have no obvious swelling or deformity. He has some crepitus in the left        fraction
  shoulder with internal and external rotation. His forward flexion abduction               History of COPD
  bilaterally is about 140 degrees. He has good strength in deltoid but pain and            Hypercholesterolemia
  weakness with supraspinatus testing bilaterally. He has pain with Neer and                Hypertension
  Hawkins impingement signs as well as the speeds and O'Brien's test. He has good           Impingement syndrome of right
  internal and external rotation strength.                                                 shoulder
                                                                                           Insomnia
                                                                                            Lumbar herniated disc
  Assessment/Plan                                                                          Lumbar radiculopathy
                                                                                            MDD (major depressive disorder),
  Bilateral rotator cuff syndrome M75.101                                                  recurrent episode, moderate
    Patient elected for injections of both shoulders today. A time out was called to       Motor vehicle accident
    verify the site and procedure. Under sterile conditions 40 mg of Kenalog and 3         Neck pain
    mi.'s of 1% lidocaine were injected in the noted joint/area. The injection was         Numbness and tingling of upper
    tolerated well and a bandaid was applied. He may follow-up as needed                   extremity
    Ordered: Xylocaine-MPF 1% preservative-free injectable solution, Dose = 3 m            Obesity
                 Inj, Infiltrate, One Time, Routine 04/26/23 11:16:00 EDT, Stop:           Obesity
                 04/26/23 11:16:00 EDT                                                     Occipital neuralgia
                 Xylocaine-MPF 1% preservative-free Injectable solution, Dose = 3 mL,      Other cervical disc displacement at C4-
                 Inj, Infiltrate, One Time, Routine 04/26/23 11:16:00 EDT, Stop:           05 level
                 04/26/23 11:16:00 EDT                                                     Other cervical disc displacement at C5-
                 Kenalog-40 injectable suspension,40 mg = 1 mt., Inj, IntraARTICula        C6  level
                 One Time, Routine, 04/26/23 11:16:00 EDT, Stop: 04/26/23 11:16:00         Other  cervical disc displacement at C6-
                 EDT,04/26/23 11:16:00 EDT                                                 C7 level
                 Kenaiog-40 Injectable suspension, 40 mg = 1 mL, Inj, IntraARTiCular,      Paresthesia of hand, bilateral
                 One Time, Routine, 04/26/23 11:16:00 EDT, Stop: 04/26/23 11:16:07         Post-concussion     syndrome
                 EDT,04/26/23 11:16:00 EDT                                                 Prostate cancer


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 MedStar Orthopaedic Institute at
                                               Orthopedic Office/Clinic Note             Visit Date: 04/26/2023 10:15
MFSMC
             Bill For Arthrocentesis Aspir&finj Major it/Bursa W/0 Us AMB - 20610       Prostatitis
             Return to Clinic                                                           PTSD (post-traumatic stress disorder)
                                                                                        Sensorimotor neuropathy
                                                                                       Shoulder pain, right
                                                                                       Social anxiety disorder
                                                                                       Somatic dysfunction of cervical region
                                                                                       Somatic dysfunction of lumbar region
                                                                                       Somatic dysfunction of thoracic region
                                                                                       Somatic dysfunction of thoracolumbar
                                                                                       region
                                                                                       Somatic dysfunction of upper extremity
                                                                                       Spondyiosis of cervical spine
                                                                                       Stroke/cerebrovascular accident
                                                                                       Temporomandibular joint(TM]) pain
                                                                                       Upper back pain
                                                                                     Historic41
                                                                                       Adjustment disorder with disturbance of
                                                                                          emotion
                                                                                       At risk of venous thromboembolus
                                                                                       Cervical disc disease
                                                                                       Depression, unspecified
                                                                                       Eye pain
                                                                                       Immunization due
                                                                                       Impingement syndrome of right
                                                                                          shoulder
                                                                                       Impingement syndrome, shoulder, left
                                                                                      Obesity
                                                                                      Pruritus
                                                                                      Seasonal allergies
                                                                                    Procedure/Suraical History
                                                                                    None
                                                                                     Medications
                                                                                     albuterol CFC free 90 mcg/inh inhalation
                                                                                       aerosol, 2 puff, Inhalation, q6h, PRN, 3
                                                                                        refills
                                                                                     amitriptyline 75 mg oral tablet, See
                                                                                       Instructions, Take 1 tablet at night for
                                                                                       depression/anxiety/insomnia
                                                                                     amLODIPine 10 mg oral tablet, 10 mg= 1
                                                                                       tab, PO, Daily, 3 refills
                                                                                    aspirin 81 mg oral delayed release tablet,
                                                                                       81 mg= I tab, PO, Daily, 3 refills
                                                                                    atorvastatin 40 mg oral tablet, 40 mg= 1
                                                                                       tab, PO, Daily, 3 refills
                                                                                    azelastine 137 mcg/inh(0.1%) nasal
                                                                                       spray, 1 spray, Inhale-nasal, Daily
                                                                                    benzonatate 100 mg oral capsule, 100
                                                                                       mg= 1 cap, PO, 3x/day, 1 refills
                                                                                    °ails 10 mg oral tablet, 10 mg= 1 tab,
                                                                                       PO, Daily, PRN
                                                                                    didofenac 1% topical gel, 1 appl, TOP,
                                                                                       4x/day, PRN, 2 refills
                                                                                    EpiPen 2-Pak 0.3 mg injectable kit, 0.3
                                                                                       mg= 1 ea, IM, One Time, 1 refills
                                                                                    fexofenadine 180 mg oral tablet, 180
                                                                                       mg= 1 tab, PO, Daily, 3 refills


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 MedStar Orthopaedic Institute at      Orthopedic Office/Clinic Noe        Visit Date: 04/26/2023 10:15
MFSMC
                                                                        Flonase 50 mcg/inh nasal spray, 2 inhl,
                                                                           Nasal, Daily, 3 refills, 2 inhalations per
                                                                           nostril
                                                                       furosemide 20 mg oral tablet, 20 mg= 1
                                                                           tab, PO, Daily
                                                                       gabapentin 300 mg oral capsule, 300
                                                                           mg= 1 cap, PO, Nightly, 1 refills
                                                                        hydrochlorothiazide 25 mg oral tablet, 25
                                                                           mg= 1 tab, PO, Daily, 3 refills
                                                                       Kenalog-40 injectable suspension, 40
                                                                           mg= 1 mL, IntraARTiCular, One lime
                                                                       Kenalog-40 injectable suspension, 40
                                                                           mg= 1 mL, IntraARTiCular, One Time
                                                                       lidocaine 5% topical film/patch, See
                                                                           Instructions, APPLY 1 PATCH
                                                                          TOPICALLY TO THE SKIN DAILY FOR 7
                                                                           DAYS APPLY UP TO 12 HOUR/ EVERY
                                                                          DAY. MAX 3 PATCHES AT A TIME
                                                                       lidocaine patch removal, 1 ea, TOP, One
                                                                          Time
                                                                       meclizine 12.5 mg oral tablet, 12.5 mg= 1
                                                                          tab, PO, 3x/day, PRN
                                                                       Melatonin 5 mg oral capsule, See
                                                                          Instructions, Take 1 capsule at bedtime
                                                                          as needed
                                                                       metoprolol succinate 25 mg oral tablet,
                                                                          extended release, 25 mg= 1 tab, PO,
                                                                          Daily, 3 refills
                                                                       Potassium Chloride (Eqv-K-Tab) 20 mEq
                                                                         oral tablet, extended release, 20 mEq=
                                                                          1 tab, PO, Daily, 1 refills
                                                                       potassium chloride 20 mEq oral tablet,
                                                                          extended release, 20 mEq= 1 tab, PO,
                                                                          Daily, 3 refills
                                                                       Symbicort 160 mcg-4.5 mcg/inh inhalation
                                                                         aerosol, 2 puff, Inhalation, 2x/day, 4
                                                                         refills
                                                                       Vitamin B12 1000 mcg oral tablet, 1000
                                                                          mcg= 1 tab, PO, Daily, 2 refills
                                                                       Vitamin C, 100 mg= 1 tab, PO, Daily
                                                                       Vitamin D3(cholecalciferol), PO, Daily
                                                                       Xylocaine-MPF 1% preservative-free
                                                                         injectable solution, 30 mg= 3 mL,
                                                                         Infiltrate, One Time
                                                                       Xylocaine-MPF 1% preservative-free
                                                                          injectable solution, 30 mg= 3 mi.,
                                                                         Infiltrate, One Time
                                                                       Allergies
                                                                       Mold (asthma trigger, Hayfever)
                                                                       Pollen (Hayfever)
                                                                       No Known Medication Allergies
                                                                       Social History
                                                                         Smokino Status
                                                                           Never smoker
                                                                       Alcohol



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 MedStar Orthopaedic Institute at
                                       Orthopedic Office/Clinic Note        Visit Date: 04/26/2023 10:15
MFSMC
                                                                            Use: Denies. Previous treatment: None.
                                                                            Household alcohol concerns: No.
                                                                            Alcohol Counseling: Not Indicated -
                                                                            Patient Doesn't Drink.
                                                                        Employment/School
                                                                           Status: Off work temporarily.
                                                                            Work/School description: Patient
                                                                            reported he was employed as a
                                                                            psychologist for 18 years. Patient
                                                                            reported he has been unable to work
                                                                            due to the physical and emotional
                                                                            hardships he has endured after being in
                                                                           two car accidents in 2021.. Highest
                                                                           education level: Post graduate degree
                                                                         (s). Previous employment/school:
                                                                           Patient reported in the past he worked
                                                                           in radio and television broadcasting.
                                                                           Patient reported he attended private
                                                                          school growing up.. Hazardous
                                                                           equipment operation: No.
                                                                        Exercise
                                                                           Frequency: 1-2 times/week.
                                                                        Home/Environment
                                                                           Born Outside the US: No. Marital
                                                                          Status: Single. Lives with Mother.
                                                                           Comment(s): Lives with 82 yo mother.
                                                                           Patient is the oldest of 4.. Living
                                                                          situation: HomefIndependent. Home
                                                                           Equipment: None. Alcohol abuse in
                                                                           household: No. Substance abuse in
                                                                           household: No. Smoker in household:
                                                                          No. Concerns for Domestic Violence:
                                                                          No. Feels unsafe at home: No. Safe
                                                                          place to go: Yes. Family/Friends
                                                                          available for support: Yes. Concern for
                                                                         family members at home: No. Major
                                                                          illness in household: No. Financial
                                                                          concerns: No.
                                                                       Nutrition/Health
                                                                         Type of Diet: Regular diet. Diet
                                                                          Restrictions: Patient reported, "I can't
                                                                          eat certain foods because of the
                                                                          popping/the TM].'. Sleeping Concerns
                                                                          Yes.
                                                                       Sexual
                                                                         Sexually active: No. History of sexual
                                                                         abuse: No. SelfDescribe Sexual
                                                                         Orientation: Patient reported, "I am
                                                                         free spirited.".Gender Identity:
                                                                         Identifies as male.
                                                                       Substance Use
                                                                          Use: Denies.
                                                                       Tobacco/Nicotine
                                                                         Use: Denies any past/current use/abuse
                                                                         of licit or illicit drugs..
                                                                       Family History
                                                                       Anxiety: Mother.

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  MedStar Orthopaedic Institute at
                                          Orthopedic Office/Clinic Note      Visit Date: 04/26/2023 10:15
 MFSMC
                                                                          Diabetes mellitus: Mother and Father.
                                                                          HBP (high blood pressure) • Mother
                                                                            and Father.
                                                                          Review of Systems
                                                                          Headache: Denies
                                                                          Eyesight Problems: Denies
                                                                          Swallowing Problems: Denies
                                                                          Chest Pain: Denies
                                                                          Shortness of Breath: Denies
                                                                          Diarrhea: Denies
                                                                          Constipation: Denies
                                                                          Poor Circulation: Denies
                                                                          Blood in Stool: Denies
                                                                          Ulcers: Denies
                                                                          Painful Urination: Denies


 Signature Line
 Electronically signed by:

 Cohen, MD, David A. on: 04.26.2023 11:18 EDT




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                      Yo r personajt prescript:I n information
                                                         Your Walgreens Pharmacyi Location
                                                                 6 Carroll Island Rd
                                                                 Baltimore, MD 21220
                                                                (410)335-2323

f you have questions about your prescription, please contact your Walgreens pharmacist or call 800-WALGREENS (800-925-4733).
PATIENT        KEENAN K COFIELD                                  DOCTOR      . KRIEG, MD               DRUG DESCRIPTION
BIRTH DATE           /59
 M EDICATION AMITRIPTYLINE 75MG TABLETS
QUANTITY 30                                                     PATIENT
                                                                ALLERGIES
DIRECTIONS TAKE 1 TABLET BY MOUTH AT NIGHT
FOR DEPRESSION OR ANXIETY OR INSOMNIA                                                                            YELLOW
                                                                                                                FRONT: U
                                                                                                              BACK: 422

   GENERIC INGREDIENT: Amitriptylinele mee TRIP ti lean)                   with care. You could have more side effects.Tell your doctor if you
                                                                           are pregnant, plan on getting pregnant, or are breast- feeding. You
   WARNING: Drugs like this one have raised the chance of suicidal         will need to talk about the benefits and risks to you and the baby.
   thoughts or actions in children and young adults. The risk may be
   greater in people who have had these thoughts or actions In the past.    POSSIBLE SIDE EFFECTS: WHAT ARE SOME SIDE EFFECTS THAT
   All people who take this drug need to be watched closely. Cali the       I NEED TO CALL MY DOCTOR ABOUT RIGHT AWAY?
   doctor right away if signs like depression, nervousness,                 WARNING/CAUTION: Even though it may be rare, some people may
   restlessness, grouchiness, panic attacks, or changes In mood or          have very bad and sometimes deadly side effects when taking a drug.
   actions are new or worse. Call the doctor right away it any thoughts     Tell your doctor oç get medical help right away if you have any of
   or actions of suicide occur.This drug is not approved for use in         the following signs or symptoms that may be related to a very bad
   children. Talk with the doctor.                                         side effect:Signs Of an allergic reaction, like rash; hives; itching;
                                                                           red, swollen, blistered, or peeling skin with or without fever;
    COMMON USES: It is used to treat depression.lt may be given to          wheezing: tightness in the chest or throat; trouble breathing,
   you for other reasons. Talk with the doctor.                            swallowing, or taliting; unusual hoarseness; or swelling of the mouth,
                                                                           face, lips, tonoue,ior throat.Siens of high or low blood pressure
  BEFORE USING THIS MEDICINE: WHAT DO I NEED TO TELL MY                    like very bad headache or dizziness, passing out, or change in
  DOCTOR BEFORE I TAKE THIS DRUG? TELL YOUR DOCTOR: if you                 eyesight.Signs of I ver problems like dark urine, tiredness.
  are allergic to this drug; any part of this drug; or any other drugs,    decreased appetit ,, upset stomach or stomach pain, light- colored
  foods, or substances. Tell your doctor about the allergy and what        stools, throwing up, or yellow skin or eyes. Weakness on 1 side of
  signs. you had.lf you have had a recent heart attack.lf you have taken   the body, trouble speaking or thinking, change in balance, drooping
  certain drugs for depression or Parkinson's disease in the last 14       on one side of the pace, or blurred eyesight.Chest pain or pressure,
  days. This includes isocarboxazid, phenelzine, tranylcypromine,          a fast heartbeat,Ian abnormal heartbeat.FeelIng confused, not able
  selegiline, or rasagiline. Very high blood pressure may happen.lf you    to focus, or chang in behaor.Trouble
                                                                                                        vi           passing urine.Fever. chills,
  are taking any of these drugs: Cinezolid or methylene blue.if you are    or sore throat; any unexplained bruising or bleeding; or feeling very
  taking cisapride.This is not a list of all drugs or health problems      tired or weak.Swel(ing. Shakiness.Seizures.Hallucinations (seeing or
  that interact with this drug.Tell your doctor and pharmacist about       hearing things thatlare not there).A burning, numbness, or tingling




                                                                                                                                                           . or dr.,
                                                                                                                                                                   :
  all of your drugs (prescription or OTC. natural products, vitamins)      feeling that is not normal. Change in sex interest.Not able to get or
  and health problems. You must check to make sure that it is sate for     keep an erection.Swelling of the testicles.Enlarged breasts or nipple
  you to take this drug with all of your drugs and health problems. Do     discharge.Severe constipation or stomach pain. These may be signs of
  not start, stop, or change the dose of any drug without checking with    a severe bowel problem. Not sweating dunng activities or In warm •




                                                                                                                                                       Sint,
  your doctor.                                                             temperatures.Trouble sleeping.Bad dreams.Ringing_In ears.Change in
                                                                           tongue color.Sweating_a lot.Joint pain. WHAT ARE SOME OTHER
  HOW TO USE THIS MEDICINE: HOW IS THIS DRUG BEST TAKEN?                   SIDE EFFECTS OF TIHIS DRUG? All drugs may cause side effects.
  Use this drug as ordered by your doctor. Read all information given      However,many people have no side effects or only have minor side
  to you. Follow all instructions closely.Take at bedtime if taking        effects. Call your doctor or get medical help if any of these side
  once a day.Keep taking this drug as you have been told by your doctor    effects or any otherjside effects bother you or do not go
  or other health care provider, even if you feel well. HOW DO             away:Constipation„diarrhea, stomach pain, upset stomach, throwing
  STORE AND/OR THROW OUT THIS DRUG? Store at room temperature              up, or decreased aprielite.Feeling dizzy, sleepy, tired, or weak.Dry
  in a dry place. Do not store in a bathroom.Keep all drugs in a safe      mouth.Headache.Anxiety.FeelIng nervous and excitable.Change in
  place. Keep all drugs out of the reach of children and pets.Throw        taste.Weight gain o4 loss. Mouth sores.These are not all of the side
  away unused or expired drugs. Do not flush down a toilet or pour down    effects that may oCcur. If you have Questions about side effects.
  a drain unless you are told to do so. Check with your pharmacist if      call your doctor. Call your doctor for medical advice about side
  you have questions about the best way to throw out drugs. There may      effects.You may report side effects to the FDA at
  be drug_take-back programs in your area. WHAT DO i DO IF I MISS          1-800-332-1088. Yciu may also report side effects at
  A DOSE? Take a missed dose as soon as you think about itif It is         https://www.fda.g04/ medwatch.
  close to the time for your next dose, skip the missed dose and go
  back to your normal hme.Do not take 2 doses at the same time or          GENERAL DRUG FACTS:If your symptoms or health problems do not
  extra doses.                                                             get better or If they become worse, call your doctor.Do not share
                                                                           your drugs with others and do not take anyone else's dtugs.This drug
   CAUTIONS: Tell all of your health care providers that you take          comes with an extralpatient fact sheet called a Medication Guide.
   this drug. This includes your doctors, nurses, pharmacists, and         Read it with care. Read it again each time this drug is refilled. If
   dentists. 'This drug may need to be stopped before certain types of     you have any questions about this drug, please talk with the doctor,
  surgery as your doctor has told you. If this drug is stopped, your       pharmacist, or other health care provider. If you think there has
   doctor will tell you when to start taking this drug again after your    been an overdose, call your poison control center or get medical care
  surgery or procedure.Avoid driving and doing other tasks or actions      tight away. Be ready to tell or show what was taken, how much, and
  that call for you to be alert until you see how this drug affects        when it happened.
   you.To lower the chance of feeling dizzy or passing out, rise slowly
  if you have been sitting or lying down. Be careful going up and down
  staIrs.Do not stop taking this drug all of a sudden without calling
  your doctor. You may have a greater risk of signs of withdrawal. If
  you need to stop this drug, you will want to slowly stop it as
  ordered by your doctor.11 you have high blood sugar (diabetes), you
  will need to watch your blood sugar closely.Tell your doctor if ,c:itr
  have signs of high or low blood sugar like breath that smells like
  fruit, dizziness, fast breathing, fast heartbeat, feeling confused,
  feeling sleepy, feeling weak, flushing, headache, unusual thirst or
  hunger, passing urine more often, shaking, or sweating.Talk with your
  doctor before you use alcohol, marijuana or other forms of cannabis,
  or prescription or OTC drugs that may slow your actions.Some people
   may have a higher chance of eye problems with this drug. Your doctor
   may want you to have an eye exam to see if you have9 higher chance
  of these aye problems. Calf your doctor right away if you have eye
  pain, change in eyesight, or swelling or redness in or aroundthe
  eye.ThIs drug may make you sunburn more easily. Use care if you will
  be in the sun. Tell your doctor it you sunburn easily while taking
  this drug.Be careful in hot weather or while being active. Drink lots
  of fluids to stop fluid loss.Some people may get a severe muscle
  problem called tardive dyskinesia. This problem may lessen or go away
  after stopping this drug, but It may not go away. The risk is ()rooter
                                                                                                                                                    liVIC4! 957546




  with diabetes and in ofder adults, especially older females. The nsk
  is greater with longer use or higher doses, but it may also occur
  after short-term use with low doses. Call your doctor right away if
  you have trouble controlling body movements or problems. with your
  tongue, face, mouth, or jaw like tongue sticking out, puffing cheeks,
  mouth puckering, or chewing.lf you are 65 or older, use this drug

                           Keep out of reach of children: Store in safety conta ner or spritro   I                   nv=z
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   Case 1:22-cv-01989-GLR Docyment 58-1 Filed 10/28/22 Page




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     MedStar Outpt Psych Services at MFSMC
      9105 Franklin Square Drive                                                              Behavioral Health Telehealth Note
      Suite 102 and 104                                                                            Visit Date: 03/15/2022 08:30
      Baltimore, MD,21237                                                          Scheduled Provider: Audlin, CRNP, Tiffany H.
     Phone: (443)777-7785        Fax: —



                                                      * Final Report *

  Chief CernPlaint                                                                        Past Behavioral Health History
  BEN Chief Complaint Anxiety Symptoms, Depression, Evaluate Response to                  No qualifying data available.
  Treatment, Monitor Stability and Maintain Gains
                                                                                             Problem List/Past Medical History
   History of PresentIllness                                                                 Ongoing
   Reviewed notes from prior appointment in EMR.62 yo MM with history of Prostate              Adjustment disorder with mixed anxiety
   Cancer, diagnosed 12/2021, COPD, Hypertension, S/P MVA, 2X with rotator cuff                and depressed mood
   tear both shoulders, with cervical radlculopathy, TM) pain, back pain. He had 2             Allergic rhinitis
   separate MVA,July and September 2021. Patient has no previous psychiatric history           Asthma
   but became depressed because of job loss and his medical conditions affecting his           Back spasm
   functioning. F/U telernedicine visit today via phone in patients home, Rosedale, Md.        Carpal tunnel syndrome
   Patient reports the pain In his left shoulder has been worse, goes to OMT clinic            cervical radiculopathy I !
   every 30 days or so, rigorous testing process. In regard to his prostate, stopped the       Cervical somatic dysfunction
   vitamins and his PSA dropped 5 or 6 points. Most recent PSA is 29.9, treatment plan         Cervical spinal stenosis
  still being discussed. Escitalopram has been helping with his mood, less Irritable. .        Cervical stenosis of spine
  Still has some level of anxiety that comes and goes, does not interfere with his day         Complete rotator cuff tear of left
  to day. Is doing very lithe driving, always on alert, has trouble siting still, but is not   shoulder
  consumed by this. Disruptive sleep because of the pain, never completely goes                Depression
  away. Has been sleeping a bit more in bed, 60% chair, 40% bed. Appetite, picky,              Erectile dysfunction       1
  not eating in excess, maybe one good meal a day, doesn't really think about food.            Heart failure with reduced ejection
  Takes medications consistently as prescribed and reports no side effect(s) of               fraction
  concern. Patient is not endorsing current SI or HI, intent or plan. No acute safety          History of COPD
  concerns.                                                                                    Hyperchoiesterolemia
                                                                                               Hypertension
     Scales/Scores                                                                            Impingement syndrome of right
     Little Inlerest Pleasure in Activities(ref): 1: several days                             shoulder
     Feeling Down, Depressed, Hope/ass: 1: several days                                                                   1
                                                                                              Insomnia
     Initial Depression Screening San': 2                                                     Lumbar herniated disc
     Depression Screening Negative: Negative                                                   Motor vehicle accident
    'Trouble Falling orStztying Asleep: 1: several days                                       Neck pain
     Feeling Tired or Little Enemy: 1: several days                                           Numbness and tingling of upper
     PoorAppetite or Overeating: 3: nearly every day
                                                                                              extremity
     Feeling 8ad About Yourself: 1: several days                                              Obesity
     Trouble Concenbahng: 1: several days                                                     Other cervical disc displacement at C4-
     Moving orSpeaking Slowly: 0: not at ail                                                  CS level
     Thoughts 8etter OffDied or Hurgng Self: 0: not at all                                                                I
                                                                                              Other cervical disc displacement at CS-
     Difficulty at Work, Home, or Getting Along With Others: Somewhat difficult               C6 level
     Detailed Depression Screening Score: 7                                                   Other cervical disc disptacement at C6-
     Total Depression Screening Score. 9                                                      C7 level                 I
 Review of_Systems                                                                            Paresthesia   of hand, bilateral
  Psychiatric: Anxiety                                                                        Prostate cancer          I
  Constitutional: Fatigue, Insomnia                                                           Prostatitis
  Musculoskeletal: Back pain, Neck pain, Other: chronic pain,14VA x 2                         PTSD (post-traumatic stress disorder)
                                                                                              Sensorlmotor neuropathy ,
    Pain Assessment Information                                                               Shoulder pain, right
    Pain Present: Yes actual or suspected pain                                                Somatic dysfunction of luMbar region
    Pain Present: Yes actual or suspected pain                                                Somatic dysfunction of thoracic region
 fdram                                                                                        Somatic dysfunction of upper extremity
                                                                                              Spondylosis of cervical spine

COFIELD, KEENAN KESTER                                 FSH-00684734700                                             ,    EMPI: 36263
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  MedStar Outpt Psych Services at
 MFSMC                                           Behavioral Health Telehealth Note            Visit Date:03/15/2022 08:30

     No vitals or measurement results available for this patient                            Temporomandibular joint(TM))pain
     BEH Consciousness: Alert                                                               Upper back pain
     BEN Orientation: Well Oriented in all Spheres                                        Historical
     BEN Appearance: Other: phone visit                                                     Adjustment disorder with disturbance of
    BEN Mood Per Self Report Other: good                                                      emotion
     BEN Affect: Other: unable to assess, phone visit                                       At risk of venous thromboembolus
    BEH Relatedness/Rapport: Other: engaged in the conversation and forthcoming             Cervical disc disease
    with symptoms                                                                           Eye pain
    BEN Insight: Adequate                                                                  Immunization due
    BEN Judgement: Adequate                                                                Impingement syndrome of right
    BEN Thought Content: Conversationally appropriate                                         shoulder
    BEN Thought Process: Logical and Coherent                                              Impingement syndrome, shoulder, left
    BEH Speech: Spontaneous and well articulated with average rate and volume              Obesity
    BEN Language: Intact                                                                   PruHtus
    BEH Perception: No Perceptual Abnormalities Reported                                   Seasonal allergies
    BEH Memory: Recent - intact
    BEN Attention Span/Concentration: Intact                                             Procedure/Surgical History
    BEN Intellectual Functioning: Average                                                • APPLICATION SHORT LEG SPUNT
    BEFI Fund of Knowledge: Adequate                                                       CALF FOOT(10/25/2018)
                                                                                         • None
    BEN Musculoskeletal: Other: phone visit
                                                                                         Medications
  ASsessment/Plaq                                                                        Medications at the Start of the Visit
                                                                                        1. amLODIPine (amLODIPine 10 mg oral
   1. Adjustment disorder with mixed anxiety and depressed mood F43.23                  tablet), 10 mg, 1 tab, PO, Daily, 90 tab, I.
    Patient reports the Escitalopram has been helping with his mood, less irritable.    Refill(s)
    Mild depression per PHQ-9. Adjusting given his present circumstances and waiting
                                                                                        2. ascorbic acid (Vitamin C), 100 mg, 1
    to hear about treatment for his prostate. No changes made to medication             tab, PO, Daily, 30 tab,0 Refill(s)
    regimen. Discussed Individual psychotherapy with patient, not interested at this   3. aspirin (aspirin 81 mg oral delayed
    time.                                                                               release tablet), 81 mg, 1. tab, PO, Daily,
                                                                                       90 tab, 3 Refill(s)
  2.Insomnia 047.00
                                                                                       4. atorvastatin (atonrastatin 40 rag oral
    Disruptive sleep because of the pain, never completely goes away. Has been         tablet), 40 mg,1 tab, PO, Daily, 90 tab, 3
    sleeping a bit more in bed, 60% chair, 40% bed. Trazodore helpful.                 Refill(s)
    Ordered: traZODone 50 mg oral tablet, SO mg = 1 tab, Tab, PO, Nightly, PRN         5. azelastine nasal (azelastine 137
                PRN insomnia, # 30 tab, 1 Refill(s), Pharmacy: WALGREENS DRUG           mcg/inh(0.1%) nasal spray), 1 spray,
                STORE #19149, Rx or Fix Med, 189,03/09/22 14:02:00 EST, an,            Inhale-nasal, Dally, 1 ea, 0 Refill(s)
                Height/Length Dosing, 110.2,03/09/22 14:02:00 EST, kg, Weight          6. budesonfde-formoterol (Symblcort 160
                Dosing                                                                 mcg-4.5 mcg/inh Inhalation aerosol), 2
                                                                                       puff, Inhalation, 7x/day, 10 gm,4 Refill(s)
  p140 and Treatment Recommendations                                                   7. cholecaiclferol (Vitamin 03
                                                                                      (cholecalciferol)), PO, Dally,10 Refill(s)
  Continue to adhere to med management as advised to Improve level of functioning, 8. cyanocobalamin (Vitainiri 612 1000
 -mood and to maintain gains and prevent relapse.                                      mcg oral tablet), 1,000 mcg, 1 tab, PO,
  Patient understood the importance of adherence with treatment and coming in for      Daily, 90 tab, 2 Refill(s) '
  regular appointments as scheduled.                                                  9. cliclofenac topical (didofenac 1%
  Patient to follow up with provider in one month or sooner if experiencing worsening topical gel), 1 appl, TOP,4x/day, PRN: as
  of symptoms, no improvement or experiencing side effects to the medication.          needed for pain, 100 gm,0 Refill(s)
  Patient to follow up with primary care provide'for all medical concerns.             10. EPINEPHrine (EpiPen 2-Pak 0.3 mg
  Patient provided with psydioeducation and bnef supportive therapy during session. injectable kit), 0.3 mg, I ea;IM, One
  Encouraged patient to engage in self-care activities as can tolerate.               Time, 1 pack, 1 Refill(s)      1
  BEH Counseling Provided To: Patient                                                 11. escitalopram (escitalopiam 10 mg
  BEH Psychotherapy Type Provided: Supportive                                         oral tablet), 15 mg, 1.5 tab, PO, Daily, 45
  BEH Counseling Regarding: Importance Of Adherence To Recommended                    tab, 1 Refill(s)
 Treatment, Instructions for Treatment and Follow Up, Risk factor reduction, Patient 12. fexofenadine (fexofenadine 180 rag
 and/or Family Education                                                              oral tablet), 180 mg,1 tab, PO, Daily, 90
 BEN Psychotherapy Needs: Anx;ety management                                          tab,0 Refill(s)            1 1
 BEN Continued Need for Treatment: Relapse prevention, Continued Need For             13. fluticasone nasal (Fionase SO mog/inh

COPIELD, KEENAN KESTER                                 FSH-C0584734700                                                 EMPl: 36263
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  MedStar Outpi Psych Servces at
                                              Behavioral Health Telehealth Note        Visit Date: 03/16/2022 08:30
 MFSMC
  Scructured Care To Adjust Medications                                             nasal spray), 2 inhl, Nasal, Daily, 2
  BEH Education Method: Discussion                                                  Inhalations per nostril, 16 gm,3 Refill(s)
  8E11 Patient Response: Accepted, Verbalized Understanding                        14. furosemide (furosemide 20 mg oral
                                                                                   tablet), 20 mg, 1 tab, PO, Daily, 90 tab,0
  Duration of Session                                                              Refill(s)
  Psychiatry Start Time: 03/15/22 08:28:00                                         15. gabapentin (gabapentin 100 mg oral
  Psychiatry Stop lime: 03/15/22 08:51:00                                          capsule), 100 mg, 1 cap, pp, 3x/day, 90
  Psychiatry Time Spent: 23 Minute(s)                                              cap,0 Refill(s)
                                                                                   16. ibuprofen (ibuprofen 600 mg oral
                                                                                   tablet),0 Refill(s)
                                                                                   17. lidocaine topical (Lidoderm 5%
                                                                                   topical film), 1 patch, TransDERMAL,
                                                                                   Daily, for 7 Day(s), apply up to 12h/d,
                                                                                   max 3 patches at a time, 30 patch, 0 Refill
                                                                                  (s)
                                                                                   18. meteoroid (meteoroid sucdnate 25
                                                                                   mg oral tablet, extended release), 25 mg,
                                                                                   1 tab, PO, Daily, 30 tab, 0 Refill(s)
                                                                                   19. potassium chloride (potassium
                                                                                   chloride 20 mEg oral tablet;extended
                                                                                  release), 20 mEq, 1 tab, PO,Daily, 10 tab,
                                                                                  3 Refill(s)                 I I
                                                                                  20. traZODone (traZODone 50 mg oral
                                                                                  tablet), 50 mg,1 tab, PO, Nightly, PRN:
                                                                                  insomnia, 30 tab, 1 Refill(s)1
                                                                                                              I l
                                                                                  Medication Changes at visit
                                                                                  1. escitalopram (escitaloOrim 10 mg oral
                                                                                  tablet), 15 mg, 1.5 tab, P0,1Daily, 45 tab,
                                                                                  1 Refill(s) Changed/Refilled
                                                                                  2. traZODone (traZODorie $0 mg oral
                                                                                  tablet), 50 mg, 1 tab, PO N ghtly, PRN:
                                                                                  Insomnia, 30 tab, 1 Refill(s)
                                                                                   Changed/Refilled

                                                                                  Medications at the End of the Visit
                                                                                  1. amLODIPirre (amLODIPine 10 mg oral
                                                                                  tablet), 10 mg,1 tab, PO, Daily, 90 lab, 1
                                                                                  Rerill(s)
                                                                                 2. ascorbic add (Vitamin        100 mg, 1
                                                                                 tab, PO, Daily, 30 tab,0 Refill(s)
                                                                                 3. aspirin (aspirin 81 mg oral delayed
                                                                                  releasetablet), 81.ing; 1 tab, PO, Daily,
                                                                                 90 tab, 3 Refill(s)
                                                                                 4. atorvastatin (atorvastatin 40 mg oral
                                                                                 tablet), 40 mg, I tab, PO;Daily, 90 tab, 3
                                                                                 Refill(s)                   '
                                                                                 5. azelaslane nasal (azelastine 137
                                                                                 mcg/Inh(0.1%) nasal spray), 1 spray,
                                                                                 Inhale-nasal, Daily, 1 ea,0 Refill(s)
                                                                                6. budesonlde-formoterol (Symbicett
                                                                                 160 mcg-4.5 mcg/inh Inhalation aerosol),
                                                                                 2 puff, Inhalation, 2x/day;10 gm, 4 Refill
                                                                                (s)                         1 I
                                                                                 7. cholecaldferol (Vitamin 03
                                                                                (cholecalciferol)), PO, Daily,0 Refill(s)
                                                                                 8. cyanocobalamin (Vitamin 612 1000


COFIELD,KEENAN KESTER                                FSH-00684734700                                            MN:36263
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  MedStar Outpt Psych Services at
 MFSMC                               Behavioral Health Telehealth Note         Visit Date: 03/15/2022 08:30

                                                                             mcg oral tablet), 1,000 mcg, I tab, PO,
                                                                            Daily, 90 tab, 2 Refill(s)
                                                                            9. didofenac topical (dIdofenac 1%
                                                                            topical gel), 1 appl, TOP,4x/day, PRN: as
                                                                            needed for pain, 100 gm,0 Refill(s)
                                                                            10. EPINEPHrine (EpiPen 2-Pak 0.3 mg
                                                                            injectable kit), 0.3 mg, 1 ea,IM, One
                                                                           Time, 1 pack, I Refill(s)
                                                                           11. esdtalopram (escitalopram 10 mg
                                                                           oral tablet), 15 mg,1.5 lab, PO, Daily, 45
                                                                           tab, I Refill(s)
                                                                           12. fexofenadine (faxofenadine 180 mg
                                                                           oral tablet), 180 mg, I tab, PO, Daily, 90
                                                                           tab,0 Refill(s)
                                                                           13. fluticasone nasal (Ronase 50
                                                                           mcg/lnh nasal spray), 2 inhl, Nasal, Dally,
                                                                           2 inhalations per nostril, 16 gm,3 Refill(s)
                                                                           14. furosemide (furosemide 20 mg oral
                                                                           tablet), 20 mg,1 tab, po, Daily, 90 tab, 0
                                                                           Refill(s)
                                                                           15. gabapentln (gabapentin 100 mg oral
                                                                          capsule), 100 mg,1 cap, PO,3x/day, 90
                                                                          cap,0 Refill(s)
                                                                           16. ibuprofen (ibuprofen 600 mg oral
                                                                          tablet),0 Refill(s)
                                                                          17. Ildocaine topical (Lidoderm 5%
                                                                          topical film), 1 patch, TransDERMAL,
                                                                          Daily, for 7 Day(s), apply up to 12h/d,
                                                                           max 3 patches at a time, 30 patch,0 Refill
                                                                         (s)
                                                                          18. metDproloi(metoprolol succinate 25
                                                                          mg oral tablet, extended release), 25 mg,
                                                                          1 tab, PO, Daily, 30 tab,0 Refill(s)
                                                                          19. potassium chloride (potassium
                                                                         chloride 20 mEq oral tablet, extended
                                                                          release), 20 mEq, 1 tab, PO, Daily, 10 tab,
                                                                         3 Refill(s)
                                                                         20. traZODone (traZODone 50 mg oral
                                                                         tablet), 50 mg, 1 tab, PO, Nightly, PRN:
                                                                         insomnia, 30 tab, 1 Refill(s)
                                                                         Allerales
                                                                         Mold (asthma trigger, Hayiever)
                                                                         Pollen (Hayfever)
                                                                         No Known Medication Allergies
                                                                         social History
                                                                            Smoking 5tatu5
                                                                              Never smoker
                                                                          Atcohol
                                                                            Use: Denies.
                                                                         Employment/School
                                                                            Status: Off work temporarily.
                                                                         exercise
                                                                            Frequency: 1-2 times/week.
                                                                         flame/Environment
                                                                            Born OutsIde the US: No. Marital
                                                                            Status: Single. Lives with Mother.

COFIELD, KEENAN KESTER                      FSH-00684734700                                              BPI:36263
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  MedStar Outpt Psych Services at
 MFSMC                                   Behavioral Health Telehealth Note       Visit Date: 03/15/2022 08:30

                                                                                Comment(s): Lives with 82 yo mother.
                                                                                Pabent is the oldest of 4.. Living
                                                                               situation: Home/Independent. Home
                                                                                Equipment: None. Alcohol abuse in
                                                                                household: No. Substance abuse in
                                                                                household: No. Smoker in household:
                                                                                No. Concerns for Domestic Violence:
                                                                               No. Feels unsafe at home: No. Safe
                                                                               place to go: Yes. Family/Friends
                                                                               available for support: Yes. Concern for
                                                                               family members at home: No. Major
                                                                               illness in household: No. Financial
                                                                               concerns: No.
                                                                             Substance Use
                                                                               Use: Denies.
                                                                             Tobacco/Nicotine
                                                                               Use: Denies.
                                                                             Leaal Hjstonr
                                                                             No qualifying data avSildble.
                                                                             Family History
                                                                             Diabetes mellitus: Mother and Father.
                                                                             H8P (high blood pressure) • Mother
                                                                               and Father.


 Signature Line
 Electronically signed by:

 Audlin, CRNP,Tiffany H. on: 03.15.2022 11:23 EDT




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                      EXHIBIT B




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                                                                       After Hours Phone Note
     MedStar Family Health Center at MFSMC                                  Visit Date:03/09/2022 13:40
      9101 Franklin Square Drive
      Baltimore. MD,21237
     Phone: (443)777-2000        Fax: —



                                                     *Final Report*




 From: Randolph, MD, Martine Nzungize
 To: Pristell, DO, Chrystal Lynette;
 Sent: 03/18/2022 01:08:04 EDT
 Subject: After Hours Phone Note - shoulder pain

 Caller is: (X)Patient ()Mother ( )Father ()Pharmacy ()Other.

Patients Physician: Dr. Pristell

Chief Complaint Shoulder pain
- Shoulder started to swell up for 1 week, would like some:hing for pain
- Came in to OMT clinic on 3/10, Own something for the pain
- He has been doing gabapentin 100 mg x1, ibuprofen 600 mg x


Advice/Action:
Tylenol 100C mg qBh - sent to phamtacy
Start sports cream
Lidocaine patches - sent to pharmacy
Call us back if this regimen does not help in -!-2 days for a acute visit




Completed Action List:
* Perform by Randolph, MG, Martina Nzungize on March 18, 2022 01:06 EDT




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     MedStar Family Health Center at MFSMC
      9101 Franklin Square Drive
      Suite 300                                                 Ambulatory Clinical Summary
      Balimore, MD, 21237                                       Visit Date: 03/09/2022 13:40
     Phone: (443)777-2000 . Fax: —


                                            * Filial Report *

  COFIELD, KEENAN KESTER
       Visit Date: 03/09/2022 13:40

  Instructions From Your Provider

  - You may experience increased soreness and tigitness for the next day or two, it's important to stay
  hydrated.
  - May take Tylenol as needed for the discomfort You can use topical creams such as Ildocaine.
  - Continue to incorporate routine genie stretches. You can refer to the handout provided.
  - Return to clinic to follow up with OMT in 1-3 mcnths.


 Other Scheduled Appointments
  Tuesday                 With: Audlin, CRNP,liffany H.     .
   March 15,2022          Where: MedStar Outpt Psychiatry Services at Franklin Square Med Ctr
  08:30 aim

 Wednesday               With:  Cohen, MD, David A.
   April 27, 2022        Where: MeoStar Orthopaedic Institute at MFSMC
  10:30 am

   Monday                With: Johnson, MD, Martha E.
    May 09, 2022         Where: MedStar Family Health Center at Franklin Square Medical Cntr
  08:40 am

 Tnursday                With: Dorai, MD,Zeena
    May 1.2, 2022        Where: MedStar UMH Orthopaedics Center of Excellence -Spine
 09:30 am
 Medications
                     What                 Now Much          When             Why           Instructions
  Uncfraived amLODIPine                  1 Tablet(s)     Every day
            (amLODIPine 10 mg            By Mouth                                            .
            oral tablet)                                                                     .
  Unchanged ascorbic acid (Vitamin       100 Milligram Every day
             C)                          By Mouth


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  MedStar Family Health Center at
 MFSMC                                 Ambulatcry Clinical Summary         Visit Date: 03/09/2022 13:40

                       What           How Much             When              Why            Instructions
  Unchanged aspirin (aspirin 81 nig 1 Tablet(s)         Every day
              oral delayed release By Mouth
              tablet)
  Unchanged atorvastatin            1 Tablets)         Every day
            (atorvastatin 40 mg     By Mout,
              oral tablet)
  Unchanged azelastine nasal        1 Spray(s)         Every day
            (azelastine 137 mcg/ Nasal
              inh(0.1%).nasal       inhalation
             spray)
  Unchanged budesonide-             2 Puff(s)          2 times a
             formoterol (Symbicort Inhalation          day
             160 mcg-4.5 mcg/
             inh inhalation
             aerosol)
  Unchanged cholecalciferol         By Mouth           Every day
            (Vitamin D3
            Icholecalciferolp
  Unchanged cyanocobalamin          1 Tablet(s)        Every day
            (Vitamin B12 1000       By Mouth
             mcq oral tablet)     _
  Unchanged diclofenac topical      1 Application      4 Times a
            (diclofenac 1%          Topical            Day as
             topical gel)                              needed for
                                                       as needed
                                                       for pain
  Unchanged EPINEPHrIne (EpiPen        1 Each          One Time
            2-Pak 0.3 mg               Intramuscular
            injectable kK.
  UnchaAged escitalopraM               1.5 Tablet(s) Every day         Adjustment
                 (escitalopram 10 mg   By Mouth                          disorder with
                  oral tablet)                                           disturbance of
                                                                         emotion
                                                                       PTSD (post-
                                                                         traumatic
                                                                         stress
                                                                         disorder)
  Unchanged fexofenadine          1 Tablet(s)          Every day
             (fexofenadine 180 mg By Mouth
              oral tablet)
  ihrchanged fluticasone nasal    2 Inhalation         Every day                          2 Inhalations
             (Flonase 50 mcg/ inh Nasal                                                   per nostril
              nasal spray)




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  IViedStar Family Health Center at
 MFSMC                                     Ambulatory Clinical Summary      Visit Date: 03/09/2022 13:40

                       What                 How Much          When            Why           Instructions
   Unchanged furosemide                    1 Tablet(s)     Every day
             (furosemide 20 mg             By Mouth
              oral tablet)
                         ._
   Unchanged gabapentin                    1 Capsule(s)    3 times a
             (gabapentin 100 mg            By Mouth        day
              oral capsule)
   Unchanged ibuprofen (ibuprofen
             600 Mg oral tablet)
   Unchanged lidocaine topical             1 Patch         Every day                      Duration: 7 Day
             (Lidoderm 5% topical          Transdermal                                   (s)
             film)                                                                        apply up to 12h/
                                                                                          d, max 3
                                                                                          patches at a
                                                                                         time{

                                                                                                 I
                                                                                                 I
   Unchanged metoprofol                   1 Tablet(s)      Every day
            (metoproloi succinate         By Mouth                                               1     '
             25 mg oral tablet,
             extended release)
  Unchanged potassium chloride            1 Tablet(s)      Every day
            (potassium chloride           By Mouth
             20 mEq oral tablet,
             extended release)
  Unchanged traZODone                     1 Tablet(s)      Once a day PTSD (post-            1
            (traZODone 50 mg              By Mouth        (at            traumatic               '
             oral tablet)                                  bedtime) as   stress
                                                           needed for    disorder)
                                                           insomnia    Insomnia

 Allergiles
 Mold (asthma trigger, Hayfever)
 Pollen (Hayfever)
 No Known Medication Allergies

 My Summary
 My Visit Was For                                           Vital Signs
 Cervical spinal stenosis                                   03/09/2022 14:02
 Complete rotator cuff tear of left shoulder                Temperature: Oral - 36.5 °C (97.7 °F);
                                                            Heart Rate: 82
 Somatic dysfunction of upper extremity                     Respiratory Rate: 20
 Somatic dysfunction of thoracic region                     Blood Pressure: 129/78
 Cervical somatic dysfunction

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 MedStar Family Health Center at
MFSMC                                 Ambulatory Clinical Summary    Visit Date: 03/09/2022 13:40

                                                        Height: 189 cm (6 ft 2 in)
                                                        Weight: 110.2 kg (242 lbs 15 oz) •
                                                        Body Mass Index(BMI): 30.85 kg/m2




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  MedStar Family Health Center at
 MFSMC                                     Ambulatory Clinical Summary       Visit Date: 03/09/2022 13:40

  Education Materials
  Manage your health care anytime,anywhete with the
  myMedStar Patient Portal
  myMedStar is a free, secure and convenient way to manage your health care and communicate with
  your physician.

  With myMedStar you can:
  o Request and view upcoming appointments
  o View most lab, radiology and pathology results as soon as they are available
  o Renew prescriptions
  o Exchange secure email messages with any of your MedStar Health care providers
  O View summaries of your hospital or office visit
  o And more

  How to Errant

 Self-enrollment
 1. Go to myMeo'star.org
 2. Click Enroll Now
 3. Follow the instructions to enroll. You will need:

  O First and last name
  o Date of birth
  o Email address or this PatientID - 36263

 Email Invitation:

 If you provided an email address during registration you should have received an invitation to enroll in the
 myMedStar patient portal.

  o From within the invitation, click the link to accept the invitation.
 • After successful verification, you will be prompted to create your account. Follow tM onscreen
 instructions to complete the enrollment process.

 MedStar Health is dedicated to helping improve your overall health care experience by providing
 convenient, streamlined resources to help you better manage your health. We now offer the ability for
 you to sec:urely connect some of the health management apps you may use(i.e. fitness trackers, dietary
 trackers, etc.) to your health record. Email us at mymedstaramedstannet if you are interested. Once we
 receive your request, MedStar Health will work with the appropriate vendors to determine if they meet the
 technical requirement in order to establish a secure connection.

 If you have questions or need assistance creating your account, please contact myMedStar support toll
 free at 1-877-745-5656, 24 hours a day,7 days a week.




                                                                                                 •
                                                                                               •
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            Family Health Center at        Document
                                           Ambulatory
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  M FSMC                                             Clinical Summary    Visit Date:03/09/2022 13:40

  Signature Line
  Electronically signed by:

  Kabert, MD, Lorrane N on: 03.09.2022 15:16 EST




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           Case 1:22-cv-01989-GLR Document 58-1 Filed 10128/22
Ciox Health
                                                                             Date
P.O. Box 409900
Atlanta, GA 30384-9900                                                   02/24/2022
Fed Tax ID 58 - 2659941
1-800-367-1500                                                           Request ID #
                                                                         665906635



                                            Requested By: COFIELD, KEENAN
Ship To:
                                            Patient Name: COFIELD DR KEENA
DR KEENAN COFIELD
COFIELD, KEENAN '                           008:
1236 KENDRICK RD                                                 /1959
ROSEDALE,MD 21237-2920




Records From:
OUTPATIENT PSYCHIATRY
9105 FRANKUN SQUARE DRIVE
EFRC
BALTIMORE,MD 21237
    Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 95 of 259
       Case 1:22-cv-01989-GLR Document 58-1 Filed 10/28/22 Page 17 of 375


     ritedShir OutTit Psych Services.at WS=
       9105Franklin Square Drive                                                             Behavioral Health Telenealth Note
       Suite 1132and 1.04                                                                         VIslt Date:0211572022'08:55
       Balt-Mork MD,21237                                                         Scheduled Provider: Audlin,tRNP,11ffanY H.
     Phone: (443)777-7785           Fax: —


                                                     * Final Report*

  Chief Complaint                                                                        ppst Behavioral Health Maori
  BEH Chiefroritplaint Depression, Evaluate Response to Treabnent, Monitor               NO qualiMilg data available.
  Stability and Maintain Gains, Mood Symptoms
                                                                                           Problem List/Past Medical History
  tEsturyst.Poxentilinto                                                                   Q39.9.113.2
   Reviewed notes from prior appointment in EMR.Summary taken from previous                   Adjustment disorder with mixed anxiety
    providers note. Patient is a62 yo AAM with fiistory.of Prostate Canter, COPD,             and depressed mood • '
   Hypertension, S/P MI/A, 2X with rotator cuff-tar both shoulders,.with cervical             Allergic rhinitia
   redicarlopatity, 11.0 peat/ V& pain. He had 2.separifte MVA,July and September             Oa*spurn
  2021. Patient has no previous psychiatric history. The.more he was hearing about            Carpal tunnelsyndrome
   his MediCal &habil,the mdre he virafbeedmind slePrteaadiii has'sd Mitch pi%                Carvielliattkailopithy
   In MS bodyduel° the acddenteffecting.hls.fundroning. He has not.been able to               Cervical:somatic:dysfunction
   retureto wotk since first accident in July 2021. Patient isa psychologistestate and        Cervical spinal stenosis
  federal lobbyist: H.e was recently•diagnosee with Prostate Cancer December'of               Cervical atenosis of'spine
  2021.1hecaticer treatment Is now the priority and this puta hold on any treatment           Complete rotator cufftear ofleft
  ferrotator etifftear: Heismthedufed to•tee Raddloglst•ana-Ohotiegisrtb deenfitle            shoulder
  what Ireatnient will be done for the prostatecaricer, Patient has been depressed,           Depression
   ptiorrnottiatioridroor-sleep       appetife,:difficiiity ebncentiating,deareated energy   Eredtlie dysfunction
   butderries any suicidal thought. Patientdenies mania or hypemati4. Patient denies         Heartfailise with reduced ejection
  anxiety,, no:OCD. lie denies Any.psycliciticsymptoms. He-denies alcohol or illicit ,       fraction
  drug abuse. Helendorsg fear of driving since the.oraccident hypervigtantend                History oF.COPD
  has not been driving since unless forced to drive. Very tittle to no driving. He still     Hyperctiotesterotemia
  hasintrusive thoughtsnd memOriesoftheacddelt, cab s#.dthe iriddent voiy                    Hypeitension
  dear, vivid scenarios ofacoident. Fre tries to avoid memories of it. He sometimes          Impingementsyndrome of right,
  wakes up teeiN befrig'crushed agefrifteditivaitident NtletitWas seen-et AsPire             shoulder
  Wetness Center and Was diagnosed with Frso,Aejustment Disorder, and was                    Insomnia
  given'Esoltalopram                                                                         Luritharherniated disc
                                                                                             Motor vehicle accident
  F/U teiemedicine phone visit today with new provider. Patient concurs with the             Neck pain
 above summary and rerxlirtehe r feeling okay.Saw radiOlogist two weeks•ago                  Nembnea and tingling of upper
 regard to prostate cancertreatment. PSA was rechecked, patientin limbo rightmow             extremity
 Waiting to hear back:Encouraged piitientto Ithilvout Sinceies beeri uNti mos.               Obesity
 Patient believesthat two vitamins he was taking Vit. A.and E.could have increased          Other cervical disc displacement at C4-
 his FSA: He has Wentesearching and Would like to have his PSAlethecked since               05100
 he lias.stopped.taldng the.se vitaminstninweeks ago. D.enies anxiety and has an "I         Other cervical disc emplacement atCS-
 don't care.attitude." Patient states, it doesn't take much to set him off,thinks his       C6 level .
 pain lia'a lot toxic,With this. CortiSoneshotefridihe'epidural have greatly helped         Othercervical disc diso1acernentak6-
 with his pain. Appetite Is still not great•secondary to Th1),•telerating seftfood.s,       C7 level
 wèightistabie,240-745POulidi.Sliep has Wei)anblid offthough better Withthe Parathesia of hand-, bilateral
 trazodorre. At night inears.a cervical collar, hand and back.brace aupport..Sleeps         Prostate cancer
 in a rediner-Still haVirip flashbacks and ilightmafek-atieastl-5'emel a Week.              Restates
 Wakes up feeling exhausted as ifhe's been running and exerting himself.stiu not            PTSIY(pest-taumatfcstress d' der)
 driving. Has,two brothers and lives with his83 year old mother whostill drives and         Serisorirnotor neumpathy           •
 gets around Welt, Patient hat a btitsd supportsysthm.•Takesitiaditatioos                   ShOulder pain;right
 consistently as prescribed and ngiortspostdesiffed(s)of concern. Patient is not            Somatic dysfunction of lumbar region
 atioisIng cut/Ott:SI drill; intent or plan. No f:atesefety Concerns.                       Silnatic dit(Unction of-thetecit'Mgian
                                                                                            Somatic dysfunction of upper extremity
    Scales/Scores                                                                           SFiondYlosis.of cervical spine ', I
     Little IptereskFreasgre in Artirtts(re); 0: not at all                                 Temporomandibularjoint(TM))pain
    &#.100Da4o,Deti'esSe4 Hopeless:1:several days                                           Upper back pain
    initialDepreision.Screenfflg Scorn:

COFIELD,KEENAN KESTER                                   FSH-00680911138                                               EWE 35263
DOS:     /1959                                Ftintecti on:02/24/2(12214:51 EST                                        Page 1.Of5
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  MedStar Putpt Psych Services at
 MFSMO                                          Behavioral Health Telehealth Note         Visit Date:02/15/20220855

    Cepression SYreening Plegative: Negative        •                                   jilstorical
    71uutik rang arSbytagAskep 1: several days                                             Acflustment disorder with .dt5turbance of
    Fee* Mellor Utile Energy:               iiiiery day                                      emotion
    Abor;dippetiteor OsgeaVng: 3 nearly every day                                          Atrtskof venous thromboemboluS
   (Cinnie/it:1,60r appetite,secondarytoT14)Wain,CRNP,Tiffany H.-                          Ceilgcal disc disease
   02/15/20229:18EST))                                                                     Eye
    FeeliggBadMout You/f; 1: several days                                                 Immunization due
    Petiblereihiehtnithlo 3:dearkieviny day                                                bilpingement sjiiidrome of right
    Mow:ng orSPeakIng Rosily: 0: not at all                                                  shoulder
    TholVh&.8ellei-arge` orHiiliihoSe: 0: not.at all                                      irnpaigtirient syndrome,shoulder,left
    Dffeuity atditttifom,or Gettt,ng.Along Wth Othets Extrernelydifficult                 Obesity
   Detaffec/Depteiskin Screeignracvre: 11                                                 Pigtails
    TotalDepAssgion ScreeningSeare 1.2                                                    Seasonal allergies
  Review of                                                                             Pnueriure/Suraicel fitstory
  Psychiatft Depression                                                                • APPLICATION SHORT LEG Si:UNT
  constitutional:fatigue, Insomnia                                                         CALF FO01;(10/25/2018)'
  Musculoskeletal: Back patn,.Necif pain, Other: shoulder.andjaw pain,C3-C7           • None
  herniation                                                                           Medications                        1
   Pain AssessnentInformation                                                          lotedicafkiiis attheStart ofthe Visit
   Pain Present: yet atialdl &suspected Pain                                           1. amLOD1Pine(amLODIFine 10 nI9 oral
   Fain Prmnt:Yes.actual or suspectedpain                                              tablet), 10mg,1lab, PO', Oak 901ab,
                                                                                       Refill(s)
  gam                                                                                 2. aspirin (aspirin 81 nip oral delayed
    No vitats.or measurement results available for this patient                        release tablet),81 mg,.1 tab,PO, Daily,
    ElEti C6 ouinids Alert                                                            90 tab,3 Refill(s)
    REM Orientation: Well Oriented ih U Spheres                                       3. aixavaStatin(atorvastatim40 mg oral
    REM Appeataftds: Other: phone visa'                                               tablet),40trig, 1 tab, PO, Daily, 90 tab, 3
    REM Mood Per Self Report Other: Tm okay                                           Rehil(0                              I I
   ati Affect: Other: unable to.Ass•tc, phone visit                                   4. ezelastIne nasal(ezelastlne 131, I
   BEH'RelatedneafRepPcitt: Othei't engagedln the conversation and forthcoming        mcg/inh C0.14)nasal spray), 1 spray,
   with his symptoms.                                                                 Inhale:nasal, Daily, 1.ea,0 Refill(s) I
   REM!Wild:Adequate                                                                  5. becicthethasone.(Qvar Reciiiibler 80
   BEN Judgement; Adequate                                                            mtg/Inti inhalaticul•aeldS61),811 wog, A
   BEH Thought Content: Conversationally appropriate                                  inhonhayotiort,2x/day. for 40 pay(s),
   REM Thoiight Process: Lbglcal and Coherent'                                        rinse moiali eftei-*rt.ea;0 Refill(s)
   BEH Speech:Spontaneoutand well articulated with average rate and volume           6. becioniethasdne(Q(ra(aedfilaier80
   REM LarigUage: Intact                                                              mcgiinh inhalation aerosol),0 Refilics)
   REM Perception: No Perceptual Abnormalities Reported                              7. cyamxobalarnin (Vitamin 812 1000
   BEA Neinon/Y0thiat':.riiitle:sieil                                                 mcg oral tablet),.1,00Q mcg,1 tab,.P0,.
   RH Attention SpaniConcentiation: intact                                          0all9;90.tab,2 Refill(s)
   8EH Intellectual Funcflening: Average                                                  djciofinaCtoplcal(cfictofenac 1%
   BEM Fuhd of Kawiedge: Attequate;                                                  topical gol),I aPp1,10P,ifx/daypPRN: as
   BEN Musailosiceletal; Other: phone visit                                          needed for paiii,.100:grh,.0 Refill(s)*
                                                                                    9. EPINEPHrine(EpiPen 2-Pak 0.3 mg
 Assesqpient/Plan                                                                    1n1ectatile1ci9,0,3 ing,.1a,Ill, Orie
                                                                                    Time, 1 pack, 1.1(efill(s)             :
 -1. Adjustment disorder With mixed anxiety and depressed mood F4323                 10. escitaloprani(escitatopram 10 mg
   Stable, per patient. PiiiA score 12today. Continue Escaaloprarri 15 mg daily.    oral tablet), 15 mg,1.5 tab,.PO,Daily,AS
   Patielittolerating Withoutidvelse effects:                                       tab I Refill(s)
                                                                                     11. fexofenadine(fexofenadine 180 nt
 2.Insomnia G47.00                                                                  oral tablet), 180 mg,1 tab, PO,Daily,90
   Sleeping well with Trazodone Samg at bedtime. Denies adverse effects.            tab,OTiefit(s)'                         1 I
   Ordered: traZODone50 mg oral tablet, SO mg t, i tab,Tab, PO, Nightly, PRN        12. fluticasone nasal(Ronase.50 mcgfinii
             PRN ihsorrinia,.# 30 tab,i.Refilf(s), Pharmacy:INAj.GREENS DRUG        nasal spray);2 bill, Nasal, Daily/2 1 I
             STORt #19149, Rx'dy Mx Med,.187.96;152164122 43:50:1X1 EST,•cm,        inhatations per nostril, 16 gni,3Refill(s)
             Height/Length Dosing, 107.3,02/040213:50:00.EST, kg, Weight            13. furbeernide (fikoserriide.20A§ oral
             Dosing                                                                 tablet);20 Mg,1 tab;.P0, Dally,.90 tab;0

                                                                                                                             tI
GOMEL% KEE'NAN KESTER                                FSH-00680911138                                                EIVIP1: 38263
DOB:    1959                                 Printed on:02/241202214:51 EST                                          P*105
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      Case


  MedStar Putpt Psych services at               Behavioral Health Telehealth Note
 MFSMC•                                                                                     Visit Date:02/16/202208:55

                                                                                           Refill(s)
  3.PTSD(post-traumatic stress disorder)F43.10                                             14. gabapendn (gabapentin 100 mg oral
   Still hatflashbailsof She aceiderltiiiithalghinlares 3-5 nines/week Wakes up           cdpsule),.100 nig;top,PO,3ii/day,.90
   feeling exhausted. Discussed starting Individual psychotherapy. Patientis              cap,0 Refill(s)
   interested. yirg teach out to dtir front offideitaffto this can be initiated.           15. ibuprofen (Ibuprofen 600 mg oral
   Ordered: tr520Done50 mg oral tablet, SO rit 1 tab, Tab,PO, Nightly, PRN                tablet),0 Refill(s)
               PRN insomnia,#30tab, J. Refill(s), Pharmacy; WALGREENS DWG                 16. Woo:rine topical(Lidodenn 5%
               STORE 419149, Ric-ofIN Med;1137.96,P2/04/2213.        :$10=Est an,         100Calfilth), 1 peck TraiisDERMAl„
               Height/LengtliDating, 167.3,02104/22-1350:00 EST,to, Weight                Daily,for 7 Day(s), apply.up to i i/d,
              Dnsing                                                                      Max-300es* a time,3D Weil,IT Refill
                                                                                        (s)
                                                                                          17. metoprolol(metoprolol succinate 25
   Plan and treatment Reoommendationq                                                     mgOraliablet,extended re1ease125 mg,
                                                                                          1 tab, PO; Daily,301ab,0.Refill(s)
   Continue to adhere to mecl management:and psychotherapy sessions as advised to
   improve level of ftinctioning, mood and to manstairigallis and Pre:refit Mips&        18. Oolasslum chlork14(PoloUilito
  Patient underttood the importance of-adherence with treablientand earning in for chloride         20 mEg oral tablet, extended
                                                                                          Mate),2.6-mEq; b,-PO, Dily, 1.0 tab,
  regular appointments as.scheduled.                                                        Refill(s).
  Patient to follow up with prOvIdet In one month or sooner itexperiencIng worsening 3 traZODone
  ofsymptoms, no improvement                                                                               (traZODone SO mg oral
                                  :or ccerlencing side.elfects to the medication.        tablet), 50-mg, 1 tab,,P3, Nigh*,PRN:
  Patient to fol(oW up with prifiralY dare'provider:Wad Medical tOritenit                Insomnia, 3b tab, i Refill(S)
  Patient Protded with psychoeducation -and brief supportivetherapy during session.
  Encoufaged patient to engage stikaie activities ascam ioldrato.                        Medication Changes at visit
  BEH Counseling Provided To:Patient                                                     1. azo              ZODiiêS0thg oral
  eat Psychotherapy Type Provided:      CST  Suppoitiye                                  tablet),50 mg,1 tab, P3,Nightly,:FRN:
  BEH CountelIng Regarding: Tinportaitte-Of Adleaerice To Recommended                    insomnia;30 tab,1 Refill(s)
  Treatment,instructions for Treatment and Follow tip, Risk factor reduction Pat
  ard/oFrnilyEduó oh                                                          -' -lent Changed/Refilled
  BEN Psychotherapy Needs: Psychiatric.relapse prevention, Psychiatric svrnotorn
                                                                            •            Medications.atthe End of the Visit
  management,Consistentimplementation of adaptive coping, Gnef/loss-resotution           L arni.OD1PInelem101)1Plne 1iYmg oral
  BEN Continued NEW for Treattnene Relapse.pitrenticin, Cchitinuad Need For             tablet), 10Mb..1          Fp;DallY:10tab;
  Structured Care To Acdust Medications, Continued Psychiatric Symptcrns Causing                                                 .1
                                                                                         ReflIks)
               handellendent Ehring Or Dally*Funitioning                                2. aspirin (aspirin 81 mg oral delayed
  BEH Education Method: Discussion                                                      releasetablet),81 mg,:1 tab, PO,'Daily,
  BER Priffent.Respon§e: Accepted,-Verbalized Understanding                             50tab,3 Refill(s)
  BEH Mitcellanetu.s: Patient advised tooall if condtion:orSYmPtcats worsen             3. atondstatin(atorvastatin 40 mg oral
 DuratlakofSesslon                                                                      tablet),40 mg,1 tab, FO, Daily,80 tab,3
 Psychiatry Start Time: 02/15/22 08:5800                                                Refill(s)
 Psychiatry Start Time: b2/15/22913:513:00                                             4. azelasdne nasal(azetastine 137
 PsYchlatry Stipp -rime:02/15/22 09:41:00                                               mogfinh(0316-)nasal sProir), 1 *eV,
  NyclilalfyThie Spent:43 Minute(s)                                                    Irthale:hasal, Daily, 1 ea,0 Refill(s)
                                                                                       S. becicmetfiasone Par fteellhater 80
 Attestation                                                                           mcg/inh inhatatlon-akioki);80rnEgi 1
 This patient encounter wesconducted via a live, two-way IiIPAA secure video           inhi,JnhalationrZyjclay, for-30 Day(s),
 platftilin.Ttle Patiatainsented               te.ietlealth platfiirm.Thesand and      ririte trfoirlit'aitekuse,..Le'a;0 WP(S)
 image quality were adequate for assessment of key findings. The patient was           6. beclornethasone(Qvar Redibaler 80
 Instructed as-needed to demonstrate physicalfindings for my evaluation.               Mcg/inh inhale-don:aerosol),0 Refill(s)
                                                                                       7. -cyancicobalartin (ydarnin 6121000
                                                                                       mcg orattab(et);1,600 ms ,1 tab,PO,
                                                                                       Daily,90tab;2 Refill(t)                '
                                                                                             didofendctopical (diclofenac 1%1
                                                                                       hipical gel), 1 alio!,TOP,41/ClaVpilit: as
                                                                                       needed(r pain,106 gm,0'Refiti(s)
                                                                                      9. EPINEPHrine(EjiiPen2-Pak 03 mg
                                                                                       injectable Idt),P.3 mg,1 ea, ltd, One
                                                                                      Time, 1-pack 1 efill(s)
                                                                                       10. *Wre!(atitalopram 10 mg
                                                                                       oral tablet), 15 mg,LS tabe PO,DallY,45


COFIELD,KEENAN KESTER                                     FSH-00680911138                                            EIVI-Pk3t3263
DOE:    11959                                 ff)liflteci on:•02/241Z2214:51 EST                                      Pafie -o.f5
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  MegStar WO Psych Services at    Behavioral Health Telehealth Note         Visit Date:02f15/202208:55
 MFSMC'
                                                                         tab,1 Refill(s)
                                                                         11. fexorenadine(fexpfenadlne 180 mg
                                                                         oral tablet), 180-mg,.1 tab, PO,Ciaily, 90
                                                                        tab,0 Refill(s).
                                                                              luticesone nasal(Ronase 50
                                                                         mcgfirth nasal spray), 2.1n11, Nasal, Daily,
                                                                        2 Inhalations perriostril, 16 gm,3 Refill(s)
                                                                        13. fultsemillelfulteemee 20ingdraJ
                                                                        tabfetj, 20 mg,flab,10, Dally,-90'tsb,.0
                                                                        Retill(s1
                                                                       14. gabapentin (gabapentin 100 mg prat
                                                                        capsule),100'mg, 1 cap, P.O.35c/day,-90
                                                                        cap,p Refill(s)
                                                                        15. ibuprofen (ibuprofen 600 mg oral
                                                                       tablet),0Refill(s)
                                                                        16, lidocaine topical(Lidodeqn 5%
                                                                       toPicalViri), 1 patcic,TraesOERMAL,
                                                                       Daily, 1oE7 Day(s), apply up to 12h/d,
                                                                       max3'pedgisata time,30 patch,6 Refill
                                                                      (s)
                                                                       17. rnetoprprol(metopnlol sucdnate 25
                                                                       ata(al tablet;extended teleate),25-fiig;
                                                                       1 tab, Pp, Day,30tab,O AO-11(s)• ,
                                                                       18. potastiUM'dikifide(potassium
                                                                       chloride 20 mEg oral tablet, extended
                                                                       release),20 mEg,1 tab, PO, Daily, 10tab,
                                                                      3 Refill(s)
                                                                      19. tra20Dorte(tra200one.50 mg.oral
                                                                      tablet),.SO mg,1tab, FO, Nightly, PRN!
                                                                      Insomnia,30tab, 1 Refill(s)
                                                                      Allergies
                                                                      Mold(asthma trigger, Hayfever)
                                                                      Pollen(Hayfever)
                                                                      No Icnowe Medication Allergies
                                                                      Aocialllistary
                                                                          mokjg§tAttis
                                                                           Neversmoker
                                                                      Alcohol
                                                                         Use: Denies.
                                                                      triplovrnicitiSchoot
                                                                        Status:Off vork temporarily.
                                                                          . sit
                                                                      tgfial
                                                                        Frequency; I:a-times/week.
                                                                      tkencgovironment
                                                                         Born Outside the US: Na. Marital
                                                                        Status: Single. Lives with Mother.
                                                                        Comment(s): UveS'Wth 82 yo mettle.
                                                                        Patientis the oldest of 4.. Living I
                                                                        situa re HotteirridePelideht. Home
                                                                        Equipment: None. Alcohol ebOte In
                                                                        household: No.'Substance abuse in
                                                                        hciialibldt No.Sigokg th-hbuiehold
                                                                        No, Concernsfor DomestleVlolentie:
                                                                        NO:Feels unsafe.at home: No. Safe.
                                                                        place to go: Yea. Fanilly/Riends I
                                                                        availablefor•Suppert Yes. Concern for
                                                                        reality members at home No. Maier


COFIELD,KEENAN KESTER                    Mil-00680911138                                              EMI;36283
DOE:    311959                   ?girded on;1)21240022•14;51 EST                                       Pagi.4 Of 5
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   MedStar Outpt Psych Services at
                                        Behavioral Health Telehealth Note       Visit Date:021151202208:55
 WIFSMC
                                                                              illness in household: N.Financial
                                                                              concerns: No.
                                                                            Substance Use
                                                                              Use: Denies.
                                                                            Tobacco/Nicotine
                                                                              Use: Denies.
                                                                            J•aoal History
                                                                            No qualiMng data available.
                                                                            Family History
                                                                            Diabetes mellitus: Mother and Father.
                                                                            HBP(high blood pressure) • Mother
                                                                              and Father.


 Signpiture line
 Electronically signed by:

 Audiln, CRNP,Tiffany H. on: 02.15.2022 14:31 EST




COMA KF-ENAN KESTER                           FS1400680911138                                             EMPI:36263
DOB: /1959                             Printed on: 02/24/202214:51 EST                                     Page Sot 5
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                    EXHIBIT D
                                                     58-1                   Filed 10/28/22 Page 23 of 375
          .Caae 122-cv-01989-GLR Document
 MedStar Heattn - Primary Care Office/Clinic Note                            COFIELD, KEENAN KESTER - FSH-000801643250
         CaseOffice/Clinic
 Title/Subject: 1:23-cv-01795-JKB
                           Note - ONIT Clinic Document 1-7                  Filed 07/05/23     Page 101 of 259
                                                                                       Result Date: March 09, 2022           19:00 EST


                                                      * Final Report*

   Chief Complaint                                                                           Problem List/Past Merkical History
   patient Is here for omt                                                                    Ongoing Problems
                                                                                                Adjustment disorder with mixed anxiety
    History of Present Illness                                                              and depressed mood
    Patient is a 62 year old male with history of MVA x2(07/2021), bilateral rotator cuff
                                                                                                Allergic rhinitis
    tear, TMJ,back pain, prostate cancer who presents to the office for                         Asthma
    OMT primarily regarding left shoulder pain and back pain. Had steroid injections of         Carpal tunnel syndrome
    left shoulder with ortho about 4weeks ago. Sees pain management. Will be getting            Cervical radiculopathy
    surgery on his left shoulder to repair after he gets surgery for prostate cancer. Last      Cervical somatic dysfunction
    OMT session: 11/17/2021, endorses improved pain.                                           Cervical spinal stenosis
    Review of Systems                                                                          Cervical stenosis of spine
    ROS was performed. Pertinent positives were discussed in HPI. All other systems            Complete rotator cuff tear of left
   were reviewed and were negative.                                                         shoulder
                                                                                               Depression
   Physical Exam                                                                               Erectile dysfunction
      Vitals & Measurements                                                                    Heart failure with reduced ejection
     03/09/2022 14:02 T: 36.5 °C(97.7 °F)- Oral MR:82 RR:20 BP: 129/78                     fraction
      HT: 189 cm (6 ft 2 in) WT:110.2 kg (242 lbs 7 oz) BMI: 30.85 kg/m2                       History of COPD
                                                                                               Hypercholesterolemia
      Pain Assessment                                                                          Hypertension
     Pain Present: No actual or suspected pain (03/09/22 14:02:00)                             Impingement syndrome of right
   General- No acute distress, alert and oriented                                          shoulder
   Heart: appears well perfused                                                                Insomnia
   Lungs: No resp distress                                                                     Lumbar herniated disc
                                                                                               Motor vehicle accident
   MSK(OMT exam):                                                                              Neck paln              ,
   BODY AREA: cervical                                                                         Numbness and tingling of upper
                                                                                           extremity
   Assessment 8L cervical paraspinal hypertonlcity, R> L
   OMT Treatments: cervical paraspinal roll, muscle energy
   Reassessment: decreased hypertonicity BL,
                                                                                              Obesity              1i
                                                                                              Other cervical disc displacement at C4-
                                                                                           CS level                    I I
   BODY AREA:thoracic                                                                         Other cervical disc displacement at CS-
   Assessment: R>L hypertonicity 51 paraspinals, Right trapezlus muscle hypertonlcity, C6 level                        I
  type I somatic dysfunction rotated right, side bend right tl-t7                             Other cervical disc displacement at C6-
  OMT Treatrnents: perpendicular stretch rib raising, posterior scapular stretch           C7 level                      i
  Reassessment: decreased hypertonicity,                                                      FTSD (post-traumatic stress disorder)
                                                                                              Paresthesia of hand, bilateral
  BODY AREA: upper extremity                                                                  Prostate cancer
  Assessment: hypertonicity R> L Trap, patient noted pain at 90 degrees of shoulder           Prostatitis                '
  AS duction bilaterally with L>Ft, 14 L shoulder internal rotation (Apley scratch test)      Sensorimotor neuropathy
  OMT Treatments: frozen shoulder protocol, muscle energy into resisted Abduction             Shoulder   pain,  right
  Reassessment decreased hypertonicity 8, AB duction improved to 110                          Somatic dysfunction of lumbar region
                                                                                              Somatic dysfunction of thoracic region
  Assessment/Plan                                                                             Somatic dysfunction of tipP,er extremity
                                                                                              Spondylosis of cervical spine
  1.Cervical spinal stenosis M48.02                                                           Temporomandibular joint(TM)) pain
    Risk/Benefits, indications, and alternatives to OMT were reviewed extensively, all
    questions were answered                                                                Prpcodure/Suralcal History
    Pt verbally consented for OMT                                                          • APPLICATION SHORT LEG SPLINT
    Patient tolerated procedure well, subjective and objective improvement noted              CALF FOOT(10/25/2018)
    Patient was also given 1M Toradol 30 mg,advised to avoid other NSAIDs given            • None
    h/o chronic renal insufficiency                                                        Medications


Patient: COFIELD, KEENAN KESTER DOB:                       1959
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            Case
 MedStar Health - Primary Care Office/Clinic Note                           COFIELD, KEENAN KESTER - FSH-000801643250
 Title/Subject: Office/Clinic Note - OMT Clinic                                       Result Date: March 09, 2022 19:00 EST
    Explained to pt that he may experience increased muscle soreness and discomfort      Medications at the Startof the Visit
    over the next 24-48 hrs however this should subside                                  1.        amLODIPine(amLODIPine 10 mg
    Home exercise and rehabilitation instructions reviewed                               oral tablet), 10 mg, I. tab, PO, Daily,90
    RTC for follow up in OMT clinic in 1-2 months                                        tab, 1 Refill(s)
                                                                                         2.        ascorbic acid (Vitamin C), 100
   2.Complete rotator cuff tear of left shoulder M75.122                                 mg, 1 tab, PO, Daily, 30 tab,0 Refill(s)
     See above                                                                          3.         aspirin (aspirin 81 mg oral
                                                                                         delayed release tablet), 81 mg,1 tab, PO,
   3.Somatic dysfunction of upper extremity M99.07                                       Daily, 90 tab,3 Refill(s)
     See above                                                                         4.          atorvastatin (atorvastatin 40 mg
     Ordered;    Bill For Osteopathic Manipulative Tx 3-4 Body Regions AMB  - 98926     oral  tablet), 40 mg, 1 tab, PO, Daily, 90
                                                                                        tab,3 Refill(s)
   4.Somatic dysfunction of thoracic region M99.02                                      S.         azelastine nasal (azelastine 137
      See above                                                                          mcg/inh (  0.1%)nasal spray), 1 spray,
                                                                                       Inhale-nasal, Daily,1 ea,0 Refill(s)
     Ordered: Bill For Osteopathic Manipulative Tx 34 Body Regions AMB      - 98926    6.          budesonidetormoterel
                                                                                      (Symblcort 160 mcg-4.5.mCg/inh
  5. Cervical somatic dysfunction M99.01                                               inhalation aerosol), 2 puff, Inhalation,
      See above                                                                        2x/day, 10 gm,4 Refill(s)
     Ordered: Bill For Osteopathic Manipulative Tx 3-4 Body Regions AMB - 98926        7.         cholecalciferol (Vitamin 03
                                                                                      (cholecalciferol)), PO, Daily,0 Refill(s)
                                                                                       8.         cyanocobalamid(Vitamin B12
  Patient Instructions
                                                                                       1000 mcg oral tablet), 1,000 mcg, 1 tab,
                                                                                       PO, Daily, 90 tab, 2 Refill(s)
  - You may experience increased soreness and tightness for the next day or two, it's 9.          diclofenac topical(didofenac 1%
  important to stay hydrated.                                                          topical gel), 1 appl, TOP,4x/day, PRN: as
  - May take Tylenol as needed for the discomfort. You can use topical creams such     needed for pain, 100 gm;0 Refill(s)
  as lidocaine.                                                                        10.         EPINEPHrine (EplPen 2-Pak 0.3
  - Continue to Incorporate routine gentle stretches. You can refer to the handout     mg injectable kit), 0.3 mg, 1 ea, IM, One
  p rovided.                                                                           Time, 1 pack, 1 Refill(s)
  - Return to clinic to follow up with OMT.                                            11.         escitalopram (escitaloprarn 10
  Attendino Attestation                                                                mg oral tablet), 15 mg, 12.5 tab, PO, Daily.
                                                                                      45 tab, 1 Refill(s)             1
                                                                                       12.        fexofenadlne(faxofenadine 180
  I was present and supervised the resident during the entire OMT manipulation.        mg oral tablet), 180 mg, 1 tab, PO, Daily,
                                                                                      90 tab,0 Refill(s)               'I
                                                                                       13.        fiuticasone nasal(Flonase 50
                                                                                       mcg/inh nasal spray),2 inhl, Nasal, Dally,
  I reviewed the resident's note and agree with the documentation and plan of care. 2 inhalations per nostril, 16 gm,3 Refill(s)
                                                                                      14.         furosemide (funisemIde 20 mg
                                                                                      oral tablet), 20 mg,1 tab, PO, Daily, 90
                                                                                      tab,0 Refill(s)               I
                                                                                      15.         gabapentin (gabapentin 100 mg
                                                                                      oral capsule), 100 mg,1 cap; PO, 3x/day,
                                                                                      90 cap,0 Refill(s)
                                                                                      16.         Ibuprofen (ibuprofen 600 mg
                                                                                      oral tablet), 0 Refill(s) I I
                                                                                      17.         lidocaine topical(Lidoderm 5%
                                                                                      topical film), 1 patch,TransDERMAL,
                                                                                      Daily, for? Day(s), apply tip to 12h/d,
                                                                                      max 3 patches at a time, 30 patch,0 Refill
                                                                                     (s)                                 1
                                                                                      18.         metoprolol(metdprolol succinate
                                                                                      25 mg oral tablet, extended release), 25
                                                                                      mg, 1 tab, PO, Daily, 30 tab,0 Refill(s)
                                                                                      19.         potassium chloride (potassium
                                                                                      chloride 20 mEa oral tablet, extended


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                                                               release), 20 mEq, 1 tab, PO, Daily, 10 tab,
                                                               3 Refill(s)
                                                               20.       traZODone(traZODone 50 mg
                                                               oral tablet), 50 mg,1 tab, PO, Nightly,
                                                               PRN: insomnia,30 tab, 1 Refill(s)

                                                                  Medications at the End of the Visit
                                                                  1.       amLODIPine (amLODIPine 10 mg
                                                                 oral tablet), 10 mg, I tab, PO. Daily,90
                                                                 tab, I Refill(s)
                                                                 2.        ascorbic acid (Vitamin C), 100
                                                                 mg, I tab, PO, Daily, 30tab,0 Refill(s)
                                                                 3.        aspirin (aspirin 81 mg oral
                                                                 delayed release tablet), 81 mg,I tab, PO,
                                                                 Daily, 90 tab, 3 Refill(s) I
                                                                4.         atorvasb3tin (atorvastatin 40 mg
                                                                oral tablet), 40 mg, 1 tab- ,PO, Daily, 90
                                                                tab,3 Refill(s)
                                                                5.         azelastine nasal (azelastine 137
                                                                mcg/inh(0.1%) nasal spray), 1 spray,
                                                                Inhale-nasal, Daily, 1 ea,0 Refill(s)
                                                               6.          budesonide-fornioterol
                                                              (Symbicort 160 mcg-4.5 rimg/Inh
                                                                inhalation aerosol), 2 puff, Inhalation,
                                                               2x/day, 10 gm,4 Refill(s);
                                                               7.         cholecalciferol (Vitamin D3
                                                             (cholecalciferol)), PO, Daily,0 Refill(s)
                                                               8.         cyanocobatamin (Vitamin BI2
                                                               1000 mcg oral tablet), 1,000 mcg, I. tab,
                                                               PO, Daily, 90 tab, 2 Refill(s)
                                                               9.         didofenac topical(didofenac 1%
                                                               topical gel), 1 appl, TOP,4x/day, PRN: as
                                                               needed for pain, 100 gm,0 Refill(s)
                                                               10.         EP1NEPHrine (EpiPen 2-Pak 0.3
                                                               mg injectable kit), 0.3 mg11 ea, 1M,One
                                                               Time, 1 pack, 1 Refill(s)       ,
                                                               11.        esdtalopram (escitalopram 10
                                                               mg oral tablet), 15 mg, 1.5 tab, PO, Daily,
                                                              45 tab, 1 Refill(s)              i
                                                               12.        fexofenadine (fexofenadine 180
                                                               mg oral tablet), 180 mg,1.tab, PO, Daily,
                                                              90 tab,0 Refill(s)
                                                              13.         fluticasone nasal (Flonase 50
                                                               mcg/inh nasal spray), 2 inhl, Nasal, Daily,
                                                              2 inhalations per nostril, 16 gin, 3 Refill(s)
                                                              14.        furosemide (furoiernlde 20 mg
                                                              oral tablet), 20 mg, 1 tab, PO, Daily,90
                                                              tab,0 Refill(s)                I I
                                                              15.         gabapentin (gabaPentin 100 mg
                                                              oral capsule), 100 mg, 1 cap, PO, 3x/day,
                                                             90 cap,0 Refill(s)
                                                              16.         ibuprofen (ibuprofen 600 mg
                                                              oral tablet),0 Refill(s)       I
                                                            - 17.         lidocaine topical (Lidoderm 5%
                                                             topical film), I patch, TransDRMAL,
                                                              Daily, for 7 Day(s), apply up to 12h/d,
                                                              max 3 patches at a time, 30 patch, 0 Refill

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                                                                     (s)
                                                                     18.        metoproloi (metoprolol succinate
                                                                     25 mg oral tablet, extended release), 25
                                                                      mg, 1 tab, PO, Dally, 30 tab,0 Refill(s)
                                                                     19.        potassium chloride (potassium
                                                                     chloride 20 mEg oral tablet, extended
                                                                     release), 20 mEq, 1 tab, PO, Daily, 10 tab,
                                                                     3 Refill(s)
                                                                     20.       traZOOone (traZODone 50 mg
                                                                     oral tablet), 50 mg, 1 tab, PO, Nightly,
                                                                     PRN: insomnia, 30 tab, 1 Refill(s)
                                                                     Allergies
                                                                     Mold (asthma trigger, Hayfever)
                                                                     Pollen (Hayfever)
                                                                     No Known Medication Allergies
                                                                     Social History
                                                                     Smoking Status: Never smoker(03/09/22)
                                                                       Smoking Status
                                                                          Never smoker
                                                                     Alcohol
                                                                       Use: Denies.
                                                                      molovment/School
                                                                       Status: Off work temporarily.
                                                                    f-xerciSq
                                                                       Frequency: 1-2 times/week.
                                                                     Home/Environment
                                                                       Born Outside the US: No. Marital
                                                                       Status: Single. Lives with Mother.
                                                                       Comment(s): Lives with 82 yo mother.
                                                                       Patient Is the oldest of 4.. Living
                                                                      situation: Home/Independent. Home
                                                                       Equipment: None. Alcohol abuse in
                                                                       household: No. Substance abuse in
                                                                       household: No. Smoker in household:
                                                                       No. Concerns for Domestie Violence:
                                                                       No. Feels unsafe at home: No. Safe
                                                                      place to go: Yes. Family/Friends
                                                                      available for support Yes. Concern for
                                                                      family members at home: No. Major
                                                                      illness in household: No: Financial
                                                                      concerns: No.
                                                                    Substance Use
                                                                      Use: Denies.
                                                                    tobacco/Nicotine
                                                                      Use: Denies.
                                                                    Family History           I
                                                                    Father: Diabetes mellitus. HBP(high
                                                                    blood pressure)
                                                                    Mother: Diabetes mellitus; RBP (high
                                                                    blood pressure)
                                                                    Health Maintenance
                                                                    Recommendations Addressed Today
                                                                    81441 Due: Documented Today, Next Due
                                                                    January 01,2023


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                                                                     Smoking Status Due: Documented Today,
                                                                     Next Due January 01, 2023


  Signature Line
  Electronically signed by:

  Kabert, MD, Lorrane N on: 03.10.2022 07:37 EST

  Electronically signed by:

  Kabert, MD, Lorrane N on: 03.10.2022 07:38 EST

  Electronically signed by:

 Pierre, DO, David on: 03.15.2022 11:44 EDT


 Completed Action List:
 * Perform by Kabert, MD, Lorrane N on'March 10, 2022 07:37 EST
 * Sign by Kabert, MD, Lorrane N on March 10, 2022 07:37 EST
 * Modify by Kabert, MD, Lorrane N on March 10, 2022 07:38 EST
 * Sign by Kabert, MD, Lorrane N on March 10, 2022 07:36 EST Requested by Kabert, MD,
 Lorrane N on March 10, 2022 07:38 EST
 * Modify by Pierre, DO, David on March 15, 2022 11:44 EDT
 * Sign by Pierre, DO, David on March 15, 2022 11:44 EDT Requested by Kabert i MD,
 Lorrane N on March 10, 2022 07:37 EST
 * VERIFY by Pierre, DO, David on March 15, 2022 11:44 EDT




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     MedStar Family Health Center at MFSMC
      9101 Franklin Square Drive
      Suite 300                                                                    Ambulatory Clinical Summary
      Baltimore, MD,21237                                                          Visit Date: 03/09/2022 13:40
     Phone: (443)777-2000        Fax: —


                                            * Final Report *

  COFIELD, KEENAN KESTER
       Visit Date: 03/09/2022 13:40

  Instructions From Your Provider

  - You may experience increased soreness and tightness for the next day or two, it's important to stay
  hydrated.
  - May take Tylenol as needed for the discomfort. You can use topical creams such as lidocaine.
  - Continue to incorporate routine gentle stretches. You can refer to the handout provided.
  - Return to clinic to follow up with OMT in 1-3 months.

 Other Scheduled Appointments
  Tuesday                With: Audlin, CRNP, Tiffany H.
   March 15, 2022        Where: MedStar Outpt Psychiatry Services at Franklin Square Med Ctr
  08:30 am

 Wednesday               With: Cohen, MD, David A.
   April 27,2022         Where: MedStar Orthopaedic Institute at MFSMC
  10:30 am

   Monday                With:     Johnson, MD, Martha E.
    May 09, 2022         Where: MedStar Family Health Center at Franklin Square Medical Cntr
  08:40 am

 Thursday                With: Dorai, MD,Zeena
    May 12, 2022         Where: MedStar UMH Orthopaedics Center of Excellence -Spine
 09:30 am
 Medications
                      What                How Much          When             Why          Instructions
  Unchanged amLODIPine                   1 Tablet(s)     Every day                               .
            (amLODIPine 10 mg            By Mouth
             oral tablet)                                                                    .
  Unchanged ascorbic acid (Vitamin       100 Milligram Every day
             C)                          By Mouth

COFIELD,KEENAN KESTER                         FSH-00676408768                                    EN1PI: 36263
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 MFSMC                                  Ambulatory Clinical Summary    Visit Date: 03/09/2022 13:40

                        What           How Much        When            Why          Instructions
   Unchanged aspirin (aspirin Si mg 1 Tablet(s)     Every day
               oral delayed release By Mouth
               tablet)
   Unchanged atorvastatin            1 Tablet(s)    Every day 1
             (atorvastatin 40 mg     By Mouth
               oral tablet)
   Unchanged azelastine nasal        1 Spray(s)    Every day
             (azelastine 137 mcg/ Nasal
              inh(0.1%) nasal        inhalation
              spray)
   Unchanged budesonide-             2 Puff(s)     2 times a
              formoterol (Symbicort Inhalation     day
              160 mcg-4.5 mcg/
              inh inhalation
              aerosol)
  Unchanged cholecalciferol          By Mouth      Every day
            (Vitamin D3
            (cholecalciferol))
  Unchanged cyanocobalamin          1 Tablet(s)    Every day
            (Vitamin B12 1000
              mcg oral tablet)
  Unchanged diclofenac topical
                                    By Mouth

                                    1 Application 4 Times a
                                                                                        i
            (diclofenac 1%          Topical       Day as
             topical gel)                         needed for
                                                  as needed
                                                  for pain
  Unchanged EPINEPHrine (EpiPen 1 Each            One Time
             2-Pak 0.3 mg           Intramuscular
             injectable kit)
  Unchanged escitalopram            1.5 Tablet(s) Every day     Adjustment
            (escitaiopram 10 mg By Mouth                          disorder with
             oral tablet)                                         disturbance of
                                                                  emotion
                                                                PTSD (post-
                                                                  traumatic
                                                                  stress
                                                                  disorder)
  Unchanged fexofenadine            1 Tablet(s)   Every day
            (fexofenadine 180 mg By Mouth
             oral tablet)
  Unchanged fluticasone nasal       2Inhalation Every day                        2 inha ations
            (Flonase 50 mcg/ inh Nasal                                           per nostril
             nasal spray)



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                                                           _
                       What                  How Much           When         Why           Instructions
                                                                       !
   Unchanged furosemide                    1 Tablet(s)       Every day
             (furosemide 20 mg             By Mouth
              oral tablet).
   Unchanged gabapentin                    1 Capsule(s)    3 times a
             (gabapentin 100 mg            By Mouth        day
              oral capsule)
   Unchanged ibuprofen (ibuprofen
             600 mg oral tablet)
   Unchanged lidocaine topical             1 Patch         Every day                     Duration: 7 Day
             (Udoderm 5% topical           Transdermal                                   (s)
             film)                                                                       apply up to 12h/
                                                                                         d,max 3
                                                                                         patches at a
                                                                                         time


                                                                                            I
  Unchanged  metoproloi                    1 Tablet(s)    Every day
            (metoprolol succinate          By Mouth
             25 mg oral tablet,
             extended release)
  Unchanged potassium chloride            1 Tablet(s)     Every day
            (potassium chloride           By Mouth
             20 mEg oral tablet,
             extended release)                                                             ..
  Unchanged traZODone                     1 Tablet(s)     Once a day PTSD (post-
            (traZODone 50 mg              By Mouth        (at           traumatic           . .i
                                                                                               1
             oral tablet)                                 bedtime) as   stress              .i i
                                                          needed for    disorder)
                                                          insomnia    Insomnia                '
                                                                                            . .

 Allergies
 Mold (asthma trigger, Hayfever)
 Pollen (Hayfever)
 No Known Medication Allergies

 My Summary
 My Visit Was For                                          Vital Signs
 Cervical spinal stenosis                                  03/09/202214:02
 Complete rotator cuff tear of left shoulder               Temperature: Oral - 36.5 °C(97.7 °F);
                                                           Heart Rate:82
 Somatic dysfunction of upper extremity                    Respiratory Rate: 20
 Somatic dysfunction of thoracic region                    Blood Pressure: 129/78

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  MedSta   mily Healtn   at
                      Center        Ambulatory Clinical Summary     Visit Date: 03/09/2022 13:40
 MFSMC
  Cervical somatic dysfunction
                                                      Height: 189 cm (6 ft 2 in)
                                                      Weight: 110.2 kg (242 lbs 15 oz)
                                                      Body Mass Index(BMI): 30.85 kg/m2




COFIELD, KEENAN KESTER                   FSFI-00676408768                                 EMPI: 36263
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   Education Materials
   Manage your health care anytime,anywhere with the
   m yMedStar Patient Portal
   myMedStar is a free, secure and convenient way to manage your health care and communicate with
   your physician.

  With myMedStar you can:
  • Request and view upcoming appointments
  • View most lab, radiology and pathology results as soon as they are available
  • Renew prescriptions
  • Exchange secure email messages with any of your MedStar Health care providers
  • View summaries of your hospital or office visits
  • And more

  How to Enroll:

  Self-enrollment
  1. Go to tnyMedstarang
  2. Click Enroll Now
  3. Follow the instructions to enroll. You will need:

  • First and last name
  • Date of birth
  • Email address or this PatientID - 36263

 Email Invitation:

 If you provided an email address during registration you should have received an invitation to enroll in the
 myMedStar patient portal.

 • From within the invitation, click the link to accept the invitation.
 • After successful verification, you will be prompted to create your account. Follow the onscreen
 instructions to complete the enrollment process.

 MedStar Health is dedicated to helping improve your overall health care experience by providing
 convenient, streamlined resources to help you better manage your health. We now offer the ability for
 you to securely connect some of the health management apps you may use(i.e. fitness trackers, dietary
 trackers, etc.) to your health record. Email us at myrnedstarAmedstannet if you are interested. Once we
 receive your request, MedStar Health will work with the appropriate vendors to determine if they meet the
 technical requirements in order to establish a secure connection.

 If you have questions or need assistance creating your account, please contact myMedStar support toll
 free at 1-877-745-5656, 24 hours a day,7 days a week.




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  Signature Line
  Electronically signed by:

  Kabert, MD, Lorrane N on: 03.09.2022 15:16 EST




COMA KEENAN KESTER                             PSI-I-00676408768                               EMPI: 36263
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       MedStar Family Health Center at MFSMC
        9101 Franklin Square Drive                                                   Ambulatory Clinical Summary
        Suite 300                                                                    Visit Date: 02/21/2022 09:00
        Baltimore, MD,21237                                           Scheduled Provider: Johnson, MD, Martha E.
       Phone: (443)777-2000        Fax: --


                                             * Final Report *

  COFIELD, KEENAN KESTER
        Visit Date:02/21/2022 09:00

  Instructions From Your Provider
  Good to see you today!

  Assessment/Plan
  1. Fluid overload E87.70
   For the fluid overload, continue to take the furosemide to keep it under control. We will look at your
  kidneys today to make sure that they have not been affected by this medication. I gave you a referral for
  a heart doctor to discuss how your heart is doing overall
  Ordered:
  Referral to MedStar Cardiology

  2. Prostate cancer C61                                                            .
   For the prostate cancer, I did find the lab result from 1/25/2022. Your PSA was 36.7. We will repeat this
  number today now that you have stopped taking the supplements.

 3. Asthma 345.909
  For the breathing, let's see if you feel better with a stronger inhaler. I sent it to the pharmacy. Please
 Let me know if you cannot afford it and I can send over another one.

 Heart failure with reduced ejection fraction 150.20

 Ordered:
 Referral to MedStar Cardiology


 Other Scheduled Appointments
 Wednesday               With:
   March 09,2022         Where: MedStar Family Health Center at Franklin Square Medical Cntr
  01:40 pm

 Tuesday                 With: Audlin, CRNP, Tiffany H.
  March 15,2022          Where: MedStar Outpt Psychiatry Services at Franklin Square Med Ctr
 08:30 am

COFIELD, KEENAN KESTER                        FSH-00681445771                                      EMPI: 36263
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  Wednesday             With: Cohen, MD, David A.
    April 27,2022       Where: MedStar Orthopaedic Institute at I4SMC
   10:30 am

  Thursday              With: Dorai, MD,Zeena
     May 12,2022        Where: MedStar UMH Orthopaedics Center of Excellence -Spine
  09:30 am
  Medications
                         What          How Much          When            Why          Instructions
   Unchanged    amLODIPine            1 Tablet(s)     Every day '
            (amLODIPine 10 mg         By Mouth
              oral tablet)                                                            1
  Unchanged aspirin (aspirin 81 mg 1 Tablet(s)        Every day
             oral delayed release By Mouth
             tablet)
  Unchanged atorvastatin            1 Tablet(s)       Every day
            (atorvastatin 40 mg By Mouth
             oral tablet)
  Unchanged azelastine nasal       1 Spray(s)         Every day
            (azelastine 137 mcg/ Nasal
             inh(0.1%) nasal       Inhalation
             spray)
  Unchanged •eclomethasone
            (Q
             mcg/ In
             aerosol)
                      edihaler 80
                          aajation                             61    Yalat04-          I

  Unchanged beclomethasone             nhalation     2 times a                     Duration: 30
            (Qvar Redihaler        inn. on           day                           Day(s)
             mcg/ inh in ation                                                     rinse mouth
               aeroso                                                              after use



  Unchanged cyanocobalamin           1 Tablet(s)     Every day
            (Vitamin B12 1000        By Mouth
             mcq oral tablet)
  Unchanged diciofenac topical       1 Application   4 limes a
            (diclofenac 1%           Topical         Day as
            topical gel)                             needed for
                                                     as needed
                                                     for pain
  Unchanged    EPINEPHrine (EpiPen 1 Each            One Time
               2-Pak 0.3 mg        Intramuscular
               injectable kit)


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                                                                               02/21/2 of 09:00
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 MFSMC

                       What          How Much          When               Why          Instructions
   Unchanged escitalopram           1.5 Tablet(s) 1 Every day       Adjustment       1
             (escitalopram 10 mg    By Mouth                          disorder with
              oral tablet)                                            disturbance of
                                                                      emotion
                                                                    PTSD (post-
                                                                      traumatic
                          •                                           stress
                                                                   ' disorder)
   Unchanged fexofenadine         1 Tablet(s)       Every day
             (fexofenadine 180    By Mouth
              mg oral tablet)                                      :
   Unchanged fiuticasone nasal    2 Inhalation      Every day                       2 inhalations per
             (Flonase 50 mcg/ inh Nasal                                             nostril
                                                                                       . •
              nasal spray)                                                             t i

                                                                                       .
   Unchanged furosemide          1 Tablet(s)   Every day
            (furosemide 20 mg    By Mouth
             oral tablet)                                                              •
  Unchanged gabapentin           1 Capsule(s) 3 times a
                                                                                            i
            (gabapentln 100 mg By Mouth        day
             oral capsule)                                                                 •1
  Unchanged ibuprofen (ibuprofen
                                                                                           I
            600 MQ oral tablet)              :
  Unchanged lidocaine topical    1 Patch       Every day                            Duration: 7 Day
            (Udoderm 5% topical Transdermal                                        (s) .
            film)                                                                   apply up to 12h/
                                                                                    d,max 3
                                                                                    patches at a
                                                                                    time ,
                                                                   •

                                                                                       •
  Unchanged  metoprolol           1 Tablet(s)      Every day
            (metoprolol succinate By Mouth                                                 .
             25 mg oral tablet,
             extended release)                                                         i o
  Unchanged potassium chloride    1 Tablet(s)      Every day                           • I
                                                                                       •
            (potassium chloride   By Mouth
             20 mEg oral tablet,                                                       1 I
             extended release)
  Unchanged traZODone             1 Tablet(s)      Once a day PTSD (post-
            (traZODone 50 mg      By Mouth        (at bedtime) traumatic
             oral tablet)                         as needed      stress
                                                  for insomnia   disorder)
                                                               Insomnia                . ..


COFIELD, KEENAN KESTER                  FSH-00681445771                                         EMPl: 36263
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 MFSMC                                                                                        09:00


   Allergies
  Mold (asthma trigger, Hayfever) •
  Pollen (Hayfever)
  No Known Meditation Allergies


  Please Complete the Following
  BMP 02/21/22
  Hepatitis C Virus 02/21/22
  PSA Total with Free PSA 02/21/22

 'Referrals to be Scheduled
  Referral to MedStar Cardiology, 02/21/22 9:45:00 EST to 08/20/22945:00 EDT, Duration 80 days, 12
  max visits, Service: COnsult w/ Specific Procedures (specify), Place of;Service: Office
  My Summary
  My Visit Was For                                           Vital Signs
  Fluid overload                                             02/21/2022 09:14
  Prostate cancer                                            Temperature: Temporal - 36.5   (97.7 °P);
                                                             Pulse: 87
  Asthma                                                     Respiratory Rate: 16
  Heart failure with reduced ejection fraction               Blood Pre4sure: 145/83

                                                             Height: 187.96 tm (6 ft 2 in)
                                                             Weight: 110.4 kg (243 lbs 6 oz)
                                                             Body Mass index(BMI): 31.25 k./m2




cOFIELD,XEENAN KESTER                          FSH-006131445771                             EMPl:36263
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                    UNIVERSAL REFERRAL REQUISITION FORM
      Patient Information:                                                        Carrier information:
             Date of Referral: 02/21/2209:45 EST
                                                                                  Primary insurance:
     MRN: FSH-000801643250                                                              Company: MDSTR FAMILY MD
    Name: COFIELD,KEENAN KESTER                                                         Member et: 910008640
     DOB:       /59
      Sex: Male
   Phone: 443-554-3715                                                         Secondary Insurance:
  Address: 1236 KENDRICK RD                                                           Company:
           ROSEDALE, MD 21237                                                         Member*
                                                            Primary or Requesting Provider:

                   Name: Johnsen, MD,Martha E.                                    Provider NPI Eh 1669649885
 Institution/Group Name: MadStar Family Health Center at MFSMC.
                Address: 9101 Franldin Square Drive. Suite 300. Baltimore:, MD 21237
                  Phone: 443-777-2000                  Fax: 868-857-9388
                                                         Consultant/Facility Provider:
                   Name:
                Specialty: CARDIOLOGY
                 Address: No Address On File
                  Phone:() -                               Fax;( )
    •••• Please call the Consultant/FacIV Provider's office to arrange a date/time and location for your appointment.""
                                                            Referral Information:

  Requested Start Date/Time                                            02/21/22 09:45 EST
  Requested End Dale/Time                                              08/20/22 09:45 EDT
  Referral Duration                                                    180 days
  Order Comments                                                       MMG Cardiology
                                                                       9105 Franklin Sq. Dr. Ste. 209
                                                                       Rosedale, MO 21237
                                                                      (Phone)410-574-1330

 DIAGNOSIS;
                                                                                                                                   4
 Fluid overload E87.70); Heart failure with reduced ejection fraction 050.20
    Services Requested:                                                          Place of Service:
    Consult w/ Specific Procedures (specify)                               ,._   Office
 #01 Visits: 12                                      Authorization 4:                                   Referral,tit/aild yntil:
 (If blank. 1 visit assumed.)                       (It required.)
                                                                                                                Wri012072,
 Authorizing Signature (electronic): Johnson, MD,Martha E.                                              Date/Time: 02/21/22 09:45 EST

  A referral does not guarantee payment for any related service by the pallent'e health plan/Insurer.Payment of benefits Is subject to many
 requirements, including a patient s eligibility on the date of service and all othercontractual provisions of the plan/insurer. It Is the patient's
                                            responsibility to verify coverage for any referred service




ORDER: REFERRAL TO MEDSTAR CARDIOLOGY                                                                                                  Page: lot 1
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     MedStar Health                                                                  1,1

    COFELD,KEENAN KESTER
    1236 KENDRICK RD
    ROSEDALE,MD 21237

   February 07,2022


   To Whom It May Concern:

  This patient was seen in this office on 02/07/2022.

  This patient will not be able to return to work indefin
                                                          itely.




 The IVIedstar Orthopaedic Institute




Name:COFIELD, KEENAN KESTER                   1 oil
                                                                              DOB:         /149
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      tviegsiseclagoal_989.-QLR Document
                         c institute at NiFSMC
       9101 Franklin Square Drive                                                                 Orthopedic Office/Clinic Note
       Suite 200                                                                                  Visit Date:02/07/2022 09:45
       Baltimore, MD,21237                                                            Scheduled Provider: Cohen, MD, David A.
      Phone: (443)777-6788         Fax: (844)806-5109




                                               * Final Report*
                                          Document Contains Addenda

   OW Complaint                                                                             Problem List/Past Medical History
   follow up bilateral shoulder pain                                                        Ongoing
                                                                                               Adjustment disorder wt mixed anxiety
                 Present Illness                                                               and depressed mnnd
   62-year-old male with a history of prostate cancer and bilateral rotator cuff tears In      Allergic rhinitis
   today for follow-up. The patient has been waiting to hear when his prostate cancer          Back spasm
   procedure would be scheduled before scheduling for a rotator cuff repair. He states
                                                                                               Carpal tunnel syndrorne/
   that the procedure will get in March and last for approximately 5 weeks, he would           Cervical radial/apathy
   like to have the left rotator cuff repaired afterwards, he states it is sliM hutting and    Cervical somatic dysfunctio
   he was hoping to get a steroid Injection In the left shoulder today. He had                 Cervical spinal stenosis
   previously gotten a steroid injection In the right shoulder which also has a rotator        Cervical stenosis ofsp ne
   cuff tear. He states today his left shoulder is the main concern as it hurts more.         Complete rojar cjifYtear of left
   Hand Dominance: Right                                                                      shoulder
   Occupation: unemployed                                                                     Depression
   Orthopedic Injury: No                                                                       Erectile dysfunction      1
  PhvslcaiExam                                                                                Heart failure with reduced ejection
                                                                                              fraction
      Vitals & tleasurements                                                                  History of COPD
     02/04/2022 13:50 HT:187.96 cm (6 ft 2in) WT: 107.3 kg(236 lbs 1                          HypercholesteroleMia
     oz) BMI:30.37 kg/m2                                                                      Hypertension                I
     Pain Assessment                                                                          Impingeme             me of right
     Numeric Pain Score:8                                                                     shoulder
     Primary: Numeric Pain Score:8(02/04/22 13:50:00)                                         Insomnia
  On evaluation of the bilateral shoulders patient is complaining of more pain in the         Lumbar he
  left shoulder than in the right, however he does not complain of any pain on                  dor vehicle
  palpation of either shoulder. Patient's forward flexion of both arms Is approximately             pain
  0-170 degrees. With the left arm abducted to 90 degrees the patient has                     Numbnessa,LAKOng Of upper
  approximately 60 degrees of internal and 90 degrees of external rotation, the right        extremity'.-
  shoulder has approximately 90 of Internal    and  90 of external. Patient   has good       Obesity
  strength in both shoulders on exam,even with supraspinatus testing, however he             Other cervytilsc displacement at C4-
  does complain ofsome pain in the left shoulder well doing supraspinatus testing.           CS level
  He Is neurovascular intact distally.                                                       Other   cervjpralsc displacement at O-
                                                                                             M level
  Assessment/Plan                                                                            Other ceryillisc displacement at
                                                                                                 level
  Left rotator cufftear M75.102                                                              Paresthesia of hand, bilateral
     62-year-old male in today for follow-up evaluation of left rotator cuff tear.           Prostate cancer
    Patient states that today the left shoulder is hurting quite a bit worse than            Prostatitis
    the right, he requested and was given a steroid injection in the shoulder                FTSD (post-traumatic stress        d
   today. He would like to have the left rotator cuff repaired, however has prostate        Sensorimotor neuropati;›/
   cancer and will be undergoing a procedure over the next5 weeks or so, we will do         Shoulder pain, right
   the steroid injection today, he understands that he will not be able to get surgery      Somatic dysfunction of lumbar region
   on the shoulder for about3 months, we will reevaluate him in about6 weeks to             Somatic dysfunction of thoracic region
   see how he was doing, if he is still looking to have the left shoulder operation we      Somatic dysfunction of upper extreml
    may schedule it at that time.                                                           Spondylosis ofcervical spine
   This patient was seen in tandem with Dr. Cohen                                           Temporomandlbular nt(TM))pain
                                                                                            Upper back pain

COFIELD, KEENAN KESTER                                 FSH-00679745786                                                EMPI: 36263
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  MedalatithWaginstruie at
 MFsmc                                             Orthopedic Office/Clinic Note            Visit Date: 02/07/2022 09:45

    Shoulder injection
     Timeout was called to verify the site and procedure and medication. Risks and
                                                                                       Historical            I1
                                                                                         Adjustment dIsorder yvith disturbance of
     benefits were discussed with the patient. Prior to the procedure, 1mL of80            emotion le"      I !
    milligrams of Depomedrol and 3 mt.of1% lidocaine were prepared in a 5mL vile.        At risk of venous thromoembolus
    The site was exposed,cleaned with alcohol pads,a topical anesthetic spray           Cervical disc diseaiesP
    applied,and the injection was completed into the symptomatic joint by inserting     Eye pain
    the 22 gauge needle Into the subacromlal space, pressure was applied to stop any    Immunization due
    bleeding with a gauze pad at the Injection site. The site was covered with a band-  Impingement           me of right
    aid. Patient tolerated procedure no complications.                                     shoulder
                                                                                        Impingement syndrtme, shoulder, left
                                                                                        Obesity
                                                                                        Pruritus
                                                                                        Seasonal allergies

                                                                                        None
                                                                                        Medications            It
                                                                                       amLODIPine 10 mg oral tablet, 10 mg= 1
    Ordered: lidocalne 1% injectable solution,3 mL,Inj,IntraARTICular, One Time,          tab,PO, Daily, 1 refills
                Routine 02/07/22 11:08:00 EST,Stop:02/07/22 11:08:00 EST               aspirin 81 mg oral delayed release tablet,
                Kenalog-40 Injectable suspension,40 mg 1 mt., In), IntraARTiCular,        81 mg= 1 tab, PO, Daily,3 refills
                One Time, Routine, 02/07/22 11:08:00 EST, Stop: 02/07/22 11:08:00 atorvastatin 40 mg oral tablet, 40 mg= 1.
                EST, 02/07/22 11:08:00 EST                                                tab, PO, Daily, 3 refills
                Bill For Arthrocentesis AspiriVInj Major Jt/fiursa W/O Us AMB - 20610 azelastIne 137 mog/Inh(0.1%)nasal
                                                                                         spray, 1 spray, Inhale-nasal, Daily
  Right rotator cuff tear M75.101.                                                     didofenac 1% topical gel, 3. appl, TOP,
    This patient also has a right rotator cuff tear, while was not bothering him as      4x/day,PRN
   much today I did examine it, he has decent range of motion and strength in this     EpiPen 2-Pak 0.3 mg injectable kit, 0.3
   arm, approximately 90 degrees of internal and 90 degrees of external rotation          mg= 1 ea,IM, One Time, 1 refills
   with the arm abducted at90 degrees, he was also able to get about 170 degrees escitatopram 10 mg oral tablet, 15 mg=
   of forward flexion, 5/5 strength,the right shoulder made some point need to            L5 tab, PO, Daily, 1 refills'
   be repaired, but for now does not bothering him very much and will concentrate     fexofenadine 180 mg oral tablet, 180
   more on the left at this time.                                                        mg= 1 tab, PO, Daily     I   I
   This patient was seen in tandem with Dr. Cohen                                      Flonase 50 mcg/inh nasal spray, 2 inhl,
                                                                                         Nasal, Daily, 3refills, 2 inhalations per
                                                                                         nostril
                                                                                      furosemide 20 mg oral tablet, 20 mg= 1
                                                                                         tab,PO, Daily
                                                                                      gabapentln um mg oral capsule, 100
                                                                                         mg= 1 cap, PO,3x/day i
                                                                                      ibuprofen 600 mg oral tablet
                                                                                      Kenalog-40 Injectable suspension,40
                                                                                         mg= 1 mt.,IntraARTICular, One Time
                                                                                      lidocalne 1% injectable solution, 30 mg=
                                                                                         3 mt., IntraARTICular, One Time
                                                                                      Lidoderm 5% topical film, 1'patch,
                                                                                        TransDERMAL,Daily, apply tip to 12h/d,
                                                                                         max 3 patches at a time I
                                                                                      metoproloi succinate 25 mg oral tablet,
                                                                                        extended release, 25 mg=:1 tab, PO,
                                                                                        Daily
                                                                                      potassium chloride 20 mEq oral tablet,
                                                                                        extended release, 20 mEq= 1 tab, PO,
                                                                                        Daily, 3 refills
                                                                                      Qvar Redihaler 80 mcg/inh inhalation
                                                                                        aerosol




COMA KEENAN KESTER                                    FSH-00679745786                                                 EMPI: 36263
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         MedStar Orthopae
        MFSMC             dic institute at
                                                  Orthopedic Office/Cl
                                                                        inic Note         Visit Date:02/0
                                                                                                                  7/2022 09:46
                                                                                        Qvar Redihaler 80          I
                                                                                                             Mt
                                                                                          aerosol,80 mcg= g/inh inhalation
                                                                                                               1
                                                                                         2x/day, rinse mout inhl, Inhalation,
                                                                                       traZODone 50 mg h alter use
                                                                                                            oral
                                                                                         tab, PO, Nightly, PR tablet, SO mg= 1
                                                                                       Vitamin 612 1000         N,1 refills
                                                                                                           me
                                                                                         mcg= 1 tab, PO, Daig oral tablet, 1000
                                                                                                                 ly, 2 refills
                                                                                      Atier0lefi
                                                                                      Mold (asthma trigge
                                                                                     Pollen (Hayfever) r, Hayfever)
                                                                                     No Known Medicatio
                                                                                                             n Allergies
                                                                                    Social Wistary
                                                                                       Smoking Status
                                                                                         Never smoker
                                                                                    Alcohol
                                                                                      Use: Denies.
                                                                                   Emolotrnent/School
                                                                                      Status: Off work tem
                                                                                                             porarily,
                                                                                  Exercise
                                                                                     Frequency: 1-2 ti
                                                                                  Home/Environmen mes/week.
                                                                                                      t
                                                                                     Born Outside the US
                                                                                                            :
                                                                                    Status: Single. Uves No. Marital
                                                                                    Comment(s): Lives with Mother.
                                                                                                          wit
                                                                                    Patient Is the oldest o14h 82 yo mother.
                                                                                   situation: Home/Ind         ...Uving
                                                                                                          ependent. Home
                                                                                   Equipment None. Alc
                                                                                   household: No. Substaohol abuse in
                                                                                   household: No. Smok nce abuse in
                                                                                                           er
                                                                                   No. Concerns for Dome In household:
                                                                                  No. Feels unsafe at stic Violence:
                                                                                                         ho
                                                                                  place to go: Yes. Familyme: No. Safe
                                                                                  available for suppor        /Friends
                                                                                                        t: Yes, Concern for
                                                                                 family members at
                                                                                                       ho
                                                                                 illness in household: me: No. Major
                                                                                                         No. Financial
                                                                                 concerns: No.
                                                                              substance Use
                                                                                Use: Denies.
                                                                             Tobacco/Martina
                                                                                Use: Denies.
                                                                             Family History
                                                                             Diabetes mellitus: Mo
                                                                                                     th
                                                                             HBP (high blood pre er and Father.
                                                                                                    ssure). • Mother
                                                                               and Father.
                                                                             Review of Systems
                                                                             Headache: Denies
                                                                             Eyesight Problems:
                                                                                                   Deni
                                                                             Swallowing Problems es
                                                                             Chest Pain: Denies : Denies
                                                                            Shortness of Breath
                                                                                                  : Denies
                                                                            Diarrhea: Denies
                                                                                                    •
                                                                            Constipation: Denies
                                                                            Poor Circulation: De
                                                                                                 ni
                                                                           Blood in Stool: Deni es
                                                                                                 es
                                                                           Ulcers: Denies
                                                                           Painful Urination: De
                                                                                                 nies
COFIELD, KEENAN
DOB:            KESTER
          1959                                FSH-0067974578
                                      Printed on: 02107/2022 6
                                                            12:22 EST                                   EMPI: 36263
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   MedSilasithWaRraligcle9ipLR Document                                                                        •
 MFSMC                                             Orthopedic Office/Clinic Note           Visit Date:02/07/2022 09:45


  Signature Line
  Electronically signed by:

  Smith, PA-C, Edward Con:02.07.2022 11:15 EST                                                                 1


  Addendum by Cohen, MD,David A.on February 07, 2022 11:17:07 EST(Verified)                                   1;1
  The patient was seen with the physician's assistant and I agree with the above assessment and plan. The patient is currently
  undergoing treatment for prostate cancer. Once he is completed this he may consider surgery on his left shoulder sometime In
  May or June. We will discuss that at his next visit.

 Signature Line
 Electronically signed by:

 Cohen, MD, David A. on: 02.07.2022 11:17 EST




COF1ELD,KEENAN KESTER                                 FSH-00679745786                                               EMPI:36263
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              EXHIBIT-AA
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 mann
 _        "
 MedStar Health
                                                       :

                                                                       L.
COFIELD, KEENAN
4109 CUTTY SARK RD
MIDDLE RIVER, MD 21220

October 26, 2022


To Whom It May Concern:

This patient was seen in this office on 10/26/2022 and w II have their next appointment
1/25/2023.

This patient is under my care patient will not be able to r turn.;to work indefinitely due to
bilateral shoulders and concussion




Sincerely,


             CAJI\LAI.
The Medstar Orthopaedic Institute


                                                                   :
                                                      ef   etb r




Name: COFIELD, KEENAN                   Page 1 of 1                           DOB:       /1959
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              Case 1:22-cv-01989-GLR 1:90ment 58-1
     IliledStar Orthopaedic institute at NIFSMC
       9101 Franklin Square Drive                                                                        Orthopedic Office/Clinic Note
        Suite 200                                                                                        Visit Date: 10/26/2022 09:00
        Baltimore, MD,21237                                                                  Scheduled Provider: Cohen, MD, David A.
     Phone: (443)777-6788                                                                  •
                                    Fax (844)606-5109




                                                        * Final Report *I

   Chief Complaint                                                                               Problem List/Past Medical History
   right shoulder pain                                                                             naonq
                                                                                                    Adjustment disorder with mixed anxiety
   tlistory  of Present   Illness
                                                                                                    and depressed mood
   63-year-old male presents with a complaint of bilateral shoulder pain. He.has a ::•:;            Allergic rhinitis
   history of a left rotator cuff tear as well as in the right shoulder as well. Heiwa,        . : Asthma
   given injections last December which helped. He has had some health issues which                 Back spasm
   have kept him from having surgery. He is inquiring about injections again'Walk
                                                                                                    Carpal tunnel syndrome
   Hand Dominance: Right                                                                           Cervical radiculopathy
  Occupation: Unemployed
                                                                                                    Cervical somatic dysfunction
  Onset of Symptoms: 2+ years
                                                                                                    Cervical spinal stenosis
  Orthopedic Injury: No                                                                             Cervical stenosis of spine
  Physical Exam                                                                                    Complete rotator cuff tear of left
                                                                                                   shoulder
     Vit.& & Measurements
                                                                                                    Depression
    10/25/2022 10:51 HT: 187 cm (6 ft 2 in) WT:113 kg (249 lbs 2
                                                                                             frch • Erectile dysfunction
    oz) BMI:32.31 kg/m2                                                                            Heart failure with reduced ejection
                                                                                                   fraction
    10/26/2022 09:20 HT:187 cm (6 ft 2 in)                                                         History of CORD
    Pain Assessment                                                                                Hypercholesterolemla
    Numeric Pain Score: 6                                                                          Hypertension
    Primary: Numeric Pain Score: 6(10/26/22 09:20:00)                                             Impingement syndrome of right
  Bilateral shoulders have crepltus and tenderness over the greater tuberosity. He                shoulder
  has full range of motion with pain at the end range of forward flexion abduction.               Insomnia
  He has normal strength in deltoid but some pain with supraspinatus testing. He as                Lumbar herniated disc
  normal internal and external rotation strength. He has some pain with the Neer                   Lumbar radiculopathy
 and Hawkins impingement signs.                                                                    Motor vehicle accident
                                                                                                   Neck pain
 Diagnostic Results                                    •                        . •        •       Numbness and tingling of upper
 X-rays of the shoulders today show some mild degenerative changes in tIlt-rKjci nt - extremity
 and the glenohumeral joint but no other abnormalities                                     11 • Obesity
                                                                                sties .4hi :
 Assessment/Plan                                                                1 a •  Y.         Obesity
                                                                                                  Other cervical disc displacement at C4-
                                                                                                  05 level
 1. Pain in right shoulder M25.511
                                                                                                  Other cervical disc displacement at CS-
 2. Rotator cuff syndrome of right shoulder M75.101                                               C6  level
   Patient has bilateral rotator cuff pathology. We discussed the options and he sti I            Other cervical disc displacement at C6-
   wants to continue with conservative treatment. He cannot have surgery right                    C7 level
          He  was  recently                     concussion  and  he also                          Paresthesia of hand, bilateral
   now.                     diagnosed with a                             has some
   prostate issues. He elected for injections of both shoulders today. A time out S ,             Post-concussion     syndrome
   called to verify the site and procedure. Under sterile conditions 40 mg of Kenalob             Prostate   cancer
   and 3 mt2s of 1% lidocaine were injected in the noted joint/area. The injection                Prostatitis
   was tolerated well and a bandaici was applied.                                                PTSD    (post-traumatic stress disorder)
                                                                                                 Sensorimotor neuropathy
   Ordered: Kenalog-40 Injectable suspension, 40 mg = 1 mL, Inj, IntraARTICular                  Shoulder pain, right
                One Time, Routine, 10/26/22 9:48:00 EDT,Stop: 10/26/22 9:48:00                   Somatic dysfunction of cervical region
                EDT, 10/26/22 9:48:00 EDT                                                        Somatic dysfunction of lumbar region


COFIELD, KEENAN                                         FSH-00718749930                                                    EMPI: 36263
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  MedStar Orthopaedic Institute at
                                                . Orthopedic Office/Clinic Note            Visit Date: 10/26/2022 09:00
 MFSMC
                 Bill For Arthrocentesis Aspir&finj Major it/Bursa W/O Us AMB - 20610    Somatic dysfunction of thoracic region
                 Return to Clinic                                                        Somatic dysfunction of thoracolumbar
                                                                                   •      region
                                                                              it; jiimt
   Left rotator cuff tear M75.102                                                        Somatic dysfunction of upper extremity
     Ordered: lidocaine I% injectable solution, Dose = 3 ml,Inj,IntraARTPa               Spondyiosis of cervical spine
                 One Time, Routine 10/26/22    9:50:00  EDT, Stop: 10/26/22 9!50:0       Temporomandibular     joint(TMJ) pain
                 EDT                                                                     Upper back pain
                 Kenalog-40 injectable suspension, 40 mg = 1 ml,Inj, IntraAPTIC iar, 1-11Storical
                 One Time, Routine, 10/26/22 9:50:00 EDT,Stop: 10/26/22 9:50:0           Adjustment disorder with disturbance of
                 EDT, 10/26/22 9:50:00 EDT                                                  emotion
                                                                                     til At risk of venous thromboembolus
                                                                                         Cervical disc disease
                                                                               I.        Eye pain
                                                                            ( ik. • 1*.  Immunization due
                                                                                 :       Impingement syndrome of right
                                                                                            shoulder
                                                                                         Impingement syndrome, shoulder, left
                                                                                         Obesity
                                                                                         Pruritus
                                                                                         Seasonal allergies
                                                                                      Procedure/Surgical History
                                                                                      None
                                                                                        Medications
                                                                                        amLODIPine 10 mg oral tablet, 10 mg= 1
                                                                                           tab, PO, Daily, 1 refills
                                                                                        aspirin 81 mg oral delayed release tablet,
                                                                                           81 mg= 1 tab, PO, Daily, 3 refills
                                                                                        atorvastatin 40 mg oral tablet, 40 mg= 1.
                                                                                           tab, PO, Daily, 3 refills
                                                                        :53.o)          azeiastine 137 mcg/inh(0.1%) nasal
                                                                                           spray, 1 spray, Inhale-nasal, Dally
                                                                                       LI. •
                                                                                       benzonatate 100 mg oral capsule, 100
                                                                         ;       0         mg= 1 cap, PO, 3x/day, 1 refills
                                                                                       Galls 10 mg oral tablet, 10 mg= 1 tab,
                                                                                          PO, Daily, PRN
                                                                                       diclofenac 1% topical gel, 1 appl, TOP,
                                                                                       • 4x/day, PRN, 2 refills
                                                                                       EpiPen 2-Pak 0.3 mg injectable kit, 0.3
                                                                                           mg= 1 ea,IM, One Time, 1 refills
                                                                                       fexofenadine 180 mg oral tablet, 180
                                                                                           mg= 1 tab, PO, Daily
                                                                                       Flonase 50 mcg/inh nasal spray, 2 inhl,
                                                                                           Nasal, Daily, 3 refills, 2 inhalations per
                                                                                           nostril
                                                                                       furosemlde 20 mg oral tablet, 20 mg= 1
                                                                                          tab, PO, Daily
                                                                                       gabapentin 300 mg oral capsule, 300
                                                                                          mg= 1 cap, PO, Nightly, 1 refills
                                                                                       Kenalog-40 injectable suspension, 40
                                                                                          mg= 1 ml,IntraARTiCular, One Time
                                                                                      1(enalog-40 injectable suspension, 40
                                                                                          mg= 1 mi., IntraARTiCu)ar, One Time
                                                                             ;   .
                                                                                     •e idocalne 1% injectable solution, 30 mg=
                                                                                 :           ml, IntraARTICular, One Time
                                                                                        docaine patch removal, 1 ea, TOP, One



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 MFSMC                                   Orthopedic                             Visit Date: 10/26/2022 09:00
                                                      Office/CliniC•N#D
                                                                     L
                                                                            iidoderm 5% topical film, 1 patch,
                                                                               TransDERMAL, Daily, apply up to 12h/d,
                                                                               max 3 patches at a time
                                                                            Melatonin 5 mg oral capsule, S mg= 1
                                                                               cap, PO, Nightly
                                                                            metoprolol succinate 25 mg oral tablet,
                                                                               extended release, 25 mg= 1 tab, PO,
                                                                               Daily
                                                                            potassium chloride 20 mEg oral powder
                                                                              for reconstitution, 20 mEq= 1 ea, PO,
                                                                              Daily
                                                                            potassium chloride 20 mEg oral tablet,
                                                                              extended release, 20 mEq= 1 tab, PO,
                                                                              Daily, 3 refills
                                                                             ymbicort 160 mcg-4.5 mcg/inh inhalation
                                                                              aerosol, 2 puff, Inhalation, 2x/day,4
                                                                           j. refills
                                                                           Tylenol 500 mg oral tablet, 1000 mg= 2
                                                                           g.tab, PO, q8h, not to exceed 3000
                                                                              mg/day
                                                                           Vitamin B12 1000 mcg oral tablet, 1000
                                                                              mcg= 1 tab, PO, Daily, 2 refills
                                                                           Vitamin C, 100 mg= 1 tab, PO, Daily
                                                                           Vitamin D3(cholecaldferol), PO, Daily
                                                                           /Menges
                                                                           Mold (asthma trigger, Hayfever)
                                                                           Pollen (Hayfever)
                                                                           No Known Medication Allergies
                                                                             Social History
                                                                                Smoking Status
                                                                                    Never smoker
                                                                             Alcohol
                                                                                Use: Denies. Previous treatment: None.
                                                                                 Household alcohol concerns: No.
                                                                                Alcohol Counseling: Not Indicated -
                                                                                Patient Doesn't Drink.
                                                                             Employment/School
                                                                               Status: Off work temporarily.
                                                                           / Work/School description: Patient
                                                                                reported he was employed as a
                                                                                psychologist for 18 years. Patient
                                                                          1
                                                                              .reported he has been unable to work
                                                                            I. due to the physical and emotional
                                                                                hardships he has endured after being in
                                                                              .two
                                                                                • car accidents in 2021.. Highest
                                                                          . education level: Post graduate degree
                                                                              (s). Previous employment/school:
                                                                          ' Patient reported in the past he worked
                                                                               in radio and television broadcasting.
                                                                              .Patient reported he attended private
                                                                           r school growing up.. Hazardous
                                                                               equipment operation: No.
                                                                             2s,grAg
                                                                                  •cl
                                                                          • Frequency: 1-2 times/week.
                                                                          jiome/Environment



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      MedStar Orthopaedic Institute at
     MFSMC                                       Orthopedic Office/Clinic Note            Visit Date: 10/26/2022 09:00

                                                                                           Born Outside the Cs: No. Marital
                                                                                          Status: Single. LIv6s with Mother.
                                                                                        1 Comment(s): 0,6. with 82 yo mother.
                                                                                        . Patient Is the oldeSt of 4.. Living
                                                                                       • situation: Home/Iridependent. Home
                                                                                       ! Equipment: None. A. lcohol abuse in
                                                                                       ;• household: No. Substance abuse in
                                                                                      :t household: No. Srnoker in household:
                                                                                          No. Concerns for Domestic Violence:
                                                                                          No. Feels unsafe at home: No. Safe
                                                                                       • place to go: Yes. Fimily/Friends
                                                                                         available for suppokt: Yes. Concern for
                                                                                         family members at home: No. Major
                                                                                      it illness in household: No. Financial
                                                                                         concerns: No.
                                                                                     Plutrition/ealtli
                                                                                         Type of Diet: Regu,ar,diet. Diet
                                                                                         Restrictions: Patient reported,"I can't
                                                                                        eat certain foods because of the
                                                                                        popping/the TM).". Sleeping Concerns
                                                                                        Yes.
                                                                                     Sexual
                                                                                        Sexually active: No ,History of sexual
                                                                                        abuse: No.SelfDescriqe Sexual
                                                                                        Orientation: Patienfreported,"I am
                                                                                       free spirited.". Gertdir Identity:
                                                                                    , Identifies as male.
                                                                                    Substance Use
                                                                                       Use: Denies.
                                                                                    Tobacco/Nicotine
                                                                                       Use: Denies. Previous treatment: None.
                                                                                      Dccupational Smoki..6iposure: No.
                                                                                   . . -
                                                                                   aamily History
                                                                                   Diabetes mellitus: Mothe • and Father.
                                                                                   H8P(high blood pressUre) • Mother
                                                                                      and Father.
                                                                                  2eview of Systems
                                                                                  fleadache: Denies
                                                                                   Eyesight Problems: Denies
                                                                                  . wallowing Problems: Denies
                                                                                  Chest Pain: Denies               -
                                                                                  Shortness of Breath: Denies
                                                                                  Diarrhea: Denies
                                                                                 Constipation: Denies
                                                                                 Poor Circulation: Denies
                                                                                 Blood In Stool: Denies I
                                                                                 Ulcers: Denies
                                                                                 Painful Urination: Denies

 Signature Line
 Electronically signed by:

 Cohen, MD, David A. on: 10.26.2022 09:53 EDT


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            SOCIAL SECURITY AND OTHER AGENCY LETTERS
            COMPLAINTS, ETC.
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 Social Security Administration
 Supplemental Security Income
                                                          ••
                                       SOCIAL SECURITY
                                       SUITE 312
                                       5235 KING AVENUE
                                       BALTIMORE, MD 21237-4356
                                       Date: July,12, 2022   .
                                       BNC#: 2263912D11681
   KEENAN K COFIELD
- -1236 KENDRICK RD      -
   ROSEDALE, MD 21237-2920




                                                     Office Hours:
                                                     A/LON: 9:00AM to 4:00PM
                                                     TUE: 9:00AM to 4:00PM
                                                     WED: 9:00AM to 4:00PM
                                                     THU: 9:00AM to 4:00PM
                                                     FRI:     9:00AM to 4:00PM
 Dear KEENAN K COFIELD          -
This is a very important letter about keeping your Supplemental Security •
Income (SSI). Please read it carefully. If there is anything you do not
understand,'please get in touch with us right away.
, Yon Have An Appointment
We Must regularly review the cases of people who get SSI. We need
infopnation from you to make sure you are still eligible.
 We want ta talk to you on July 25, 2022 at 09:30 AM. On that date:
    e   We Will call you at (443) 554-3716. Let us know if this number is
        wrong.
If you can't keep your appointment, please call us... We will make
another appointment for you.
 What.We Need for the Appointment
When you'talk with us, please try to have all of the items shown below from
May I, 2020 to the present. Even if you don't have all of the information, we
need to hear from you. We will help you get anything you do not have.
We must see the original document(s) or a Certified copy of these item(s). We
cannot accept photocopies. We will return these items to you.


                                    See Nex-t Page
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We received information from computer matching with 'Unemployment. Since
this information may affect your SSI elitability or payment amount, we would
Like to discuss it with you. Under the computer-matching law, we cannot Use
this information to change your SSI until we give you 30 days to disagree with
it. Computer matching compares our records with those of other agencies.. It
helps determine if you are eligible for. SSI and how. much we can pay Yoil. •
When you come in, please bring the infOrmation requested below.
If We Do Not Hear From You
We may stop your SSI if you don't respond to this request or contact us Within •
30,days to tell us why. If we stop your SSI, you could also lose any Medicaid
you have now. •
Before we stop your 651, we will.send you another letter to explain our '
decision. The letter will also explain your right to appeal the decision and
how to.continue getting SSI during the appeal.
Suspect Social Security Fraud?
 Please visit http://oig.ssa.govir or call the Inspector General's Fraud Hotline
 at 1-800,269-0271 (TTY 1-866-501-2101).
If You Have Questions
If you have any questions or need help, please call'us at (866) 348-5818 ext.
20340 and ask for Mrs. Ward.

                              •District Manager..
Unit: BRW
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              3651 S IH 35, STOP 6579 AUSC                         In reply
             A USTIN                                                     refer to: 1485011111
                       TX     73301-0059                        July 14, 2021 LTR 507IC BO
                                                                             202012 30
                                                                                      00083652
                                                                                  BODC: WI    .
                            • • :


            'KEENAN K COFIELD
           . 4189 CUTTV SARK RD
           ' MIDDLE RIVER .1.pal 21220 •



0.1349.8

            Taxpayer identification number: *
                                  lax year: 2020 •
                            Control number:
                             Letter number: 5071C :

            Dear TAXPAYER

           We received an income tax return, Fora:A.040, for the tax year
           above using your name and Social Security number (SSN) or individual
           taxpayer identification number CIT/N). To protect you from possible •
           identity theft, we need to verify your identity before we process the
           incbme tax return, issue a refund or credit any overpayments to your
           account. •  .

                                    -WHAT YOU NEED TO DQ.IMMEDIATELN,

           GO to our identity verification service:website at
           w ww.idverifY.irs.gov. If you dict.not file an income tax return, you
           can indicate that on the website. It's quick, secure', and available
           24 hours a day- ,

           The rabsite.hes the most up-to-date, instructions to assist in
           navigating through the identity•verification Process. Please read the                     .
           website page.thoroughlY, and.have the following available: .

           - This letter; and

             The income tax return for the Yellis shown above (Form 1040, 1040A, •
             1040-EZ, 1040-PR, 1040-NR, 1040-SR, etc.). Note: A Form W-2 or Form
             1099 is not a tax return.    -
                          I/ •
                             IF YOU WANT TO CALL US

           If you prefer to talk with a repr-esentative, call us- at 800-830-5084
           between 7:00 a..m. and 7:00 p.m. local time within 30
           days from the date' of this letter. Note that 'calling us will not
           expedite the refund process. If YOU filed an income tax return, have
           the information listed below.

           When You call, you MUST have all the following available if you filed -
           an income tax return:

           - This letter.
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                                                                    14850111..
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  KE'
    ENAN K COFIELD
  4109 CUTTY SARK RD
  MIDDLE RIVER yul 21220




 - The income tax return for 'OR year shown above (Form 1040,
                                                              1040A,
   1040-EZ,A040-PR, 1040-NR, :: 0-SR, etc.). Note: A Form W-2
                                                               or Form
   1099 is not a tax return.   .

 - A prior year's income tax re.:•:qrn other., than tha year shown above:
   Note: A Form W-2 or Form-10 ; is not an income tax return.
                                   •
 - Supporting documents for ear;; year's income tax return (e.g., Form
   W-2, Form 109.9, Schedule C,             F, etc.) that YOU filed with
   your Income tax return.

              IF YOU DO NOT 1ER2 1-IMMEDIATELY

  Until we hear from you, we wor z be able to process your income tax
' return, issue a refund r or crt:4t any overpayments to your account. •
                               •     •
  If we Can't verify-your ident , online or over the phone, we Will ask
  You to sched6le an appointment* and bring the documents listed above to
  your local IRS office to.varif in -person. :

 If you choose to authorize spAiRane to represent YOU before the IRS,
 complete Form 2848, Power of A':torney and Declaration of           •
 Representative. We encruraoe        to ba available with your authorized
 representative-on the        If :.sou choose to have someone else assist
 You on the .call, you must ca12 us together and you must participate on
 the call. For more information -about Form 2848, visit Our website at
 w ww.irs.gov/forms-pubs or      800-829-1040.

 After you've successfully aut1:1:1ticated your identity%-it may take up
 to 9 weeks for you to receive r- aur refund or a credit of any
 Overpayment.to your account., g:P4ever, if there are' other issues, you
 may receive a notice asking. fo: more information-, and this may delay
 your refund.

       WHERE YOU CAN SO FOR ADV'MONAL INFORMATION

Usted,puede solicitar una            de'esta carte en espariol, Hernando al
npmero de teldfono indicado

Para obtener alas informacian           tsta carte, v isite
w ww.irs.gov/ltr8071sp.

 Visit www.irs.gov/1tr5671c for information about this letter,

 Visit www.irs.gov/id .for infor2rltion about identity theft.


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                                                                           202012 30
                                                                                    00083654'

            KEENAN K COFIELD
            4109 GUTTY SARK RD
            MIDDLE RIVER. MD 21220:       -




            The Taxpayer Advocate Service (TAS) is an independent organization '
.01.2498    within the IRS that helps taxpayers and protects taxpayers' rights.
            TAS can offer you help if your tax problem is causing a financial          •
            difficulty, you've tried but been unable to resolve your issue with
            the -IRS•r-or-you-brneve•an IRS system, procets,.or pr.o-cedux:e. isn't. .
           'working as it should. If yOu qualify for TAS assistance, which -is '
            always free, TAS will do everything possible to help you. To learn
            more,. visit www.taxpayeradvocate.irs.gov or call 877-777-4778.

           Tax professionals who are independent from the IRS may be able to help
                                               '   •


           Low Income Taxpayer Clinics (LITCs) can represent low-income persons
           before the IRS or in court. LITCs can also help persons who speak
           English as a second language. Any services provided by an Lilt must be
           fer free or a small fee. To find an LITC near you:

              - Go to www.taxpayeradvocate.irs.gov/lAtcmaP;
                                             . Low Income Taxpayer Clinic List,
              - Dbwnload IRS Publication 4134,
                available at www.irs.gov/ferms-pubs; or
              - Call the IRS toll-free at 800-829-3676 and ask for a copy of
              • Publication 4134.

           State bar associations, state or local societies of accountants or
           enrolred :a4ents, or other nonprofit.tex protessional organizations may
           also be able to provide referrals..

           Keep a copy of this letter for your records.

           Thank you for your cooperation.



                            if                         Sincerely yours,



                                                     INTEGRITY IkVERWIOATION
                                                           OPERATIONS
                                                    Integrity & Verification Operations
                                                   'Program Manager, I&VO
                  Case 1:23-cv-01795-JKB
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             Q Department ofate Treasury
               Internal Revenue Service
         1651 S IN 35, STOP 6379 AUSC
         AUSTIN TX 75301-0089




                012498.137391.14416,7249 1 AB 0.428 693 •   .
              . utpurp*WU11111111111dultsp460/01111Uld16

            • .    .
                   KEENAN K COFIELD
                   4109 CUTTY SARK RD
                   MIDDLE RIVER MD 21220


012498




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Case
 Case1:23-cv-01795-JKB  Document 1-7 Filed 07/05/23 Page 138 of 259
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     'Case 1:22-cv-01989' Document 1-3 Filed 08/10122 Page 43 of 58
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    0500:11=12
             , *


        Form       14039                             Departmentofthe Treasury-Internal Revenue Service'                                bAs Number
        (March 2022)                                    identity Theft Affidavit                                                    . 1545-2139
     This affidavit Isfor victims of Identity theft. To avoid delays do not use this trill if you have already filed a Form 14039for this incident
  • .The IRS processfor assisting victims selecting Section 13, Sox 1 below is explained atIrs.gov/victimassistance.                      .
     Getan IP PIN: We encourage everyone to opt-in to the identify Protection Persona)identification Number(IP PIN)program. If you don't .
     have an IP PIN,you can get one by going to hs.govliopin. Ifunable to do so online, you may sche.dula an appointment at your closest
    imoagerAsststence Center by Gaffing (1344-545-5840). Or,if eligible, you may use IRS Form 15227 to applyfor an IP PIN by mail or FAX,
    also available by going to jrs.govfinorn.
    Section A -Check thefollowing boxes In this section that apply to the specific situation you are reporting(tequbadfon&&us)
   0. 1. IamthbmithngthIsFm1403aformysalf
   0 2. tam submitting this Form 14030 In response to an IRS Notice or Letter received -
                Provide 'Notice'or'tatter' number(s)art the ling.tg Outright
                Check box 1 in Section 13 and seespecial mailing and faxing Instructione on reverse side ofthisform.
.• p 3. lam submitting this FOrm 14039 on behalfof my dependent child or dependent relative
                                                                                                                                 I I
            - Complete Sections A-F of thisform.Do not use thisform ifdependent's identity was misused by a parent or guanllan in filing
               taxes,Vests notIdentity theft.
                                                                                                                                 1 I
   O 4. I am submitting this Form 14039 on behalfofanother person living or deceased (otherthen my dependentchild ordependentrelative)
            • Complete Sections A- F of this form.                                                                               I I
   Section 8— flow 1 Am impacted (requIntri when taporting misuse ofSocial&stagy Number(33N)ortrativittual Taxpayer Mantra:a:km Number(IMO)
   Check all boxesthat apply to the person listed in Section C below. ifthe person in Section C has previouslysubmitted a Form 14039 for
   the same Incident there's no need to submit another Form 14039.
   al• 1. I know that someone used my information to fraudulently file a tax return
              I/My dependent Was fraudutently//ncorrectly claimed as a dependent
                                                                                                                                ;
       0 My SSN or MN vies fraudulently used for employment purposes                                                            )
  0 2. Won'tknow Ifsomeone         . used my i' nformation to fiaudulently file taxes, but I'm.a victim ofidentity theft       •I i
    Provide an explanation of the identity theftissue, how it impacts your tax account when you became aware °fit and provide relevant
    dates. It needed,attach additional information and/or pages to this Mn'           • •                                                     •
                                                                                                                                i I
    MY MOTHER WASTRYING TO CLAM ME AND WEFOUND OUT AGAIN SOMEONE USED MY NAMEAND SOCIAL SECURITY •
  .NUM?*TO FltE FORTAXES.I DO NOT FILE FOR TAXES PERTONALLY BUTSOMEONE HAS BEEN USING ILLEGALLY MY SSN
   Section C— Name and Contact information of identity Theft Victim (moulted)                                                           I I     •
    Victim's test name I                          First name                                  Middle       Taxpayer Identification Number.
                                  •                                        .         .        initial .• (  provide 9-rEgitSSN orMA) I            •
     COFIELD '                 .                  ICEENAN                .                    K
   Current mailing address(apartmentorsage numberand street orP.O. Current city                         .     . State ..             ZIP code         .
                                                                               . .
  604Ifdeceased,provide last known address                                                                                              I ..1 '
    1236KENDRICK RD.                                                          'ROSEDALE'                     • MD .            cc 21237 -
   Address used on lastfiled tax return (Ifdifferent than 'Current,            City(on lest tax talum filed)    State               ZIP code
                                                                                                                                       1 •            :
                                                                                                                                     ( •        -
   Telephone number with area code                                      •    '                        .         Best time(s)to call I I
   Nome phone number.443454-371S                          Cell phone number                                      Airirrims           .1 .
  Language in which you v.vould.like to be contacted j j English                     Spanish           1:/ Other                       I

.
' Section!)— Tax AccountInformation: Lasttax return filed(yearshown on the tax return)and Returns Impacted(De notcomplete
  Section D ifyou selec1etlI3ox 21n ter.tfon8above)                                                                                   I ;
  L    I had  no filing requirement or flied a non-filer return                                                                       I ;
  Names used on lastfiled tax return                                          The last tax return filed Omarshown on thetas return)
                                                                                                                   ' ' •              I i
  WhatTax Year(s)you believe were impacted by tax-related identity theft(example:2020 is inputfor citing the 2020 tax rettim though filed the
  next yeareq.(if notknown,miter unknown'below))                                                                                      I I •
          2010       J      2011       J   •   2012       I     *2013_     j       2014        1        2015    1           2020      I   I      2021
  Section E— Penalty ofPerjury Statementand Signature (requited)                                                                           I "
  ..inder penalty of perjury, I declare that, to the battof my knowledge and belief, the information entered On this Form 14039 is true. °effect,
  =plate, and(Bade In good faith..                                                                                                   1 I
   3ignatnre,          ayer,or raptc  Tentativelconservator, parent or guardian                                                    Date signed
                             a —                 i •                                                                               434/i3/2022
   lubmitthficom fetedform                 er the mailing address grtha FAX number provided on the reverse side ofthis form.
  :Maim Number52525A                                                   vmvi.irs.gou                                          Form 14039(Rev.3-2022)

                                                                                                                                 I I                 •
                                 Case 1:22-cv-01989 Document 1-3 .Filed 08/10/22 Page 45 of 58   .
                                                                 •
   internal Revenue Service
   Disclosure Office
• MB 7000 DEN
   1999 Broadway .
 • Denver, CO 80202-2490
 Official Business
 Penalty for Private Use, $390




                                                                                                      •
                                               Keenan Wield 405938
                                              EC1
                                              30420 Revel's Neck Rd.
                                              Westover, MD 21890     .




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                                                                                                            Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 140 of 259
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                     Case1:23-cv-01795-JKB
                           1:22-cv-01989-GL,R Document 1-7 Filed
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  Case I.:22-cv-01989-GLR Document 58-1 Filed 10/28/22 Page 276 of 375
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                                                                58 of 259
                                 875 UNION ST NE
                               SALEM OR 97321-0800
                  PHONE: (503) 370-5400 FAX: 1-503-371-2893
        TOLL-FREE PHONE: 1-833-410-1004

     No la podemos pager la cantidad total de sus beneficios semanales en su
     reclamo. El mensaje qua sigue axplica porque. Por favor, llame -o ascribe
     al centro del seguro de desempleo indicado arriba si necesita ayuda.



KEENAN COFIELD    .                               DATE:           07/13,21
4109 CUTTY SARK RD                                OUST ID:     40-006.475.015
BALTIMORE MD 21220                                FIELD OFFICE NUMBER:. 081
                                                  CLAIM EXPIRES:     48-21
                                                                 (MEEK-YEAR)



    You claimed unemployment benefits for the week of 04-26-20 through
    05-02720. We cannot pay benefits for this week:
    This week is before the start of your unemployment insurance claim. If your
    Intent was to claim this week, please call the office listed above to
    explain why you clair*d this week. Failure to reply within 6 days will
    result in'a denial of benefits for this week.
    No payment was made because your claim is not valid.. If you have requested
    that your claim be redetermined or if there are military, federal, or out
    of state Wages to be included in your claim, continue to report as
    scheduled.
    No payment was made because an issue on your claim is still being
    resolved. You will be contacted if more information is needed. Continue
    to report as scheduled.
   Case 1:22-cv-01989-GLR Document 58-1 Filed 10/28/22. Page 277 of 375
                                 875 UNION ST NE    •
 Case 1:23-cv-01795-JKB
        Case 1:22-cv-01989 Document      1-7
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                                                                      58 of 259
             .    PHONE: (503) 370-5400   FAX: 1-583'-371-2893
        TOLL-FREE PHONE: 1-833-410-1004
                                                                       I
    No le podemos pagar la cantidad total de sus beneficios semanales en su '
    reclamo. El mensaje quo sigue explica porque. Per favor, llama oledcriba 1    .,
    al centro del seguro de desempleo indicedo irria s,i
                                                       ,necesita ayddA.'    .


                                                                       !
KEENAN COFIELD                                     DATE:           07/103 121
4109 CUTTY SARK RD                                 CUST ID:     40-006.47,5.015
BALTIMORE MD 21220                                 FIELD OFFICE NUMDER41081
                                                   CLAIM EXPIRES:     4 J,21
                                                                  (WEEXJYEAR)



    You claimed unemployment benefits for the week of 05-03-20 throul
    05-09-20. We cannot pay benefits for this week:
                                                                 - -
    This week is before the start of your unemployment insurance claim. If your
    intent was. to claim this week, please call the office listed above to
    explain why you claimed this week. Failure to reply within 5 days will
    result in a denial of benefits for this .week.
    No payment was made because your claim is not valid. If You have requested
    that your claim be redetermined or if there are military, federal, or out
    of state wages to be included in your claim, continue to report as
    scheduled.
    No payment was made because an issue on your claim is still being
    resolved. You will be contacted if more information is needed. Continue
    to report as scheduled.
   Case 1:22-cv-01989-GLR Document 58-1 Filed 10/28/22 Page 278 of 375
 Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 144 of 259
        Case1:22-cv-01989 Document 1-3 Filed 08/10/22 Page53of58
                                       ,f    •
                     STATE OF OREGON-EMPLOYMENT DEPARTMENT
                                875 UNION ST NE
                              SALEM OR 97311-0800
                 PHONE: (503) 370-5400 FAX: 1-503-371-2893C,
       TOLL-FREE PHONE: 1-833-4101004 %
                                 a
                                 ..
    No le podemos pager la cantidad total de sus beneficios semanales en su
    reclaim,. El mensaje que sigue exPlice porque. For favor, llama ofescriba
    al centre del saguro de deseppleo indicado arriba si necesita aydda.      •


                                                                       I   •
KEENAWCOFIELD. '                                 DATE:           07/13421    '
4109 CUTTY SARK RD                               CUST ID:     40-006 475.015
BALTIMORE MD 21220                               FIELD OFFICE NUMBER; d81
                                                 CLAIN EXPIRES:     48-121
                                                                (WEEK-YEAR)-



    You claimed unemployment benefits for the week of 05-10-20 through
    05-10-20. • We cannot pay bmnefits for this week:
    This week is before the start of your unemployment insurance claim. If your
    intent was to claim this week, please call the office listed above to •
    explain why you claimed this week. Failure to reply within 5 days will
    result in a denial of benefits for this week.
    Nd payment was made because your claim is not valid. If you have requested
    that your. claim be redetermined on if there are military, federal, or out
    of state wages to be included in your claim, continue to report as
    scheduled. .            •
    No payment was made because an issue on your claim is still being
    resolved. You will be contacted if more information is needed. Continue
    to report as scheduled'.




                                                                       :
     Case 1:23-cv-01795-JKB
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                                    875 UNION iT NE
            Case 1:22-cv-01989 IDDSAMINID1-391ak1+4111110/22 Page 54 of 58
                     PHONE: (503) 370-5400   FAX:* 1-503-371-2893 -
           TOLL-FREE PHONE: I-833-410-1004
                                                                             I
a
ir
        No le podemos pager la:cantidad total de,sus beneficios semanales en su
        reclamo. El mehsaje qua sigue explica poi'Aue. Per favor, llame o (1:sriba
        al centro del qeguro de desempleo indica0o arriba si necesita ayuclai     •




                                                                             1

    KEENAN COFIELD                                     DATE:            07l/1'
    4109 CUTTY SARK RD                                'CUST          40-006.475.015
 .• BALTIMORE ND 21220                                 F/ELD- OFFICE NUMBER:ID/11
                                                      'CLAIM EXPIRES:      48-21
                                                                   •    (WEEK-YEAR)
                                                                              •




        You claimed unemployment benefits for the week of 05-17-20 through
        05-23-20. We cammot pay benefits for this week:
        This week is before the start of your unemploYMent insurance claim.' If your
        intent was to claim this week, please call the office listed above to
        explain why you claimed this week. Failure to reply within 5 days will
        result in a denial of benefits for -this week.
       No payment was made because your claim is not valid. If you have requested
       that your claim be redetermined or if there are military, federal,- or out
       of state wages to be included in your claim, continue to report as
       scheduled.
                                                                •
       No payment was made because an issue on your claim is still -being .
       resolved. You will be contacted if more inforMation is needed. -Continue
       to report as scheduled.
   Case 1:22-cv-01989-GLR Document 58-1 Filed 1Q/28122 Page280of375
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                                                            58 of 259
            '.;                SALEM OR   97311-0800
                  PHONE: (503) 370-5400   FAX: 1..503-371-2893
        TOLL-FREE PHONE: 1-333-410.4004
        .
   :'                                ,
   AV   I    i
                                                                          I
    No le Oedemas pager la cantidad total de sus beneficlos semanales an su
    reclamo. El mensaje qua sigue e*plica porque. Per favor, llama o jescriba .
    al centro del seguro de desempleo indicado arriba Si necesita ayua.



                                                   DATE:
                                                                     'i I
                                                                       1
                                                                        • )   '
KEENAN COFIELD                                                     07//3121
4109.CUTTY SARK RD                                 OUST ID:'    40-006.475.015
BALTIMORE MD 21220                                 FIELD OFFICE NUMBER: 082
                                                   CLAIM EXPIRES:     48721
                                                                  (WEEK-YEAR)
                                                                          i


     You claimed unemployment benefits for the week of 05-24-20 through
    .05-30-20. We.cannot pay benefits for this week:             -- •
    This week is before The start of your unemployment insurance claim. If your
    intent was to claim this week? Please call the office listed above to
    explain why- you claimed this week. Failure to reply within 5 days will
    result in a denial of benefits for this week.
    No payment was made because your claim is not valid. If you have requested
    that your claim be redetermined or if there are military, federal, or out
    of state wages to be included in your claim, continue to report as
    scheduled:
                      •
    No Payment was made because an issue' on your claim is still being
   'resolved.. You will be contacted if more information is needed. Continue
    to report as scheduled.




                                                                              .•   ,.:•:xt • -   •••• t
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                                                                                    375
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                                          Document 1-7 Filed 07/05/23 Page    58 of 259
                                             '   875 UNION ST NE
                                  •
                                               SALEM OR 97311-0800
                                  PHOkE: (503) 370-5400 FAX: 1-503-371-2893




0.1.•••••••
                        TOLL-FREE PHONE: 1-833-610-1004



                     al centro del seguro de desempleo indicado arriba si necesita
                                                                                          I
                     No le podemos pager la cantidad total de sus beneficios semanales 6 su
                     reclamo; El mensaje clue sigue explica porque. Por favor, llame o eis`riba
                                                                                             .

                                                                                   ayuda]
                                                                                        1 ..
          'KEENAN COFIELD' .                                      DATE:           07/ /21
           4109 CUTTY SARK RD                                     OUST ID:     40-006.475.015
         • BALTIMORE MD 21220                                     FIELD OFFICE NUMBER: 1081
                                                                  CLAIM EXPIRES:     48.-21
              •                                                                   (WEEK-YEAR)



                     You claimed unemployment benefits for the week of. 05-31-20 through !
                   . 06-06-20. We cannot pay benefits for -this !..teek:
                    This week is before the start of your unemployment insurance claim. If your
                    intent was to claim this week, please call the office listed above to
                    explain why you claimed this week: Failure to reply within 5 days will
                    result•in a denial of benefits for this week.                         .
                    No payment was made because your claim is not valid. If you have requested
                    that. your claim be redetermined or if there are military, federal, or out
                    of state wages to be included in your claim, continue to report as    -
                    scheduled..
                    No payment was made because an issue on your claim is still being
                    resolved. You will be contacted if more information is needed. Continue
                    to report as scheduled.
             Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 148 of 259
                 Case 1:22-cv-01989-GLR Document 58-1 Filed 10/28/22 Page 282
                                                                                  of 375
                     Case 1:22-cv-01989 Document 1-3 Filed 08110/22 Page 57 of 58
                               OREGON EMPLOYMENT DEPARTMENT
                                            PO Box 14165    .
                                          Salem,OR 97311
                                         FAX:503-371-2893



                                                         000031


      KEENAN COMM                                                     Office Number: •                   i•       • 081
      4109 GUTTY SARK RD,
                                                                      CustomerID:       '
      BALTIMORE MD 21220
                                                                      BYE:         ._                  1      48-21
                                                                      Effective.Week: .             DecHber 6,2020
                                                                      Type of Notice: I               ; •I   Initial



         NOTICE OFDETERMINATION FOR PANDEMIC UNEMPLOYMENT ASSISTANCE(PUA)


                   'Please read below as to whether you are or are notApproved for MA.benefits. '


                             You are NOT ENTITLED to PUA benefits. Please see below.



               . -
You are not entitled-tOPUA because: •

You are notentitled to PUA benefits because you have not worked in Oregon and reeeived wages.in the last 18 months
nor did you have ajob offer that has fallen through due to COVID..
                                                 •




HERIP01                                                                July 13,2021
Authorized Representative                                              Date Issued     '


       See tbe-Radrofthis form for ADDITIONALINSTRUCTIONS and/or APPEAL INFORMATION


          482021 • '            876              40086475015                               UI PUB 82P (04/2021)
                                                                                                     1        •
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                  MERCEDES BENZ RECALL BRAKES LETTER
                  TO PLAINTIFF DR. COFIELD, KEENAN
•

                                                                                                               PREMIUM
                                                                                                            PASILCIASS NAM
                                                                                                            U.S.POSTAGE
                                                                                                                 PAID
    Meroedes-Senz USA,LIC                                                                                    Sittrra.ANA,CA
                                                                                                             PERmITNO.949
    P.O.Box 301
    Droptlway,Ni 03308-0301



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                                               1 1".11;i"ili")111i114Z `'''111q2.1i(41'1E;V:'' 1 •1'11)-tJtii.V Ain If*   .11
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                                                                                                            0tie Mercegies-fipoz Drive
                                                                                                            Sandy Spi ings, GA 30328
               Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23                                     Page 151Phone: (770) 70540600
                                                                                                                 of 259
                                                1 1
                                  This notice ap13I es to your vehicle,VIN:41GCB5HEXCA146274
                                                          Inspect Brake Booster
                                                        NHTSA Recall ID: 22V315
                                                MBUSA ID:2022050014& 2022050015
       2022050014
       2022050015                                          STOP DRIVE ORDER!
       41GCB5NEXCA146274
       Keenan Cofield
       4109 Cutty Sark Rd                         \   P•131460 Pt
       Baltimore, MD 21220-2373                                                         STOP DRIVE —Your vehicle can be towed to an
                                                                                        authorized dealer and a mobility solution provided or z
       If11111111111116111141616114114111111161111141111111.11
                                                                                        mobile repair may be possible
                                                  II
                                                                                        o An Inspection procedure is available
  June, 2022                                                                            o Schedule an appointment with your authorized
                                                                                          Mercedes-Benz dealership assoon as possible.
                                                                                        o This repair will be provided ER E of charge.--
  Deal Mercedes-Biriz Owner:

  This notice is being sent to you in accordance with the National Traffic and Motor Vehicle Safety Act.
  Mercedes-Benz AG ('MBAG"),the manufacturer if Mercedes-Benz vehicles, has decided that a defect which relates to motor vehicle
  safety exists in certain Model Year M)     2006-2611 MI-Class and MY2006-2012 GL-Class and R-Class vehicles. Our records indicate
  that your vehicle is Included in the affected poputation of vehicles.


                  What is the issue?
                  Moisture may accumulate and cause corrosion in the brake booster housing unit, which can result in reduced brake
                  performance. In some cases of severe corrosion, a particularly strong or hard braking application may cause
                  mechanical damage in the brake booster, which can result in brake failure. In this case,it would n'ot be possible to
                  decelerate the vehicle via the bra te pedal. Reduced brake performance or brake failure can increase the risk of a
                  crash or injury.

                             Owners are advised not to drive their vehicles:until the inspection is performed.

                  What will your Mercedes-Benzi6ealership do?
                  An authorized Mercedes-Benz river will inspect the brake booster housing. While the repair time may be less than 1
                  hour, your dealer can provide youtrith a better estimate of the overall time for this inspection. After the inspection,
                  your vehicle will fall into one of three categories:
                      Category 1: Vehicles will hal an aesthetic rubber sleeve removed to eliminate further risk of corrosion. Vehicles
                       that do not show advanced cr? rosion may continue to be driven with no further action.
                      Category 2: lf, after the rubbe:isleeve is removed advanced corrosion is present, an additional diagnostic test
                       will be performed to ensure ttrit functionality of the brake tiooster. If the vehicle passel iiisimetion, it may be
                      driven but must return for an ffiditional test and repair within two years. A certificate will be provided by the
                      performing dealership. When he brake booster parts are available or the vehicle needs to be re-tested, an
                      additional reminder owner notiiication letter will be mailed.
                                                       •
                      Category 3: Vehicles that do not pass the additional diagnostic test will require a brake booster replacement and
                      the stop drive will remain in effect. At this time, parts are not available for an immediate replacement. When
                      parts are available, an additional,owner notification letter will be sent.

                 In the event your vehicle does not pass the diagnostic test, the vehicle may be stored at your residence or be towed
                 to a dealership storage location. If ttir Inspection was performed via mobile service and you choose to have the
                 vehicle towed to a storage location.;please contact the dealership to initiate the tow.


                                                                                                                                         "


Don't wait. Find an authorized Mercedes-Benz dealership near you
t mbusa.com/recall and schedule the recall inspection right away.
              Case 1:23-cv-01795-JKBI Document 1-7 Filed 07/05/23 Page 152 of 259
  Should an authorized Mercedes-Benz dealersIiri be unable to address your concerns please contact us at 1188-548-8514. We are
  always happy to hear from you.               I
                                              ,

 If an authorized Mercedes-Benz dealer for any Lon is unable to remedy the situation without charge, or within a reasonable amount
 of time, Pursuant to law 49 U.S.C. Chapter 301, ou may submit a complaint to the Administrator, National Highway Traffic Safety
 Administration, 1200 Newiersey Avenue, S.E4 ashington, D.C. 20590 or call the toll-free Auto Safety Hotline at 1-888-3V-4236
(TTY 1-800-424-9153); or go to httos://www.thercar.eov.
                                               1'

                               Reimbursement To Customers for Repairs Performed Prior to Recall
                                                    11
  If you have already paid to have this recall condition corrected you may be eligible to receive reimbursement. Requests for
  reimbursement may include parts, labor,fees aitl taxes. Reimbursement may be limited to the amount the repair would have cost if
  completed by an authorized Mercedes-Benz dealer. The following documentation must be presented to your dealer for
. reimbursement..                                   it
                                                    li
                                                                                    ;
 Original or clear copy of all receipts, invoices ant/or repair orders that show:

      o   The name and address of the person who   • paid for the repair.
     .9   The Vehicle Identification Number(VIN):.of the vehicle that was repaired.
      o   What problem occurred, what repair was done, when it was done and who repaired it.
      o   The total cost of the repair expense tha is being claimed.
     o    Proof of payment of repair(copy of 1r0n4and back of cancelled check,orpopy of credit card receipt).
     o    Reimbursement will be made by check orn your dealer.
                                                  fi
                                                   .1
Please speak with your dealer concerning this mater. Thank you for your cooperation.
                                                II

We apologize for any inconvenience this may have caused and look forward to taking care of this important safety recall immediately.
                                                'I
                                                :.
Sincerely,
Mercedes-Benz USA


                                                 •i

                                                 it
                                                 .• I1
                                                 !
 Case 1:22-cv-01989-GLR Document 58-1 Filed 10/28/22 Page 295 of 375
Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 153 of 259


              EXHIB1T-GG


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 Case 1:22-cv-01989-GLR Document 58-1 Filed 10/28/22 Page 296 of 875
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              EXHIBIT-HH
Case                                         07/05/23Page
                                       Filed10128/22
                                  1-7 Filed               297 of 375
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     1:22-cv-01989-GLR Document 58-1                   Page 155  of 259




EXHIBIT-1
PASSPORT NISSAN 06/04/2021
                                                               11
REAR BRAKES RATTLE CLIPS REPAIR TICKET
I NVOICE
                    Case 1:22-cv-01989-PA
                         1:23-cv-01795-JKB4114 ei7:*
                        se
                                                Document
                                                     gr                      Rgp. Nrsawsi
                                                         1-7 Filed 07/05/23Page
                                                                             Page   of 375
                                                                                298156  of 259
                                                 5000 AUTH WAY SUITLAND,MD 20746
                                                        MAIN LINE 301-423-8400
                                        SERVICE HOURS MONDAY THRU FRIDAY 7:30 A.M.- 6:00 P.M.
                                                  EXPRESS SERVICE 6:00 P.M. - 8:00 EM.
                                                     SATURDAY 8:00 A.M.- 5:00 P.M.
                                                         www.passportauto.com



                                                                                                                   CELL: 410-805-1353
 CUSTaMER                                             lONDON                                        moczam
                                                                                                     TAO NO.
                    408836                            DAMON WELLS                           1313;7     06/04/21 NIC069601
                                                                                                           4492
                                                      LABOR PATE     1.11:845E 191:1. WAAGE                            31OcN NO.
  KEVIN LUCIUS COFIELD                                    149.99                            57,641 calk/               62170A
 4109 GUTTY SARK RD                                    EAR                                         DIUVERYDATE         mamerfuxes
                                                       12/MV2CEILIES-8ENZ/R-CLASS/2012 MERCED                                    45,703
 BALTIMORE, MD 21220                                  voitete to.NO.                               SE-11DIODEALERNO.   PRODUCTION DATE
                                                       4 JGCBSHEX C A 1 4 6 2 7 4
                                                      ALEN°,                               r                        FL0.ME
  SUPRENEGRANDBISHOMMAIL.CON                                                                  hirk                     05/28/21
 RESIDENCE PRONE                MISINESSAMM          t:ObtMENTS
   410-805-1353                  410-305-3032                                                                                              MO: 57641
                                                                                                                      WHILE YOUR MOTOR VEHICLE IS ON
:311,1 tOsnz,-        • • l'aPI-liatsiTS14.1-                     .TECH(S).:7/72 , •       , • . .•      .714TERNAL" THE PREMISES OF THE AUTOMOTIVE
                   PERFORM MULTI-POINT VEHICLE INSPECTION                                                             REPAIR FACILITY, DEALER IS NOT
                                                                                                                      RESPONSIBLE FOR LOSS OF OR
 PARTS                                                                                                               DAMAGE TO ARTICLES LEFT IN
               QTY---FP-NUMBER                DESCRIPTION                             UNIT PRICE-
                                                                             300 P 1 TOTAL PARTS              0.00 VEHICLE UNDER ANY CIRCUM-
                                                                                                                     STANCES. YOU SHOULD ASK A
                                                             308 P 2 TOTAL LABOR & PARTS                      0.00 REPRESENTATIVE OF THE AUTO-
 ^T.
                                                                                                                     MOTIVE REPAIR FACILITY ABOUT THE
    2.
     :3ANIZ x. •         AXES 4                           TaH(S):7172                                     INTERNAL EXTENT OF ITS RESPONSIBILITY,
               CUSTOMER STATES THAT THE CAR RAKES A TICKING NOISE WHILE                                              INCLUDING THE EXTENT OF THE
               DRIVING IT CHANGES WITH SPEEDS CUSTOMER THINK IT MAYBE                                                INSURANCE COVERAGE OF THE
               CONING FROM THE BRAKES                                                                                AUTOMOTIVE REPAIR FACILITY.
               REPLACE BOTH REAR BRAKE RATTLE CLIPS
                                                                                                                     MANUFACTURER SPECIAL POLICY
PARTS          QTY---FP-NUNBER                DESCRIPTION                             UNIT PRICE-                    ADJUSTMENT PROGRAMS: FEDERAL
308 4 2           2     10692-25494           ANTI RATTLE SPRI                                            INTERNAL LAW REQUIRES MANUFACTURERS
                                                                         308 4 2 TOTAL PARTS                  0.00 TO FURNISH THE NATIONAL HIGHWAY

                                                            308 P 2 TOTAL LABOR & PARTS                       0.00 TRAFFIC SAFETY ADMINISTRATION
                                                                                                                   (N.H.T.S.A.) WITH BULLETINS DE-
MISC         CODE         DESCRIPTION                                         CONTROL NO                            SCRIBING ANY DEFECTS IN THEIR
303 N A               NW/ DISPOSAL INTERNAL                                                               INTERNAL VEHICLES. YOU MAY OBTAIN COPIES
308 4 A               SSI SHOP SUPPLIES INTERNAL                                                          INTERNAL OF THESE BULLETINS FROM EITHER
                                                                                   TOTAL - RISC               0.00 THE MANUFACTURER OR THE N.H.T.S.A.
                                                                                                                    IN ADDITION, CERTAIN CONSUMER
TOTALS                                                                                                              PUBLICATIONS OR ORGANIZATIONS
                                                                                                                   PUBLISH THIS INFORMATION, WHICH
ALL LABOR PERFORMED AND PARTS REPLACED WERE NECESSARY TO                        TOTAL LABOR                   0.00                          FEE OR
PERFORM REPAIRS. BY SIGNING YOU AGREE YOU HAVE RECEIVED A                       TOTAL PARTS                   0.00 MAY BE AVAILABLE FOR A
PROPER EXPLANATION OF ALL REPAIRS AND CHARGES. /F YOU HAVE                      TOTAL SUBLET                  0.00 FOR FREE.
ANY QUESTIONS PLEASE SEE YOUR SERVICE ADVISOR. ANY SPECIAL                      TOTAL G.O.C                  0.00 USED REBUILT OR RECONDMONED
ORDER PARTS NEEDED FOR REPAIRS MUST BE PAID IN ADVANCE AND                      TOTAL MISC CHG               0.00
ARE NOT REFUNDABLE. ENVIRONMENTAL CONCERNS HAVE FORCED US TO                    TOTAL MISC DISC              0.00 PARTS HAVE BEEN SUPPLIED OR A
CHARGE FOR THE EXPENSE INCURRED TO PROPERLY STORE AND                           TOTAL TAX                    0.00 PART OF A COMPONENT SYSTEM
ARRANGE DISPOSAL AND/OR RECYCLING OF OIL, TIRES, COOLANT,                                                          SUPPLIED IS COMPOSED OF USED,
BATTERIES, METAL PARTS AND CLEANING SOLVENTS USED IN THE                       TOTAL INVOICE $               0.00 REBUILT OR RECONDITIONED PARTS.
REPAIR OF YOUR VEHICLE. YOUR INVOICE MAY ALSO INCLUDE A
CHARGE FOR SHOP MATERIALS.                                                             P3                                     YES     NO


                                                                                           t


         CLIENT SIGNATURE
                                   DUPLICATE           IN           I
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 PAGE 1 OF 1                      CUSTOMER COPY                                  END OF INVOICE 3       0326Prn
                                                               10128/22 Page 299 of 375
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                     Case  1:23-cv-01795-JKB
                        1:22-cv-01989-GLR     Document
                                           Document 584 1-7         07/05/23 Page 157 of 259
                   Case                                                                 769601
                                                            PASSPORT NISSAN
                                                            5000 AUTH WAY SUITLAND,MD 20746
                                                                   MAIN LINE 301-4234400
                                                        HOURS MONDAY THRU FRIDAY 7:30 A.M.- 6:00 P.M.

 RECOMMENDED SERVICES
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 01NIZILOP1995               $19.95 OIL CHANGE                           MI           19.95 32NIZALIGN8995 4 WHEEL ALIGN $89                                            49.951
56NIEX89.95LOF
01NIZ1L0F5FREE
                             .OF ROTATE/BALANCE                          MI           89.95 01NI2110F2495 $24.99 OIL CHANGE                                             24.99
                             COMP NISSAN OIL CHG                         MI             0.00



SERVICE HISTORY
             DAT F.                 CCEP4I0 OFIULH        .11LE-AGF.      ADVISOR         FECIINICIfiN       TYPN              OPEPATIOCi                                     kpfiticr.
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       OS/28/21                      769601                     57641      8133              7172                      03NIZ                      MPI Main Shop
                                                                                             7172                      34NIz                      BRAKES
       03/26/21                      766178                     45693      8133              7172                      03NIZ                      NPI Main Shcp
                                                                                             7172                      97NIZMOINSP                ND STATE INSPECTION
                                                                                             7172                      97NIZZRECONOIL             RECON CIL CHANGE
                                                                                             7172                      36N/Z1113                  ROTATE AND CALANCE
SALESPERSON NO.7123                       MOM!E DOGBATSE                         SERVICE                                                                                     STATE REG# 2
   Muss                                                         vEmatAREatOoEC                                                   PicODUC1011 DAM 31T/C4 HO            Lid elsc Ile            f"
CASH       ci     Mil5HEXCA146274 12/MERCEDES-BENZ/R-CLASS/2012 MERCE                                                                              6212CA                                    769601
CROSTCARD0                                                                    CUSTOMERHO.          I SERVICE CONTRACT            oaNarri    IC    atafifelti ISLES    rie.1.113 OEPLET
CIEOC        a KEVIN LUCIUS COPIELD                                               408836                                                             45,703                                  05/28/23
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OMER      0    BALTIMORE, MD 21220                                            BLUE/                                                  1.                                                       4492
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   MACY                                                                       iunoo so= AvtQuotes                    TriottS     iusace           40
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OYES       CIO   SUPREMEGRANDBISHONGMAIL.CON                                        NIZZ                                             57,641          8133                  DAMON WELLS
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                                                                                                                                NOT RESPOSSIBLE FOR L3SS OT- DAMAGE TO Ve-IIGLES
                                              ' AVIANOISOin,                                                                    OR AFTTICLES _EFT IN VETICLEES14 CASE OF FIRE. THEFT
    PERFORM MULTI-POINT VEHICLE INSPECTION                                                                                      OR ANI OTHER CAUSE BEYOND OUR COITROL.
                                                                                                                               MA1411F4C WREN MECIAL PaIJCY Awes-vela 10011A3A:FEDERAL
                                                                                                                               LAW RECKCIFES IcAMIFAL11111EFLS 1() r1. WASH YliE ;NATIONAL
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                                                                                                                               COMPLATI3NOME
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    CUSTOMER STATES THAT THE CAR MAKES A TICKING NOISE WHILE                                                                   sumonato 4011414                  (1.4,
                                                                                                                                                                     ,min cat nonsin.igninnsw.
    DRIVING IT CHANGES WITH SPEEDS CUSTOMER THINK IT MAYBE                                                                                                       fawn
    COMING FROM THE BRAKES                                                                                                                                       PATE                T 50:

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                                                                                                                               1. Y00 MAY REOLESTAWMT rcti EST MITE FDA FIEPAInSWan34
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                                                                                                                               2. YOU WY N01 EE CHAPCIEC S.10' AFAMIC 10%1401IETHAPITHE
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                                                                                                                               ANY COCULISTINCES.1X)U 54OUL'.:.;Si A RE/SMEtaAtea 3F
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                                               1111111111111111111111!R111,991111111111111111111101                            nspot.sonn; 11+CLUD MG Th extar CC MR IN:RJRAN
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 Case  1:22-cv-01989-GLR Document
     1:23-cv-01795-JKB            1-7 Filed
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                                             10/28/22 Page 158ofof375
                                                                   259




 EXHIB1T-2
M ONRO BRAKE & TIRE CENTER
                                                                 I

09/29/2021 AND 11/12/2021
REAR BRAKES & ROTORS AND FRONT BRA
                                   KES &
ROTORS INVOICES




                                                                ,
                                                      41111PFLOWSRAKEVSERVICS --
                                                 0 EASTERN AVE.                       PAGE
                     Case 1:23-cv-01795-JKB Document 1-7
                                               SHOP 417   Filed 07/05/23 Page 159 of 259
                                               BALTIMORE,MD 21224
                                              (410)285-7576
  AUTO SERVICE                 Aid TIRE CENTERS
. Guest ID:      0417818921                         Year           2012                        Date/Time:       Nasal 15:30c10
  Name:          KEENAN COF1ELD                     Make:          MERCEDES-BENZ               Estimate ft       552027
  Address:       4109 CUM RD                        Model:         R350 WATIC                  Invoice 9:        479996
  Address 2:                                        Lbc No:        TEMP                        PO Number
  City,State21p: BALTIMORE,MD,21220                                GET                         Us* Number
  Home Phone: (443)554-3715                         Colon                                      Email Address:
  Work Phone: ()-                                   Engine:      VS 3.51.24V DOHC I0-276.958   Fleet/Whotesate: 1+1 I
  Other Phone:. ()-                                 Mileage In: 62151                          Est Created On: .09/25/21 1302:48
  Tax Exempt6:                                      Mileage Out 62151
  Manager        CHRISTOPH FAULCON                  Inspect Due: 09101/21
 Services Requested:
   CHECK BRAKES
                                       Car
 12ty.Part                             Loc          Descdpvon                                              Part/       Labor      Amount
 Tire Pressure Spec: Not Available   Wheel Torque: Not Available                                                 . 1

 INCLUDED WITH EVERY VISIT
  1 CI                                        COURTESY INSPECTION                                                              NO CHARGE
  1 SM                                        SCHED. MAINT.REVIEW                                                              NO CHARGE
 SERVICE
  I MEMO                            COMMENTS                                                                                   NO CHARGE
    REAR RIGHT CAUPER HAD NO BRAKE PAD IN THE FRONT OF THE CAUPER. REAR RIGHT CALIPER
    PISTON WAS PUSH OUTAND BRAKE FLUID COVER THE WHEEL
                                     TOTAL SERVICE:                                                                                  0.00
 BRAKES
 1 OUTDS                      B     13442 DISC PADS                                                     61.13           0.00        61.13
 1 OUTBRAKEPAO                a     GMKD1122 BRAKE PADS                                                119.99          80.00       199.99
     REAR BRAKE PADS GROOVED THE ROTORS ON BOTH SIDE OF THE VEHICLE THEY WERE THE WRONG ROTOR
    CAUSE PAD TO FALL OUT
 2 OUTR                             YH200529 BRAKE ROTOR                                               112.00          38.00      300.00
 1 BFF                        B     BRAKE FLUID EXCHANGE                                                65.99          69.00      134.99
    1.033S                    8     Clean and Luba Caliper Slides and braking system on opposite axle.   0.00          49.00       49.00
                                     Adjust brakes where applicable.
                                TOTAL REAR BRAKES:                                                                                745.11
    OUTCA1                                    CALIPER                                                   243.23         37.50       280.73
                                                    OVERALL                                                                        280.73
                                               TOTAL BRAKES:                                                                     1.025.84

"Customer Wishes To Discard Old Parts*"


'AY TYPE: VISA 500.00 Date:9/29/2021 APPROVAL        752090 ENTRY: CHIP
:RED1T CARD )000(40D0C-)0001-7964
 JD: A0000000031010 TennInal ID:090505001




                                     SEE NEXT PAGE
                                          INVOICE INVOICE MONRO MUFFLER/BRAKE & SERVICE INVOICE




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                                                                      CUSTOMER COPY
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                       Case 1:23-cv-01795-JKB Document    MINFINOINAiti
                                                        1-7               agieSEIVir5
                                                             Filed 07/05/23   Page 160 of 259
                                                  7870 EASTERN AVE.                         PAGE 2
                                                  SHOP 417
                                                  BALTIMORE,MD 21224
                                                 (410)285-7576
   AUTO SERVICE AOTIRE CENTERS

 Guest 1D:      0417819921                                    Year:       2012                                           DateMme:        109/29/21 15:30:10
 Name:          KEENAN COFIELD                               Make:         MERCEDES-BENZ                                 Estimate it:      552027
 Address:       4109 GUTTY RD                                Model:        R350 4MAT1C                                   Invoice 9:        4
 Address 2:                                                  Lie No:      TEMP                                           PO Number: r:
 Cliy,Stete2fp: BALTIMORE,MD,21220
'Home Phone: (443)554-3715
 Work Phone: ()-
 Other Phone: 0-
                                                              VIN:
                                                             Color:
                                                             Engine:
                                                                          GET
                                                                          V83.51 24V DOHC ID-276.958
                                                             Mileage In: 62151
                                                                                                                         Unit Number.
                                                                                                                         Email Address:
                                                                                                                         FleetAAMolesale: N 125n
                                                                                                                         Est Created On:
                                                                                                                                                 L
                                                                                                                                                 1 13:0Z48
 Tax Exempt II:                                              Mileage Out 62151
 Manager.       CHRISTOPH FAULCON                            inspect Due: 09/01/21
  Services Requested:
     CHECK BRAKES                                                                                                                             •4 \
                                             Car
 '
 Qty.Part II                                 Loc                 Description                                                             Part.           Labor     Amount




                                                                                                                                                     1




                                                    INVOICE INVOICE MONRO MUFFLER/BRAKE & SERVICE INVOICE
                                                                                                                                   SUB TOTAL                     1.025.84
 TECH:001395.0.00          8. ROSITzKY                                                                                             SALES TAX                        42.88
                                                                                                                                   GRAND TOTAL                   1,088.70


           All parts are new unless otherwise specified.Please see reversefor warranty details.
           I acknowledge that this invoice Is for services rendered by[Munro Int.) and now.In acceptance ofsuch service, make payment in the amount set forth on
           tide Invoice.0there wasan increase in the original estimated price.
           I acknowledge notice and approval of such Increase X
                                                                               Guest Signature
           I certify that all repairs were properly completed.
                                                                                 cernearlynotorireartawesomeve
           CAUTION:Owners of Mag,Custom,Alloy, or Dual Wheels must have lug-nuts retorqued alter25 mksor 24 hours!
           The Company will gladly retorque these lug-nuts once after the first IS miles at no charge. x
                                                                                                                       Guest Initials
                                                                                               r.0t
                                                   Did you have a 5-ster Ash today? Let us knew v2..-84= werff:44611
                                                                                                 • ..    *****

                 AMT
   SA           500.00 9/29/2021
                580.009/29/2021
   iANGE        (11.30)9/2912021
   YMENT COLLECTED BY: C. FAULCON


                                                                                CUSTOMER COPY




                                                                                                                                                         \\
                                                           10/28/22 Page 303                                                                    Of 375
                  Case1:22-cv-01989-GLR
                       1:23-cv-01795-JKB=Tent
                                         Document 1-7Filed
                                               58-1    Filed 07/05/23 Page  161 of 259
                 Case
    14011110 MECHOICE MRXIRE                                                                             vAliturp;i:       OMR1162WEgali
                                                                                  15311634

    COURTESY:INSPECTION i (iiill                          MOTORIST:OR.G                                                   ESTIMATE*
    NAME               • •            , PLATE .".:.` .: .. ,:.'/4' INSPECTION'DUE                                                          MILEAGE IN 4..1eirTYOer- Alt.
    V1N# If( 1'1 1 I I J I 1 •L 1 I I I '               1 1. 1 motNEsme                                                           sonc -DOM OM/ HYBRID IMEREL

    DASHBOARD UGHTS(CIRCLE
                    . .. ..
                                                  V 0 It al. OTHER
                            ANY CURRENTLY ON): a) A
    HUBCAP(S)MISSING?               • wiNotuan CRACKED?                                                                 SCRATCHES/DENTS?
    WIPEROLADES • LEI [if ttl I§ WEE HEADLIGHTS II I IJ1 f                                         MOB              KIIIIILIGHTS 11111 entimia eau

                          TIRE CHECKUP                      .                                                             BRAKE CHECKUP

      7 12 OR GREi-1 FR t   kag.."1:g1 ;YIP   J. 2/32" OR LESS                                        (DISC)0:N1OP OREA rT.P. OR ;OR1.1;." ..! 4'.1t,.. OR i'RE/VrER

     SIZE„-IfY:;-,/le / Ig              SPEED Ram                                                         .
                                                                                                          .. ,31iitA
     RUN FLAT Y N TPMB Y N FWD RWD 4WINAWD                                                               (DISC) 2Mtst OR LESS OR (DRUM) 1,6MM OR LESS
    it-
      F*1Fr • '. I•fi                       PSt Si     CIRCLE AU.THAT APPLY
    4-',Et.l...,•.. ,1,
                      6r       .ci ,;._,                                                              (1! LF PAD          tz•••        woe                 OUTER
                                                       EDGEVVEAR        CRACKING                                                                    /2
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     OUTER      INNER                                  CUTS             REPAIRABLE
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                     pl--                                                                   •0              RF ROVR         ""'"*.                              DISCARD
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            ENGINE AND EXHAUST SYSTEMS CHECKUP

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   II 03 Ill 00 IS[I3 Bil BELTS                                                             2.ADDRESS CUSTOMER REQUEST NE&NCONVENIENCE
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                                             7870 EASTERN AVE.                      PAGE 1
                   Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 162 of 259
                                             SHOP 417
                                             BALTINIORE,NID 21224
                                            (410)285-7576
  AUTO SERVICE MilTIRE CENTERS

  Guest ID:      0417819921                          Year        2012                                          Date/Time:       11/12/21 14:47:41
  Name:          KEENAN COFIELD                      Make:       MERCEDES-BENZ                                 EsUmate 8:       552805
  Address:       4109 GUTTY RD                       Model:      R350 4MAT1C                                   Invoice if:      480447
  Address 2:                                         Uc No:      TEMP                                          PO Number
 City.State,Zip: BALTIMORE,MD,21220                 VIN:         GET                                           Unit Number:
 Home Phone: (443)554-3715                          Color                                                      Email Address: none
 1Nork Phone: 0-                                    Engine:      VS 3.5L 24V DOHC ID-276.958                   FteetnNholesele: N
 Other Phone: 0-                                    Mileage In: 64130                                          Eat Created On: 11/12/21 10:13:18
 Tax Exempt#:                                       Mileage Out 64130
 Manager        CHRISTOPH FAULCON                   Inspect Due: 11/01/21
                                                                                                                                   I
 Services Requested:
   CHECK BRAKES
                                       Car                                                                                             I
 aftPart#                              Loc           Description                                                            Part       ! Labor        Amount
 The Pressure Spec: Not Available    Wheel Torque: Not Available

 INCLUDED WITH EVERY VISIT
  1 Cl                                        COURTESY INSPECTION                                                                                  NO CHARGE
  1 SM                                        SCHED. MAINT. REVIEW                                                                                 NO CHARGE
 SERVICE
  I SI                                        INSPECT BRAKES                                                                                   NO CHARGE
                                              TOTAL SERVICE:                                                                                         0.00

 BRAKES
 1   OUTBRAKEPAD                      P     GNAD1123 BRAKE PADS                                                          119.99          80.00          199.89
 2   OUTR                             F     Y/4200528 BRAKE ROTOR                                                        11200           38.00       • •300.00
 1   SFr                              F     BRAKE FLUID EXCHANGE                                                          65.99          69.00          134.99
 1   10335                            F     Clean and Luba Caliper Slides and braking system on opposite axle.             0.00          49.00           49.00
                                             Adjust brakes where applicable.
 1   OUTOR                            F     BRAKE SENSOR                                                                  47.19             0.00        47.19
                                       TOTAL FRONT BRAKES:                                                                                             731.17

                                               TOTAL BRAKES:                                                                                           731.17
 MISCELLANEOUS
 1 FEE                                      SHOP SUPPLY FEE This charge represents costs and profits to the               39.00             0.00        39.00
                                             motor vehicle repair facility for miscellaneous shop supplies or waste                     1
                                            disposal.
                                     TOTAL MISCELLANEOUS:                                                                                              39.00

""Customer Wishes To Discard Old Parts***


PAY TYPE: VI8A799.94 Date: 11/12/2021 APPROVAL if:saon ENTRY:CHIP
CREDIT CARD 8: XXXX-XXXX-)000(-9105
AID: A0000000980840 Terminal ID:090505001




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                                          INVOICE INVOICE MONRO MUFFLER/BRAKE & SERVICE INVOICE

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                   Case 1:23-cv-01795-JKB
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                                     \        Document 1-7 Filed 07/05/23 Page 163 of 259
                                        ......i   BM:MOREAU 21224
                                                 (410)285-7576
 AUTO SERVICE Aid TIRE CENTERS

Guest ID:       0417610921                             Year.       2012                                              Date/Time:          11/12./21 14:47:41
Name:           KEENAN COFIELD                         Make:       MERCEDES-BENZ                                     Estimate #:         552805
Address:        4109 CUT1Y RD                          Model:      R3504MAT1C                                        invoice #:          480447
Address 2:                                             Lic No:     TEMP                                              PO Number
City.State,Z1p: BALTIMORE.MD,21220                     VIN:        GET                                               Unit Number:
Home Phone: (443)554-3715                             Color                                                          Email Address:     none
Work Phone: 0-                                        Engine:      V6 3.5124V DOHC 10-276.958                        Fleet/Wholesale:   N
Other Phone: 0-                                       Mileage In: 94130                                              Est Created On:    11/12/2110:13:16
Tax Exempt#:                                          Mileage Out: 64130
Manager:        CHRISTOPH FAULCON                     Inspect Due: 11/01/21
SerAces Requested:
  CHECK BRAKES
                                        Car
Qt Past#                                Loc            Description                                                                  Part           Labor      Amount




                                                                                                                                           i   \
                                              INVOICE INVOICE MONRO MUFFLEIVBRAKE & SERVICE INVOICE
                                                                                                                               SUB TOTAL                      770.17
TECH:001396-0.00      B. ROSITZKY                                                                                              SALES TAX                       29.77
                                                                                                                               GRAND TOTAL                    799.94


       All parts are new unless otherwise specified.Pleasesee reversefor warranty details.
       I acknowledge that this invoice Is for services rendered by Wont° Inc.] and now.In acceptance ofsuch service, make payment In the amountset forth on
       thisInvoice. If there was an Increase in the original estimated price,
       I acknowledge notice and approval ofsuch Increase-X
                                                                              Guest Signature
       I certify that all repairs were properly completed.
                                                                            COPtartYAIAW2td nelreitaUtism
       CAUTION:Ownersof Meg,Custom,Alloy,or Dual Wheels must have lug-nuts retorqued after 25 miles or 24 hours1
       The Company will gladly reargue these lug-nuts once after the first 25 miles at no charge. x
                                                                                                               Guest Initials
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                                           Old you have a 5-ster visit today? tel us know '640..gie saisceeask
                                                                                                      sp*sr**

AY           AMT
ISA         799.94 11/12/2021
WMENT COLLECTED BY:C.FAULCON




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                                                           164
                                                         306    of 259
                                                             of 375
Case




EXHIBIT-3
M EDSTAR HEALTH
F ULL DISABILITY -LETTER
DATED DECEMBER 22, 2021


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   MedStar Health


  COFIELD, KEENAN KESTER
  4109 GUTTY SARK RD
  MIDDLE RIVER, MD 21220

  December 22,2021


 This patient has limited use of upper extremities which interferes with functionality at
 work and he is unable to return.

 Please contact 443-777-2000 with any concerns.




 Sincerely,



 Kelsey Chmielewski DO

9000 Franklin Square Dr.
Baltimore, MD 21237




Name:COSELO,KEENAN KESTER             Page 1 of 1                           DOE:04/13/1959
        Case                                         07/05/23Page
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 _ammoT.

  MedSiar Health


COFIELD, KEENAN KESTER
4109 CUTTY SARK RD
MIDDLE RIVER, MD 21220

October 27,2021


To Whom Lt May Concern:

This patient was seen at the Medstar Franklin Square Family Health Center.
Due to severe arm injury, patient should be excused from work for unknown amount of time.
Please excuse from work until otherwise authorized by medical professional.




Sincerely,




Pastel!, DO,Chrystal Lynette

9000 Franklin Square Drive 9101 Franklin Square Drive
                           Suite 300
Battirbore, MD'21237       Baltimore, MD 21237
                                                          jUU or .1 to
_Case 1:22-cv-01989-GLR Document 58-1 Filed 10/28/22 Page
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              EXHIBIT-4
             M EDSTAR HEALTH
             DR. DEIDRE AMMAH, MD (NEURLOGIST)
             12/13/2021-REPORT AND 2-MRI REPORTS
             FROM Advance Radiology
              Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 310
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                 1:22-cv-01989-GLR
         Case
        MedStar MMG Neurology at MGSH
         5601 Loch Raven Blvd                                                                         Neurology Office/Clinic Note
         Smyth Buliding,Suite 106                                                                    Visit Date: 12/13/2021 13:00
         Baltimore, MD,21239                                                            Scheduled Provider: Ammah,MD, Deldre J
        Phone: (410)823-3600      Fax: (410)823-3605




                                                        * Final Report *

     Chief Complaint                                                                       Problem List/Past Meds       .1 al History
     CC: Numbness/Coldness Bilateral Hands                                                 Onooinq
                                                                                              Allergic rhInitis
     h istory of PresentIllness                                                               At risk of venous thromimembolus
    The patient presents for follow-up appointment Of note, the patient had EMG NCS
    on 10/28/2021. This study revealed a severe right greater than left sensorimotor          Back spasm
                                                                                              Carpal tunnel syndrome
    neuropathy. In addition, there was etectrophysiologic evidence of a generalized
                                                                                              Cervical disc disease       •
    sensory neurupathy Invoking the bilateral upper extremities. There was chronic
    denervation detected in all the muscles tested In the bilateral upper extremities. A      Cervical  radictriopathy    1
    superimposed plexopathy and radiculopathy cannot be ruled out thus MRI of the             Cervical stenosis of spine
                                                                                              Complete rotator cuff tear of left
    brachial plexus as well as cervical spine were ordered.                                                            • t
                                                                                             shoulder
    Physical Exam                                                                             Erectile dysfunction I I
                                                                                             Eye pain
      Vitals & Measurements                                                                  Heart failure with reduced ejection
      12/13/2021 13:13 T:36.6 °C(97.9 °F)-                                                   fraction                   i
      Temporal Hit: 46 BP:138/76 Sp02:98%                                                    History of CORD            I
      H1': 188.0 cm(6 ft 2.in) Mtn 110.45 kg (242 ibs 15 oz) BMZ: 31.25 kg/m2                Hypercholesterolemia           \
      Pain Assessment                                                                        Hypertension                i 1
      Primary: Numeric Pain Score:9(12/13/21 13:13:00)                                      Immunization due
      Pain Present: Yes actual or suspected pain (12/13/21 13:13:00)                        Impingement syndrome,shoulder, left
   MSE: The patient was alert and oriented to person, place and time.                        Lumbar herniated disc ,
   CN: CN III, IV, VI: Eye movements were full and conjugate.                                Neck pain
       CN V: Facial sensation intact to temperature in V123  bilaterally.                    Numbness and tingling of upper
       CN VII: symmetric brow raise and eye closure                                         extremity
       CN VIII: Hearing intact to finger rub bilaterally.                                   Obesity                           i
       CN IX,X,XII: No dysarthria                                                           Paresthesia    of hand, bilateral
       Chi XI: Shoulder shrug is 5/5 bilaterally                                            Prostate cancer
   Motor: Strength is 5/5 in the BUE and BLE except 4445 finger flexion bilaterally         Prostattis
                                                                                            Pruribis
   and bilateral APB                                                                        Seasonal allergies
   Reflexes: 1+ bilateral upper extremity, 2+ bilateral patella.
   Sensation: Reports equal sensation to temperature in all 4extremities.                   Sensorimotor neuropathy
   Coordination: There was no dysmetria on finger-to-ear          or heel-to-shin.          Shoulder pain, left
   Galt:       Normal gait.                                                                 Spondylosts of cervical spine          .
                                                                                            Temporomandibular joint(TM.I)pain
  Piartfingt.liteStafi                                                                      Upper back pain
  EMG/NCS 10/28/2021                                                                     Historical
• InterpretAtion:                                                                           No qualifying data
  This is a very abnormal electrodiagnostic test. There is electrophysiological
  evidence of a severe right greater than left median sensorimotor neuropathy.           Pmcedure/Surgical History
   Unable to localize the right median neuropathy as there was no response in the        None
  sensory nor motor nerve conduction studies. The left median sensorimotor               Medications
  neuropathy is localizes to the wrist There is electrophysiological evidence of a       amLODIPine 10 mg oral tablet, 10 mg= 1
  generalized sensory neuropathy. The chronic denervation detected In all ofthe            tab, PO,Daily, 1 refills
  muscles tested in the bilateral upper extremities could be due to an underlying        aspirin 81 mg oral delayed release tablet,
  neuropathy however cannot rule out a superimposed piexopathy or radlculopathy in         81 mg= 1 tab, PO, Daily, 3 refills
  this patient"                                                                          atonrastatin 40 mg oral tablet, 40 mg= 1
                                                                                           tab, PO, Daily,3 refills              .
  MRI cervical spine with and without contrast 11/8/2021

                                                                                                                           •
COFIELD,KEENAN KESTER                                   GSH-00672648250                                                  EMFli 36263
DOB:     /1959                                   Printed on: 12/23/2021 9:21 EST                                          Page 1 of2


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           Case 1:22-cv-01989-GLR
   MedStar MMG Neurology at MGSH                     Neurology Office/Clinic Note             Visit Date: 12/13/2021 13:00
    "FINDINGS: There is stable cervical vertebral body height and alignment There is      arelastine 137 mcg/inh(0.1%)nasal
    stable homogeneous bone marrow signal without acute compression deformity                spray, 1 spray, Inhale-nasal, Daily
    fracture.                                                                             cetirizine 10 mg oral tablet, 10 mg= 1
    Evaluation of the paravertebral soft tissue structures is grossly unremarkable.          tab, PO, Daily
    C2-C3: Stable bulging annulus without significant neuroforaminal central spinal       didofenac 1% topical gel, I appl, TOP,
    stenosls.                                                                               4x/day,PRN
    C3-C4: Mild annular circumferential disc bulge in combination with bilateral          EpiPen 2-Pak 03 mg Injectable kit, 0.3
    uncovertebral spurring and disc osteophyte complexes results in stable bilateral         mg= I ea,IM, One Time, 1 refills
    neural foraminal stenosis, moderate to marked on the left and mild-to-moderate on fexofenadine 180 mg oral tablet, 180
   the right. Stable partial effacement of the ventral epidural CSF space with mild         mg= 1 tab, PO, Daily
   central spinal stenosis.                                                              Ronase 50 mcg/inh nasal spray, 2 intd,
   C4-C.5: Stable annular drcumferential disc bulge in combination with bilateral disc      Nasal, Daily, 3 refills, 2 inhalations per
   osteophyte complexes and uncovertebral spurring results in stable moderate to            nostril
   marked bilateral neural foramina,stenosis, right greater than left Stable mild to     furesemide 20 mg oral tablet, 20 mg= 1
   moderate central spinal stenosis.                                                        tab, PO, Daily           •
   C5-C6: Stable broad-based left paracentral disc protrusion in combination with        gabapentin 100 mg oral capsule, 100
   bilateral disc osteophyte complexes and uncovertebral spurring results in stable         mg= 1 cap, PO,3x/day
   moderate to marked right and moderate left neuroforaminal stenosis. Stable mild       Lidoderm 5% topical film, 1 patch,
  central spinal stenosis. Stable mild indentation upon the ventral cervical cord          TransDERMAL, Daily, apply up to 12h/d,
   witheytintrin.sic cord signal tinerrnafity,                            .     _          max 3 patches at.a time.            ..    •
   C6--C7: Diffuse annular drcumferendal disc bulge         ;table superimposed broad-   metoprolol succinate 25 mg oral tablet,
   based posterior disc protrusion with slight left paracentral disc extentin              extended release, 25 mg= 1 tab, PO,
  combination with bilateral uncovertebral spurring results in stable mild left neural     Daily
  foramina' stenosis. No significant right foramina'stenosis. Stable partial effacement potassium chloride 20 mEq oral tablet,
  of the ventral epidural CSF space with stable mild flattening of the ventral cervical    extended release, 20 mEq= 1. tab,PO,
  cord. Stable borderline central spinal stenosis. No intrinsic cord signal abnormality.   Daily, 3 refills
  C7-T1: Unremarkable                                                                    Qvar Refilhaler 90 mcg/inh Inhalation
  IMPRESSION: No significant change or acute abnormality when compared to                  aerosol,80 mcg= I inhl, Inhalation,
  6/30/2020 MRI cervical spine."                                                           2x/day, rinse mouth after use
                                                                                          Allergle*
 MRI brachial plexus 11/17/2021                                                           Mold (asthma trigger, Hayfever)
 "FINDINGS: Image quality is degraded by motion. Unremarkable appearance of the           Pollen (Hayfever)
 brachial plexus with no edema, mass or abnormal enhancement. No gross evidence           No Known Medication Allergies
 of left apical lung mass. No supradavicular adenopathy. No soft tissue edema or
 focal fluid collection. Visualized marrow signal is Maintained. Partially visualized
 degenerative changes within the cervical spine.
 IMPRESSION: Unremarkable MRI of the brachial plexus allowing for motion
  artifact"

  Amennent/Plan.
  1.Sensorimotor neuropathy G62.9
    Recommend blood work to evaluate for potentially treatable causes of
   Will check B1,66, BI2, MMA, hemoglobin Alc,T. pallidum, SPEP, and S IFE.
 2.Cervical radlculopathy M54.12
   Recommend patientsee spine specialist.
 3.Carpal tunnel syndrome G56.00
   Recommend patient sees orthopedic hand specialist.


Signature Line
Electronically signed by:

 Ammah, MD, Deldre 3 on: 12.20.2021 13:01 EST




COF1ELD, KEENAN KESTER                                 GSH-00672648250                                               . EMP1:36263
DOB:      /1959                                 Printed on: 12/23/2021 9:21 EST                                         Page 2 of 2
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                                      peva
                                              7253 Ambassador Road
                                              Baltimore. M021244 .




                 EXAM REQUESTED BY:
                                                                                     Patient:COFIELD,KEENAN
                 DEIDRE AMMAN MD                                                     Date of Birth:      -1959 ,
                 3304 GUILFORD AVE.                                                  Phone:(443)554-3715
                 STE.487                                                             MRN:75022475 Ace:18714145
                 BALTIMORE, MD 21218                                                 Data of Exam: 11-08-2021
                                                                                     Site: Mertitt Boulevard



         pIAM: MRI RIGHT BrACHIAL PLEXUS WITHOUT AND WITH CONTRAST
         HISTORY: Anesthesia of skirt Arm weakness. Radiating pain from shoulder to hands. Patient reports neck
         radiating into bilateral armslidth numbness and tingling. Symptoms since motor vehicle accident July 2021 fired
         September 2021, symptoms worse on the right side.
         TECHNIQUE A1.5 Testa system was utilized.
         IV Contrast: 23 ml of Ciariscan was injected from a 30 ml single use vial
         Multiplanar MR1 of the brachial plexus was performed Including T1-weighted and T2-weighted sequences. Images
         were obtained without and with intravenous contrast
        COMPARISON: No relevant studies available.
        FINDINGS: image quality Is degraded especially on coronet and sagittal sequences Taking this limitation into
        account, there is grossly normal caliber and °pacification of the right cervical neck vascutattue extending into the
        right thoracic Inlet and axlita
        There is no apprecia ..e abnormal mass or enhancement seen along the expected course of the right brachial
        plexus.
        Limited visualization of the rightlung apex is grossly unremarkable.
        There is homodeneout bone marrow signal without acute fracture at bone contusion Into account
        degenerative/arthritic Changes of the shoulder articulation.
        There is homogeneous appearance of the anterior and posterior right upper chest wall musculature. There are
        Incidental degenerativ,efosteophytic changes of the right shoulder articulation involving the acromlociavicular
        articulation anterior htlmeral head
       IMPRESSION:
       1. No appreciable maps or enhancementseen along the expected course of the right brachial plexus.
       2.Incidental degerrenitiveiarthritic changes of the right shoulder articulation as described above which Is not entirety
       Included on therfield 1-view.

                                 1
                  Patient records Including study Images and reports available through our web portal at
                     ! www.advancedradiologyconnectconl                   Phone:(410)918-3150
Pitntect 11-08-2021 1200PM                   COMA KEENAN(U=11484021 100O ?4
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               EXHIBIT-4
               MEDSTAR HEALTH
               DR. DEIDRE AMMAH, MD (NEURLOGIST)
              10/28/2021-FINAL REPORT AND ABNORMA
               ELECTRODIAGNOSTIC REPORT
              12/13/2021-FINAL REPORT


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    s Case
      MedStar Neurology at UMH
       3304 Guildford Ave                                                                           Neurology Office/Clinic Note
       Suite 487                                                                                   Visit Date: 10/28/2021 13:30
       Baltimore, MD.21218                                                            Scheduled Provider: Amman, MD,Deldre
      Phone: (410)554-2286               Fax: (410)554-2179




                                                       * Final Report*

  Electiodiagnostic Report

  Patient Keenan Coffeld
  DOS:04/13/1959
  Referring Provider: Deldre Ammah, MD                                                                            •
  Date of Exam: 10/28/2021

  Pertinent Mstory and f.a(arnination:
  Patient presents for eledrodiagnostic testing of the bilateral upper extremities. Patient reports numbness and tingling sensation
  that goes from his shoulder region and radiates to his distal hand. He reports symptoms are worse on the right Pitient does
  report some discomfort. On examination, the patient has a 5/5 strength In bilateral upper extremities except 4+5 strength with
  finger flexion bilaterally and with the bilateral APB. Reflexes were I+ In bilateral upper extremities. Patient reported equal
  sensation to pinprick In bilateral upper extremities.
  Test Resugs:
   Sensory Nerve Conduction Study

               —
  Nerve /          Rec. Site Onset tat Peak tat O-P Amp Segments                Distance Velocity
  Sites
                            WM          MS         pV                           an         m/s
  L Median - Din 11(Antidromic)

    Wrist      Index    NR             [NR         NR        jWrist - Index     14         NR
 .
 1 Uinar - Dig V(Antidromic)

    Wrist      Dig V   12.9     13.5
 L Radial "Superficial(Antidromic)
                                                   1.1.0      Wrist - Dig V     14       _149       1
    Forearm    Wrist   12               2,9     _141.4        Forearm - Wrist 5-
                                                                               .0        _146
 It Median - Dig U(Antidromic)

 I Wrist     Index   NR                 NR        NR          Wrist - Index    14          NR
 R Ulnar Dig V(Antidromic)

 I voist        Dig V    NR       NA              NR         Wrist - Dig V     14          NR
 R Radial - Superficial(Antidromic)

   Forearm     Wrist    2.2       2.8     24.4               Forearm - Wrist 10           46
 L Medial antebrachlat cutaneous -(Antidromic)

    Elbow      Forearm NR          NR      NR                Elbow - Forearm 10           NR
 L Lateral antebrachIat cutaneous -(Antidromic)

 1 Elbow        Forearm    NR          NR         NR         Elbow - Forearm 10           NR


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   medstgAgroWictv_tati1989-GLR
   it Medial a ntebrachlat cutaneous-(Antidromic)

   j Show        tForearm MR               NR             INR            Elbow - Forearm        10            INR
   it Lateral antebracbialcutaneous -(Antidromic)

     Elbow      Forearm       NR          AIR                NR          Elbow- Forearm 10                     NR


   Motor Nerve Conduction Study


   Nerve /      Muscle Latency Amplitude Segments                               Distance Lat Duff Velocity
   Sites        -      ..
                            ms      mV            - -                - - ---cm-- - Ins. •. m/s .....
  L Median - APB

  i Wrist     APB       _9.1       -
                                   .6.4                 Wrist- APB              7
                                                                                                                     -
    Elbow     APB        14.5       6.3                 Elbow - Wrist           24             5.4        44
   Ulnar - ADM

    Witt       ADM          3.3  6.3                    Wrist- ADM        7
    B.Elbow    ADM          7.6 .5.9                    B.Elbow - Wrist   23                   4.3        53
    A.Elbow    ADM          10.9 5.8                    A.Elbow - B.Elbow 17                   3.3        52
  R Median - APB

  1 Wrist       1AP8        NR      NR                  Wrist- APB              7
  ft Illnar - ADM

    Wrist      ADM          3.4    -8.2         Wrist - ADM       7
    B.Elbow    ADM          7.9     7.6         B.Elbow - Wrist _24
                                                '                                              4.6       53
    A.Elbow    ADM          10.3   6.8          A.Elbow - B.Elbow 12                           2.4       51


                        —
  EMS Summary
  Table
                                             jspontaneous                                            ,IMUAP                   Iltecnament
    Muscle      -—      /foie-- - Rill's— Y.A . Pi6- _ PSW
                                                        -  *Pass Other,Am_p                                         Dur. IIPP Pattern
    L.Deltoid           Axillary    C5-C6 NI None None ,None —         1+                                           NL    1+  Reduced
    L.Biceps brachil    Musculocut. F...5-C6 NI None -None ,None „.--  NL                                           il- L 1+ .Reduced
   L Extensor           Radial      C7-C8 NL Norte None None —         Ht.                                          NL    1+  Reduced
    diglterum
  ,communis                                       ..1        ..                                      1         'I
                                                                                           1

    L.First dorsal      Ulnar             C8-T1         NL        None   None       None       —         1+         NL   NL   Reduced
    interesseous
    L.Abductor petit&   Median        09-T1 NL None None                            None --              NL         NL   1+   Reduced
    brevls                           .                  ,
                                           --,
   1.. Cervical                       -        NI. None None                        None   —
   paraspinals(up)
                               •                                                                                              ,
   L Cervical                         -                 NL    None       None       None       —
  paraspinals(mid)
                                      -                 NL    None       None   None       —

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  MedStar Neurology at UMH               Neurology Office/Clinic Note    Visit Date: 10/28/2021 13:30

 Signature Line
 Electronically signed by:

 Ammah, MD, Deidre 3 on: 10.29.2021 09:28 EDT




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        5601 Loth Raven BlvdPY           Me"                                                         Neurology Office/Clinic Note •
        Smyth Building,Suite 106                                                                    Visit Date: 12/13/2021 13:00
        Baltimore, MD,21239                                                            Scheduled Provider: Ammah,MD, Deidre .f
       Phone: (410)823-3600                Fax: (410)823-3605




                                                       * Final Report*

    Chief Complaint                                                                        Problem List!Pest Medical History
    CC: Numbness/Coldness Bilateral Hands                                                ( )ming
                                                                                              Allergic rhinitis
    flistOry of Present Vness                                                                 At risk of venous thromboembolus
    The patient presents for follow-up appointment. Of note,the patient had EMG NCS
    on 10/28/2021. This study revealed a severe right greater than left sensorimotor          Back spasm
    neuropathy. In addition, there was electrophysiologic evidence of a generalized           Carpal  tunnel syndrome
    sensory neuropathy involving the bilateral upper extremities. There was chronic           Cervical disc disease
    denervation detected in all the muscles tested in the bilateral upper extremities. A      Cervical radiculopathY
                                                                                             Cervical stenosls of spine
    superimposed piexopathy and radiculopatily cannot be ruled out thus MRI of the
                                                                                             Complete rotator cuff tear of left
    brachial plexus as well as cervical spine were ordered.                                  shoulder
   Physical Exam                                                                             Erectife dysfunction
                                                                                             Eye pain
      V tIs & Measurements                                                                   Heart failure with reduc4d ejection
     12/13/2021 13:13 T: 36.6 °C(97.999 -                                                    fraction
     Temporal HR:46 B)': 138/76 Sp02:98%                                                     History of COPD
      HT: 188.0 cm (6 ft 2in) WT:110.45 kg (242 lbs 15 or) BMI: 31.25 kg/m2                  Hypercholesterolemia
     Pain Assessment                                                                         Hypertension
     Primary: Numeric Pain Score:9(12/0/21 13:13:00)                                        Immunization due
     Pain Present: Yes actual or suspected pain (12/13/21 13:13:00)                         Impingement syndrome,shoulder, left
   44SE: The patient was alert and oriented to person, place and time.                       Lumbar ttemiated disc
   CN: CN III, IV, VI: Eye movements were full and conjugate.                                Neck pain
          v:
      CN Facial sensation intact to temperature In        V123 bilaterally.                  Numbness and tingling of upper
      CN VII: symmetric brow raise and eye closure                                          extremity
       CN VIII: Hearing intact to finger rub bilaterally.                                   Obesity
      CN IX,X,XII: No dysarthria                                                            Paresthesia   of hand, bilateral
      CN XI: Shoulder shrug is 5/5 bilaterally                                              Prostate cancer
   Motor: Strength is 5/5 in the BUE and BLE except4445 finger flexion bilaterally          Prostatitis
                                                                                            Pruritus
   and bilateral APB                                                                        Seasonal allergies
   Reflexes: 1+ bilateral upper extremity, 2.1- bilateral patella.
  Sensation: Reports equal sensation to temperature in all 4 extremities.                   Sensorimotor neuropathy
   Coordination: There was no dysmetria on finger-to-ear or heel-to-shin.                   Shoulder pain, left
   Galt:      Normal gait.                                                                  Spondylosis of cervical spine
                                                                                            Temporomandlbular joint(TM)pain
  Pleonastic Results                                                                        Upper back pain
  EMG/NCS 10/28/2021                                                                     Historical
• "kiterPrdatIon:                                                                           No qualifying data
  This Is a very abnormal electrodiagnostic test. There Is electrophyslologIcal
  evidence of a severe right greater than left median sensorlmotor neuropathy.           pracedure/Suroical       History
  Unable to localize the right median neuropathy as there was no response in the         None
  sensory nor motor nerve conduction studies. The left median sensorimotor               Medications
  neuropathy is localizes to the wrist. There is electrophysiological evidence of a      amLODIPine 10 mg oral tablet, 10 mg= 1
  generalized sensory neuropathy. The chronic denervation detected In all of the           tab, PO, Deify, 1 refills
  muscles tested in the bilateral upper extremities could be due to an underlying        aspirin 81 mg oral delayed release tablet,
  neuropathy however cannot rule out a superimposed plexopathy or racliculopathy In        81 mg= 1 tab, PO, Daily, 3 refills
  this patient."                                                                         atorvastatin 40 mg oral tablet, 40 mg= 1
                                                                                           tab,PO, Daily, 3 refills
  MRI cervical spine with and without contrast 11/8/2021


COFIELD, KEENAN KESTER                                  GSH-00672648250                                                EMPI: 36263
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                                                    liciinFicileNdote10/     Visit Date: 12/13/2021 13:00
    "FINDINGS: There Is stable cervical vertebral body height and alignment. There Is     azelastine 137 mcg/inh(0.1%)nasal
    stable homogeneous bone marrow signal without acute compression deformity                spray, 1 spray, Inhale-nasal, Daily
    fracture.                                                                             cetirizIne 10 mg oral tablet, 10 mg= 1
    Evaluation of the paravertebral soft tissue structures Is grossly unremarkable.          tab,PO, Daily
    C2-C3: Stable bulging annulus without significant neuroforaminal central spinal       didofenac 1% topical gel, 1 app), TOP,
   stenosis.                                                                                 4x/day,PRN
    C3-C4: Mild annular circumferential disc bulge in combination with bilateral          EpiPen 2-Pak 0.3 mg injectable kit, 0.3
    uncovertebral spurring and disc osteophyte complexes results in stable bilateral         mg= 1 ea,IM, One Time, 1. refills
    neural foramina'stenosis, moderate to marked on the left and mild-to-moderate on fexofenadine 180 mg oral tablet, 180
   the right. Stable partial effacement of the ventral epidural CSF space with mild          mg= 1 tab, PO, Daily
   central spina/ stenosts.                                                               Fionase SD mcg/inh nasal spray, 2 inhi,
   C4-CS: Stable annular circumferential disc bulge in combination with bilateral disc       Nasal, Daily, 3 refills, 2 inhalations per
   osteophyte complexes and uncovertebral spurring results in stable moderate to             nostril
    marked bilateral neural foramina'stenosis, right greater than left. Stable mild to   furosemide 20 mg oral tablet, 20 mg= 1
    moderate central spinal stenosis.                                                       tab, PO, Dally
    C5-C6: Stable broad-based left paracentral disc protrusion In combination with       gabapentln 100 mg oral capsule,100
   bilateral disc osteophyte complexes and unoavertebral spurring results in stable          mg= 1 cap, PO,3x/day
   moderate to marked right and moderate left neuroforaminal stenosis. Stable mild       Udoderm 5% topical film, 1 patch,
   central spinal stenosis. Stable mild indentation upon the ventral cervical cord          TransDERMAL, Daily, api3ly:up to 12h/d,
   withoyt Intrinsic cord signal ab.porn3ality,      .                              .      .max.3 patches at.a time             _ • •—
   C6-C7: Diffuse annular circumferential disc-bulge with stable superimposed
                                                                       —          broad- metoprolol succinate 25 mg oral tablet,
   based posterior disc protrusion with slight left paracentral disc extent in              extended release, 25 mg= 1 tab, PO,
  combination with bilateral unccrvertebral spurring results in stable mild left neural     Daily
  foramina'stenosis. No significant right foramina'stenosis. Stable partial effacement potassium chloride 20 mEq oral tablet,
  ofthe ventral epidural CSFspace with stable mild flattening of the ventral cervical       extended release, 20 mEq= 1 tab, PO,
  cord. Stable borderline central spinal stenosis. No intrinsic cord signal abnormality.    Daily, 3 refills
  C7-T1: Unremarkable                                                                    Qvar Redihaler 80 mcg/inh Inhalation
  IMPRESSION: No significant change or acute abnormality when compared to                   aerosol, 80 mcg= 1 inhl, Inhalation,
  6/30/2020 MRI cervical spine."                                                           2x/day, rinse mouth after use

  MRI brachial plexus 11/17/2021
                                                                                          Atievies
                                                                                          Mold (asthma bigger, Hayfever)
  "FINDINGS: Image quality Is degraded by motion. Unremarkable appearance of the          Pollen (liayfever)
  brachial plexus with no edema, mass or abnormal enhancement. No gross evidence          No Known Medication Allergies
  of left apical lung mass. No supraclavicular adenopathy. No soft tissue edema or
  focal fluid collection. Visualized marrow signal is maintained. Partially visualized
  degenerative changes within the cervical spine.
  IMPRESSION: Unremarkable MRI of the brachial plexus allowing for motion
  artifact."

  Assessment/Plan

  1.Sensorimotor neuropathy G62.9
    Recommend blood work to evaluate for potentially treatable causes of

    Will check 31, 36, 312, MMA,hemoglobin Alc,T. pallIdum,SPEP, and S IFE.
  2. Cervical radiculopathy M54.12
    Recommend patient see spine specialist.
  3.Carpal tunnel syndrome G56.00
    Recommend patient sees orthopedic hand specialist.


Signature Line
Electronically signed by:

 Ammah, MD, Deldre J on: 12.20.2021 13:01 EST
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COFIELD,KEENAN KESTER                                  GSH-00672648250                                                  EMPI: 36263
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EXHIBIT-5
MEDSTAR HEALTH
DR. DAVID A. COHEN, MD(ORTHOPEDIC
SURGEON)
12/22/2021.-FINAL REPORT
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                                    Document         Filed 07/05/23 Page 178 of 259
          Case
     Monster Orthopaedic institute at MFSMC
      9101 Franklin Square Drive                                                                   Orthopedic Office/Clinic Note
      Suite 200                                                                                    Visit Date: 12/22/2021 13:45
      Baltimore, MD,21237                                                              Scheduled Provider: Cohen, MD, David A.
     Phone: (443)777-6788        Fax: (844)606-5109




                                                      * Final Report*

  Chief Complaint                                                                          Problem Usttpast Medical History
  New Bilateral Shoulder Pain                                                              Ongoing
   frifsi•ory of PresentIllness                                                               Allergic rhinitis
   This is a 62-year-old right-hand-dominant male who presents with bilateral shoulder        At risk of venous thromboembolus
   pain. He was involved in a motor vehicle accident over the summer In Illy. He has          Back spasm
   had pain in both shoulders. Initially was worse than the left but now is getting pain      Carpal tunnel syndrome
   in the right as well. He went through physical therapy for 18 visits but said that it     Cervical  disc disease
  actually made things worse. He had seen Dr. Allaee who gave him an Injection in            Cervical radfculopathy
                                                                                           • Cervical stenosis of spine
  the left shoulder which did help reduce some of the pain. He still has difficulty
  sleeping at night and with overhead activities. He recently had MRIs of both               Complete rotator cuff tear of left
                                                                                             shoulder
  shoulders. I reviewed the MIlls from advance radiology as well as the reports and
                                                                                             Erectile dysfunction
  gave my own independent reading. He has evidence of an anterior supraspinatus              Eye pain
  tear In both shoulders about 1-1/2 cm. There is signs ofsome impingement.
                                                                                             Heart failure with reduced ejection
  inflammation along the biceps tendon. The findings are very symmetric in both
                                                                                             fraction
  shoulders.
                                                                                             History of COPD
  Hand Dominance: Right                                                                      Hypercholesterolemia
  Occupation: Retired                                                                        Hypertension
  Orthopedic Injury: Yes                                                                     Immunization due
 Physical Exam                                                                               Impingement syndrome, shoulder, left
                                                                                             Lumbar herniated disc
     Vital§& Measurements                                                                    Neck pain
     12/22/2021 08:47 HT: 187 cm (6 It 2 in) WT:107 kg (235 lbs 6                            Numbness and tingling of upper
     oz) BIM:30.6 kg/m2                                                                     extremity
 Patient's neck Is supple nontender. He has full range of motion negative Spurting          Obesity
 sign. He has full forward flexion abduction both shoulders but significant pain. He        Paresthesia of hand, bilateral
 has normal strength In deltoid but pain and weakness with supraspinatus testing            Prostate cancer
 bilaterally. There is crepitus and a click felt over the greater tuberosity In both        Prostatitis
 shoulders. He has pain with both Neer and Hawkins impingement signs as well as             Pruritus
 the O'Brien's test. He otherwise has a normal neurological vascular exam.                  Seasonal allergies
 Assessment/Plan                                                                            Sensorimotor neuropathy
                                                                                            Shoulder pain, left
 .
 1. Complete rotator cuff tear of left shoulder M75.122                                     Spondylosis of cervical spine
     The patient has rotator cuff pathology and tears In both shoulders. He was             Temporomandibularjoint(TM)) pain
    recently diagnosed with prostate cancer and is in the process of getting that           Upper back pain
    treated. He would like to consider surgery but wants to get through that process Historical
    first. He elected for an Injection of the right shoulder today. A time out was          No qualifying data
    called to verify the site and procedure. Under sterile conditions 40 mg of Kenalog procedure/Surgical History
    and 3 ml's of I% tidocaine were Injected in the noted joint/area. The injection      None
    was tolerated well and a barxiald was applied. The patient will follow up in 4 to 6
    weeks. Once he has a clear idea of how his prostate treatment is going to go he Medications
    will consider surgery. He would like to think about surgery sometime next year.      amt.ODIPine 10 mg oral tablet, 10 mg= I
    We did brief discussion about the surgery and told him that we would do I and          tab, PO, Daily, 1 refills
   then possibly 6 to 8 weeks later we could do the other side.                          aspirin 81 mg oral delayed release tablet,
    Ordered: Return to Clinic                                                              81 mg= 1 tab, PO, Daily,3 refills
                                                                                         atorvastatin 40 mg oral tablet,40 mg= I
                                                                                           tab, PO, Daily, 3 refills
 2
 .Right rotator cuff tear M75.101
    Ordered: Bill For Arthrocentesis Aspir&/Inj Major ,3t/Bursa W/O Us AMB - 20610

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  MedStar Orthopaedic Institute at      Orthopedic Office/Clinic Note       Visit Date: 12/22/2021 13:45
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              Return to Clinic                                           azelastine 137 mcg/lnh(0.1%)nasal
                                                                            spray, 1 spray,Inhale-nasal, Daily
                                                                         cetrIzine 10 mg oral tablet, 10 mg= 1
                                                                            tab, PO, Daily
                                                                         dlciofenac 1%topical gel, 1 app),TOP,
                                                                           4x/day, PRN
                                                                         EpiPen 2-Pak 0.3 mg injectable Idt, 0.3
                                                                            mg= 1 ea,IM,One Time,1 refills
                                                                        fexofenadine 180 mg oral tablet, 180
                                                                            mg= 1 tab,PO, Daily
                                                                        Fionase 50 mcg/Inh nasal spray, 2 inhi,
                                                                            Nasal, Daily, 3 refills, 2 Inhalations per
                                                                            nostril
                                                                        furosemide 20 mg oral tablet, 20 mg= 1
                                                                           tab,PO, Daily
                                                                        gabapentin 100 mg oral capsule, 100
                                                                           mg= 1 cap, PO,3x/day
                                                                        ibuprofen 600 mg oral tablet
                                                                        Udoderm 5% topical film, 1 patch,
                                                                           TransDERMAL, Daily, apply up to 12h/d,
                                                                           max 3 patches at a time
                                                                        metoprold succinate 25 mg oral tablet,
                                                                           extended release, 25 mg= 1 tab, PO,
                                                                           Daily
                                                                        potassium chloride 20 mEq oral tablet,
                                                                           extended release, 20 mEq= 1 tab, PO,
                                                                           Daily, 3 refills
                                                                        Qvar Redlhaler 80 mog/Inh inhalation
                                                                           aerosol,80 mcg= 1 inhl, Inhalation,
                                                                           24day, rinse mouth after use
                                                                        Allereies
                                                                        Mold (asthma trigger, Hayfever)
                                                                        Pollen (Hayfever)
                                                                        No Known Medication Allergies
                                                                        Sodal History
                                                                          Scnoking Status
                                                                            Never smoker
                                                                        Alcohol
                                                                          Use: Denies.
                                                                        gmolovment/Schott
                                                                          Status: Off work temporarily.
                                                                        exercisq
                                                                          Frequency: 1-2 times/week.
                                                                        Substance Use
                                                                          Use: Denies.
                                                                        Tobacco/Nicotine
                                                                          Use: Denies.
                                                                        Family History
                                                                        Diabetes mellitus: Mother and Father.
                                                                        FIBP (high blood pressure) • Mother
                                                                          and Father.
                                                                        Review of Systems
                                                                        Headache: Denies
                                                                        Eyesight Problems: Denies
                                                                        Swallowing Problems: Denies
                                                                        Chest Pain: Denies

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COFIELD,KEENAN KESTER                        FSH-00674340815                                            gNiPI: 36263
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 MFSMC                       Orthopedic Office/Clinic Note      Visit Date: 12/22/20211 13:45
                                                                         Shortness of Breath: Denies
                                                                         Diarrhea: Denies
                                                                         Constipation: Denies
                                                                         Poor Circulation: Denies
                                                                         Blood in Stool: Denies
                                                                         Ulcers: Denies
                                                                         Painful Urination: Denies


 Signature Line
 Electronically signed by:

  Cohen, MD,David A. on: 12.22.2021 16:11 EST




COF1ELD,KEENAN KESTER                         FSH-00674340815                                          EMPI: 36263
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EXHIB1T-6
M EDSTAR HEALTH
DR. ALAEE, MD(ORTHOPEDIC SURGEON) i
12/20/2021-FINAL REPORT




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   " Nleutar 0...
              ribopaeclic Institute at NIFSMO
      9101 Franklin Square Drive                                                                  Orthopedic Office/Clinic Note
      Suite 200                                                                                   Visit Date: 12/20/2021 10:45
      Baltimore, MD,21237                                                              Scheduled Provider: Alaee, MD, Farhang
     Phone: (443)777-6788        Fax: (844)606-5109




                                                     * Final Report*

  OW Complaint                                                                          problem List/Past Medical History
  F/U Rt. Shoulder/ MRI review                                                          Onnoinq
                                                                                          Allergic rhinitis
  HIggnsktemssanagog  i                                                                   At risk of venous thrombbembolus
  Patient is here for review of MR!results and evaluation of his left shoulder. He        Back spasm
  continues to have significant pain in left shoulder. We had given him an injection      Carpal tunnel syndronie
   which helped to some extent. However he thinks that therapy Is actually                Cervical disc disease 1
  exacerbating his pain. He is feeling pain over the anterior lateral and top ofthe       Cervical radlculopathy
  shoulder. Sometimes pain in the neck as well. MRIs from both shoulders have             Cervical stenosis of spine
  been done which show rotator cuff tears.                                                Complete rotator cuff tear of left
  Hand Dominance: Right                                                                  shoulder
  Occupation: Retired / Phychologist                                                      Erectile dysfunction
  Orthopedic Injury: Yes                                                                  Eye pain
  Pilysical Exam                                                                          Heart failure with reduced ejection
                                                                                         fraction
    Vitals & Measurements                                                                History of COPD
    12/20/2021 10:26 HT: 187 cm (6 tt 2 in) WI:107 kg(235 lbs 6                          Hypercholesterdemia
    oz) BMX;30.6 kg/m2                                                                   Hypertension
  Examination of the left shoulder reveals pain with abduction forward elevation.        Immunization due
   Some tenderness to palpation laterally and anteriorly. He has good strength           Impingement syndrome, shoulder, left
  around his shoulder.                                                                   Lumbar herniated disc
  plagEmftic Results                                                                     Neck pain
  MR1 as above                                                                           Numbness and tingling of upper
                                                                                         extremity
  Assessment/Plan                                                                        Obesity
                                                                                         Paresthesia of hand, bilateral
  1.Impingement syndrome,shoulder, left M75.42                                           Prostate cancer
     At this pointI think he he should be referred to one of my shoulder specialist      Prostatitis
   colleagues to consider arthroscoplc debridement/repair. He has not responded          Pruritus
   favorably to nonoperative treatment. In the meantime I                                Seasonal allergies
    recommended continued gentle exercises and Tylenot/Motrin for pain.                  Sensortmotor neuropathi
  • Ordered: Return to Clinic                                                            Shoulder pain, left
                                                                                         Spondylosis of cervical spine
                                                                                         Temporomandibular joint(TM))pain
                                                                                         Upper back pain
                                                                                       Historical
                                                                                         No qualifying data
                                                                                       Procedure/Suroical History
                                                                                       None
                                                                                       Medications
                                                                                       amLODIPine 10 mg oral tablet, 10 mg= 1
                                                                                         tab, PO, Daily, 1 refills
                                                                                       aspirin 81 mg oral delayed release tablet,
                                                                                         81 mg= 1 tab, PO, Daily, 3 refills
                                                                                       atorvastatin 40 mg oral tablet,40 mg= 1
                                                                                         tab, PO, Daily, 3 refills



CORELD,KEENAN KESTER                                   FSH-00674040076                                               EMPI:36263
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  medsGia5RhaladOlicaritl9_at-GLR
                                   Orthopedic Office/Clinic Note   ,   Visit Date: 12/20/2021 10:45
 MFSMC
                                                                    azelastIne 137 incg/inh(0.1%) nasal
                                                                       spray, 1 spray, Inhale-nasal, Daily
                                                                   cedrizine 10 mg oral tablet, 10 mg= 1
                                                                       tab, PO, Daily
                                                                   didofenac 1% topical gel, 1 appl,TOP,
                                                                      4x/day,PRN
                                                                   EpiPen 2-Pak 03 mg injectable kit, 0.3
                                                                       mg= I ea,IM, One'Time, 1 refills
                                                                   fexofenadine 180 mg oral tablet, 180
                                                                       mg-= 1 tab, PO, Daily
                                                                   Flonase 50 mcg/inh nasal spray, 2 IAN,
                                                                       Nasal, Daily, 3 refills, 2 inhalations per
                                                                      nostril                   I
                                                                   furosemide 20 mg oral tablet, 20 mg= 1
                                                                      tab,PO, Daily
                                                                   gabapentin 100 mg oral'capsule, 100
                                                                      mg= 1 cap, PO,3x/day 1
                                                                   Lidoderm 5% topical film, 1 patch,
                                                                      TransDERMAL, Daily, apply up to 12h/d,
                                                                      max 3 patches at a time
                                                                   metoproloi sucdnate 25 mg oral tablet,
                                                                      extended release, 25 mg= 1 tab, PO,
                                                                      Daily
                                                                   potassium chloride 20 mEg oral tablet,
                                                                     extended release, 20 mEq= 1 tab, PO,
                                                                      Daily, 3 refills
                                                                   Qvar Redihaler 80 mcg/inh inhalation
                                                                     aerosol,80 mcg= 1 inhl, Inhalation,
                                                                     2x/day, rinse mouth after use
                                                                   Allergies
                                                                   Mold (asthma trigger, Hayfever)
                                                                   Pollen (Hayfever)
                                                                   No Known Medication Allergies
                                                                   Social History
                                                                     Smoking Status
                                                                       Never smoker
                                                                   Alcohol
                                                                     Use: Denies.
                                                                   Employment/School
                                                                     Status: Off work temporarily.
                                                                   Exercise
                                                                     Frequency: 1-2 times/week.
                                                                   Substance Use
                                                                     Use: Denies.
                                                                   Tobacco/Nicotine
                                                                     Use: Denies.
                                                                   Family History
                                                                   Diabetes mellitus: Mother and Father.
                                                                   HBP(high blood pressure) • Mother
                                                                     and Father.
                                                                   Review of Systems
                                                                   Headache: Denies
                                                                   Eyesight Problems: Denies
                                                                   Swallowing Problems: Denies
                                                                   Chest Pain: Denies
                                                                   Shortness of Breath: Denies


COFIELD,KEENAN KESTER                   FSH-00674040076                                           EMPI: 36263
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            Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 184 of 259
                                                                              Diarrhea: Denies
                                                                              Constipation: Denies
                                                                             Poor Circulation: Denies
                                                                             Blood in Stool: Denies
                                                                             Ulcers: Denies
                                                                             Painful Urination: Denies
                                                                             As per HP1

     Signature Line
     Electronically signed by:

    Alaee, MD,Farhang on: 12.2
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EXHIBIT-7
M E DSTAR HEALTH
DR. ALAEE, MD(ORTHOPEDIC SURGEON)
11/08/2021-FINAL REPORT
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            Case 1:22-cv-01989-GLR

     MedStar Orthopaedic Institute at MFSMC
      9101 Franklin Square Drive                                                                         Orthopedic Office/Clinic Note
      Suite 200                                                                                         Visit Date: 11/08/2021 14:30
      Baltimore, MD,21237                                                                    Scheduled Provider: Alaee, MD, Farhang
     Phone: (443)777-6788        Fax: (844)608-6109




                                                       * Final Report *

   Chief Complaint                                                                             Problem List/Past Medical %story
   Follow up Shoulder/neck pain                                                                Qncioinq
                                                                                                  Allergic rhinitis
   History of PresentIllness
   Patient is here for follow-up evaluation of left shoulder pain. We had seen him in            At risk of venous thromboembolus
  the past and with suspicion of cuff tear, he had an MRI. MRI showing tear of the               Back spasm
                                                                                                 Carpal tunnel syndrome
  supraspinatus tendon also inflammation around the biceps tendon. Is doing some
  therapy, however feels a lot of discomfort in the shoulder superiorly and also on the          Cervical disc disease
  lateral aspect ofthe arm. He is also undergoing some evaluatiOns by neurologist                Cervical radiculopathy
  for tingling in the hands bilaterally. He Is here for further treatment of his shoulder.       Cervical stenosis of spine
                                                                                                 Complete rotator cuff tear of left
  Hand Dominance: Right                                                                          shoulder
  Occupation: Retired
                                                                                                 Erectile dysfunction
  Onset of Symptoms: 07-20-2021                                                                  Eye pain
  Orthopedic Injury: Yes                                                                         Heart failure with reduced ejection
  Orthopedic Injury Description: twisted upper body while driving
                                                                                                fraction
  Physical Exam                                                                                  History of COPD
                                                                                                 Hypercholesterotemia
    Vitals &Measuremenjs                                                                         Hypertension
    11/08/2021 14:52 HT:187 an(6 ft 2 in) WT:110 kg (242 lbs) BMI: 31.46                         Impingement syndrome, shoulder, left
    kg/m2                                                                                       Lumbar herniated disc
   Pain Assessment                                                                              Neck pain
   Numeric Pain Score: 10                                                                       Numbness and tingling of upper
   Orthopedic Pain Character: Aching                                                            extremity
   Primary: Numeric Pain Score: 10(11/08/21 14:52:00)                                           Obesity
 Examination of the left shoulder reveals good passive range of motion, passive                 Paresthesia of hand, bilateral
 motion above 90 degrees of abduction and forward fledon causes some pain. He                   Pruritus
 has pain and some weakness with external rotation as well. Distal neurovascular                Seasonal allergies
 function within normal limits.                                                                 Shoulder pain, left
                                                                                               Spondylosts of cervical spine
 piaanostic Results                                                                            Upper back pain
 MR/ as above                                                                                Historical
                                                                                               No qualifying data
 Procedure
 Today, after obtaining consent,the patient underwent a corticosterold Injection into        procedure/Suroical History
 the L shoulder subacromial region to help decrease joint pain. The area was                 None
 prepped in sterile fashion using three Alcohol swabs. Using a 226 x 1/ 1
                                                                        2"needle,
 the joint was accessed via the lateral approach. 5 cc ofthe injectable solution was          Medications
 dispersed without difficulty. The solution consisted of 1.0 cc/40 mg of Kenalog and         amLODIPine 10 mg oral tablet, 10 mg= 1
 2 cc of0.25% preservative-free Marcaine and 2 cc of1% plain Udocalne. Sterile                  tab,PO, Daily, 1 refills
 dressing was applied and the patient tolerated the procedure without difficulty.            aspirin 81 mg oral delayed release tablet,
                                                                                               81 mg= 1 tab, PO, Daily, 3 refills
 Assessment/Plan                                                                             atorvastatin 40 mg oral tablet,40 mg= 1
                                                                                                tab, PO, Daily, 3 refills
 1.Complete rotator cuff tear of left shoulder M75.122                                       azelastine 137 mcg/inh(0.1%)nasal
   My recommendation at this point is for him to receive a corticosteroid injection            spray, 1 spray, Inhale-nasal, Daily
  and start some therapy for strengthening and range of motion. I explained that             cefdinir 300 mg oral capsule, 300 mg= 1
  iftherapy and injection are not helpful in relieving his symptoms, he may be                 cap, PO, ci12h
  candidate to be referred to shoulder specialist for arthroscopic repair. Continue          cetbizine 10 mg oral tablet, 10 mg= 1
  Tylenol Motrin as needed for pain.                                                           tab,PO, Daily


COFIELD,KEENAN KESTER                                   FSH-00667918056                                                    EMPI: 36263
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                                              Filed    07/05/23       187 of 259
   medVaGethisplasyraanpLR
 oriFsMC                                         Orthopedic Office/Clinic Note            Visit Date: 11/08/2021 14:30

    Ordered: Marcaine HO 0.25% injectable solution,4 mt., Inj, IntraARTICular,     diclofenac 1% topical gel, 1 app!, TOP,
             One Time, Routine 11/08/21 15:17:00 EST,Stop: 11/08/21 15:17:00          4x/day, PRN
             EST                                                                   Ep)Pen 2-Pak 0.3 mg Injectable kit, 0.3
             lidocaine 1% injectable solution,4 ml,Inj, IntraARTICular, One Time,     mg= 1 ea,IM, One Time,1 refills
             Routine 11/08/21 15:17:00 EST,Stop: 11/08/21 15:17:00 EST             fexofenadine 180 mg era) tablet, 180
             Kenalog-40 injectable suspension,40 mg = 1 mt., Inj, IntraARTICular,     mg= 1 tab, PO,Daily
             One Time, Routine, 11/08/21 15:17:00 EST,Stop: 11/08/21 15:17:00 Fionase 50 mcg/inh nasal spray, 2 inhi,
             EST, 11/08/21 15:17:00 EST                                               Nasal, Daily, 3 refills, 2 inhalations per
             Bill For Arthrucentesis AspIrP4Inj Major 3t/8ur5a W/O Us AMB - 20610     nostril
             Referral to MedStar Physical Therapy                                 furosemlde 20 mg oral tablet, 20 mg= 1
             Return to Clinic                                                        tab,PO, Dally
                                                                                  gabapentln 100 mg oral capsule, 100
                                                                                      mg= 1 cap, PO, 3x/day
                                                                                  Kenalog-40 injectable suspension, 40
                                                                                     mg= 1 ml,IntraARTiCular, One Time
                                                                                  Moraine 1% injectable solution,40 mgr--
                                                                                     4 ml,IntraARliCulart One Time
                                                                                  Udoderm 5% topical film, 1 patch,
                                                                                     TransDERMAL, Daily, apply up to 12h/d,
                                                                                     max 3 patches at a time
                                                                                  Marcaine HO 0.25% injectable solution, 4
                                                                                          IntraARTICular, One lime
                                                                                  metoprolol succinate 25 mg oral tablet,
                                                                                     extended release, 25 mg= 1 tab, PO,
                                                                                     Daily
                                                                                  potassium chloride 20 mEq oral tablet,
                                                                                     extended release, 20 mEq= 1 tab, PO,
                                                                                     Dally, 3 refills
                                                                                  Qvar Redihater 80 mcg/inh inhalation
                                                                                     aerosol, 80 mcg= 1 inhl, Inhalation,
                                                                                     2x/day, rinse mouth after use
                                                                                     Mieroles
                                                                                     Mold (asthma trigger, Hayfeier)
                                                                                     Pollen (Hayfever)
                                                                                     No Known Medication Allergies
                                                                                     Social History
                                                                                       Smoking Status           4
                                                                                          Never smoker
                                                                                     Alcohol
                                                                                       Use: Denies.
                                                                                     Employment/School
                                                                                       Status: Off work temporarily.
                                                                                     Exercise
                                                                                       Frequency: 1-2 times/week.
                                                                                     Substance Use
                                                                                       Use: Denies.
                                                                                     Tobacco/Nicotine
                                                                                       Use: Denies.
                                                                                     Family History
                                                                                     Diabetes mellitus: Mother and Father.
                                                                                     HBP(high blood pressure) • Mother
                                                                                       and Father.
                                                                                     Review ofSystems
                                                                                     Headache: Denies
                                                                                     Eyesight Problems: Denies
                                                                                     Swallowing Problems: Denies


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  MedStar Orthopaedic institute at
 MFSMC                                   Orthopedic Office/Clinic Note      Visit Date: 11/08/2021 14:30

                                                                         Chest Pain: Denies
                                                                         Shortness of Breath: Denies
                                                                         Diarrhea: Denies
                                                                         Constipation: Denies
                                                                         Poor Circulation: Denies
                                                                         Blood in Stool: Denies
                                                                         Ulcers: Denies
                                                                         Painful Urination: Denies
                                                                         As per HP1


 Signature Line
 Electronically signed by:

 Alaee, MD,Farhang on: 11.08.2021 15:20 EST




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                                                MONRO MUFFLER/BRAKE & SERVICE




 AUTO SERVICE Aid TIRE CENTERS
                               N,              (
                                                7870 EASTERN AVE.
                                                SHOP 417
                                                B4A10L T1)28M50
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                                                                               •                 PAGE 2




 Guest ID:       0417519921                             Year         2012                                             Date/Time:       09/29/21 15:30:10
 Name:           KEENAN COFIELD                         Make:        MERCEDES-BENZ                                    Estimate          552027
 Address:        4109 GUTTY RD                          Model:       R350 4MATIC                                      invoice           479998
 Address 2:                                             Lie No:      TEMP                                             PO Number
 Cily,State,Zip: BALTIMORE, MD,21220                    VIN:         GET                                              Unit Number:
 Home Phone: (443)554-3715 ,                            Color                                                         Email Address: none
 Work Phone: 0 -                                        Engine:      VS 3.51 24V DOHC I0-276.956                      Flael/Wholesale:
 Other Phone: 0-                                        Mileage In: 62151                                             Est Created On: 09/25/21 13:02:48
 Tax Exempt #:                                          Mileage Out: 62151
 Manager:        CHRISTOPH FAULCON                    . Inspect Due: 09/01/21
                                                         •
 Services Requested:
    CHECK BRAKES
                                         Car
Qty Part#                                Loc             Description                                                                  Part        Labor         Amount




                                                                                                                                              1




                                                INVOICE INVOICE MONRO MUFFLER/BRAKE a SERVICE INVOICE
                                                                                                                                 SUB TOTAL                  1,025.84
TECH:001396-0.00        8. ROSITZKY                                                                                              SALES TAX                     42.86
                                                                                                                                 GRAND TOTAL                1,068.70


         All parts are new unless otherwise specified. Please see reversefor warranty dettli:'‘ •
         I acknowledgethat this Invoice is for %entices rendered by Worms Inc.) and now,1p acceptance ofsuch service, make pajtment In the amountset forth on
         this invoice. If there was an increase in the original estimated Price,
         I acknowledge notice and approval of such increase x
                                                                                 Guest Signature
         I certify that all repairs were properly completed.
                                                                                    coppasvAuthartzetteorestnireve
         CAUTION:Owners of Meg,Custom,Alloy,or Dual Wheels must have lug.nuts retorqued after 25 miles or 24 hours!
         The Company will gladly retorque these lug-nuts once after the first 25 miles at no charge. x
                                                                                                                             Guest Initials
                                                   /
                                                                                            crle
                                                   Did you have a 5-star visit today? Let us know
                                                                                                          !,..
                                                                                                                 Infarited
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PAY            AMT
VISA          500.009a9/2021
CASH          580.009/29/2021
CHANGE        (11.30)9/29/2021

PAYMENT COLLECTED BY: C. FAULCON


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    Case 1:23-cv-01795-JKB Document  MUFFLER/BRAKE    & SERVICE
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     M N                      7870 EASTERN AVE.
                              SHOP 417
                              BALTIMORE,MD 21224
                             (410)285-7576
     AUTO SERVICE Ad TIRE CENTERS
                                                                      PAGE 1




    . Guest ID:      0417619821                         Year         2012                            Date/Time:       09/29/21 15:30:10
      Name:          KEENAN COFIELD                     Make:        MERCEDES-BENZ                   Estimate 9:      552027
      Address:      4109 CUTTY RD                       Model:       R3504MATIC                      Invoice it       479996
      Address 2:                                        tic No:      TEMP                            PO Number:,
      City,StateZip: BALTIMORE,MD,21220                 VIN:         GET                             Unit Number
      Home Phone: (443)554-3715                         Color.                                       Email Address: none
      Work Phone: 0-                                    Engine:      V6 3.51.24V DOHC I0-276.958     Fleet/Wholesale:
      Other Phone:- 0-                                • Mileage In: 62151           •                Est Created On: 09/25/21 1302:48
      Tax Exempt it                                     Mileage Out: 62151
      Manager:       CHRISTOPH FA ULCON                 Inspect Due: 09/01/21

     Services Requested:
        CHECK BRAKES
                                          Car                                                                             I
     OM Part ri                           I_oc          Description                                               Part        Labor    Amount
     lire Pressure Spec Not Available   Wheel Torque: Not Available


    INCLUDED WITH EVERY VISIT •
     1 Cl                                         COURTESY INSPECTION                                                             NO CHARGE
     I SM                                         SCHED. MAINT. REVIEW                                                            NO CHARGE

    SERVICE
    1 MEMO                              COMMENTS                                                                                  NO CHARGE
       REAR RIGHT CALIPER HAD NO BRAKE PAD IN THE FRONT OF THE CALIPER. REAR RIGHT CALIPER
       PISTON WAS PUSH OUT AND BRAKE FLUID COVER THE WHEEL
                                         TOTAL SERVICE:                                                                                   0.00

    BRAKES
    1 OUTCG                     B     13442 DISC PADS                                                     61.13                0.00     61.13
    1 OUTEIRAKEPAO              a     GMK01122 BRAKE PADS                                                119.99               80.00    199.99
       REAR BRAKE PADS GROOVED THE ROTORS ON BOTH SIDE OF THE VEHICLE THEY WERE THE WRONG ROTOR
       CAUSE PAD TO FALL OUT
    2 OUTR                            YH200529 BRAKE ROTOR                                               112.00               38.00    300.00
    1 EIFF                            BRAKE FLUID EXCHANGE                                                65.99               69.00    134.99
    1 10335                           Clean and Luba Caliper Slides and braking system on opposite axle.   0.00               49.00     49.00
                                       Adjust brakes where applicable.
                                  TOTAL REAR BRAKES:                                                                      . I          746.11
       ouTcAi                                    CAUPER                                                       243.23      • 37.50       280.73
                                                       OVERALL                                                                          280.73
                                                  TOTAL BRAKES:                                                                       1,025.84

      Customer Wishes To Discard Old Parts ***

                                                 e-
    PAY TYPE: VISA 500.00 Date: 9/29/2021 APPROVAL ft: 752093 ENTRY: CHIP
    CREDIT CARD 9: XXXX-X)0(X-XXXX-7964
    AID: A0000000031010 Terminal ID:090505001
                                                                                                               • • Nalr




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              EXHIBIT-II




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                       MedStar Frads:in Square Medical Center
                              9000 Franklin Square Drive Bahirnore, MD 21237
                                          Phone:(443)777-7000
                                          www.franklinsquare.org

                                Emergency Department
        New Prescription Summary For NEDD,KAYLA
                          ARIANA
Printed Prescriptions
The medication(s) listed below have been printed and given to the patient to take to their local pharmacy.
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 Supporting Documents
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  V.Your email has been sent.
  Thank you for contacting USPS®. Please find
  your service request number below. You will
  receive a confirmation email soon. Click "Close"
  to return to the Email Us start page.

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  What's next?
  You'll receive an email response about your
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United States Postal Service                                                UNITEDSTATES
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PO Box 80143
St Louis MO 63180-0143



October 7, 2021




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DR KEENAN K COFIELD                                                Claim ID: 7980869
1236 KENDRICK RD                                                   Date Mailed: July 24, 2021
ROSEDALE MD 21237-2920                                             CHENEYE FRANK
                                                                    380 HOLCOMB BRIDGE RD
                                                                   PEACHTREE CORNERS GA 30092-5410




Article Number: 9505511796611205751006
Dear DR KEENAN K COFIELD
This letter is in response to the insurance claim referenced abov Based on our initial review,
your claim has been denied because it was not filed within the sp cified timeframe. If you
disagree with our decision, you can appeal it within 30 days from e date of this letter.
Domestic claims must be filed within a specific filing period. If you item arrived damaged or is
missing contents, you may file a claim immediately but must file n later than 60 days after the
mailing date. If your item does not arrive, claim can be filed base on Mail Type or Service
timeframes
For more information about filing period and claims, please visit otir Web site at
https://www.usps.com/help/claims.htm (Filing a Claim for Lost Maij or Packages) or your local
Post Office.
If you wish to appeal this decision, please explain why you disagr e with our decision and
Include any additional support documents.
if the original claim wag:filed online at usps.com, please submit yo r appeal online using your
customer account.
Ifthe original claim was filed by mail, please send-a copy of this le er and a written statement
explaining why you disagree with our decision and any additional upport documents to:
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ACCOUNTING SERVICES
PO BOX 80141
ST LOUIS, MO 63180-0141
The US Postal Service values your business. We apologize for an inconvenience you may
have experienced as a result of this matter.
Sincerely,
Supervisor, Domestic Claims
Accounts Payable Branch
St. Louis Accounting Service Center
PO Box 80143
St Louis MO 63180-0143


DC-15
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            KAYLA NEDD MEDICAL RECORDS AND REPORTS
            FOR FOOD POISONING INJURIES, ETC.
                                                     .0/28/22      350 of
                                                              PagePage                                375
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        Case 1:22-cv-01989-GLR



                        MedStar Franklin Square Medical Center
                               9000 Franklin Square Drive Baltimore, MD 21237
                                           Phone:(443)777-7000
                                           www.franklinsquare.org

                                 Emergency Department
                                      Work/School Note
 To whom it may concern:
 This certifies that NEDD,KAYLA ARIANA was a patient in the MedSrar Franklin Square Medical Center
 Emergency Department on 04/03/22 15:34:55

                                                                                                         1
NOTE:This note is only to show your employer/school that you were seen by a physician and/or
physician's assistant in evaluation ofan acute illness or injury.

Complete days offare provided only for a severe medical illness. The Emergency Department staffcannot
decide whether or not you can work due to an injury. Ifyou were assigned "light duty (partial disability)", the
note above describes what type ofphysical activity is limited. Your work supervisor needs to determine if
there is light duty available or make other arrangements for you. Ifyou &e1 a need for additional days in light
duty status, you will need to contact and follow up with another clinician as.noted in your discharge
instructions.
Ifyou feel that you need additional days offdue to illness, you will need to contact and follow up with another
clinician as noted in your discharge instittctionS.
The Emergency Department staffdoes NOT determine total disability due to injury.




 NEMO, KAYLA ARIANA                           RN.: FSK D3045528548                       EMS: FSII-000801267003
Date of Birth:  /2004                          Apr/03/2022 15:34:56                                      2 of 15
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                       MedStar Fran:din Square Medical Center
                              9000 Franklin Square Drive Baltimore, MD 21237
                                          Phone:(443)777-7000
                                          www.franklinsquare.org


                                Emergency Department
     Patient Discharge Instructions For NEDD,KAYLA
                          AJRIANA
 MedStar Franklin Square Medical Center would like to thank you for allowing us to assist you with your
healthcare needs. Our entire staffstrives to make your experience in the Emergency Department positive and
reassuring. In the next 2-3 weeks you may receive a survey in the mail about today's visitif you receive a
survey in the mail, it will arrive in a white envelope from us with "Your Response Requested" on-the front. We
encourage you to participate in this survey. Your feedback helps identify ways we can improve the care and
service we provide. ffyou need help getting a follow up appointment, coPies ofyour imaging tests or records.
or any other concerns please call our patient experience navigator at(443)777-2534. Please return to the
emergency department ifworsening symptoms or pain, trouble breathing, or any other concerns.
We care about you,if you or a loved one have thoughts of hurting yourself/themselves please call
the National Suicide Hotline 24/7 at 1-800-273-8255.
      Access your information on line by registering for MYMEDSTAR,our patient portal, at
                                       wmv.mymedstar.org.
Patient Information
Name: NEDD,KAYLA AR1ANA                              A Mval Date and Time: 04/03/2022 11:36
Date of Birth:     /2004                             Discharge Date and Time:04/03/2022 15:34
Patient ID: 8339178


Healthcare Provider Information
Clinician(s):
Redmer, PA-C, Brooke J
Whearty, PA-C, Danielle R
Yacovelli, MD, Michael R




Information About Hospital Visit
Diagnoses: Gastroenteritis

NEM,KAYLA ARIANA                            AN: FSH-03045528548                        EMFt FSH-000801267003
Dale of Birth: /2004                        Apr/03/2022 15:34:56                                      3 of 15
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 Follow Up Instructions
 You must call each Provider to make/verify your appointment.
    PHYSICIAN/PROVIDER                               DETAILS
 Silver-Isensthdt, MD,Ai D, 1When: In"! day 04/04/2022
 Pediatrics



Your blood pressure reading(s)as seen below are considered high and require follow
up:

BP    Documented
128/7704/03/2022 12:01:38

 If blood pressure measurement numbers stay above normal(10/80) most of the time, you may
 have hypertension (high blood pressure). This is a long term (chronic) condition that can lead to
                             serious health problems if not treated.

                      RISKS RELATED TO HIGH BLOOD PRESSURE
 High blood pressure can lead to: Heart attack,stroke, heart failure, kidney damage, vision
                   problems and memory and concentration problems

                      HOW TO MANAGE YOUR BLOOD PRESSURE
 Blood pressure can be managed effectively with lifestyle changes and medicines (if needed).
Your primary care provider will help you come up with a plan to bring your blood pressure within
                                         a normal range.

  Please schedule an appointment With your primary care provider within the next 1-2
    weeks. If you do not have a primary care doctor, we can refer you to one today.




Laboratory or Other Results This Visit(last charted value for your 04/03/2022 visit)

  Hematology
   04/03/22 12:1300
      Nedra Absolute: 5.4 k/uL -- Normal range between( 1.7 and 8.1:)
      Monocyte Abs: 0.7 k/uL Normal ranee between(0.1 and 1.3)
      Eosinophil Abs: 0.0 k/uL -- Normal range between(0.0 and 0.7)
     Basophil Abs: 0.0 MC-- Normal range between(0.0 and 0.2)
     Lymph Absolute: 0.6 kfuL -- Normal range between(0.6 and 4.9
NEM,KAYLA ARIANA                             FS1403045528548                      EMPI: FS14-000801267003
Date of Birth: /2004                      Apr/03/2022 15:34:58                                     4 of 15
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                                        58-1
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         NRBC Abs: 0.0 k/uL -- Normal range between(0.0 and 0.1)
         NRBC auto:0 /100 whes -- Normal range between(0 and 2)
        Eos %:0.0% Normal range between(0.0 and 6.0)            •
        Lymph %:9.1 % Normal range between(15.0 and 45.0)•
        IVICH:30.3 pg -- Normal range between(27.0 and 31.0)
        MCHC:32.8 gm/dL -- Normal range between( 31:0 and 36.0)
        MCV:92.3 FL-- Nonral range between(81.0 and 100.0)
        Mono %:9.8 %-- Normal range between(3.0 and 12.0)
        MPV:9.0 FL -- Normal range between(7.5 and 10.4)
        Neutro %:80.7% Normal range between( 43.0 and 75.0)
        Basophil nio: 0.1 %-- Normal range between(0.0 and 2.0)
        Bet:42.1 % Normal range between(34.5 and 44.0)
       Hgb: 13.8 grn/dL -- Normal range between(11.0 and 14.5)
       RBC:4.56 million/LI -- Normal range between(3.60 and 5.00.)
       RDW: 12.6% Normal range between(11.5 and 15.5)
       Platelet: 365 kfuL -- Normal range between(145 and 400)
       WBC:6.7 Idol,-- Normal range between(4.0 and 10.8)
       Inun Gran %;0.3 %-- Normal range between(0.1 and 0.3)
       Imm Gran Absolute: 0.02 k/uL Normalrange between(0.01 and 0.03)

  Urinalysis
    04/03/22 12:41:00
       UA Color Yellow
      UA Glucose: Negative me/dL
      VA Ketones: >=80 Ing/c11.,
      UA Leuk Est: Negative
      UA Nitrite: Negative
      UA Clarity: Slightly Cloudy
      UA Bili: Negative
      UA Blood: Negative
      UA Protein: Negative rog/dL
      UA Urobilinogen: 1.0 Ehrlictis
      UA pH: 6.0 -- Normal range between(5.0 and 8.5)
      VA Spec Gray:>=1.030 -- Normal range between( 1.005 and 1.030)

  General Chemistry
   04/03/22 12:13:00
      Creatinine: 0.80 me/dL -- Normal range between(0.52 and 1.04)
      A/C Ratio: 1.3 -- Normal ranae between(1.0 and 3.8)
      Globulin: 3.5 gniFdL -- Normal range between(1.3 and 4.7)
      AGAP:3 mmol/L -- Normal range between(5 and 15)
     Bill Total: 0.8 mg/d1.. -- Normal range between(0.3 and 1.2)
     CO2:28 mmoVI.-- Normal range between(22 and 30)
      Albumin Lyl: 4.6 Ean/dL -- Normal range between C 3.2 and 4.8) '
     A1k Phos: 86 units/i. -- Normal ranee between(46 and 116)
     ALT:20 units/I. Normal range between(10 and 49)
NEM,KAYLA AR/ANA                           FSH-03045628548               EMPt FSH-000801267003
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               Lvl: 28 units/f.. -- Normal range between(1-7
                                                           12 andFiled
                                                                  53) 07/05/23 Page 206 of 259
        AST:27 units/L — Normal range between(0 and 33)             •
       Bill Direct: 0.25 mg/dL -- Normal range between(0.00 and 0.30)
       Glucose Lvl Random:91 ing/dL -- Normal range between 65 and 140)
       Sodium Lvl: 136 trmioYL. NOrmal range between(137 and 145)
       Total Protein: 8.1 gm/dL -- Normal range between(5.7 and 8.2)
       BUN: 11 inekIL — Noma'range bet‘wen(7 and 17)                 -
       Calcium Ionized: 1.11 rnmo1/L Normal        range between(  1.12 and 1.32)
       Chloride: 105 nunol/L -- Normal range between(98 and 107)
       Potassium Lvl: 3.8 rnmol/L — Normalrange between(3.5 and Si)
       est. CrCl: 110.61 mUmin
       GFR. Universal:>60 mi./min/1.73 m2

   Infectious Disease
     04/03/22 12:13:00
        COVID-19/Coronavirus RNA PCR:Not Detested
        Influenza A RNA PCR: Not Detected
        Influenza B RNA PCR:Not Detected
        RSV RNA PCR:Not Detected •

  Endocrinology
    04/03/22 12:13:00
      Beta ICC QI: Negative




NEDD.KAYLA ARIANA                     FIN: FSH-03045528548                     FS14.000801267003
Date of Birth: 2004                    Apr103/2022 15:34:56                               6 of 15
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  Allergies and Immunizations
  Allergies
    Peanuts (hives)




 Current Medication List as of 04/03/22 15:34:55
MedStar Franklin Square Medical Center ED Physicians are providing you with a complete list of
medications post discharge. Ifyou have been instructed to stop taking a medication please ensure you also
thllow up with this inkumation to your Primary Care Provider.
Unless otherwise noted, you will continue to take medications as prescribed prior to the Emergency Room
visit. Any specific questions regarding your chronic medications and dosages should be discussed with your
Primary Care Provider and Pharmacy.
EPINEPHrine (Epi.Pen 2-Pak 0.3 mg injectable kit)
Directions:0.3 mg inject 0.3 mg intramuscular one time as needed for anaphylaxis
Special Instructions: may repeat ifnecessary call 911 ifusing
Take Next Dose:
ethinyl estradiol-norgestimate (Sprintee 0.25 mg-35 mcg oral tablet)
Directions:] tablet by mouth every day
Take Next Dose:
hydrocortisone topical(hydrocortisone 2.5% topical ointment)
Directions: Use as previously directed by your prescribing physician
Take Next Dose:
ibuprofen 600 mg oral tablet
Directions:1 tablet by mouth every S hours
Take Next Dose:
montelukast 5 mg oral tablet, chewable
Directions:1 tablet by mouth every day
Take Next Dose:
ondansetron (Zofran 4 tag oral tablet)
Directions: 1 tablet by mouth one time
 New Prescription*:Printed 11 Refills:0
Take Next Dose:
ttiameinolone topical(triamcinolone 0.1% topical ointment)
Directions: Use as previously directed by your prescribing physician
Take Next Dose:




NE)O. KAYLA ARIA NA                          Fft FSH-03045528548                      Br1PtFSI4000801267003
Date of Birth: /2004                         Apr/O3r1022 15:34:56                                    7 of 15
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          Case 1:23-cv-01795-JKB       Document     1-7 Filed
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    Physician(s) who completed Medication
                                              Reconciliation
    Whearty, PA-C, Danielle R (04103/2022 15:31)




 NEDD. KAYLA ARtANA               FL't FSH-03045528548
Date of Birth: /2004                                                  FSH-000801267003
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 Patient and Medication Education

            Manage your health care anytime, anywhere with the
                        m yMedStar Patient Portal
 myMedStar is a free, secure and convenient way to manage yOur health care and
 communicate with your physician.

With myMedStar you can:
• Request and view upcoming appointments
• View most lab, radiology and pathology results as soon as thy are available
• Renew prescriptions
9 Exchange secure email messages with any of your MedStar Health care providers
o View summaries of your hospital or office visits
• And more

How to Enroll:

Self-enrollment
1.Go to myMedstarorg
2. Click Enroll Now
3. Follow the instructions to enroll. You will need:

• First and last name
o Date of birth
• Email address or this Patient1D - 8339178

Email invitation:

If you provided an email address during registration you should hai.fe received an invitation to
enroll in the myMedStar patient portal.

• From within the invitation, click the link to accept the invitation.
• After successful verification, you will be prompted to create your account Follow the
onscreen instructions to complete the enrollment process.

MedStar Health is dedicated to helping improve your overall health:care experience by
providing convenient, streamlined resources to help you better manage your health. We now
offer the ability for you to securely connect some of the health management apps you may
use(i.e. fitness trackers, dietary trackers, etc.) to your health record.;Email us at
mvmedstarmedstar.net if you are interested. Once we receive your request, MedStar Health
will work with the appropriate vendors to determine if they meet the technical requirements in
order to establish a secure connection. -

If you have questions or need assistance Creating your account, please contact myMedStar
NEDD, KAYLA ARIANA                       FINEFSH-03045528548                   EIVIP1 FS/4000801267003
Dale of Birth: 12004                      Apc/0312022 15:34:56                                  9 of 15
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       Case 1:22-cv-01989-GLR
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        toll free1:23-cv-01795-JKB     Document
                  at 1-877-745-5656,24 hours a day,71-7
                                                     daysFiled 07/05/23 Page 210 of 259
                                                         a week.




 You were seen in the emergency department today for symptoms
 of vomiting and diarrhea following consumption of rare steak
 yesterday evening.
Your work-up did not identify any evidence of acute infection or
dehydration. It is likely that your gastrointestinal infection is
related to food poisoning.
I have provided you with a prescription for Zofran, and
antinausea medication. Please use this medication as needed.
Please return to the emergency department should you develop
fever, shaking chills, uncontrollable vomiting, bloody vomit,
bloody diarrhea.



                                     Diarrhea, Adult
Diarrhea is frequent loose and watery bowel movements. Diarrhea can make you feel weak arid cause you to
become dehydrated. Dehydration can make you tired and thirsty, case you to have a dry mouth,and
decrease how often you urinate.

Diarrhea typically lasts 2-3 days. However, it can last longer ifit is a sign ofsomething more serious. It is
important to treat your diarrhea as told by your health care provider.

Follow these instructions at home:

Eating and drinking




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             k




Follow these recommendations as told by your health care provider:

       •     Take an oral rehydration solution(ORS). This is an over-the-counter medicine that helps return your
             body to its nornral balance ofnutrients and water. It is found at pharmacies and retail stores.
      •      Drink plenty offluids, such as water, ice chips, diluted fruitjuice, and low-calorie sports drinks. You
             can drink milk also, ifdesired.
     •       Avoid drinking iluids that contain a lot ofsugar or cal*ine, such as energy drinks, sports drinks, and
             soda.
      •      Eat bland, easy-to-digest foods in small amounts as you are able. These bads include bananas.
             applesauce. rice, lean meals, toast, and crackers.
      •      Avoid alcohol
      •      Avoid spicy or fatty foods.
Medicines

     • Take over-the-counter and prescription medicines only as told by your health care provider.
       Ifyou were prescribed an antibiotic medicine, take it as told by your health care provider. Do not
       stop using the antibiotic even if you start to feel better.

General instructions



••••• „24   •


            •,




     •      Wash your hands often using soap and water. Ifsoap and water are not available, use a hand
            sanitizer. Others in the household should wash their hands as well. Hands should be washed:
            o    After using the toilet or changing a diaper.
            • Before preparing, cooking, or serving food.
            o    While caring for a sick person or while visiting someone in a hospital.
Nan KAYLA ARIANA                                  FIN: F51403045528548                        ENS: FSH-000801267003
Date of Birth: /2004                               Apr/03/2022 15:34:55                                     11 of 15
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             Case
        •    Drink enough fluid to keep your urine pale yellow.
        •    Rest at home while you recover.
        •     Watch your condition lior any changes.
        •    Take a warm bath to relieve any burning or pain from frequent dianhea episodes.
        •    Keep all follow-up visits as told by your health care provider. This is important.

 Contact a health care provider if:

    •        You have a fever.
    •        Your diarrhea gets worse.
    •        You have new symptoms.
    •        You cannot keep fluids down.
    •        You feel light-headed or dizzy.
    •        You have a headache.
    •        You have muscle cramps.

 Get help right away if:

    •  You have chest pain.
    • You feel extremely weak or you faint.
    • You have bloody or black stools or stools that look like tar.
    • You have severe pain. cramping, or bloating in your abdomen.
      You have trouble breathing or you are breathing very quickly.
    ▪ Your heart is beating very quickly.
    • Your skin feels cold and clammy.
    • You feel confused.
    • You have signs of dehydration, such as:
      o  Dark urine: very little urine, or no urine.
      • Cracked lips.
      o  Dry mouth.
      o  Sunken eyes.
      • Sleepiness.
      • Weakness.

Summary

    •       Diarrhea is frequent loose and watery bowel movements. Diarrhea can make you feel weak and
            cause you to become dehydrated.
    •       Drink enough fluids to keep your urinepale yellow.
    •       Make sure that you wash your hands after using the toilet If soap and water are not available, use
            hand sanitizer.
    •       Contact a health care provider if your diarrhea gets worse or you have new symptoms.
    •       Get help right away if you have signs of dehydration.

This information is not intended to replace advice given to you by your health care provider. Make sure you
discuss any questions you have with your health care provider.


NEDD. KAYLA ARIA NA                              AN: FSH-03045528548                        MAR FSH-000801267003
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                                                      05/24/2019 Document Review ed:05/24/2019
     Elsevier Patient Education © 2020 Elsevier Inc.



    End of Discharge Education and Instructions




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         Diagnoses:   1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 214 of 259
                    Gastroenteritis




         1,NEDD,KAYLA AR1ANA,have received the attached patient education materials/instructions
         and have verbalized understanding. !


        Patient/Patient Representative Signature !                    Dateffime


        Relationship to Patient


        N urse Signature                                                    Date/rime
        *Hospital has retained last page for medical records




        NEDD.KAYLA ARLANA                            AN:F611-03045528548                    EMPI;FM4.00080126 03
        Date of Bittts: 812004                       Apr/0312022 15:3456                                  1 of 15
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    ARCM,
     8605 Ridgely's Choice Dr                                                        Ambulatory Clinical Summary
     Perry Hall, MD,21236                                                             Visit Date:04/0512022 1020
    Phone: (855)9104278                 Fax:, (410)248-2311      Scheduled Provider: Brown, MD,Stephanie Denise



                                             * Final Report *

  NEDD, KAYLA ARIANA
      Visit Date:04/05/2022 10:20

 Instructions From Your Provider
 You were seen in urgent care for abdominal pain back pain vomiting and diarrhea as a result
 of food poisoning. You should start to feel better starting tomorrow. You can continue to
 take the Zofran as needed for nausea and vomiting. Plea0 keep yourself well-hydrated with
 water and electrolytes. Please take Tylenol for the back pain and headache as well. If you
 are doing no better in 2 days you may want to go back to the emergency department for
 further labs to see if you are dehydrated or anything else is abnormal that needs to be
 treated.

 Thank you for choosing MedStar PromptCare today!

 Your vital signs were reviewed.

 rest and plenty of fluids,
 you may take Ibuprofen or acetaminophen for fever or pain.
 We have discussed your assessment and plan and all questions have been answered.
 Information given.

 MedStar Urgent Care is not a substitute for ongoing care with a primary care provider. Please follow up
 with your primary care provider for continuing symptoms. If your iymptoms are worsening or for severe
 symptoms, go to the emergency department for evaluation.

 If you are unsure abdut where to go for your symptoms contact MedStar e-vist at httos:fimedstar-
 evisit.com.

 If you had any laboratory testing today, you may view your results When they become available on the
 myMedStar Patient Portal. Instructions for accessing the myMedStdr Patient Portal can be found
 at https://vyww.m_ymedstar.org.

  Follow Up with Follow up
  with primary care provider



NEDD,KAYLA ARIANA                          • MPP-00689969152                                    EMPI: 8339178
DOB:    /2004                          Printed on:04/05/2022 12:12 EDT,                            Page 1 of 9




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  M                          Ambulatory
                                 ent58CUnica!
                                        -    Summary        Visit Date: 04/05/2022 10:20
  Urgent Care appointment never replace routine physicals and check-ups with your doctors (Primary Care,
  Gynecology, etc). Please schedule these and any follow-up recommended from your visit.
  If you have had blood work or a specimen collected during this MedStar Health Urgent Care visit and
  it is to be sent out for off site testing, you will only receive a call regarding your results if your results are
  abnormal or if additional testing or treatment is needed.

 Other Scheduled Appointments
 Thursday                  With: Medley, MD,Tia R.
   April 07,2022           Where: MedStar Franklin Square Med Center Pediatrics at Perry Hall
 02:30 pm                                                     ..
  Medications
                           What             How Much          When               Why           Instructions
  Unchanged        cetirizine (ZyrTEC)     By Mouth        Every day                         Contact prescribing
                                                                     •                       physician if
                                                                                             questions or
                                                                                             concerns


                                                                 '
  Unchanged        EPINEPHrine            0.3 Milligram One Time as                         may repeat if
                  (EpiPen 2-Pak 0.3       Intramuscular needed for                          necessary
                   mg injectable kit)     •             anaphylaxis                         call 911 if using
                                                                                            Contact prescribing
                                                                         .•                 physician if
                                                                                            questions or
                                                                                            concerns



  Unchanged ethinyl estradiol-            1 Tablet(s)      Every day .                      Contact prescribing
             norgestimate                 By Mouth                        .                 physician if
            (Sprintec 0.25 mg-                                                              questions or
            35 mcg oral tablet)                                                             concerns




NEM,KAYLA AR1ANA                                 MPP-00689969152                                     EMPl: 8339178
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                              How Much
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                                                                When                        Why          . Instructions
   Unchanged        hydrocortisone    .                            •                                    apply to affected
                    topical                                                                            .a.rea twice a day
                   (hydrocortisone    •                                                                fOr days, then as
                    2.5% topical                                                                        neeiled
                                                                   •                                     1  i for flare-
                    ointment)                                                                           ups:
                                                                   :
                                      .                            .                                   Contact prescribing
                                                                   .                                    phyiician if
                                                                                                       queitions or
                                                                       .                               concerns
                                                                       1
                    .                     ,
                                                                        _
   Unchanged       Ibuprofen                  1 Tablet(s)   Every 8 hours                              Contact prescribing
                  (ibuprofen 600 mg           By Mouth                                                 phislcian if
                   oral tablet)                                                                        questions or
                                                                                                       concerns


  Unchanged        montelukast                1 Tablet(s)   Every day:                                 Contact prescribing
                  (montelukast 5 mg           By Mouth                                                 physician if
                  oral tablet,                                             .                           questions or
                   chewable)                                                                           concerns



  Unchanged        ondansetron            1. Tablet(s)      One Time                   Gastroenteritis Contact prescribing
                  (Zofran 4 mg oral       By Mouth                                                     physician if
                   tablet)                                                                             questions or
                                                                                                       concerns

                                                                                                              ,i

  Unchanged triamcinolone                                                      •                      Contact prescribing
             topical                                                                                  physician if
            (triamcinolone                                                                            questions or
            0.1% topical                                           .           '                      concerns
            ointment)                          •

                                                                                   i

 Allergies
 Peanuts(hives)

 My Summary

NEDD, KAYLA ARIANA                            MPP-00689969152                                                 EMPI: 8339178
DOB:     /2004                        Printed on:04/0512022 12:12 EDT                                            Page 3 of 9
                                                              Page dblo us o I J
                                     eot 58-1 Filed 10/28/22
   mecnttehilalalhfaincirciliR P°cArbuiatory Clinical Summary Visit Date:04/05/2022 10:20
       Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 218 of 259
   My Visit Was For                                       Vital Signs
  Abdominal pain                                          0405/2022 10:47
                                                          Temperature: Tympanic - 36.7 °C(98.1 °F);
  Nausea vomiting and diarrhea                            Pulse: 64
                                                          Respiratory Rate: 16
                                                          Blood Pressure: 93/62
  Test Results                                            Oxygen Level: 99%
  Laboratory                                              Height: 170 cm (5 ft 7 in)
  Endocrinology                                           Weight:69.5 kg (153 lbs 4 oz)
  POC hCG Ql: Negative (04/05/22 10:53 AM EDT)            Body:Mass Index(BMI): 24.05 kg/m2
  POC Source
  POC Handling Specimen
    URINE (04/05/22 10:53 AM EDT)                        04/05/2022 10:52
     URINE (04/05/22 10:53 AM EDT)                       Body Mass Index Percentile: 76.58
  POC Lot#/Manufacture
    110047 (04/05/22 10:53 AM EDT)                       Last Menstrual Period: 03/24/2022
    HCG1102081 (04/05/22 10:53 AM EDT)                   Growth Chart Percentiles    .
 Urinalysis                                              Weight Dosing :69.5kg(86%)
 POC Urinalysis Glucose: Negative (04/05/22 10:53
 AM EDT)                                                 Height/Length Dosing: 170cm(86%)
 POC Urinalysis Bifirubin: Negative (04/05/22 10:53
 AM EDT)                                                 Body Moss Index Dosing :24,05kg/m2(77%)
 POC Urinalysis Ketone: 15 mg/d1 (04/05/22 10:53
 AM EDT)
 POC Urinalysis Specific Gravity: 1.020 (04/05/22
 10:53 AM EDT)
 POC Urinalysis Blood: Negative (04/05/22 10:53
 AM EDT)
 POC Urinalysis pH: 7 (04/05/22 10:53 AM EDT)
 POC Urinalysis Protein: Negative (04/05/22 10:53
 AM EDT)
 POC Urinalysis Urobilinogen: 1 mg/di
(normal) (04/05/22 10:53 AM EDT) -
POC Urinalysis Nitrite: Negative (04/05/22 10:53
AM EDT)
POC Urinalysis Leukocyte: Negative (04/05/22
10:53 AM EDT)




NEDD, KAYLA ARIANA                          MPP-00889969152                            EMPI: 8339178
DOB:     /2004                      Printed on: 04105/2022 12:12 EDT!                     Page 4 of9
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           Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page0:219
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                                                                        of 259
   Education Materials
                                      Nausea and Vomiting, Adult
  Nausea is the feeling that you have an upset stomach or that you are about to vomit Vomiting is when
  stomach contents are thrown up and out of the mouth as a result of nausea. Vomiting can make you feel
  weak and cause you to become dehydrated.
  Dehydration can make you feel tired and thirsty, cause you to have a dry mouth, and decrease how often
  you urinate. Older adults and people with other diseases or a weak disease-fighting system (immune
  system) are at higher risk for dehydration. It is Important to treat your nausea and vomiting as told by
  your health care provider.

  Follow these instructions at home:
  Watch your symptoms for any changes. Tell your health care provider about them. Follow these
  Instructions to care for yourself at home.
  Eating and drinking


            c--.




   •




       •  Take an oral rehydration solution (ORS). This is a drink that is sold at pharmacies and retail
         stores.
       • Drink clear fluids slowly and in small amounts as you are able. Clear fluids include water, ice
         chips, low-calorie sports drinks, and fruit juice that has water added (diluted fruit juice).
       • Eat bland, easy-to-digest foods In small amounts as you are able. These foods include bananas,
         applesauce, rice, lean meats, toast, and crackers.
       • Avoid fluids that contain a lot of sugar or caffeine, such as energy drinks, sports drinks, and soda.
       • Avoid alcohol.
       • Avoid spicy or fatty foods.

 General instructions
       •   Take over-the-counter and prescription medicines only as told by your health care provider.

NEDD, KAYLA ARRANA                               MPP-00689969152                                  EMPI: 8339178
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      Case 1:23-cv-01795-JKB             Document 1-7 Filed 07/05/23 tDate:                   Page 220       of 259
                                                                                                          1:022 10:20
     • Drink enough fluid to keep your urine pale yellow.
     • Wash your hands often using soap and water. If soap.and water are not available, use hand
        sanitizer.                 •
    • Make sure that all people in your household wash their hands well and often.
    • Rest at home while you recover.
    • Watch your condition for any changes.
    • Breathe slowly and deeply when you feel nauseated.
    • Keep all follow-up visits as told by your health care provider. This is important.

  Contact a health care provider if:
    •     Your symptoms get worse.
    •     You have new symptoms.
    •     You have a fever.
    •     You cannot drink fluids without vomiting.
    •     Your nausea does not go away after 2 days.
    •     You feel light-headed or dizzy.
    •     You have a headache.
    •     You have muscle cramps.
    •     You have a rash.
    •     You have pain while urinating.

 Get help right away if:
    •     You have pain in your chest, neck, arm, or jaw.
    •     You feel extremely weak or you faint.
    •    You have persistent vomiting.
    •     You have vomit that is bright red or looks like black coffee grounds.
    •    You have bloody or black stools or stools that look like tar.
    •    You have a severe headache, a stiff neck, or both.
    •     You have severe pain, cramping, or bloating In your abdomen.
    •    You have difficulty breathing, or you are breathing very quickly.
    •    Your heart Is beating very quickly.
    •    Your skin feels cold and clammy.
    •    You feel confused.
    •    You have signs of dehydration, such as:
        •        Dark urine, very little urine, or no urine.
        o        Cracked lips.
        •        Dry mouth.
        o        Sunken eyes.
        o        Sleepiness.
        •        Weakness.
 These symptoms may represent a serious problem that is an emergency. Do not wait to see if
 the symptoms will go away. Get medical help right away.Call your local emergency services
(93.1 in the U.S.). Do not drive yourself to the hospital.

 Summary

NEDD,KAYLA ARIANA                                  MPP-00689969152                                         E.MPI: 8339178
DOB:    /2004                              Printed on:0410512022 12:12 EDT                                     Page 6 of9
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                                                                                          of 259
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      •     Nausea Is the feeling that you have an upset stomach or that you are about to vomit. As nausea
           gets worse, it can lead to vomiting. Vomiting can make you feel weak and cause you to become
           dehydrated.
      •     Follow Instructions from your health care provider about eating and drinking to prevent
           dehydration.
      •    Take over-the-counter and prescription medicines only;as told by your health care provider.
      •    Contact your health care provider if your symptoms get worse, or you have new symptoms.
      •     Keep all follow-up visits as told by your health care provider. This is important.
  This information is not intended to replace advice given to you by your health care provider. Make sure
  you discuss any questions you have with your health care provider.
  Document Released: 12/18/2006 Document Revised: 04/10/2020 Document Rev1ewed:105/28/2019
  Elsevier Patent Education @2020 Elsevier Inc.
  Manage your health care anytime,anywhere with the                                   t
  myMedStar Patient Portal
  myMedStar is a free, secure and convenient way to manage your health care and communicate with
  your physician.

 With myMedStar you can:
 • Request and view upcoming appointments
 • View most lab, radiology and pathology results as soon as they are available
 • Renew prescriptions
 • Exchange secure email messages with any of your MedStar Health care providers
 • View summaries of your hospital or office visits
 • And more
 How to Enroll:

 Self-enrollment
    Go to myMedstanorg
 2. Click Enroll Now
 3. Follow the instructions to enroll. You will need:

 • First and last name
 • Date of birth
 • Email address or this PatientID - 8339178

 Email Invitation:

 If you provided an email address during registration you should have received an invitation to enroll in the
 myMedStar patient portal.

 • From within the invitation, click the link to accept the Invitation.
 • After successful verification, you will be prompted to create your.account. Follow the onscreen
 instructions to complete the enrollment process.

 MedStar Health is dedicated to helping improve your overall health care experience by providing
 convenient, streamlined resources to help you better manage your health. We now offer the ability for

NEDD, KAYLA ARIANA                                    MPP-00689969152                                             EMPI: 8339178
DOB:     /2004                                Printed on:04/05/2022 12:12 EDT                                        Page 7 of 9
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   M                                                                                        35/720522 -10:20
   Work School Materials

  MedStar Health Urgent Care at Perry Hall
  8605 Ridgely's Choice Dr
  Perry Hall MD,21236
 (855)910-3278


  To Whom It May Concern,

  KAYLA NEDD was seen at MedStar Health Urgent Care at Perry Hall on 04/05/2022. Please excuse from
  work and/or school on 04/05/2022. •

  If you feel that you need additional days off due to illness, you Will need to contact and follow-up with
  another clinician as noted in your discharge instructions, The Urgent Care staff does NOT determine total
  disability due to injury.




 Signature Line
 Electronically signed by:

 Brown, MD,Stephanie Denise on: 04.05.2022 12:12 EDT




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NEDD,KAYLA ARIANA                               MPP-00689969152                                    4101: 8339178
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   Case 1:22-cv-01989-GLR Document 58-1
   Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 223 of 259
                                   [Release & Consent Form]
  Kavla,Nedd,do hereby give permission to{Dr. Keenan Cofield,JD/Ph.D/Psy.D/DO.(My
 Father)]to use:
 Description:this RELEASE AND CONSENT FORM to submit and represent me FULLY on my claims
 officials arid others,should be given to: Or. Keenan Cofiefd, whose address is 1236 Kendrick Rd.
 Rosedale. MD 21217, his number is 443-554-3715,and Email is-Psychdoctor101Pemail.corq,and
 SupremeerandbishoriPemaii.com, without any limitation or restriction. Any and all communication
 should be sent to Dr. Keenan Weld,and myself.
 By signing this document,I understand that I hereby hold harmless and release and forever discharge
 the fDr. Keenan Cofield-My Father]from all claims,demands,liability and causes of action which'I, my
                                                                                                 fon1
 heirs, representatives,executors, administrators, or any other persons acting on my behalf or behalf
                                                                                                !
 of my estate have or may have by reason of this authorization. In addition, I would like to specifythe
following conditions for use of the materials: Dr. Keenan Cofield hasthe FULL rightand authority to
discuss this Claim, neBotiate this claim and settle the same on my behalf and/or share any and 'all
Information with Ms.Amanda Henry or any other Claims representative for Texas Roadhouse.This
authorization is continuous and may only be withdrawn by my specific rescission of this authorization. I
have read this release before signing below and I fully understand the contents, meaning,and impact of
this release.
                                                                                                  I 1
I/We feel confident this matter can be resolved and settle very quickly.

              **** ***** *111**      *******************************************************

**It***                                                                                          •

Signature Oat :04119/2022
Printed Name KaYla Nedd
Address 402 Hardin Dr.
City, State & zip iciooa, MD 21085-4227
Phone number Alt Phone:410.501-9988
 Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 224 of 259



COUNTS 14, 15, 16, 17, 18, 19,
20-TWITTER, INC. EXHIBITS
AND ATTACHMENTS
           Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 225 of 259



 TWITTER,INC.: F22900757
 DepartmentID Number:
 F22900757

 Business Name:
 TWITTER,INC.

 Principal Office:
 1355 MARKET STREET
 STE.900
 SAN FRANCISCO CA 94103

 ResidentAgent 0
 THE CORPORATION TRUST INCORPORATED
2405YORK ROAD
SUITE 201
 WTHERVILLE TIMONIUM MD 21093-2264

Status:
 MERGED

Good Standing
THIS BUSINESS IS NOTIN GOOD STANDING

Business Type:
FOREIGN CORPORATION

Business Code:
03 ORDINARY BUSINESS- STOCK

Date ofFormation/ Registration:
05/02/2022

State of Formation:
DE

Stock Status:
STOCK

Close Status:
N/A
 512/23, 7:29 PM                                                   Register Your Business Online I Maryland.gov

                         Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 226 of 259
          TWITTER,INC.: F22900757

          Annual Report/Personal Property

          Mailing Address: 0     TWITTER,INC.
                                 1355 MARKET STREET
                                 STE.900
                                 SAN FRANCISCO CA 94103




         Annual Report/Personal Property Tax Filings

            AsmtYear             Date Filed            Extension               Penalty Amount                 Date Penalty Paid

           2023                                        No

           2022                                        No

           2021                                        No

           2020                                        No

           2019                                        No

           2018                                        No

           2017                                        No

           2016                                        No

           2015                                        No

           2014                                       No




        Personal Property Assessments Summary(Select yearto view details)


          Asmt Year                    County Base                         Town Base                       Date Certified

          2023                         0                                   0

          2022                         0                                   0

          2021                         0                                   0




     Privacy -Terms r,
      ..     . .




https://egov.maryland.gov/BusinessExpresslEntitySearch/Business                                                                   1/2
  512/23, 7:29 PM                                                 Register Your Business Online l Marylancl.gov

                     Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 227 of 259
            Asmt Year                     County Base                       Town Base                       Date Certified

           2018                          0                                  0

           2017                          0                                  0

           2016                          0                                 0

           2015                          0                                 0

           2014                          0                                 0




https://egov.maryland.gov/BusinessExpress/EntitySearch/Business                                                              212
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COUNTS - 21 THRU 26-
EQUIFAX EXHIBITS AND
ATTACHMENTS SHOWING THE
TAX CLAIM FRAUD SCHEME,
ETC.
                    Case 1:23-cv-01795-JKBflDocument 1-7
                                             CORRECTED       Filed 07/05/23
                                                       (if checked       vim Page 229 of 259
                                                                             s 000000576
  PAYERS name,street address, city or town.state or province,country,ZIP         1 Rents                        OMB No. 1545-0115
  or foreign postal code,and telephone no.
                                                                                                                                                     Miscellaneous
      EQUIFAX INC
      1550 PEACHTREE STREET NW                                                  2 Royalties                       2018                                     Income
      ATLANTA GA              30309
                                                                                                                 Form 1099-M1SC
                                                404-885-8227                    3 Other income                   4 Federal income tax withheld
                                                                                           7000.00                                                                Copy 2
  PAYER'S TIN                            RECIPIENT'S TIN                        5 Fishing boat proceeds         6 Medical aid health care payments      To be filed with
                                                                                                                                                       recipient's state
                                                                                                                                                     income tax return,
                                                                                                                                                        when required.
     XX-XXXXXXX                                        -5407
  RECIPIENT'S name                                                              7 Nonempioyee compensation      8 Substitute payments in lieu of
                                                                                                                  dividends or interest
      DR KEENAN KESTER COFIELD

 Street address (Including apt. no.)
     419 CUTTY SARK RD                                                         9Payer made direct sales of 10 Crop insurance proceeds
                                                                                 $5,000 or more of consumer
                                                                                 products to a buyer
 City or town, state or province, country, and ZIP or foreign postal code       (recipient) for resale D. 0
                                                                              11                            12
     BALTIMORE,MD 21220
 Account number(see instructions)                   FATCA filing              13 Excess golden parachthe       14 Gross proceeds paid to an
                                                    requirement                  payments                         attorney
                                                       0
 15a Section 409A deferrals            15b Section 409A income                16 State tax withheld            17 State/Payer's state no.            18 State income



Form 1099-MISC                                       www.irs,govir-orm1099MISC                                   Department of the Treasury - Internal Revenue Service


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                                                              n CORRECTED (if checked)                          VTQ S 000000576
 PAYER'S name,street address, city or town,state or province, country,ZIP      1 Rents                         OMB No. 1545.0115
 or foreign postal code, and telephone no.
                                                                                                                                                    Miscellaneous
     EQUIFAX INC
     1550 PEACHTREE STREET NW                                                  2 Royalties                      2018                                      Income
     ATLANTA GA              30309
                                                                                                               Form 1099-M1SC
                                               404-885-8227                    3 Other Income                  4 Federal income tax withheld                    Copy B
                                                                                          7000.00          1                                              For Recipient
 PAYER'S TIN                           RECIPIENT'S TIN                         5 Fishing boat proceeds         6 Medical and health care payments




    XX-XXXXXXX                                        -5407
REameas name                                                                   7 Nonemployee compensation 8Substitute payments in lieu of
                                                                                                           dividends or interest                     This is important tax
    DR KEENAN KESTER COFIELD                                                                                                                           information and is
                                                                                                                                                       being furnished to
Street address (Including apt. no.)                                                                                                                    the IRS. If you are
                                                                              9 Payer made direct sates of 10 Crop insurance proceeds                    required to file a
    419 CUTTY SARK RD                                                                                                                                return, a negligence
                                                                                $5,000 or more of consumer
                                                                                products to a buyer                                                       penalty or other
City or town,state or province, country,and ZIP or foreign postal code         (recipient) for resale b. 0                                              sanction may be
                                                                                                           12
                                                                                                                                                       imposed on you if
                                                                             11
                                                                                                                                                            this Income is
    BALT MORE,MD 21220                                                                                                                               taxable and the IRS
Account number(see instructions)                  FATCA filing               13 Excess golden parachute        4 Gross proceeds paid to an             determines that it
                                                  requirement                   payments                         attorney                                    has not been
                                                                                                                                                                 reported.
                                                      0
15a Section 409A deferrals             5b Section 409A income                16State tax withheld          17 State/Payer's state no.               18 State income



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  PAYER'S name.street address, city or town, state or province, country,ZIP       230 of 259
                                                                           1545-0115
  or foreign postal code,and telephone no.
      EQUIFAX INC                                                                                                                                    Miscellaneous
      1550 PEACHTREE STREET NW                                                    2 Royalties                    2018                                      Income
      ATLANTA GA 30309
                                                                                                                Form 1099-MISC
                                                404-885-8227                      3 Other income                4 Federal income tax withheld
                                                                                              4000.00                                                             Copy 2
  PAYER'S TIN                            RECIPIENT'S TIN                         6 Fishing boat proceedd        6 Medical and health care payments      To be filed with
                                                                                                                                                       recipient's state
                                                                                                                                                     income tax return,
                                                                                                                                                        when required.
     XX-XXXXXXX                                        -5409
  RECIPIENT'S name                                                               7 Nonemployee compensation    8 Substitute payments in lieu of
                                                                                                                dividends or interest
     KEVIN COF IELD SR

 Street address (including apt. no.)
     4109 CUTTY SARK RD                                                          9Payer made direct sales of 10 Crop insurance proceeds
                                                                                   35,000 or more of cons1mer
                                                                                   products to a buyer
 City or town,state or province, country,and ZIP or foreign postal code           (recipient) for resale IP- 0
                                                                                11                             12
     BALTIMORE,MD 21220
 Account number(see instructions)                  FATCA filing                 13 Excess golden parachlne    14 Gross proceeds paid to an
                                                   requirement                     payments                      attorney
                                                       0
15a Section 409A deferrals             15b Section 409A income                  16 State tax withheld         17 State/Payer's state no.             18 State income



Form 1099-MISC                                       www.irs.gov/Form1099MISC                                   Department of the Treasury - Internal Revenue Service


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 or foreign postal code,and telephone no.
    EQUIFAX INC                                                                                                                                    Miscellaneous
    1550 PEACHTREE STREET NW                                                    2 Royalties                    2018                                      Income
    ATLANTA GA 30309
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                                                                                           4000.00                                                        For Recipient
 PAYER'S TIN                            RECIPIENT'S TIN                         5 Fishing boat proceeds       6 Medical and health care payments




    XX-XXXXXXX                                        -5409
 RECIPIENT'S name                                                                 Nortemployee compens tion 8Substitute payments in lieu of
                                                                                                                 dividends or interest      This Is Important tax
    KEVIN COFIELD SR                                                                                                                          Information and is
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Street address (Including apt. no.)                                                                                                           the IRS. If you are
                                                                                                                                                required to file a
    4109 CUTTY SARK RD                                                          9 Payer made direct sales of 10 Crop Insurance proceeds
                                                                                  $5,000 or more of consu mar                               return, a negligence
                                                                                  products to a buyer                                            penalty or other
City or town,state or province, country, and ZIP or foreign postal code          (recipient) for resale*                                       sanction may be
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    BALTIMORE,MD 21220                                                                                                                      taxable and the IRS
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                                                  requirement                     payments                       attorney                           has not been
                                                                                                                                                        reported.

15a Section 409A deferrals             15b Section 409A income                 16 State tax withheld         17 State/Payer's state no.            18 State income



Form 1099-MISC               (keep for your records)                      isnvw.irs.gov/Form1099MISC           Department of the Treasury - Internal Revenue Service
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          folei0o postal code,and telephone no
                                                                                                                                                         Miscellaneous
            EQUIFAX INC
            1550 PEACHTREE STREET NW                                                 2 Royalties
                                                                                                                          2018                                 Income
            ATLANTA GA 30309
                                                                                                                         Form 1099-MISC
                                                      404-885-8227                  3Other income                        4 Federal income tax withheld
                                                                                                 4000.00                                                                 Copy 2
       PAYER'S TIN                             RECIPIENT'S TIN                          Fishing boat proceeds            6 Limfem mut health care payments       To be filed with
                                                                                                                                                                recipient's state
                                                                                                                                                              income tax return,
                                                                                                                                                                 when required.
           XX-XXXXXXX                                       -1238
       RECIPIENT'S name                                                             7 Nonemployee compensation           8 Substitute payments in lieu of
                                                                                                                           dividends or interest
           BERRI A WELLS

      Street address (incruding apt. nod
          7723 ENGLISH OAK CIR                                                      9 Payer made direct sales of 10 Crop insurance proceeds


      City or town,state or province, country,and ZIP or foreign postal code


         ELKRIDGE,MD 21075
                                                                                   11
                                                                                      $5.000 or more of consumer
                                                                                      products to a buyer
                                                                                      Ireclpient) tor resale'''.CI
                                                                                                                 $   1
                                                                                                                     112
     Account number(see instructions)                   FATCA filing               13 Excess golden parachute        t14 Gross proceeds paid to an
                                                        requirement                   payments                           attorney


     15a Section A09A deferrals              15b Section 409A income               16 State tax withheld             17 Stale/Payer's state no.               18 State Marne


                                                                                                                                                             Is
    Form 1099-M1SC                                        wir.rw.irs.gov/Form1099MISC                                     Department of the Treasury - Internal Revenue Service


                                                                                Detach Ffere



                                                          0CORRECTED (if checked)                                          VTQ S 000000197
fPAYER'S name,street address, city or town,state or province. country.ZIP 1 Rents                                    OMB No. 1545-0115
 or foreign postal code, and telephone no.
        EQUIFAX INC                                                                                                                                          Miscellaneous
,       1550 PEACHTREE STREET NW                                                   2 Royalties                            2018                                     Income
        ATLANTA GA             30309
                                                                                                                         Form 1099-MISC
                                                   404-885-8227                    3 Other income                        4 Federal income tax withheld                    Copy B
                                                                                               4000.00                                                              For Recipient
PAYER'S TIN                                 RECIPIENT'S TIN                        5 Fishing boat proceeds               6 Medical and health care payments




   58-040/110                                             -1238
RECIPIENT'S name                                                                   7 Nonemployee compensation            8 Substitute payments in lieu of
                                                                                                                          dividends or interest           This is important tax
       BERRI A WELLS
                                                                                                                                                                  i nformation and is
                                                                                                                                                                  being furnished to
ilreet address(including apt. no.)                                                                                                                                the IRS. If you are
      7723 ENGLISH OAK CIR                                                       9Payer made direct sales of  f0 Crop insurance proceeds                             required to file a
                                                                                   $5,000 or more of consumer                                                   return,a negligence
                                                               •         •         products to a buyer                                                                penalty or other
:ity or town,state or province, country, and ZIP or foreign postal code: .        (recipient) for resale                                                             sanction may be
                                                                                11                                                                                 Imposed on you if
                                                                                                                                                                        this income is
 ELKRIDGE,MD 21075                                                                                                                                              taxable and the IRS
=mint number(see Instructions)                        FAICA filing              13 Excess golden parachute           14 Gross proceeds paid to an                   determines that it
                                                      reqUirernent                 payments                             attorney                                         has not been
                                                                                                                                                                              reported.
    I Section 409A deferrals               154 Section..4.89A.inorpe:           16 State tax withheld                    7 State/Payer's state no.             18 State income



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                     Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 232 of 259




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  Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 233 of 259


EXHIBIT AD AND/OR AMENDMENT AND/OR
SUPPLEMENT TO THE ORIGINAL COMPLAINT FILED
HEREIN
       Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 234 of 259



 1). THE PLAINTIFF(S)SEEK TO AMEND AND/OR SUPPLEMENT AND/OR INCORPORATE THE
 CLAIMS AND STATEMENT MADE HEREIN BELOW AND ARE OTHERWISED ADOPTED AS PART
 OF THE ORIGINAL RECORD IN THE EVENT THIS ISSUE IS RAISED BY ANY DEFENDANTS.

 2). The instant Defendants seek to have this Court to allow them to challenge, collect on a

federally DISCHARGED DEBT,and enforce an illegal, unconstitutional Baltimore County State

 Court Judgment that was illegally issued and void on its face 24 years ago.


3). No Defendant, not even the U.S. was a party, and no counsel for any Defendants were

involved as counsel or party to that 24 year old unconstitutional, and expired void judgment

that cannot be enforced by any court or any judgment.


THE JANUARY 12, 1998 ORDER FROM BALTIMORE CIRCUIT COURT CASE NUMBER 03-C-97-
000059 FELDER, et. al. v McDonalds,et. al. HEARD ON APRIL 25,1997, WAS ILLEGAL AND
UNCONSTITUTIONAL WHEN IT VIOLATED MD ARTICLE IV OF THE MARYLAND CONSTITUTION
SEC. 23-(SEE EXHIBIT 1)

ISSUE #1

4). The Defendants herein first error was the use and filing as a copycat BAD FAITH filing

seeking to have a federal court enforce a unconstitutional judgment/order that was never

EXEMPLIFIED CERTIFIED by the Baltimore County Circuit Court as required by MD State Rules,

as anytime the Judgment of another Court and/or Foreign Court is used, referenced, filed or

recorded with any State Court,that party must attach a EXEMPLIED Order in order for that

document to have FULL FAITH AND CREDIT standing, in any other case, court or proceedings.

Exhibit 1 was never CERTIFIED by the proper authority.


ISSUE #2


5). On April 25, 1997,in Baltimore County Circuit Court was the hearing on the Felder v

McDonalds case. This case contested the appearance of Harford County Circuit Court Judge
       Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 235 of 259

 Cypert 0. Whitfill, orally and later in writing. It was later determined after an investigation

 according to various online reports, Judge did not reside in Harford County, but had moved

 Baltimore County,then PA while still on the bench away from his residency election county,

 due to martial problems. Such an act for or regarding a MD State Judge was clearly illegal.


 ISSUE #3


6). There was NO Removal Order from the Presiding Judge and/or Administrative Judge

Turnbull, noted in the records, pursuant to MD Rules 2-505. MD Rules 16-105, govern the

Circuit Court-County Administrative Judges powers, authority, and jurisdiction as to Assignment

of cases, or reassignment of cases. There is NO record of any Order or Orders of the

assignment and/or reassignment of Felder v McDonalds, Baltimore County Circuit Court Case

No.03-C-97-000059,to Harford County Circuit Judge Cypert 0. Whitfill, or any other Judge as

to the April 25, 1997, hearing. (See Also MD Rules 16-108,and 16-102) MD Court of Appeals

Chief Judge Bell did not issue any Order or Orders to have McDonalds case reassigned to and/or

transferred to Harford County Circuit Court and/or to assign Judge Whitfill to hear or try the

case on April 25, 1997. The Plaintiff(s) rights to due process and equal protection of the law

were violated at all levels, and the hearing was the equalivent of a "Kangaroo Court

Conspiracy."


7). MD Rule Section 1-501, Maryland Articles Courts and Judicial Proceedings, makes it clear

that a Circuit Courts common law,equity powers, and jurisdiction in all civil


and criminal cases,only lies within its county, period. This case is PRIME proof, that the
       Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 236 of 259

 Orders issued illegally by Judge Whitfill or any other State Court Judge of the Felder v

 McDonalds case exceeds the State Judges rights, power, authority and jurisdiction to do so

 other otherwise. Judge Whitfill January 12, 1998, Order and Judgment was a nullity on its face

 and cannot be enforced by any Judge/Court or party to non-party anywhere. Former State

 Court Judge Whitfill violated MD Rule Article IV, Section 7, and (b)(1)(4), makes it clear that NO

judge shallsitin any case he may be interested, or sit in judgment in any hearing involving

thatjudge's own conduct. Judge Whitfill can NO longer preside over having taken and ruling on

the McDonalds case without, the right, power, authority,jurisdiction and venue to do so in

Baltimore County from Harford County, where he resided at one time, and had moved out the

County to PA, where he is neither elected or lawfully appointed by the Governor.


ISSUE #4


8). The illegal to expired to unconstitutional Judgment Order referenced by these Defendants

requires this Court as duty bound to end this madness and BAD FAITH filings by attorneys

clogging up the court with frivolous pleadings and filings that are of no use and irreverent to

the instant case. Judge Whitfill just like counsel who failed and/or refused to do their due

diligence, research and investigation, violated Article IV-Section 23 ofthe MD Constitution,

when the hearing was held on April 25, 1997, issued the Court's Memorandum Opinion on

September 8, 1997, and Order on January 12, 1998. SECTON 23-says,"The Judges of the

respective Circuit Court of this State shall render their decisions,in all cases argued before

them,or submitted for their judgment, within two months,after the same shall have been so

argued or submitted." The two month DEADLINE for the illegal referenced Judgment/Order to
       Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 237 of 259

 be by Judge 25, 1997, not(5) months later, on September 8, 1997, or January 12, 1998,9

 months later for the story to be presented. This Court and no Judge of any Court State or

 Federal has any subject matter power, rights or jurisdiction to entertain any part of this court

 and there is NO legal bases that gives this Court the right to seek to enforce a (24) year old stale

 order that fails to have ever the force and effect of any law to have made the judgment legally

 binding and enforceable after 24 years.(Exhibit-2)


ISSUE #5


9). The MD State Archives 9/11/2020, and 9/14/2020, CERTIFIED, in writing and email to the

Plaintiff Cofield,that NONE of the Orders of any kind existed, could be found or located by that

agency for Baltimore Co. Circuit Court Case Number:03-C-97-000059.(See Exhibit 3)Clearly,

this Honorable Court must TAKE JUDICIAL NOTICE of the fact, NONE of the Orders including the

Memorandum Opinion from Judge Whitfill dated or filed September 8, 1997, and Order dated

January 12, 1998, are not in the records were illegally taken out by some official in the last(24)

years. Now,the Defendants counsel seek to have this Court enforce this missing Orders from

the 6 boxes of records, as anything but valid and play Former Alabama Governor George C.

Wallace and stand in the doorway, with a set of Orders that were not legally valid, expired and

now DO NOT exist.


ISSUE #6


10). Not ONLY did Judge Whitfill place a time limit and restriction on the Orders, but Judge

Whitfill on page 81 of the illegal and unconstitutional Memorandum Opinion and Paragraph 6

of the Order made it clear,"that the injunction against Cofield and the restriction shall
       Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 238 of 259
 remain In effect as long as the money judgments entered pursuant to this Order remain

 unsatisfied. Pursuant to MD Rules 2-625,a money judgments expires 12from the date of

 entry. NO DEFENDANT OR COUNSEL FOR THAT CASE FILED TO EXTEND THAT JUDGMENT.


11). That judgment the subject of this Motion was never renewed. When the money judgment

expired,the entire Order and Memorandum expired, died and voided it, and became

 unenforceable, as ordered by Judge Whitfll. MD Rule 5-102(a)(3)further addresses the 12 year

limitation period for the filing of any action and/or en DEAD and enforcement of a judgment,

otherwise DEAD and invalid and unenforceable on its face, is the Memorandum and Order

presented to this Court seeking to enforce an illegal unconstitutional Order and Judgment

that can never be enforced by any Judge of any Honorable Court.The Judgment and Order the

subject of this Motion was never recorded as required by MD Rule 2-623.


ISSUE #7-THE ORDERS AND JUDGMENT OF JUDGE WHITFILL WERE FILED, ATTACHED,
INCLUDED,SUBMITTED AND APPROVED AS PART OF THE CHAPTER 7 BANKRPUTCY FILING
BEFORE HON. U.S. BANKRUPTCY JUDGE IN CASE NO.20-16090,THAT WAS DULY
DISCHARGED-(SEE EXHIBIT 4)

-12). As set forth and cited above,this Honorable Court, unless the bankruptcy matter was

appealed and it was not this Honorable Court, does not have jurisdiction over that Judges Order

who issued a DISCHARGE September 22, 2020,that include the Baltimore County Circuit Court

Felder v McDonalds case. That Bankruptcy DISCHARGE ORDER, halts any Judge from reviewing

and especially seeking to enforce an order from non-parties of a judgment or cause of action

they were not party to of representatives of.


ISSUE 8
       Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 239 of 259
 13). Plaintiffs have and/or had NO legal obligation by the Baltimore County Circuit Court to file

 any prior notices to any Court,State or Federal. This case is now in the USDC, not State Courts.

 14). The Plaintiff has successfully filed with this Court several previous actions over the years,

 New Jersey, even against the United States and this was never an issue, and NO USDC Judge

even with this Court ever entertained this outrageous matter at any point. FOR THE RECORD-

ALL THE CASES IN PRINCE GEORGES COUNTY AND BALTIMORE COUNTY,WERE DEBTS AND

DULY INCLUDED AND PART OF THE U.S. BANKRUPTCY COURT DISCHARGE ORDER,AS

DIRECTED BY THAT TRUSTEE, WHO ORDERED THE PLAINTIFF TO INCLUDE ALL THOSE CASES IN

THE BANKRUPTCY. ADDITIONALLY,IN EVER CASE CITED BY COUNSEL, NOTICES WERE FILED IN

EACH CASE WITH THOSE COURTS CASES AS DEBTS AND THEOSE COURTS AND PARTIES WERE

CREDITORS INCLUDED IN THE BANKRUPTCY FILING.


AMENDMENT TO RELIEF:


WHEREFORE,GOOD CAUSE SHOWN,the Plaintiffs pray that this Honorable Court GRANT said

Motion and relief, in their favor which Declares, permanently enjoin and strictly prohibits any

Defendants Counsel, Defendants, in any State or Federal Court or other Judge, or person or

parties,from any use,further use and/or reference to Felder v McDonalds, et. al. Baltimore

County Circuit Court Case Number:03-C-97-000059 in any form, was illegal, unconstitutional

Judgment,that violated numerous state rules, statutes and MD Constitution, it can never be

enforced as an expired, now DISCHARGED Judgment/Order not legally issued in effect nor ever

enforceable in any Court, against the Plaintiff Dr. Keenan Cofield. And that the Clerk shall
        Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 240 of 259
 STRIKE from the records any filings, in any cases documents or references to Felder v

 McDonalds.


 That this Honorable shall order SANCTIONS be ordered against counsel for their BAD FAITH

 filing as determined by this Court. The Plaintiffs seek any and all other relief to ensure he is NO

 longer a victim, damaged and defamed by this illegal, expired DISCHARGED Order as a debt that

 is or was unenforceable still being used 24 years later. Rule and Order that the Plaintiff Dr.

Keenan Cofield rights to due process and equal protection rights were violated, and intentional.


That this Court should DENY and enjoin and/or prohibit the Defendants, any counsel, and non-

parties, and any further Defendants counsel Motion to Dismiss or any Motions to pleadings

that use or reference Baltimore County Circuit Court case Felder v McDonalds, in any way

against the Plaintiff Dr. Keenan Cofield, seeking to collect on a DISCHARGED debt and/or

enforce on a DISCHARGED expired Illegal and unconstitutional State Court Judgment, is a

PROHIBITED ACT.


Rule, that none of the Defendants and/or Defendants Counsel are not or were not Creditors,

enforcement counsel or parties to that former State court action or Judgment with any

STANDING to collect and/or enforce that void Judgment Order,that long expired, against the

Plaintiffs.


Rule, that the Plaintiff Dr. Keenan Cofield has and had NO legal obligation as alleged by the

Defendants, and the Plaintiff is not under that or any LEGAL State Court judgments or

enforcement orders from Baltimore County Circuit Court to file any notices with any state

courts, which is very clear.
      Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 241 of 259



Rule, that a State Court Judges jurisdiction of a MD Circuit Court/Judge, ONLY lies within that

COUNTY-Circuit Court, and that the DISCHARGED expired Felder v McDonalds, Order, was not

a EXEMPLIFIED TRIPLE SEALED COPY as required and this Court or NO Court can take

jurisdiction over such an improper State Court Judgment Order.


Rule that ALL THE DEFENDANTS MOTION TO DISMISS BE DENIED AND/OR DISMISSED.
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                                                               iZo
Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 242 of 259


                     EXHIBIT 1
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    Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 243 of 259




         Cofield (hereinafter "Plaintiff Cofield"),.alone. Plaintiff Cofield is hereby ORDERED to

         and shall pay attorneys' fees to the law fimi. Of Gilbert4Kure.ntin the amount of

         $41,173.75 and.attorneys'fees to the law.firm ofKing       Attridge in the amount of

        $21;216.12. The Courtfindi thattlie•attOrneys' fees,-which were submitted under'
                                                                l
                                                                I
        affidavit by defense counsel,pursuantto Rule 1-341, art.b.ir and were.incurred as a direct
                                                               \
        resultofDefendants being forced to defend themselves against the cfaiml set forth in
                                                                   I
        Plaintiffs' Complaint all of which Were asserted Without substantial justification-andthat
                                                       -
        the said action was interposed to harass, annoy,intimidate and extort settlement from the

        Defendants. The Court further finds that PlaintiffCofield:ciparly,kriew and/or reasonably
                                                                   1 -.
        should have known that the Complaint and the clainis aSserted metein were withciut'

                                                                      11
        substantialjustification. However,for the reasons setforth' the.Memoraridtun'Opinion,
                                                                        1
        the Court does not order  Plaintiff Karen Felder to pay the sàir  attorney? fees. Based on

        the foregoing findings and those set forth in the Mernorand        Opinion,Plaintiff Cofield

        is also hereby ORDERED to pay all costs Ofthis proceeding tliat axe asseS.s
                                                                                  —ed.hy the.

       Clerk ofthe Circuit Court for Baltimore County,and it is further,

               4.ORDERED,that the Clerk ofthe Circuit Court for Baltimore County shall not

       accept for filing in the future any pleadings Bled in a civil action by Plaintiff Cofield,

       regardless ofwhether Plaintiff Cofield prepays the filing fees an costs, unlets any such

       pleading has been submitted to ajudge ofthis Court to determine Whither ot not such

       pleadings are frivolous; and it is further,                           1
                                   Eatifia41-ifd
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-            Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 244 of 259
    -         '     •
        • :it:




                          S. ORDERED,tliat Plaintiff Cofield be and lierby is ENJOINED from filing any

                   civil action in any courtin the'State ofMaryland other than the Circuit'CoMt fOr

                  Baltimore County,regardless ofwlaether he pays the sling fees and costs, unless each

                  such pleadings are accompanied by a copy ofthis Order and this Court's Memorandtun.

                  Opinion filed September.8; l 997,thus giving notice to sul court ofPlaintiff Cofield's

                  history as a vexatious and"frivolous litigator; and it is furthr

                          ORDERED,that the injunotion against Mr. Cofield       aItl s delineated in Paragiaph5.
                  ofthis ORDER and the restriction On Mr. Cofield"i right to ile pleadings in the Circuit

                                                                 . glf•apir
                  Courtfor Baltirnore County as delineated.in fare                   Or-Oer sba...1/ rem:ain in

                  effect as long as the money judgments entered puistant-to thi Order remain unsatisfied.




                  cc: Keenan Cofielthind
                      Karen Felder.
                      46 Neptune Court
                      Baltimore, Maryland 21234

                     John A.'King,Esquire
                     51 Monroe Street
                     Suite 1604
                     Rockville, Maryland 20850

                     Paul Mayhew,Esquire
                     400 Washington Avenue
                     Old Courthouse,2nd Floor
                     Towson, Maryland 21204
                                            v
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    Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 245 of 259


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          Bariy D.TrclutIVEsquim
          Kathleen Wynne;Esquire .
          Charb:sP.Spilinum,Esquite
          12$0IStreet,NAV: Suite600
          Washington,D.C. 20005
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Case                                1-7 Filed 07/05/23 Page 246 of 259
        1:22-cv-01989-GLR Document 42-1 Filed 09/27/22 Page 5 of 20
   Case
                                                               \

            5. ORDERED,that Plaintiff Cofield be and hereby is ENJOINED from filing any

    civil action in any court in the State of Maryland other than the Circuit Court for

    Baltimore County,regardless of whether he pays the filin1 fees and costs, unless each

    such pleadings are accompanied by a copy ofthis Order and this Court's Memorandum

    Opinion filed September 8, 1997,thus giving notice to suth court ofPlaintiff Cofield's

    history as a vexatious and frivolous litigator; and it is furthcr
                                                             1
          ORDERED,that the injunction against Mr. Cofield as delineated in Paragraph 5.
                                                             1
   ofthis ORDER and the restriction on Mr. Cofield's right tcl file pleadings in the Circuit
                                                             .
                                                             1
   Court for Baltimore County as delineated in Paragraph 4. of this Order shall remain in

   effect as long as the money judgments entered pursuant to tiiis Order remain unsatisfied.



                                                t




                                    •.
                                  .114 1 •

   cc: Keenan Coficld and
       Karen Felder
       46 Neptune Court
       Baltimore., Maryland 21234

      John A.King, Esquire
      51 Monroe Street
      Suite 1604
      Rockville, Maryland 20850

      Paul Mayhew, Esquire
      400 Washington Avenue
      Old Courthouse,2nd Floor
      Towson, Maryland 21204
Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 247 of 259
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                 Case 1:23-cv-01795-JKBR Document   1-7 Filed,
                                          Document 42-1 Filed09/27/22
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                                                                                 20 of 259




             Search




                                       CONSTITUTION OF MARYLAND
                                                                  ARTICLE IV
                                                      JUDICIARY DEPARTMENT.
         • Part I - General Provisions
         • Part 11 - Courts of Appeal
         • Part 11A - Interim Provisions
         • Part III - Circuit Courts
         • Part IV - Courts pf Baltimore City.
         • Part V - Orphans' Court
         • Part VI - District Court
         • Part VII - Sheriffs

                                                        Part!- General Provisions.

    SECTION 1. The Judicial poyier of this State is vested in a Court of Appeals such intermediate courts of appeal
    as the General Assembly may create by law, Circuit Courts. Orphans' Courts, and a District Court. These Courts
                                                                                 I
    shall be Courts of Record, and each shall have a seal to be used in the authentication of all process issuing from
    it(amended by Chapter 10, Acts of 1966, ratified Nov. 8, 1966; Chapter 789,1Acts of 1969, ratified Nov. 3, 1970;
    Chapter 681, Acts of 1977, ratified Nov. 7, 1978; Chapter 523, Acts of 1980, l:atified Nov. 4, 1980).

    SEC.1A. The several Courts existing in this State at the time of the adoptioni,of this Constitution shall, until
    superseded under its provisions, continue with like powers and jurisdiction, aid in the exercise thereof, both at
    Law and in Equity, in all respects, as if this Constitution had not been adoptedi and when said Courts shall be so
    superseded, all causes, then depending in said Courts. shall pass into the juri6diction of the several Courts, by


hapslimsa.maryland.gov/msa/mdmanual/43const/htm1/04art4.htmlItircuit                                                     1/15
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              (b)There shall be at least four circuit courtjudges resident in each circuit, and at least one circuit court judge
                      Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 249 of 259
              shall be resident in each county. There shall be at least two such judges resident in Anne Arundel County, at
              least three resident in Baltimore County. at least four resident in Prince George's County, and at least five
              resident in Montgomery County.
                                                                                      1
             (c)The senior judge in length of service in each circuit shall be the chiefjudge of the circuit. The other judges
             shall be associate judges.

             (d) Except as otherwise provided by law, one judge shall constitute a liorum for the transaction of any business.

            (e)The terms ofthe circuit courts shall be determined by law.

            (f) A person Is not ineligible for appointment or election as a judge because he was a member of the General
             Assembly at a time when the number or salary ofjudges were increased or decreased (amended by Chapter
            515, Acts of 1912, ratified Nov. 4, 1913; Chapter 426, Acts of 1935, ratinted Nov. 3, 1936; Chapter 494, Acts of
             1937, ratified Nov. 8, 1938; Chapter 200, Acts of 1939, ratified Nov. 5, 140;Chapter 494, Acts of 1941, ratified
            Nov. 3, 1942; Chapter 772, Acts of 1943, ratified Nov. 7, 1944; Chapter 807, Acts of 1953, ratified Nov. 2, 1954;
            Chapters 65 and 68, Acts of 1954, ratified Nov. 2, 1954; Chapters 642 a+1 761, Acts of 1959, ratified Nov. 8,
            1960; Chapter 372, Acts of 1966, ratified Nov. 8, 1966; Chapter 542, Acts of 1976, ratified Nov. 2, 1976).

           SEC. 21A. If the amendments to sections 3 and 21 of Article IV proposeJ,i by House Bill 972, Senate Bill 390
           (1976), and the amendments to those sections proposed by House Bill 1048(1976)are ratified by the voters at
           the election in Nov. 1976, the amendments to those sections proposed in IHouse Bill 972,Senate Bill 390(1976)
           shall take effect(added by Chapter 542, Acts of 1976, ratified NOV. 2,.1976).

            SEC.22. Where any Term is held, or trial conducted by less than three Circuit Judges, upon the decision or
            determination of any point, or question, by the Court, it shall be competent to the party, against whom the ruling
            or decision is made, upon motion, to have the point, or question reserved for the consideration of the three
                                                                                         li
            Judges of the Circuit, who shall constitute a court in banc for such purpose and the motion for such reservation
           shall be entered of record, during the sitting, at which such decision may I:4 made; and the procedure for
            appeals to the Circuit Court in banc shall be as provided by the Maryland lilies. The decision of the said Court in
            banc shall be the effective decision in the premises, and conclusive, as against the party at whose motion said
            points, or questions were reserved; but such decision in banc shall not pre+de the right of Appeal by an
           adverse party who did not seek in banc review, in those cases, civil or crimiqal, in which appeal to the Court of
           Special Appeals may be allowed by Law. The right of having questions reserved shall not, however, apply to
           trials of Appeals from judgments of the District Court, nor to criminal cases below the grade offelony, except
           when the punishment is con9Rement in the Penitentiary; and this Section shall be subject to such provisions as
                                                                                            I
           may hereafter be made by Law (amended by Chapter 681, Acts of 1977, ratified Nov. 7, 1978; Chapter 421, Acts
           of 2006, ratified Nov. 7, 2006).                                                 1
                                                                                      1
          SEC.23. The Judges of the respective Circuit Courts of this State shall render their decisions, in all cases
          argued before them, or submitted for their judgment, within two months after he same shall have been so
              imoor submitted (amended by Chapter 523, Acts of 1980, ratified Nov. 4, 1980).
             red
          jal                           .........
          SEC.24. The salary of each Chief Judge and of each Associate Judge of the 1Circuit • Courtshall not be
          diminished during his continuance in office (amended by Chapter 99, Acts of 1956, ratified Nov. 6, 1956).
                                                                                       )

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                    EXHIBIT-3
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                            EXHIBIT-4
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                                                           Page 252 of 259


 NOTICE AND CERTIFIED VERIFICATION
 RECORDS FROM MARYLAND STATE
ARCHIVES IN BALTIMORE COUNTY CIRCUIT
COURT CASE NUMBER FELDER,et. al. v
MCDONALDS,CORP,et. al., --Case No.03-
C-97-000059-
That there were NO Court 01JFIers from the
 Baltimore County Circuit Couirt
Administrative Judge or any 4f Judge of
either the MD Special and/or Court of
Appeals, transferring, assigning and/or any,
reassignment of this case for a hearing
and/or trial before Judge Cyp4rt 0.
                               i
Whitfill, of Harford County Circuit Court of
this case on April 25, 1997.
                                             45-1 Filel 09/30/22 Page 11 of 20
                 Case 1:22-cv-01989-GLRA a &t4-1 Filed 09/27/22 Page 11 of 20
               Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 253 of 259
                                                 ID




 DR. KEENAN COFIELD
 10 BLACKFOOT COURT
 MIDDLE RIVER, MD 21220




 Date: 09-11-2020


 Receipt: 5970761952536988804003; S50.00
RE: Legal Case File Request# 51934

Thank you for your record request received August 10,2020. Unfortunately, we were unable to locate the record you desire.
The following work was performed upon your request:

      We have searched the files for case number 03-C-97-000059, six files. No reference of the documents that you are
      asking for were found in the case files.

W regret that we are unable to be ofgreater assistance.


    erclyi


Dale King
Maryland State Archives



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                                Maryland State Archives - 350 Rowe Boulevard, Annapolis, MD 2 401-1666
                              Telephone:(410) 260-6400 MD -Toil Free: 800-23S-4045 - Fax: 4)0 974-252S
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Lt. Governor                                         0,4             Ellington E. Churchill, Jr.
                   Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23Robert
                                                                        Page      254
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                                                                                      Ph.D.
Timothy D. Baker                                             tit                                                Ronald Daniels, LLM.,J.D.
                                                                                  to
State Archivist end                                                                                             Hon.Peter V. R.Franchot
  Commissioner ofLand Patents.                                      '11?6
                                                                                                                Hon. Nancy K. Kopp
Matthew P.Lalumia                                                   7   11 1 1                                  Mark Leiser
Chainnan, Maryland Commission                                       Is   vrj                                    Hon. Thomas V. Mike Miller, Jr.
on Artistic Pmperty                                                                                             Peter Kanelos, Ph.D.
                                                                    101)                                        Hon. Samuel I. Rosenberg
                                                                                                                David Wilson, Ed.D.




           September 14, 2020



           Dr Keenan Cofield
           10 Blackfoot Court
           Middle River, MD 21220




          Dear Dr. Keenan,



          This is to inform you that the Maryland State Archives have searched for the files of Karen D. Felder, et.
          at vs NIcDonalds, et. at, case number 03-C-97-000059. There were no docUments or Orders found for the
          time period under these case numbers.




              'rely,
                King


            aryland State




 State Arthivis 350 Rowe Boulevard, Annapolis. MD 21401•1636 1&phone 410 260-6400 MD toll fice: 300-235 043 fax: 410 974-2323 ay'voice 800 735.2253
                                   Internet address: hap: 'rnsa.maryland.gov email: mo.lielpdesklimaryland.gov
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                Case 1:22-cv-01989-GIR                                               66r2rgecritgel3 of 20
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                 Case 1:22-cv-01989-GLR Document
                  Case1:23-cv-01795-JKB  Document

    NI Gmaii                                               Supreme GRAND Bishop Cofield <supremegrandbishop@gmail.corn>



    Receipt for your Maryland State Archives Record 01i- der
   Maryland State Archives <noreply@maryland.gov>                                                        Mon, Aug 10, 2020 at 12:16 PM
   To: Supremegrandbishop@grnail.com


     The following is a copy of your receipt
     Payment Confirmation Number:5970761952536988804003


     Legal Case File Order Form
    County Where Heard: Baltimore County
    Date of Case: 1/3/1997
    Court: Circuit
    Type of Case: Civil
    Charge:
    Plaintiff's Name: Karen D. Felder, at. al.
    Defendants Name: McDonalds, et. al.
    Defendants Date of Birth:        /1954
    Case Number 03-C-97-000059
    MSA Citation: T697-6584, Location CW/10/05/068/S12, Box-624,
   Additional Information: Dear MSA- We have SEARCHED the Docket History of this case and find NO such Orders ever
   issued of our requests. 1). According to the Case DOCKET History of 03-C-97-090059, give the date, and provide a copy
   of any Orders was issued by the Presiding Judge of this case to recuse himself and assign or reassign the case to
   County Administrative Judge,and/or Circuit Administrative Judge to Harford Co. Circuit Judge Whitfill for the April 25,
   1997 hearing/trial? 2). Provide a copy of any ORDERS if any issued when the Presiding Judge, The Administrative
   Judge, or Circuit Administrative Judge Issued his Order to assigned or reassigned the case and/or appointed Harford Co.
   Circuit Judge Whitfill to case no. 03-C-97-000059 for the hearing on April 25,1997? 3). Provide a copy of any Order or
   Order(s)issued in the record in case number 03-C-97-000059 of any appointrnert, assignment or reassignment of this
   case to Judge Whet!,from Harford Co. Circuit Court? if you have NO records of ny Orders issued per Requests 1, 2 or
   3, please State, verify and CERTIFY that No such records or Orders exist, or were ever issued in this case. If any such
   Order or Orders are located I am requesting a copy of the same. THIS IS A URGENT LEGAL MATTER. I am requesting
   the same so I will not have to have a Federal Court Subpoena issued. But if that likes matters faster, ill prepare the
   same for filing and service.
   Number of Copies: 1

   Total Cost:$50.00


   Shipping information
   DR. KEENAN COFIELD
   1938
   10 Blackfoot Ct.
   Middle River, MD 21220
   Supremegrandbishop@gmail.com
   4105543715

   If you have any questions regarding your order, please contact us by phone at 410-260-6487 or by email at
   msa.helpdesk@maryland.gov.




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                   Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 256 of 259
   Receipt for your Maryland State Archives Record Oder
   Supreme GRAND Bishop Cofield <supremegrandbishop@gmail.com>                          Wed,Sep 2, 2020 at 5:53 PM
   To: MSA Helpdesk -MSA- <msa.helpdesk@maryland.gov>, Emily Oland Squi es -MSA- <emily.squires@maryland.gov>,
   Supreme GRAND Bishop Cofield <Supremegrandbishop@gmail.com>
   Cc: Dale W King -MSA- <dale.king@rnaryland.gov>

     Please advise me of the status of my order and request? i was told that my requests and the files in question would be
     reviewed on Monday, to determine any possible Orders from April 25,1997, backwards as to the assigning, transferring
     and/or reassignment ofthat Baltimore County Circuit Court Case Number 0310-97-000059,from Baltimore Co.to Cypert
     Whitfill, Harford County Circuit Court Judge to hear that Bait. Co case for tha hearing on April 25, 1997.

    Dr. Keenan Cofield
    Punted text hidden)




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  Case 1:22-cv-01989-GLR Document 45-1 Filed 09/30/22 Page 15 of 20
Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 257 of 259




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    • OR. KEENAN CORED
      10 SLAQCFOOT COURT
      MOLE RIVER, MD 21220
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    Case 1:23-cv-01795-JKB Document 1-7 Filed 07/05/23 Page 258 of 259




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          Some debts are not discharged                             Also, debts covered by a valid reaffirmation
          Examples of debts that are not discharged are:            agreemdnt are not discharged.
               • debts that are domestic support •                  In additiok this discharge does not stop
                obligations;                                        creditors      collecting from anyone else who is
                                                                    also liabl on the debt, such as an insurance
                                                                    company ior a person who cosigned or
               • debts for most student loans;                      guarante d a loan.

              •debts for mosttaxes;
                                                                    This infoimation is only a general summary
              •debts that the bankruptcy court has                  of the bankruptcy discharge;some
               decided or will decide are not discharged            excepti     exist. Because the law is
               In this bankruptcy case;                             complicated, you should consult an
                                                                    attorney to determine the exact effect of the
                                                                    discharg4s in this case.
              • debts for mostfines, penalties,
               forfeitures, or criminal restitution
                obligations;

              •some debts which the debtors did not
               properly list

             •debts for certain types of loans owed to
              pension, profit sharing, stock bonus, or
              retirement plans; and

              • debts for death or personal injury caused
                by operating a vehicle while intoxicated.




        Official Form 318                             Order of Discharge                           page 2
